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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

   Donald J. Trump,

                           Plaintiff,

           v.
                                             Civil Action No. 2:22-14102-DMM
   Hillary R. Clinton et al.,

                           Defendants.




                            EXHIBITS 2 THROUGH 12:
                DECLARATIONS IN SUPPORT OF MOTION FOR SANCTIONS
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   Declaration of David E. Kendall
      in support of Clinton’s request for sanctions ................................................................ Exhibit 2

   Declaration of Robert P. Trout
      in support of HFACC’s and Podesta’s request for sanctions........................................ Exhibit 3

   Declaration of Shawn G. Crowley
      in support of DNC’s, DNC Services Corp.’s, and Wasserman Schulz’s request for
      sanctions ........................................................................................................................ Exhibit 4

   Declaration of Wendy B. Reilly
      in support of Mook’s request for sanctions................................................................... Exhibit 5

   Declaration of Joshua A. Levy
      in support of Fusion GPS’s, Simpson’s, and Fritsch’s request for sanctions ............... Exhibit 6

   Declaration of Joshua Berman
      in support of Bruce and Nellie Ohr’s request for sanctions .......................................... Exhibit 7

   Declaration of Franklin Monsour Jr.
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   Declaration of Samantha L. Southall
      in support of Neustrar Inc.’s request for sanctions ....................................................... Exhibit 9

   Declaration of John M. McNichols
      in support of Neustrar Security Services’s request for sanctions ............................... Exhibit 10

   Declaration of Stephen A. Tyrrell
      in support of Joffe’s request for sanctions .................................................................. Exhibit 11

   Declaration of Enjoliqué A. Lett
      in support of Orbis Business Intelligence’s request for sanctions .............................. Exhibit 12
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

   Donald J. Trump,

                           Plaintiff,

           v.
                                                         Civil Action No. 2:22-14102-DMM
   Hillary R. Clinton et al.,

                           Defendants.


             DECLARATION OF DAVID E. KENDALL IN SUPPORT OF
      DEFENDANT HILLARY R. CLINTON’S MOTION FOR SANCTIONS AND FEES

          I, David E. Kendall, declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that

   the following is true and correct:

          1.     I am Senior Counsel at Williams & Connolly LLP and counsel of record for

   Defendant Hillary R. Clinton in the above captioned matter.

          2.     Attached as Exhibit A are the law firm website biographies of the attorneys at this firm

   (David E. Kendall, Katherine M. Turner, Michael J. Mestitz) and at the firm of our local counsel, David

   Oscar Markus, for whom Defendant Clinton seeks attorneys¶ fees.            The biographies reflect the

   professional qualifications of those attorneys.

          3.     Williams & Connolly LLP entered into a retention agreement with Defendant

   Clinton which covers representation in the present litigation. Defendant Clinton agreed to pay the

   firm’s costs, fees, and expenses incurred in connection with the present suit, and agreed to pay the

   firm’s customary hourly rates.

          4.     Attached as Exhibit B is a true and correct copy of the hours worked by counsel for

   Defendant Clinton in this case. Counsel are not seeking reimbursement for the attorneys’

   customary hourly rates charged to the client. Instead, counsel seek fees at the following discounted

   hourly rates: for David E. Kendall and Katherine M. Turner at $700, for Michael J. Mestitz at


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   $450, and for David Oscar Markus at $625. These discounted hourly rates represent discounts of

   45%, 44%, 30% and 28% from rates actually billed and are consistent with the rates this Court

   concluded were reasonable in Celsius Holdings, Inc v. A SHOC Beverage, LLC, No. 21-cv-80740,

   2022 WL 3568042 (July 19, 2022). Exhibit B provides an accurate statement of the work billed

   or that will be billed by these attorneys on this case from March 24 to September 30, 2022, during

   the period for which discounted fees are sought.

          5.      Consistent with the discussion in the Memorandum in Support of Sanctions and the

   information provided in Exhibit B, I summarize below in Charts A, B, and C the fees associated

   with the three different phases of the case.

          6.      First, reflected in Chart A, the discounted fees incurred by Defendant Clinton from

   the filing of the initial complaint to the filing of Defendant Clinton’s initial motion to dismiss total

   $44,975.

                       Chart A: Fees incurred from Complaint to initial MTD

          Timekeeper               Discounted                  Hours                       Fees
                                   Hourly Fee
    David E. Kendall            $700                   21                        $14,700

    Katherine M. Turner         $700                   8                         $5,600

    Michael J. Mestitz          $450                   34                        $15,300

    David Oscar Markus          $625                   15                        $9,375



          7.      Second, as reflected in Chart B, the discounted fees incurred by Defendant Clinton

   from the filing of Defendant Clinton’s initial motion to dismiss to this Court’s dismissal of the suit

   total $99,725. During this period, the undersigned acted as coordinating counsel to facilitate the

   filing of a single joint motion to dismiss the Amended Complaint.




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     Chart B: Fees incurred from initial MTD to Court’s dismissal of Amended Complaint

         Timekeeper               Discounted                 Hours                      Fees
                                  Hourly Fee
    David E. Kendall           $700                  54.1                     $37,870

    Katherine M. Turner        $700                  23.4                     $16,380

    Michael J. Mestitz         $450                  58                       $26,100

    David Oscar Markus         $625                  31                       $19,375



          8.      Finally, as reflected in Chart C, the discounted fees incurred by Defendant Clinton

   in connection with the motion for sanctions, from the Court’s dismissal of the suit to October 1,

   2022, total $27,515. During this period, the undersigned acted as coordinating counsel to facilitate

   the filing of a single joint Defendants’ motion for sanctions.

                         Chart C: Fees incurred to date on sanctions motion

         Timekeeper               Discounted                 Hours                      Fees
                                  Hourly Fee
    David E. Kendall           $700                  14.7                     $10,290

    Katherine M. Turner        $700                  4.2                      $2,940

    Michael J. Mestitz         $450                  24.8                     $11,160

    David Oscar Markus         $625                  5                        $3,125



          9.      I believe that the discounted rates claimed are reasonable given the professional

   qualifications of the billers as evidenced in Exhibit A for the Southern District of Florida market

   and given the rates approved by this Court in Celsius.

          10.     In connection with this case, counsel incurred certain necessary costs for electronic

   legal research. I understand that courts in this Circuit have held that legal research costs are not



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   ordinarily taxable as costs under 28 U.S.C. § 1920, but are properly considered a component of

   attorneys’ fees. Springer v. Convergy’s Corp., No. 3:03-CV-302-J-99MCR, 2006 WL 8439203,

   at *2 (M.D. Fla. July 7, 2006). As such, in addition to the discounted fees set out above, Clinton

   requests an award of $4,197.31 incurred for electronic legal research.

          11.     &RQVLVWHQWZLWK/RFDO5XOHFRXQVHOVHQWWKHGUDIWVDQFWLRQVPRWLRQDQGGUDIW

   VXSSRUWLQJGHFODUDWLRQVWR3ODLQWLII¶VFRXQVHORQ2FWREHU'HIHQGDQWVPHWDQGFRQIHUUHG

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   3ODLQWLIIDQGRUKLVFRXQVHO.



   /s/ David E. Kendall
   David E. Kendall


   'DWHG2FWREHU




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                              EXHIBIT A
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                                          David E. Kendall
                                          Senior Counsel
                                          dkendall@wc.com
                                          202-434-5145


                                          David Kendall has had a checkered legal career. His acquaintance
                                          with the legal process began when he was arrested several times
   Education                              (but convicted only once) in Mississippi during the summer of 1964
   • Yale Law School, J.D., 1971; Note    while attempting to register voters.
     and Comment Editor, Yale Law
     Journal                              After studying at Oxford as a Rhodes Scholar, graduating from Yale
   • University of Oxford, M.A., 1968;    Law School, and clerking for Justice Byron R. White, he spent five
     Rhodes Scholarship                   years as associate counsel at the NAACP Legal Defense &
   • Wabash College, B.A., summa cum      Educational Fund, Inc., litigating a variety of civil rights cases and
     laude, 1966; Phi Beta Kappa          defending a large number of death penalty cases. He represented
   Recognitions
                                          clients at trial, before state supreme courts, in the Supreme Court of
   • Received top rankings in general
                                          the United States, and in state and federal post-conviction
     commercial litigation (2007-2018)    proceedings. He argued Coker v. Georgia, 433 U.S. 584 (1977), in
     and media and entertainment law      which the Supreme Court declared the death penalty unconstitutional
     (2004-2016) in Chambers USA:         for rape. He represented Florida Death Row inmate John Spenkelink
     America's Leading Lawyers for
                                          in extensive appellate and post-conviction proceedings and
     Business
                                          represented Utah inmate Gary Gilmore's mother in seeking a stay of
   • Recognized as one of The Best
                                          execution from the Supreme Court. Gilmore v. Utah, 429 U.S. 1012
     Lawyers in America ® for over
     25 years
                                          (1976). He devised a legal challenge to lethal injection. Chaney v.
                                          Heckler, 718 F.2d 1174 (D.C. Cir. 1983), rev'd 470 U.S. 821 (1985).
   • “Washington, D.C. Bet-The-
     Company Litigation Lawyer of the     At Williams & Connolly since 1978, and a partner from 1981 to 2014,
     Year,” The Best Lawyers in America   Mr. Kendall continues his practice as Senior Counsel to the firm. He
     ®, 2015
                                          has litigated a variety of civil and criminal cases at the trial and
   • “Washington, D.C. First              appellate level and has had jury trials in the District of Columbia,
     Amendment Lawyer of the Year,”
                                          Indiana, Maryland, Pennsylvania, Georgia, Alabama, and Minnesota.
     The Best Lawyers in America ®,
     2012                                 He has appeared in trial courts in 23 states and has argued appeals
                                          in six federal courts of appeal, seven state supreme courts, and the
                                          Supreme Court of the United States. David Kendall is highlighted in
                                          the 2014 edition of The Legal 500 for his “diverse practice” which
                                          “sees him representing clients across the country from Maryland to
                                          Minnesota.”

                                          Mr. Kendall has represented a wide variety of criminal defendants
                                          who have been charged with such "white collar" offenses as
                                          conspiracy, bribery, mail fraud, wire fraud, and obscenity at trial and
                                          on appeal. He has represented numerous clients before state and
                                          federal grand juries in agency investigations and in corporate internal
                                          investigations (many of these representations are, thankfully,
                                          unknown to the general public). He represented Bechtel




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                             Infrastructure in various criminal and civil investigations relating to
                             the "Big Dig" in Boston.

                             In civil litigation, he has represented accounting firms in a number of
                             different matters, including Arthur Andersen in the University Savings
                             case in Houston. He has represented McGladrey & Pullen in the A.H.
                             Robins bankruptcy proceedings arising out of the Dalkon Shield
                             litigation, and other matters. He has represented another Big Four
                             accounting firm in proceedings related to the firm's investment and
                             tax strategies. He has represented clients in commercial arbitration,
                             winning for the Baltimore Orioles $10 million and naming rights to the
                             Camden Yards ballpark in 2001.

                             Mr. Kendall has represented lawyers and law firms in professional
                             liability matters. He represented a number of clients during the
                             savings and loan crisis of the 1980s and early 1990s, including
                             accountants, lawyers, and S&L executives, in civil, criminal, and
                             administrative proceedings. He began representing President and
                             Mrs. Clinton in November 1993, in what was ostensibly a small
                             savings and loan matter involving Whitewater Development
                             Company, Inc. He went on to represent the Clintons in a variety of
                             matters, including Independent Counsel, Senate, House of
                             Representatives, FDIC, RTC, and bar counsel investigations, civil
                             litigation, and the 1998-99 impeachment proceedings, and currently
                             represents them in miscellaneous civil matters.

                             He has represented a number of individual and corporate media
                             clients over the years, defending libel, privacy invasion, and
                             copyright suits, fighting subpoenas to news gatherers, and
                             prosecuting FOIA actions (arguing Department of State v.
                             Washington Post Co., 456 U.S. 595 (1982) in the Supreme Court).
                             His clients have included The Washington Post, Newsweek, National
                             Enquirer (where he supervised prepublication copy review for over a
                             decade and a half), Playboy, Discovery Communications, U.S.
                             Medicine, National Review, local television stations, and individual
                             writers and journalists. He represented The Post at trial and on
                             appeal in a marathon libel suit brought by the President of Mobil Oil
                             and his son. Tavoulareas v. Washington Post Co. et al., 817 F.2d
                             762 (D.C. Cir. 1987) (en banc). In a libel suit arising out of the motion
                             picture Missing, he successfully defended its director, Constantin
                             Costa-Gavras, and Universal City Studios, Davis v. Costa-Gavras,
                             654 F. Supp. 653 (S.D.N.Y. 1987), in a case that established First
                             Amendment protections for "docudramas."

                             Over the years, Mr. Kendall has advised the Motion Picture
                             Association of America, the Recording Industry Association of
                             America, and several member companies of both organizations on a
                             variety of First Amendment, copyright, and other legal issues at trial,
                             in Congressional and administrative agency investigations, and with



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                             respect to proposed legislation. He has represented a number of
                             copyright holders in anti-piracy suits against various Napster-like
                             Internet services, such as Scour, Aimster, Morpheus, KaZaA, and
                             Grokster. He represented the motion picture studios in their 9-0 anti-
                             piracy victory in the Supreme Court, MGM et al. v. Grokster, et al.,
                             545 U.S. 913 (2005). He has also represented content providers in
                             litigation against satellite, cable, and over-the-air copyright piracy. He
                             has represented AOL in a number of Internet matters and has
                             advised various clients on issues arising out of the Digital Millennium
                             Copyright Act.

                             He is the author of several articles on constitutional, media, and
                             criminal law and has taught constitutional and media law courses as
                             an Adjunct Professor at Columbia Law School and Georgetown
                             University Law Center. He was a member of the five-person ABA
                             Task Force that drafted the ABA Standards for Criminal Justice: Fair
                             Trial and Free Press released in 1991. He is on the Board of
                             Directors of the NAACP Legal Defense & Educational Fund, Inc.




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                                            Katherine M. Turner
                                            Partner
                                            kturner@wc.com
                                            202-434-5487


                                            Katherine Turner is Co-Chair of Williams & Connolly’s Accountant
                                            Liability and Congressional Investigations practice groups and is a
   Education                                member of the Firm’s Executive Committee. She has extensive
   • Harvard Law School, J.D., cum          experience in defending accounting firms in professional liability
     laude, 2004; Primary Editing Chair,    litigation and regulatory matters, including work for three of the Big
     Harvard Law Review
                                            Four firms and a prominent national accounting firm. Her practice
   • Georgetown University, B.A., summa
                                            also encompasses complex litigation in several other substantive
     cum laude, 2001; Phi Beta Kappa
                                            areas, including securities litigation and commercial contract
   Recognitions                             disputes. She has represented corporations, professional firms, and
   • "Local Litigation Star," Benchmark     individuals in a range of federal and state cases, at both the trial and
     Litigation, 2017 – 2023                appellate levels, and in arbitration before AAA, CPR, JAMS, and
   • “Top 250 Women in Litigation,”         FINRA.
     Benchmark Litigation, 2016 – 2022
                                            Katherine also has significant experience in representing clients in
   • “40 & Under Hot List”, Benchmark       congressional investigations, including representation of Secretary
     Litigation, 2017 – 2020
                                            Hillary Rodham Clinton before the House Select Committee on
   • Selected to Washington, D.C. “Rising   Benghazi and a recent representation of a government official in a
     Stars” list, Super Lawyers, 2014 –     matter before the House Committee on Oversight and Reform.
     2019
                                            Benchmark Litigation has recognized Katherine as a “Litigation Star”
                                            in the areas of commercial litigation and white-collar criminal
                                            defense, 2017 – 2023, and among the “Top 250 Women in Litigation”
                                            for the last seven years.

                                            Katherine was born and raised near Philadelphia, Pennsylvania and
                                            graduated from Georgetown University, summa cum laude, in
                                            2001. She received her J.D., cum laude, from Harvard Law School,
                                            where she was an editor of the Harvard Law Review. She joined
                                            Williams & Connolly in 2005, after serving as a law clerk to the
                                            Honorable Bruce Marshall Selya of the United States Court of
                                            Appeals for the First Circuit.

                                            Katherine co-founded the Firm’s Women’s Initiative and previously
                                            served as its Co-Chair. She has also served as Chair of the Firm’s
                                            Intake Committee and a member of its Hiring Committee.


                                            Representative Experience
                                            Though all cases vary and none is predictive, Katherine's experience
                                            includes:
                                            •   Current representation of Big Four accounting firm in arbitration
                                                related to audits of investment funds.



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                             •   Current representation of national accounting firm in professional
                                 liability litigation concerning audits of investment funds.
                             •   Current representation of national accounting firm and two foreign
                                 Big Four firms in PCAOB investigations.
                             •   Current representation of national accounting firm in an SEC
                                 investigation.
                             •   Successful defense of individual in Title IX hearing, resulting in a
                                 finding of not responsible.
                             •   Ongoing representation of Fortune 50 technology company in pre-
                                 litigation analyses of commercial contract and employee disputes.
                             •   Successful representation of Big Four accounting firm in a two-year
                                 PCAOB investigation related to audits of a lending company,
                                 resulting in no action taken against firm or its auditors.
                             •   Representation of national accounting firm in successful resolution
                                 of professional liability cases involving audits of a health insurance
                                 company and an employee benefit plan.
                             •   Successful representation of national accounting firm in defense of
                                 professional liability claims arising from audits of funds invested in
                                 the Petters Ponzi scheme, including prevailing at summary
                                 judgment against ~$1 billion claim brought by funds’ bankruptcy
                                 trustee and defeating two investor suits at the motion-to-dismiss
                                 stage.
                             •   Representation of Secretary Hillary Rodham Clinton before the
                                 House Select Committee on Benghazi and in connection with
                                 matters concerning her e-mail use.
                             •   Representation of high-profile non-profit organization in internal
                                 investigation of board member’s personal conduct.
                             •   Representation of Fortune 50 healthcare company in successful
                                 resolution of securities class action litigation involving ~$900M in
                                 alleged damages.
                             •   Successful defense of several interdealer brokers in disputes with
                                 their former employer in series of FINRA arbitrations.
                             •   Successful defense of technology company in JAMS arbitration
                                 involving alleged violations of trademark agreement, resulting in
                                 judgment in favor of client on all claims and an award of attorney’s
                                 fees, following full merits trial.
                             •   Successful representation of Big Four accounting firm in appeal of
                                 trial verdict in which the jury had found liability to a non-client
                                 arising from an audit.




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                                           Michael J. Mestitz
                                           Associate
                                           mmestitz@wc.com
                                           202-434-5085


                                           Michael Mestitz focuses his practice on complex civil matters and
                                           appellate litigation. He has represented individual and corporate
   Education                               clients in high-stakes appeals in the U.S. Supreme Court, as well as
   • Stanford Law School, J.D., 2015;      federal and state appellate courts around the country. Michael has
     President, Stanford Law Review        experience in a broad range of substantive areas, including federal
   • Vassar College, B.A., 2012; general   statutory interpretation, contract law, securities class actions, and
     and departmental honors, 2012; Phi    financial-services regulation. He has represented several Fortune 10
     Beta Kappa, Phi Beta Kappa Prize;
     Agnes Jackson Reynolds Prize;         companies in appeals, trial courts, and government
     Vernon Venable Prize                  investigations. His pro bono practice focuses on representing
                                           criminal defendants and amici curiae in state and federal appellate
   Recognitions
   • Super Lawyers Rising Star, 2020
                                           courts. He is the co-chair of Williams & Connolly’s LGBTQ+ affinity
                                           group.
   • Named one of The Best Lawyers in
     America® Ones to Watch for            Michael grew up in Minnesota and graduated from Vassar College
     Appellate Practice, 2021              with general honors, as well as departmental honors in each of his
                                           three majors. He received his Juris Doctor from Stanford Law
                                           School, where he served as the President of the Stanford Law
                                           Review. While at Stanford, he also participated in the Supreme
                                           Court Litigation Clinic, the Community Law Clinic, and the Kirkwood
                                           Moot Court Competition. He clerked for Judge Raymond C. Fisher
                                           of the United States Court of Appeals for the Ninth Circuit before
                                           joining Williams & Connolly in 2016.


                                           Representative Experience
                                           Though all cases vary and none is predictive, Michael’s experience
                                           includes:

                                           •   Successful representation of the respondent in Obduskey v.
                                               McCarthy & Holthus LLP, 139 S. Ct. 1029 (2019), resulting in an
                                               unanimous Supreme Court ruling that state nonjudicial foreclosure
                                               proceedings are not governed by the Fair Debt Collection Practices
                                               Act.
                                           •   Representation of petitioners in Sanchez v. Mayorkas in the U.S.
                                               Supreme Court, presenting the question whether eligible recipients
                                               of Temporary Protected Status may adjust to lawful-permanent-
                                               resident status.
                                           •   Representation of former Secretary of State Hillary Clinton in
                                               successful motions to dismiss in various federal district courts and
                                               a successful motion for summary affirmance in the D.C. Circuit.




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                             •   Representation and argument as appointed counsel on behalf of a
                                 criminal appellant in the Maryland Court of Special Appeals.
                             •   Successfully obtained affirmance of judgment as a matter of law in
                                 favor of firm clients in a fraud case in the U.S. Court of Appeals for
                                 the Fifth Circuit.
                             •   Representation of a Fortune 10 corporation in an investigation by
                                 the Federal Trade Commission.
                             •   Representation of a major multinational company in arbitration
                                 proceedings regarding a multibillion dollar contract claim.
                             •   Representation of organizations representing tens of thousands of
                                 businesses nationwide as amici before the U.S. Supreme Court
                                 urging the Court to hold that Title VII of the Civil Rights Act
                                 prohibits discrimination based on sexual orientation and gender
                                 identity in Altitude Express, Inc. v. Zarda, Bostock v. Clayton
                                 County, Georgia, and R.G. & G.R. Harris Funeral Homes v. EEOC.
                             •   Representation of civil-rights organizations across the ideological
                                 spectrum as amici curiae before the U.S. Supreme Court in
                                 Uzuegbunam v. Preczewski, arguing that a live claim for nominal
                                 damages prevents a case from being moot.




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                               EXHIBIT B
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                                   Discounted                       Amount
  Date             Timekeeper                    BilledHours                                               Description
                                      Rate                          Claimed
                                                                               Reviewcomplaintandoutlineresponsesre:Trumpv.Clinton
3/24/2022 MESTITZ,MICHAELJ.             $450             1.5           $675 lawsuit.
                                                                               ReviewTrumpv.Clintonetal.complaint;teleconferencesand
3/24/2022   KENDALL,DAVIDE.             $700               2          $1,400 emails;filereview.
3/25/2022   MESTITZ,MICHAELJ.           $450             0.6           $270 ResearchAntiͲSLAPPlaw.
3/25/2022   KENDALL,DAVIDE.             $700               1           $700 ResearchonnewTrumpcomplaint;teleconferences.
3/25/2022   MESTITZ,MICHAELJ.           $450             1.1           $495 Outlineresponsestocomplaint.
                                                                               LegalresearchonTrumplawsuit;reviewstatelaw;research
3/27/2022 KENDALL,DAVIDE.               $700                  2       $1,400 statuteoflimitations;emailsandclips.
                                                                               ReviewTrumpcomplaintinTrumpv.Clintonlawsuit;team
3/28/2022 TURNER,KATHERINEM.            $700               1           $700 meetingre:same;callwith                 re:same.
3/28/2022 MESTITZ,MICHAELJ.             $450             1.3           $585 Prepareforandmeetre:casestrategy;followͲupresearch.
                                                                               Emailsandteleconferences;meetwithinͲhouseteamtodiscuss
                                                                               motiontodismiss;conferencecallwith                 ;legal
3/28/2022 KENDALL,DAVIDE.               $700             1.5          $1,050 research.
3/29/2022 TURNER,KATHERINEM.            $700             0.1             $70 Reviewconflictdisclosure.
                                                                               Teleconferencesandemails;debriefcallwith                    
3/29/2022 KENDALL,DAVIDE.               $700                  1        $700                          .

3/30/2022 KENDALL,DAVIDE.               $700             0.7           $490 Filereview;research;teleconferencewith                     .
                                                                               April2022:Conferandstrategizeviaemailandtelephonewith
                                                                               counselregardingcase,initialappearances,localrules,and
                                                                               complaint;reviewcomplaint;reviewdraftmotiontodismiss;draft
                                                                               andfileprohacmotions;reviewandfileresponsetomotionto
 4/1/2022 MARKUS,DAVIDO.                $625              15          $9,375 expedite.
 4/2/2022 MESTITZ,MICHAELJ.             $450               2           $900 ReviewingRICOcomplaintanddraftingmotion.
                                                                               Filereviewandstatusreporttoclient/reviewplaintiff'smotionto
 4/4/2022   KENDALL,DAVIDE.             $700             0.8           $560 reviseTJ.
 4/5/2022   MESTITZ,MICHAELJ.           $450             5.1          $2,295 ResearchinganddraftingMTD.
 4/6/2022   TURNER,KATHERINEM.          $700             0.2           $140 Emailsw/teamrelocalcounselforTrumpsuit.
 4/6/2022   MESTITZ,MICHAELJ.           $450               2           $900 ResearchinganddraftingMTD.
 4/7/2022   MESTITZ,MICHAELJ.           $450             0.5           $225 Callwithjointdefensegroup.
 4/7/2022   TURNER,KATHERINEM.          $700             0.7           $490 JointdefensecallreTrumpMTD;callw/DEKrethesame.

                                                                               Teleconferencere:localcounsel;researchonmotiontodismiss;
                                                                               conferencecallwith                                     
 4/7/2022 KENDALL,DAVIDE.               $700             1.5          $1,050 teleconferencewithcounselfor           andotherdefendants.
 4/7/2022 MESTITZ,MICHAELJ.             $450             1.8           $810 RevisingdraftMTD.
 4/8/2022 MESTITZ,MICHAELJ.             $450             1.3           $585 Callwithcounsel.
                                                                               Teleconferencesandemails;editdraftmotiontodismiss;legal
                                                                               research;conferencecallwithteam;conferencecallwith    
 4/8/2022 KENDALL,DAVIDE.               $700             1.5          $1,050
                                                                               Reviewing,editingMTDTrumpsuit;JDcallsw/counselforHFAre
 4/8/2022 TURNER,KATHERINEM.            $700             3.5          $2,450 thesame;callw/teamrethesame.
 4/9/2022 MESTITZ,MICHAELJ.             $450             2.6          $1,170 Revisingdraftperteamcomments.

4/11/2022 KENDALL,DAVIDE.               $700             0.5           $350 Editandrevisedraftmotiontodismiss;emailswithlocalcounsel.
                                                                              Emailsandteleconferences        andothers;reviewthirddraftof
4/12/2022   KENDALL,DAVIDE.             $700             0.5           $350 motiontodismiss.
4/12/2022   MESTITZ,MICHAELJ.           $450             1.1           $495 RevisingdraftMTD.
4/12/2022   MESTITZ,MICHAELJ.           $450             1.2           $540 ResearchandemailreantiͲSLAPPprocedure.
4/13/2022   MESTITZ,MICHAELJ.           $450             0.3           $135 Callwithcounsel.
4/13/2022   MESTITZ,MICHAELJ.           $450             0.4           $180 RevisingdraftMTD.
4/13/2022   MESTITZ,MICHAELJ.           $450             0.5           $225 Callwithcounsel.
4/13/2022   TURNER,KATHERINEM.          $700               1           $700 JointdefensecallsreTrumpMTD.
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                                                         Conferencecallwithcounselforclient;othercallsandemails;
4/13/2022 KENDALL,DAVIDE.        $700   1.5     $1,050 revisitandeditdrafttocirculate;callwithlocalcounsel.
                                                         Reviewingprohacmotionandlocalrules;emailsw/D.Kendallre
4/14/2022 TURNER,KATHERINEM.     $700   0.5      $350                   .

                                                           TeleconferencesandemailswithcounselforcoͲdefendants;
                                                           teleconferencewithTrumplawyers;fileappearance;
                                                           teleconferencewithlocalcounsel;draftprohacvicemotion;revise
4/14/2022 KENDALL,DAVIDE.        $700     2     $1,400   ourmotiontodismiss;circulatetoothercounsel.
                                                           Teleconferencewith                  ;emailre:interview;file
4/15/2022 KENDALL,DAVIDE.        $700   1.5     $1,050   review;workatrevisingTrumpmotiontodismiss.
4/18/2022 MESTITZ,MICHAELJ.      $450   0.5      $225    Callwithcounsel.
                                                           EmailsreTrumpMTD;callw/M.Mestitzrethesame;callw/A.
                                                           OtterbergandM.MestitzreMTD;reviewing                        
4/18/2022 TURNER,KATHERINEM.     $700     1      $700                  .
4/18/2022 MESTITZ,MICHAELJ.      $450   5.4     $2,430   RevisingdraftMTD.
                                                           TeleconferenceswithcounselforcoͲdefendantsinTrumpsuit;
4/19/2022   KENDALL,DAVIDE.      $700   1.2      $840    emails;reviewandrevisedraftmotiontodismiss.
4/19/2022   MESTITZ,MICHAELJ.    $450   2.2      $990    RevisingdraftMTDandpreparingtables.
4/20/2022   MESTITZ,MICHAELJ.    $450   0.6      $270    Callwithcounsel.
4/20/2022   MESTITZ,MICHAELJ.    $450   0.9      $405    TrackingMTDcoverage.
4/20/2022   MESTITZ,MICHAELJ.    $450   1.1      $495    FinalizingMTDforfiling.
                                                           Conferencecallwithdefensecounsel;callwithindividuallawyers;
4/20/2022 KENDALL,DAVIDE.        $700   1.8     $1,260   finalizemotiontodismiss;file.
                                                           Teleconferencesandemails;reviewmotionsandotherpleadings;
4/21/2022 KENDALL,DAVIDE.        $700     1      $700    callswithcounselforotherdefendants.

                                                        Conferencecallwith                                 ;review
4/22/2022   KENDALL,DAVIDE.      $700   1.2      $840 Trumpmotionandresearch;teleconferencesandemails.
4/22/2022   MESTITZ,MICHAELJ.    $450   1.6      $720 ResearchreamendmentofcomplaintsandSOL.
4/25/2022   MESTITZ,MICHAELJ.    $450   0.5      $225 Emailingredocketmaterials.
4/25/2022   MESTITZ,MICHAELJ.    $450   1.5      $675 Assemblingcodefendantfeedback.
4/27/2022   MESTITZ,MICHAELJ.    $450   0.5      $225 Emailingredocketmaterials.
                                                        Briefingcallwith           ;teleconsandemails;confcallwith
4/29/2022 KENDALL,DAVIDE.        $700     1      $700                      .

                                                           May2022:Conferandstrategizeviaemailandtelephonewith
                                                           counselandcoͲdefendants'counselregardingcase,motionto
                                                           dismiss,discoveryandotherissues;reviewnumerousfilings,
                                                           includingcourtordersandfilingsfromcoͲdefendantsincluding
                                                           motiontodismiss;prepareandsendemailtocounselregarding
 5/1/2022 MARKUS,DAVIDO.         $625   10      $6,250   stipulationandorderandfilesame.
 5/9/2022 MESTITZ,MICHAELJ.      $450   0.7      $315    Reviewing        draftMTD.
5/18/2022 KENDALL,DAVIDE.        $700   0.5      $350    ConferencecallwithdefensecounselinTrumpv.Clinton.
                                                           RespondtoQuestionsre                                   ;file
5/20/2022 KENDALL,DAVIDE.        $700   0.7      $490    review;reporttoclient.
                                                           Teleconswith                ;clipscheck;review              ;
5/23/2022   KENDALL,DAVIDE.      $700     1      $700    reporttoclient.
5/30/2022   MESTITZ,MICHAELJ.    $450   0.8      $360    Draftingandemailingstipulation/stipulatedmotion.
5/31/2022   TURNER,KATHERINEM.   $700   0.5      $350    Reviewing,editingeditorial;emailtoDEKrethesame.
5/31/2022   MESTITZ,MICHAELJ.    $450   0.6      $270    Draftingandemailingstipulation/stipulatedmotion.
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                                                           June2022:Conferandstrategizeviaemailandtelephonewith
                                                           counselandcoͲdefendants'counselregardinghearingbeforethe
                                                           magistratejudge,newmotionstodismiss,discoveryandother
                                                           issues;reviewnumerousfilings,includingcourtorders,amended
                                                           complaint;reviewdraftsofmotionstodismiss;reviewandfile
 6/1/2022   MARKUS,DAVIDO.      $625      8     $5,000   proposedjointstipulation.
 6/1/2022   MESTITZ,MICHAELJ.   $450    0.4      $180    Emailingrestatusconference.
 6/2/2022   MESTITZ,MICHAELJ.   $450    0.4      $180    Preparinginventoryofcounsel.
 6/2/2022   MESTITZ,MICHAELJ.   $450    0.5      $225    Strategymeeting.
 6/2/2022   MESTITZ,MICHAELJ.   $450    1.3      $585    Statusconference;followupresame.
                                                           Teleconsandemails;statusconference(Zoom)beforeJudge
 6/2/2022 KENDALL,DAVIDE.       $700    1.5     $1,050   Reinhart;followͲup.
                                                           Teammtgreamendedcomplaint;preparefor,attendstatus
 6/2/2022 TURNER,KATHERINEM.    $700    1.5     $1,050   conference.

                                                        Researchviabilityof investigationsof            data;email
6/10/2022 KENDALL,DAVIDE.       $700      1      $700 toTrumplawyers;reviewJune2transcript;reporttoclient.

                                                        ReviewS/Lcasesandcasesonamendedpleadings;teleconswith
6/14/2022 KENDALL,DAVIDE.       $700    1.2      $840            counseland      lawyer;meetwithresearcher.
                                                        ConferencecallwithalldefensecounselinTrumpv.Clintonetal;
6/15/2022 KENDALL,DAVIDE.       $700      1      $700 filereview;meetwithinͲhouseteam.
                                                        Reviewingstatuteoflimitationsresearch;mtgw/J.Asaborrethe
6/16/2022 TURNER,KATHERINEM.    $700    0.5      $350 same.
                                                        Reviewing,editingMTDworkplan;phonecallw/D.Kendallrethe
6/17/2022 TURNER,KATHERINEM.    $700    0.3      $210 same.

                                                         Reviewpleadings;reviewfileandemailsanddraftplanforall
6/17/2022 KENDALL,DAVIDE.       $700      1      $700 defendantstocreateconsolidatedMotiontoDismiss;telecons.
6/21/2022 TURNER,KATHERINEM.    $700    0.5      $350 Reviewinglegalresearchrestatuteoflimitations.
                                                         Teleconsandemails;reporttoclientre                  ;file
                                                         reviewandbegindrafting"battleplan"forMTDofAmended
6/21/2022 KENDALL,DAVIDE.       $700      2     $1,400 Complaint.
                                                         ReviewTrumpamendedcomplaint(193pages);compareto
                                                         originalcomplaint;draftbattleplanfordefensecounseltofile
6/22/2022 KENDALL,DAVIDE.       $700      3     $2,100 consolidatedMTD;teleconsandemails.
6/23/2022 TURNER,KATHERINEM.    $700    0.2      $140 Reviewingcourtorder;emailsw/teamrethesame.
6/23/2022 TURNER,KATHERINEM.    $700    0.5      $350 Jointdefensecallreamendedcomplaint.
                                                         ConferencecallwithdefensecounselreTrumpamended
                                                         complaint;postͲcallactionmemo;comparetocomplaint;begin
                                                         draftingStatuteofLimitationsportionofMTD;teleconsand
6/23/2022 KENDALL,DAVIDE.       $700    3.5     $2,450 emails.
6/27/2022 TURNER,KATHERINEM.    $700    0.1        $70 Reviewingcasecorrespondence;emailstoteam.
                                                         Draftrevised“BattlePlan”forconsolidatedMTD&sendtodefense
                                                         counsel;teleconswithTrumplawyer;teleconswith                
6/27/2022 KENDALL,DAVIDE.       $700      3     $2,100            andothers.
                                                         Emails&phonecalls;research&begindraftingrevisedstatuteͲofͲ
6/28/2022 KENDALL,DAVIDE.       $700      2     $1,400 limitationsargumentsforconsolidatedMTD.
6/28/2022 MESTITZ,MICHAELJ.     $450    2.5     $1,125 ResearchingRICOtollinglaw.
                                                         Legalresearch;reviewpleadings&continuedraftingSOLargument
6/29/2022 KENDALL,DAVIDE.       $700    1.7     $1,190 fornewMTD;emails.
6/30/2022 TURNER,KATHERINEM.    $700    0.2      $140 Reviewingdocketandcasecorrespondence.
                                                         CallswithTrumplawyerstonegotiateschedule;draftjoint
                                                         stipulationmotionandfile;continueresearchonS/L;begin
                                                         draftingClintoncampaignDefendants'partofMTD;conferences
6/30/2022 KENDALL,DAVIDE.       $700      2     $1,400 withcounselfor         re             .
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                                                         July2022:Reviewcourtorderreschedulingandotherfilings;
                                                         conferandstrategizewithcounselreupcomingdeadlines,motion
                                                         practice,andotherissues;reviewandoffercommentsredraft
 7/1/2022 MARKUS,DAVIDO.         $625     6     $3,750 motions;filemotionforextensionoftime.
 7/1/2022 TURNER,KATHERINEM.     $700   0.3      $210 Reviewingcourtorder;emailsrethesame.

                                                         Draft,circulateandfileextensionoftimemotion;twoconf.calls
                                                         withdefensecounsel;contactTrumpcounselandSDFla.Clerk's
                                                         office;legalresearchontimelimits;draftagendaforJuly5;five
 7/1/2022 KENDALL,DAVIDE.        $700   4.2     $2,940 callswithotherdefensecounsel.

 7/5/2022 TURNER,KATHERINEM.     $700   0.5      $350 JointdefensecallreTrumpMTD;followͲupemailsrethesame.
                                                         Conf.callwithotherdefensecounselrenewfilingdateand
                                                         proceduresforpreparingconsolidatedmotion;teleconsand
 7/5/2022 KENDALL,DAVIDE.        $700   1.7     $1,190 emails;workonoursectionofMTD.

                                                         MemorepossibleprocedureforMTD;teleconrefilingmotionfor
 7/6/2022 KENDALL,DAVIDE.        $700   1.2      $840 morepages;workonoursectionofMTD;review           section.
                                                         ReviseourSOLsectionofMTDͲcirculate;emailsandconf.calls;
 7/7/2022 KENDALL,DAVIDE.        $700   1.7     $1,190 reporttoclient;                     .

 7/7/2022 TURNER,KATHERINEM.     $700   5.5     $3,850 Reviewingamendedcomplaint;reviewing,editingdraftbrief.
 7/8/2022 KENDALL,DAVIDE.        $700     1      $700 Calls,emails,workonMTDandmoreͲpagesmotion.

 7/8/2022 TURNER,KATHERINEM.     $700     1      $700 Reviewing,editingHRC/otherHRCdefendants'insertforbrief.
7/10/2022 MESTITZ,MICHAELJ.      $450   2.3     $1,035 Reviewmaterial.
                                                         WorkonconsolidatedMTD;phonecallwithcounsel;emails;
7/11/2022 KENDALL,DAVIDE.        $700   1.2      $840 draftingMTD.
                                                         Integratingcodefendants’editsandsectionsintoMTD;revising
7/11/2022 MESTITZ,MICHAELJ.      $450   4.5     $2,025 same.
                                                         WorkonMTD;editseconddraft;draftsectionsfor        
7/12/2022 KENDALL,DAVIDE.        $700   1.5     $1,050                         ;phonecallsandemails.
7/12/2022 MESTITZ,MICHAELJ.      $450   1.6      $720 EditingdefendantͲspecificsectionsofMTD.
7/13/2022 MESTITZ,MICHAELJ.      $450   1.6      $720 EditingMTDdraft;compilingcodefendants’edits.
                                                         ReͲdraftsectionsofMTD;proofread;communicationwith
                                                         Plaintiff'scounsel;coordinatewithotherdefensecounsel;changes
7/13/2022 KENDALL,DAVIDE.        $700   2.2     $1,540 toMTDandfillͲinsection.
7/13/2022 TURNER,KATHERINEM.     $700   4.8     $3,360 Reviewing,editingMTDTrumpamendedcomplaint.

                                                         Analyzeandcoordinatemanyemailsrefinaledits;communicate
7/14/2022 KENDALL,DAVIDE.        $700     2     $1,400 withPlaintiff'scounsel;finalizingandfileMTD.
                                                         Proofing,citeͲchecking,editing,andinputtingandcheckingtables;
7/14/2022 MESTITZ,MICHAELJ.      $450   7.9     $3,555 finalizingandfilingMTD.
                                                         Meetandconfercall;followͲupresame;checkingpresscoverage
7/15/2022 MESTITZ,MICHAELJ.      $450     1      $450 ofMTD.
                                                         VideoconferencewithTrumplawyers;reviewotherDefendant's
7/15/2022 KENDALL,DAVIDE.        $700   1.2      $840 filings;teleconsandemails.
7/21/2022 TURNER,KATHERINEM.     $700   0.2      $140 Callw/D.KendallandM.MestitzreTrumpreplybrief.
                                                         CallreTrumpmotionforextensionandstrategy;followupre
7/21/2022 MESTITZ,MICHAELJ.      $450   0.7      $315 same.

                                                          ReviewrecentTrumpfilings;draftoppositionandsetupphonecall
7/21/2022   KENDALL,DAVIDE.      $700     1      $700   withotherdefensecounsel;emailsandtelecons.
7/22/2022   MESTITZ,MICHAELJ.    $450   1.1      $495   Draftingoppositiontomotionreschedulingorder.
7/26/2022   TURNER,KATHERINEM.   $700   0.1       $70   Callw/D.KendallreTrumpreplybrief.
7/26/2022   MESTITZ,MICHAELJ.    $450   0.9      $405   CallandfollowͲupreReplyplanning.
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                                                        Zoomcallwith18defensecounselrerepliestoTrumpopposition
7/26/2022 KENDALL,DAVIDE.       $700      1      $700 toMTD;followupemailsandtelecons.

                                                         August2022:Reviewandoffercommentsonoppositiontomotion
                                                         todismiss;reviewandemaillocalruleregardingspacing;review
                                                         andoffercommentsonreplymemo;reviewandfileunopposed
                                                         motionforleavetofileexcesspagelimits;filereply;reviewother
 8/1/2022 MARKUS,DAVIDO.        $625      7     $4,375 defendants'replies;conferwithcounsel.
 8/4/2022 MESTITZ,MICHAELJ.     $450    0.6      $270 ReviewingTrumpopposition.

 8/5/2022 KENDALL,DAVIDE.       $700    2.2     $1,540 ReviewTrumpoppositiontoourMTD;memototeamreresponse.

                                                           Reviewingproposedbriefingplan;emailsandphonecallsw/M.
                                                           Mestitzrethesame;jointdefensecall;updatetoD.Kendallrethe
 8/5/2022 TURNER,KATHERINEM.    $700    1.2      $840    same;reviewing,editingdraftextensionmotion.
 8/5/2022 MESTITZ,MICHAELJ.     $450    0.3      $135    JointDefensecall.
 8/5/2022 MESTITZ,MICHAELJ.     $450    5.4     $2,430   ReviewingandanalyzingTrumpfilings;preparingReply.
                                                           ReviewotherTrumpresponses;begindraftingSOLresponse;
 8/6/2022 KENDALL,DAVIDE.       $700    1.2      $840    emails.
 8/6/2022 MESTITZ,MICHAELJ.     $450    4.8     $2,160   DraftingReplysections.
 8/8/2022 MESTITZ,MICHAELJ.     $450    2.3     $1,035   RevisingdraftReplysections.

 8/9/2022 TURNER,KATHERINEM.    $700      4     $2,800 Reviewing,editingreplybriefinsupportofMTDTrumpcomplaint.
 8/9/2022 MESTITZ,MICHAELJ.     $450    4.2     $1,890 Combiningdraftsections;revisingdraftReply.
                                                         ReviewandeditconsolidatedreplymotiontoTrumpopposition;
8/10/2022 KENDALL,DAVIDE.       $700    1.5     $1,050 emailsandtelecons.
8/10/2022 TURNER,KATHERINEM.    $700    0.5      $350 Jointdefensecallrereplybrief;emailsrereplybrief.
8/10/2022 MESTITZ,MICHAELJ.     $450    0.3      $135 Jointdefensecall.
                                                         Proofing,citeͲchecking,andrevisingReply;integratingeditsfrom
8/10/2022 MESTITZ,MICHAELJ.     $450      4     $1,800 defensegroup.
8/11/2022 KENDALL,DAVIDE.       $700      1      $700 Finalreviewofreply,editsandproof;emails.

8/11/2022 TURNER,KATHERINEM.    $700      1      $700 Reviewing,editingreplybriefinsupportofMTDTrumpcomplaint.
8/11/2022 MESTITZ,MICHAELJ.     $450    3.2     $1,440 Finalizingandfilingreplybrief.
                                                         September2022:Reviewnumerouspleadings,including
                                                         governmentresponseandplaintiff'sopposition;reviewcourtorder
 9/1/2022 MARKUS,DAVIDO.        $625      5     $3,125 dismissingcase;researchsanctionsissues.

                                                           Emails&telecons;analyzeJudgeMiddlebrooks’65pageopinion;
 9/9/2022   KENDALL,DAVIDE.     $700    1.5     $1,050   beginorganizingdefensecounselforsanctionsmotion.
 9/9/2022   MESTITZ,MICHAELJ.   $450    1.2      $540    Reviewingopinionandemailingresame;legalresearch.
9/10/2022   MESTITZ,MICHAELJ.   $450    1.5      $675    Legalresearchandmotionoutline.
9/11/2022   MESTITZ,MICHAELJ.   $450      2      $900    Legalresearchandmotionoutline.
                                                           Teleconsandemailsreviewdecision;draftandcirculateagendafor
9/12/2022 KENDALL,DAVIDE.       $700    0.7      $490    defensecounselcallonsanctions.
9/12/2022 MESTITZ,MICHAELJ.     $450    0.4      $180    CallwithDEKandfollowͲuptasks.
9/12/2022 MESTITZ,MICHAELJ.     $450    3.4     $1,530   Draftingsanctionsmotion.
                                                           Begindraftingsanctionsmotion;legalresearch;telecons&emails;
9/13/2022 KENDALL,DAVIDE.       $700      2     $1,400   confcallwith25defensecounsel.
9/13/2022 MESTITZ,MICHAELJ.     $450    0.6      $270    JointdefensecallandfollowͲupnotes.
                                                           Preparefor,participateinjointdefensecallremotionfor
9/13/2022 TURNER,KATHERINEM.    $700    0.5      $350    sanctions.
9/15/2022 KENDALL,DAVIDE.       $700      1      $700    Telecons&emails;researchonsanctionsmotion.
                                                           ResearchandbegindraftingsanctionsmotioninTrumpv.Clinton
9/16/2022 KENDALL,DAVIDE.       $700      1      $700    etal.
9/18/2022 MESTITZ,MICHAELJ.     $450    7.4     $3,330   JointdefensecallandfollowͲupnotes.
       Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 26 of
                                             304

                                                         Reviewandrevise1stdraftofsanctionsmotion;edit;check
                                                         records;researchonSDFloridalocalrules;circulatedraftand
9/19/2022 KENDALL,DAVIDE.        $700   2.2     $1,540 coveremailtoDefendantscounselgroup.
                                                         Reviewing,editingmotionforsanctions;emailsw/teamrethe
9/19/2022 TURNER,KATHERINEM.     $700     2     $1,400 same.

9/20/2022 KENDALL,DAVIDE.        $700   0.7      $490 Editmotionforsanctions;legalresearch;teleconsremotion.
                                                         Reviewandincorporatedefensecounsel'ssuggestionstomaster
9/21/2022   KENDALL,DAVIDE.      $700     1      $700 sanctionsmotion.
9/21/2022   MESTITZ,MICHAELJ.    $450   0.5      $225 TeamcallandfollowͲup.
9/21/2022   TURNER,KATHERINEM.   $700   0.2      $140 Callw/D.KendallandM.Mestitzremotionforsanctions.
9/22/2022   MESTITZ,MICHAELJ.    $450   3.6     $1,620 Revisingdraftsanctionsmotion.
9/22/2022   TURNER,KATHERINEM.   $700     1      $700 Reviewing,editingmotionforsanctions.
9/23/2022   MESTITZ,MICHAELJ.    $450     1      $450 Revisingdraftsanctionsmotion;emailingresame.
9/26/2022   KENDALL,DAVIDE.      $700   0.7      $490 Workonsanctionsmotionandlegalresearch.
9/26/2022   MESTITZ,MICHAELJ.    $450   1.1      $495 Researchanddraftingresanctionsdeclaration.
                                                         Workonsanctionstemplatedeclarationfromdefensecounsel;
                                                         legalresearch;draftmemotootherdefensecounselandagenda
9/27/2022 KENDALL,DAVIDE.        $700   1.5     $1,050 forconferencecall.
                                                         Reviewingdraftemailtojointdefensegroupremotionfor
9/27/2022 TURNER,KATHERINEM.     $700   0.1        $70 sanctions.
9/27/2022 MESTITZ,MICHAELJ.      $450   1.6      $720 Prep;callwithDEK;followͲupredeclarationandcosts.
                                                         Zoomcallwithabout25otherdefenselawyersresanctions
9/28/2022 KENDALL,DAVIDE.        $700     1      $700 motion;telecons,emailsandfollowͲup.
9/28/2022 TURNER,KATHERINEM.     $700   0.3      $210 Jointdefensecallremotionforsanctions.
9/28/2022 MESTITZ,MICHAELJ.      $450   0.5      $225 Jointcallandprepresame;followͲup.
                                                         ResearchandworkonDEKfeesaffidavit;teleconswithother
9/29/2022 KENDALL,DAVIDE.        $700   0.7      $490 defendants'counsel.
9/29/2022 TURNER,KATHERINEM.     $700   0.1        $70 Emailsw/teamremotionforsanctions.
                                                         Revise&redraftDEKdeclarationrefees&costssought;memoto
9/30/2022 KENDALL,DAVIDE.        $700   0.7      $490 client.
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                     EXHIBIT 3
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                                      304
Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 30 of
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Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 31 of
                                      304
Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 32 of
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                 Exhibit A
Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 33 of
                                      304




                                                       CONTACT US




                                         ROBERT P. TROUT



                                                                              EDUCATION:
                                                                                  A
                               ROBERT P
                                      P. TROUT
                                                                              University of Virginia School of Law
                               OF COUNSEL                                     Washington & Lee University

                                                                              BAR ADMISSIONS:
                                    rtrout@schertlerlaw.com
                                                                              District of Columbia
                                    (202) 628-4199
                                                                              Maryland
                                    Vcard
                                                                              Virginia
                                    Linkedin
                                                                              PRACTICE FOCUS:

                                                                                  White-Collar Criminal Defense
                                                                                   & Government Investigations
                                                                                                       g

                                                                                  Securities Litigation
                                                                                                  g      &
                                                                                   Enforcement

                                                                                  Civil Litigation
                                                                                             g

                                                                                  Antitrust Litigation
                                                                                                 g      and
                                                                                   Enforcement




   OVERVIEW


   Robert P. Trout has over 40 years' experience in civil and criminal litigation. His practice has concentrated
   primarily on complex commercial litigation and white-collar criminal defense, as well as the defense of
   administrative agency enforcement actions. He began his legal career at the Department of Justice, where he
   served for two years in the Criminal Division, followed by four years as an Assistant United States Attorney in
CaseBaltimore, Maryland. Mr. TroutDocument
      2:22-cv-14102-DMM           served as Associate
                                              280-2Deputy  Independent
                                                      Entered   on FLSDCounsel in 1995-96.
                                                                           Docket          In 1996, hePage 34 of
                                                                                     10/31/2022
                                                      304 until joining Schertler Onorato Mead & Sears in
    founded Trout Cacheris & Solomon PLLC, where he practiced
     2021.



     EXPERIENCE


     Representative matters:


     Representation of individuals in investigations by Special Counsel Mueller and by Senate and House
     Intelligence Committees.


     Representation of a Member of Congress in Constitutional challenge to the ¦rst ever FBI search of a
     Congressional o¨ce.


     Defense of former Congressman, in eight-week jury trial, in major public corruption case involving allegations of
     bribery, honest services fraud and FCPA violations. After the Supreme Court decision inÁUnited States v.
     McDonnell, we brought a Section 2255 motion that resulted in the vacation of most counts of conviction and a
     substantial reduction in sentence.


     Successful defense, in a two-week jury trial, of the CEO of a government contracting ¦rm against charges of
     bribery of a public o¨cial and honest services wire fraud.


     Representation of Special Committee of the Board of Directors regarding Department of Justice investigation
     of a company’s alleged distribution of adulterated food products.


     Representation of former CIA agent in criminal prosecution for leaking classi¦ed information.


     Representation of BP employee in criminal investigation stemming from Deepwater Horizon explosion.


     Defense of Merrill Lynch investment banker in Congressional investigation, criminal investigation, SEC suit,
     NYSE investigation, and civil suits arising from collapse of Enron.


     Representation of major law ¦rm in defense of legal malpractice suits.


     Served as Special Counsel to the Council of the District of Columbia investigating allegations of cronyism and
     irregularities in the contracting practices of the D.C. Department of Parks and Recreation.


     Defense of a former Fannie Mae employee in a DOJ civil False Claims Act investigation into transactions
     involving multi-million dollar apartment complexes.


     Defense of large construction company and its principal in civil and criminal false claims investigations.


     Defense of mortgage broker in criminal fraud prosecution.


     Defense of individuals in criminal pharmaceutical case involving misbranded drugs.


     Representation of individuals in major antitrust investigations, including those alleged to be involved in
     international price-¦xing cartels.
CaseDefense of a commercial landlord
     2:22-cv-14102-DMM               in civil false
                                Document            claims litigation
                                                 280-2     Enteredbrought  by theDocket
                                                                      on FLSD     District of10/31/2022
                                                                                              Columbia. Page 35 of
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     Representation of a major manufacturer in antitrust civil suits concerning alleged price-¦xing in urethanes
     chemicals and in the foam industry.


     Representation of companies and individuals in suits alleging that departing employees misappropriated trade
     secrets and proprietary information and tortiously interfered with contracts.



     BACKGROUND


     One of the original members of the Steering Committee of the Litigation Section of the District of Columbia Bar,
     Mr. Trout served as Chair of the Litigation Section in 1984-85. He previously served for six years, including one
     year as Chair, on the Attorney Grievance Committee of the United States District Court for the District of
     Columbia. He recently served as a member of the American Bar Association Standing Committee on the
     Federal Judiciary, which conducts evaluations of the professional quali¦cations of nominees to the federal
     bench. He has been active in the DC Bar's efforts to promote alternative dispute resolution ("ADR") and he has
     served as a volunteer mediator for both the United States District Court and the District of Columbia Superior
     Court. Mr. Trout is a member of the bars of the District of Columbia, Virginia, and Maryland, and he is admitted
     to practice before a number of federal courts, including the U.S. Supreme Court, the U.S. Court of Appeals for
     the D.C. Circuit, the Fourth Circuit, the Third Circuit, the Seventh Circuit, the Ninth Circuit, the Tenth Circuit, and
     the Federal Circuit, as well as the U.S. Tax Court.



     RECOGNITION


     Mr. Trout is a Fellow of the American College of Trial Lawyers, and he has served as Chair of the College's State
     Committee for the District of Columbia. He is listed in The Best Lawyers in America in four categories (White
     Collar Criminal Defense, Bet-the-Company Litigation, Commercial Litigation, and Securities Litigation), and he is
     also listed in Super Lawyers, Chambers USA Guide America's Leading Lawyers for Business, and
     Washingtonian Magazine’s Top Lawyers.
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                                                     CONTACT US




                                                P A O L A P IN
                                                             NTO



                                                                           EDUCATION:
                                                                               A
                               P OLA PINTO
                               PA
                                                                           Georgetown University Law Center
                               A S S O C IA
                                          ATE                              The George Washington University

                                                                           BAR ADMISSIONS:
                                   ppinto@schertlerlaw.com
                                                                           Florida
                                   (202) 628-4199
                                                                           District of Columbia
                                   Vcard
                                   Linkedin                               PRACTICE FOCUS:

                                                                               White-Collar Criminal Defense
                                                                                & Government Investigations
                                                                                                    g

                                                                               Criminal Defense

                                                                               Civil Litigation
                                                                                          g




   OVERVIEW


   Paola Pinto joined Schertler & Onorato, LLP in 2019 as an associate. Before joining the ¦rm, Ms. Pinto clerked
   for the Honorable Mathew J. Fader, Chief Judge of the Maryland Court of Special Appeals. Ms. Pinto is a native
   Spanish speaker and is pro¦cient in French.



   EXPERIENCE


   Representative Matters:



       Represented employees of an international pharmaceutical company in an investigation by the
       Department of Justice.



       Represented former employee of multinational food and beverage corporation in an investigation by the
       Securities and Exchange Commission.
Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 37 of
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       Represented students in Title IX investigations by various Universities.



       Represented advertising agency as a defendant in multiple civil lawsuits.




   BACKGROUND


   Ms. Pinto is a 2018 cum laude graduate of Georgetown University Law Center, where she was a member of the
   Appellate Litigation Clinic. She received her undergraduate degree, cum laude, in Political Science from The
   George Washington University.


   Ms. Pinto’s prior experience includes a clerkship with the Maryland Court of Special Appeals, as well as
   appellate work before a United States Court of Appeals and Board of Immigration Appeals. During law school,
   she completed legal externships in the Mexico City o¨ce of a global law ¦rm and in the general counsel’s o¨ce
   of a multinational company. In both roles, she regularly worked on legal matters in English and in Spanish.
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                                                ATTORNEYS




        The attorneys of Schertler Onorato Mead & Sears bring deep experience, practical judgment, and vigorous
        advocacy to the matters we handle. Our lawyers include former federal prosecutors, former members of
           the Antitrust and Tax Divisions of the Department of Justice, and a former Assistant to the Solicitor
        General. We have tried cases large and small, have briefed and argued numerous appeals, and also have
       the skill and acumen to negotiate resolutions of matters when it is in the best interests of our clients. ÁMore
                                detailed biographies of our attorneys are accessible below.




            PARTNERS                                  OF COUN
                                                           UNSSEL                                 ASSOCIA
                                                                                                        ATES

          David Schertler                            Lisa H. Schertler                            Noah J. Cherry
         Danny C. Onorato                              Tara N. Tighe                                Paola Pinto
        Christopher B. Mead                           Robert P. Trout
          Stuart A. Sears
       Amy Conway-Hatcher
         David H. Dickieson
            Habib F. Ilahi
           Lisa Manning




  EXPERIENCE.                                                                           To learn more about

  JUDGMENT.                                                                           Schertler Onorato Mead &
                                                                                                      Sears

  RESULTS.                                                                                         CONTACT US
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                 Exhibit B
SCHERTLER ONORATO MEAD & SEARS – Hillary for America (HFACC) Billing Entries 1

                                     Discounted               Amount
      Date         Timekeeper                        Time                                               Description
                                        Rate                  Claimed
    4/29/2022   Pinto, Paola               $450         0.5       $225    Drafting Motion to appear pro hac vice.
     5/2/2022   Pinto, Paola               $450         2.5     $1,125    Drafting motion to dismiss.
    5/10/2022   Wilson, Sarah              $120         1.3       $156    Reviewing Trump civil suit on behalf of Ms. Pinto.
    5/11/2022   Wilson, Sarah              $120         0.6        $72    Compiling list of accusations related to HFA in Trump's civil
                                                                          complaint on behalf of Ms. Pinto.
    5/12/2022 Pinto, Paola                  $450        1.7        $765 Revising and editing motion to dismiss Trump suit; reviewing other
                                                                        filings in civil litigation; communications with Mr. Trout.
     6/2/2022 Pinto, Paola                  $450        0.5        $225 Hearing on Trump lawsuit.
     6/2/2022 Trout, Robert P.              $700        0.5        $350 Participate in status conference for Trump civil suit.
    6/14/2022 Trout, Robert P.              $700        0.1         $70 Review and respond to correspondence among joint defense group
                                                                        regarding Trump lawsuit.
                                                                                                                                                                                    304




    6/27/2022 Trout, Robert P.              $700        0.6        $420 Review correspondence from Kendall relating to response to
                                                                        amended complaint; telephone conference with Pinto; telephone
                                                                        conference with Kendall.
     7/1/2022 Trout, Robert P.              $700        0.4        $280 Zoom conference with common interest group.
     7/5/2022 Pinto, Paola                  $450        0.2         $90 Telephone conference with counsel for other defendants in Trump
                                                                        lawsuit.
     7/8/2022 Trout, Robert P.              $700        0.3        $210 Review of correspondence and drafts of motion for additional pages.
     7/9/2022 Trout, Robert P.              $700        1.5      $1,050 Review and edit draft of motion to dismiss; review correspondence
                                                                        and draft from Debevoise regarding Mook; correspondence with
                                                                        Kendall.
    7/10/2022 Trout, Robert P.              $700        0.8        $560 Review correspondence and draft re Sullivan; correspondence with
                                                                        Kendall and Pinto; correspondence with Podesta.


1
 Not including fees incurred in this matter that are reflected in block billing entries that include activities for other matters for which
Schertler Onorato Mead & Sears was engaged to represent HFACC, Inc.
                                                                                                                                              Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 40 of
                               Discounted           Amount
  Date        Timekeeper                    Time                                          Description
                                  Rate              Claimed
7/11/2022 Henriquez, Natalie         $120     1.5       $180 Preparing document for allegations against Mr. Podesta.
7/11/2022 Pinto, Paola               $450     2.5     $1,125 Telephone conference with other counsel regarding motion to
                                                             dismiss; legal research regarding First Amendment: reviewing
                                                             amended complaint
7/11/2022 Trout, Robert P.          $700      2.3     $1,610 Conference call with Kendall and counsel for Mook and Sullivan;
                                                             legal research; review motion for more pages; telephone conference
                                                             with Pinto regarding motion to dismiss correspondence with Pinto;
                                                             telephone conference with Podesta; work on motion dismiss.
7/12/2022 Henriquez, Natalie        $120      3.8       $456 Preparing notes on RICO Conspiracy and protections afforded to
                                                             political speech for Mr. Podesta.
7/12/2022 Trout, Robert P.          $700      3.2     $2,240 Work on motion to dismiss; correspondence with Pinto;
                                                             correspondence with Kendall; correspondence with Baker and
                                                             Podesta.
7/13/2022 Pinto, Paola              $450      0.9       $405 Communications with Mr. Trout; reviewing draft motion to dismiss
                                                                                                                                                                        304




                                                             complaint in Trump lawsuit.
7/13/2022 Trout, Robert P.          $700      0.8       $560 Telephone conference with Kendall; correspondence with Pinto;
                                                             review draft motion to dismiss; correspondence with Baker and
                                                             Podesta.
7/21/2022 Trout, Robert P.          $700      0.1        $70 Correspondence with Kendall.
7/26/2022 Pinto, Paola              $450      0.7       $315 Joint defense conference regarding Trump suit; drafting
                                                             memorandum of the same; discussions with Mr. Trout.
7/26/2022 Trout, Robert P.          $700      0.2       $140 Conference and correspondence with Pinto; review correspondence
                                                             from Pinto; review correspondence from Mestitz.
 8/5/2022 Pinto, Paola              $450      1.5       $675 Review opposition to motion to dismiss; joint defense conference
                                                             call regarding Trump suit.
 8/9/2022 Trout, Robert P.          $700       2      $1,400 Review of draft reply; correspondence with Williams & Connolly
                                                             with suggested edits; correspondence with clients.
8/10/2022 Pinto, Paola              $450      0.3       $135 Joint defense conference on Trump suit; reviewing draft reply.
                                                                                                                                  Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 41 of
                               Discounted           Amount
  Date         Timekeeper                   Time                                          Description
                                  Rate              Claimed
8/10/2022   Trout, Robert P.         $700     0.3       $210Prepare for and participate in joint defense call.
8/11/2022   Trout, Robert P.         $700     0.8       $560Review of revised draft of reply; correspondence with clients.
8/15/2022   Trout, Robert P.         $700     0.1        $70Correspondence to client.
9/13/2022   Pinto, Paola             $450     0.8       $360Joint defense zoom conference on Trump suit.
9/13/2022   Trout, Robert P.         $700     0.5       $350Conference call regarding sanctions.
9/15/2022   Trout, Robert P.         $700     0.2       $140Telephone conference with Kendall.
9/19/2022   Pinto, Paola             $450     0.3       $135Reviewing sanctions motion.
9/23/2022   Trout, Robert P.         $700     0.3       $210Correspondence with Kendall regarding sanctions motion; review
                                                            and respond to correspondence from Kendall regarding sanctions
                                                            motion.
9/28/2022 Pinto, Paola              $450      0.3      $135 Telephone conference with Joint Defense group on Trump Lawsuit.
9/28/2022 Trout, Robert P.          $700      0.8      $560 Telephone conference with Kendall. Prepare for conference call and
                                                            review of draft declaration; legal research; conference call with
                                                                                                                                                                          304




                                                            common interest group; telephone conference with Kendall.
9/28/2022 Pinto, Paola              $450      5.4     $2,430 Drafting declaration in support of sanctions motion in Trump
                                                             Lawsuit; reviewing March through August billing entries regarding
                                                             Trump Lawsuit to support sanctions declaration; drafting exhibits to
                                                             sanctions declaration; communications with Mr. Trout.
10/2/2022 Trout, Robert P.          $700      0.4      $280 Review and revise draft declaration on fees.
                                                                                                                                    Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 42 of
Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 43 of
                                      304




                     EXHIBIT 4
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                                      304



                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA

       Donald J. Trump,

                              Plaintiff,

              v.
                                                            Civil Action No. 2:22-14102-DMM
       Hillary R. Clinton et al.,

                              Defendants.


                    DECLARATION OF SHAWN G. CROWLEY IN SUPPORT OF
                      DEFENDANTS’ MOTION FOR SANCTIONS AND FEES

             I, Shawn G. Crowley, declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that

   the following is true and correct:

             1.      I am a partner at Kaplan Hecker & Fink LLP (“KHF”), counsel of record for the

   Democratic National Committee and DNC Services Corporation (together, the “DNC”) and

   Congresswoman Debbie Wasserman Schultz in the above captioned matter.

             2.      Attached as Exhibit A are the law firm website biographies of the attorneys and staff at

   KHF for whom the DNC and Congresswoman Wasserman Schultz seek attorneys fees.1 The

   biographies reflect the professional qualifications of those attorneys and staff.

             3.      KHF entered into a retention agreement with the DNC and Congresswoman

   Wasserman Schultz in connection with the present litigation. The DNC agreed to pay all of KHF’s

   costs, fees, and expenses incurred in connection with the present suit. 2

             4.      Attached as Exhibit B is a true and correct copy of the hours worked by counsel at


   1
    Attorney Maggie Turner left KHF on June 3, 2022, to begin a federal district court clerkship. Her
   biographical information is included in Exhibit A, but no website biography is included for her.
   2
    The DNC has agreed to pay the fees incurred by Congresswoman Wasserman Schultz in this
   matter.



                                                        1
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                                      304



   KHF for the DNC and Congresswoman Wasserman Schultz. The DNC and Congresswoman

   Wasserman Schultz seek fees at discounted hourly rates for the attorneys and staff as described in

   Exhibit B and below. These discounted hourly rates are consistent with the rates this Court

   concluded were reasonable in Celsius Holdings, Inc v. A SHOC Beverage, LLC, No. 21 Civ. 80740,

   2022 WL 3568042 (July 19, 2022). Exhibit B also provides an accurate statement of the work

   provided by KHF during the periods for which discounted fees are sought.

          5.      The DNC and Congresswoman Wasserman Schultz also retained the law firm of

   Gelber Schachter & Greenberg, P.A. (“GSG”) to serve as local co-counsel for KHF.

          6.      Attached as Exhibit C are the law firm website biographies of the attorneys at GSG for

   whom the DNC and Congresswoman Wasserman Schultz seek attorneys fees. The biographies reflect

   the professional qualifications of those attorneys.

          7.      GSG entered into a retention agreement with the DNC and Congresswoman

   Wasserman Schultz in connection with the present litigation. The DNC agreed to pay all of GSG’s

   costs, fees, and expenses incurred in connection with the present suit, and agreed to pay the firm’s

   customary rates with a 25 percent discount.

          8.      Attached as Exhibit D is a true and correct copy of the hours worked by counsel at

   GSG for the DNC and Congresswoman Wasserman Schultz. The DNC and Congresswoman

   Wasserman Schultz seek fees at the hourly rate for the attorneys as described in Paragraph 7 and

   Exhibit D. These hourly rates are consistent with the rates this Court concluded were reasonable

   in Celsius Holdings, Inc v. A SHOC Beverage, LLC, No. 21 Civ. 80740, 2022 WL 3568042 (July

   19, 2022). Exhibit D also provides an accurate statement of the work provided by GSG during the

   periods for which discounted fees are sought.

          9.      Consistent with the discussion in the Memorandum in Support of Sanctions and the




                                                     2
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   information provided in Exhibits B and D, I summarize below in Charts A, B, and C the fees

   associated with three different phases of the case: the fees incurred from the filing of the initial

   complaint to the filing of the DNC and Congresswoman Wasserman Schultz’s initial motion to

   dismiss; the fees incurred between the filing of the DNC and Congresswoman Wasserman

   Schultz’s motion to dismiss to the Court’s order dismissing the suit; and the fees incurred to date

   in connection with the motion for sanctions.

          10.     As reflected in Chart A, the discounted fees incurred by the DNC and

   Congresswoman Wasserman Schultz from the filing of the initial complaint to the filing of the

   DNC and Congresswoman Wasserman Schultz’s initial motion to dismiss total $137,412.50.

          11.     As reflected in Chart B, the discounted fees incurred by the DNC and

   Congresswoman Wasserman Schultz from the filing of the DNC and Congresswoman Wasserman

   Schultz’s initial motion to dismiss total to this Court’s dismissal of the suit total $32,780.00.

          12.     As reflected in Chart C, the discounted fees incurred by the DNC and

   Congresswoman Wasserman Schultz in connection with the motion for sanctions, to date, total

   $15,632.50.

                      Chart A: Fees incurred from Complaint to initial MTD

         Timekeeper              Discounted Fee               Hours                      Fees
    Roberta Kaplan                    $700                     16.2                   $11,340.00
    Shawn Crowley                     $700                     22.9                   $16,030.00
    Joshua Matz                       $700                     42.4                   $29,680.00
    Maximillian Feldman               $450                     63.8                  $28,710.00
    Anna Collins Peterson             $375                     74.0                  $27,750.00
    Maggie Turner                     $375                     48.1                   $18,037.50
    James Blum                        $375                      2.3                     $862.50
    Kelsey Dietrich                   $150                     10.6                    $1,590.00
    Gerald Greenberg                  $525                      5.0                    $2,625.00
    Christopher Sundby               $262.50                   3.0                      $787.50
                     Total                                    288.3                  $137,412.50




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                          Chart B: Fees incurred initial MTD to dismissal

         Timekeeper             Discounted Fee              Hours                      Fees
    Roberta Kaplan                   $700                    4.5                    $3,150.00
    Shawn Crowley                    $700                    8.6                    $6,020.00
    Joshua Matz                      $700                    0.4                     $ 280.00
    Carmen Iguina                    $500                    4.3                    $2,150.00
    Gonzalez
    Maximillian Feldman               $450                    25.3                 $11,385.00
    Anna Collins Peterson             $375                    18.8                  $7,050.00
    Kelsey Dietrich                   $150                     3.4                   $ 510.00
    Gerald Greenberg                  $525                     2.9                  $1,522.50
    Natalie McGinn                    $375                     1.9                   $ 712.50
                     Total                                    70.1                 $32,780.00


                        Chart C: Fees incurred to date on sanctions motion

         Timekeeper             Discounted Fee              Hours                     Fees
    Roberta Kaplan                   $700                    3.6                    $2,520.00
    Shawn Crowley                    $700                    4.4                    $3,080.00
    Carmen Iguina                    $500                    5.5                    $2,750.00
    Gonzalez
    Maximillian Feldman               $450                    9.9                  $4,455.00
    Anna Collins Peterson             $375                    5.3                  $1,987.50
    Gerald Greenberg                  $525                     1.6                  $ 840.00
                     Total                                    30.3                 $15,632.50


          13.     I believe that the discounted rates claimed are reasonable given the professional

   qualifications of the billers as evidenced in Exhibits A and D for the Southern District of Florida

   market and given the rates approved by this Court in Celsius.

          14.     In connection with this case, counsel incurred necessary costs for electronic legal

   research. I understand that courts in this Circuit have held that legal research costs are not

   ordinarily taxable as costs under 28 U.S.C. § 1920, but are properly considered a component of

   attorneys’ fees. Springer v. Convergy’s Corp., No. 3:03-CV-302-J-99MCR, 2006 WL 8439203,

   at *2 (M.D. Fla. July 7, 2006). As such, in addition to the discounted fees set out above, the DNC

   and Congresswoman Wasserman Schultz requests an award of $2,176.69 incurred for electronic


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   legal research.

          15.        Consistent with local Rule 7.3, counsel sent the draft sanctions motion and draft

   supporting declarations to Plaintiff’s counsel on October 5, 2022. Defendants met and conferred

   in good faith with Plaintiff’s counsel by Microsoft Teams twice, on October 13 and October 26,

   2022, but were unable to reach any agreement as to either the Defendants’ entitlement to or the

   amount of fees and expenses not taxable under 28 U.S.C. §1920 that are recoverable from Plaintiff

   and/or his counsel.



   Dated: October 27, 2022                                /s/ Shawn G. Crowley
                                                         Shawn G. Crowley




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             Roberta A. Kaplan
             Par tner

             T: (212) 763-0883
             E: rkaplan@kaplanhecker.com

               + VCARD




             Roberta (“Robbie”) Kaplan is the founding partner of Kaplan Hecker & Fink LLP. In
             July 2017, Robbie left Paul, Weiss, Rifkind, Wharton & Garrison LLP after 25 years to         EDUCATION
             found Kaplan Hecker & Fink, seeking to build what she calls a “new fashioned, old
                                                                                                           B.A., Harvard University, 1988
             fashioned” law firm that combines a cutting-edge civil and criminal litigation practice
                                                                                                           magna cum laude and Phi Beta Kappa
             with a groundbreaking commitment to using the courts to serve the public interest.
                                                                                                           J.D., Columbia University, 1991
             A renowned litigator with decades of experience in commercial, higher education, and
             civil rights litigation, Chambers observed that Robbie “defines a modern-day legal giant.
                                                                                                           CLERKSHIPS
             A towering intellect and a genius in court, with the instincts of a street fighter.” Sharon
             Nelles, head of litigation at Sullivan & Cromwell, is quoted in a profile of Robbie in the    Hon. Mark L. Wolf, U.S. District
                                                                                                           Court for the District of Massachusetts
             New York Law Journal explaining that Robbie “just sees things from a thousand diﬀerent
             angles all at once, it’s hard to keep up with her thought processes. She knows her law        Hon. Judith S. Kaye, New York Court
             cold, she knows the Constitution cold and she’s not afraid, if she sees a problem, to go      of Appeals
             figure out some law that’s going to allow her to fix it. She’ll find it.” “The consensus in
             the New York legal community is that [Robbie] is a powerhouse,” Stephen Gillers, a
                                                                                                           FELLOWSHIPS, LEADERSHIP &
             legal ethics professor at New York University School of Law, told Bloomberg Law for a
                                                                                                           RECOGNITION
             profile. “She’s a lawyer that you don’t want to see opposing you.”
                                                                                                           Leading Corporate Employment
                                                                                                           Lawyers, Lawdragon 500, 2023
             The Washington Post has described Robbie as “a brash and original strategist, with
             neither a gift for patience nor silence, a crusader for underdogs who has won almost          Top 10 Women in Litigation,
             every legal accolade imaginable.” Among the numerous honors and recognitions Robbie           Benchmark Litigation
             has received, she has been recognized as the 2020 "Attorney of the Year" by the New
             York Law Journal, received a Lifetime Achievement Award from the New York Law                 Leading Plaintiﬀ Employment & Civil
                                                                                                           Rights Lawyers, Lawdragon 500,b2021
             Journal, and has been honored as “Litigator of the Year” by The American
                                                                                                           and 2022
             Lawyer, “Lawyer of the Year” bybAbove the Law, and “Most Innovative Lawyer of the
             Year” by The Financial Times. The Financial Times noted that “the judges had little           Litigation: General Commercial - New
             trouble picking just one of them to win the award for most innovative individual – itself     York, Chambers, USA Guide, 2020 -
             an innovation for the report this year. Robbie Kaplan has been involved in some of the        2022
             most important legal developments of recent years.” Robbie has consistently been listed
                                                                                                           Trailblazer: Plaintiﬀ’s Attorney, The
             as one of the top litigators and top women litigators in the country, as well as one of the
                                                                                                           National Law Journal, 2022
             top lawyers in New York.
                                                                                                           Charles B. Stover Award, University

             Commercial Litigation
                                                                                                           Settlement

                                                                                                           Attorney of the Year, New York Law
             Among Robbie’s clients are a wide range of clients in the tech, financial services, and       Journal
             other sectors, including Airbnb, Riot Games, various hedge and private equity funds,
                                                                                                           Gotham Great Award, Citizens Union
             Uber, Natixis, Goldman Sachs, and Fitch Ratings, who she represents in their most
             complex legal challenges, delivering a consistent track record of compelling advocacy,        Legends of 2020, Lawdragon 500
             creative arguments, and impressive results.
                                                                                                           Lifetime Achievement Award, Corporate
             Robbie has represented a number of companies in tech and the sharing economy. On              Counsel’s Women, Influence & Power in
                                                                                                           Law Awards, 2019
             behalf of Airbnb, she succeeded in obtaining a preliminary injunction on Fourth
             Amendment grounds blocking a New York City ordinance that would have required                 Top 100 Trial Lawyers, Benchmark
             Airbnb to turn over massive amounts of data, a prospect that posed significant privacy        Litigation
             concerns. See Airbnb, Inc. v. City of New York, 373 F. Supp. 3d 467 (S.D.N.Y. 2019)
             (Engelmayer, J.). Robbie ultimately secured a favorable settlement in that case               2020 Best Lawyers in America,
                                                                                                           Commercial Litigation
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             addressing those issues. She has also represented Uber in several cases involving                 Law Power 50 and 2020 Law Power
             significant business and privacy concerns posed by government regulation.                         100, City & State New York,b2019

                                                                                                               Pride Power 100, City & State New
             Given that she is a proud New Yorker, Robbie has handled a wide variety of cases
                                                                                                               York
             representing clients on Wall Street and in the financial services sector, including matters
             involving stock analysts’ recommendations, market timing in mutual funds, reinsurance             Top Hollywood Attorney, The
             transactions, and structured finance transactions. In the wake of the financial crisis in         Hollywood Reporter
             2007, Robbie represented Fitch Ratings for several years in dozens of regulatory
                                                                                                               Leading Lawyers in America,
             investigations and civil litigations in both state and federal court relating to Fitch's credit
                                                                                                               Lawdragon 500, 2017-2022
             ratings of RMBS, CDO, and municipal bond transactions. As a result of these and other
             matters, Robbie has decades of experience dealing with the complex interplay between              New York Super Lawyers
             regulatory investigations and the civil lawsuits that almost inevitably follow. She is
                                                                                                               Gold Medal Award. New York State
             currently defending Natixis in a RMBS “repurchase” action in which the complaint
                                                                                                               Bar Association, 2018
             seeks more than $500 million in damages.
                                                                                                               Lifetime Achievement Award, New York

             Higher Education
                                                                                                               Law Journalb

                                                                                                               Inspiration Award, WNBA, 2018
             Robbie has earned a reputation for helping top universities navigate their most pressing
                                                                                                               Eleanor Roosevelt Medal of Honor,
             legal challenges. She has represented Columbia University for almost a decade in a
                                                                                                               2018
             number of cases related to Title IX and alleged gender-based misconduct, winning
             multiple motions to dismiss. See, e.g., Nungesser v. Columbia Univ., 169 F. Supp. 3d 353          Honoree, Alliance for Justice, 2018
             (S.D.N.Y. 2016) and Roskin-Frazee v. Columbia Univ., 474 F. Supp. 3d 618 (S.D.N.Y.
             2019). Robbie recently secured the dismissal of breach of contract claims in an ongoing           Human Relations Award, Anti
                                                                                                               Defamation League, 2018
             litigation against Columbia University seeking hundreds of millions of dollars in tuition
             refunds related to the COVID-19 pandemic. See In re Columbia Tuition Refund Action,               Litigator of the Year, American Lawyer,
             No. 20-CV-3208 (JMF), 2021 WL 790638 (S.D.N.Y. Feb. 26, 2021)(Furman, J.). In                     2013
             January 2021, Robbie defeated a motion for a preliminary injunction in federal district
             court seeking to require Brown University to restore its men's and women's squash                 The 100 Most Influential Lawyers in
                                                                                                               the U.S., The National Law Journalb
             teams to varsity status. Robbie similarly secured a favorable settlement for Brown in
             high-profile litigation related to gender proportionality requirements in its athletics           Lawyer of the Year, Above The Law,
             programs. Most recently, Robbie was chosen by the NCAA to conduct an independent                  2013
             investigation into gender equity issues involving the NCAA, including the NCAA
             women’s basketball championships.                                                                 Most Innovative Lawyer of The Year,
                                                                                                               The Financial Times, 2014


             Gender Equity                                                                                     Medal of Excellence, Columbia Law
                                                                                                               School
             Robbie has represented a number of women, both as plaintiﬀs and defendants, who
                                                                                                               National Equality Award, Human
             have suﬀered from domestic abuse, sexual harassment, discrimination, or assault,                  Rights Campaign
             including the actress Amber Heard in a $50 million defamation lawsuit filed by her ex-
             husband Johnny Depp, E. Jean Carroll, who sued Donald Trump for defamation in                     Social Action Award, National Council
             connection with a sexual assault that occurred in the mid-1990s, and “victim #1” in the           of Jewish Women

             Southern District of New York indictment of Jeﬀrey Epstein.                                       Honorary Doctor of Laws, Jewish
                                                                                                               Theological Seminary

             Public Interest                                                                                   Honorary Doctorate in Humane
                                                                                                               Letters, Johns Hopkins University
             Throughout her career, Robbie has had a deep-seated commitment to using the law to
             advance the public interest – she founded Kaplan Hecker in order to put that mission              Honorary Doctor of Laws, Millsaps
             where it deserves to be – at the center of the firm’s practice. She is perhaps best known         College
             for successfully arguing before the United States Supreme Court on behalf of her client
             Edith Windsor inbUnited States v. Windsor, the landmark case in which the Supreme                 BAR AND COURT ADMISSIONS
             Court ruled that a key provision of the Defense of Marriage Act (DOMA) violated the
                                                                                                               U.S. Supreme Court
             U.S. Constitution by barring legally married same-sex couples from enjoying the wide-
             ranging benefits of marriage. The consequences of the Windsor decision were both rapid            U.S. Court of Appeals for the
             and profound. Professor Laurence Tribe of Harvard Law School has observed that he                 First, Second, Third, Fifth, Sixth,
             could not "think of any Supreme Court decision in history that has ever created so rapid          Ninth, Tenth, and Eleventh Circuits
             and broad a lower-court groundswell in a single direction as Windsor." Following her
                                                                                                               U.S. District Court for the Southern
             victory in Windsor, Robbie successfully litigated several LGBTQ rights cases in
                                                                                                               District of New York, Eastern District
             Mississippi, including successfully challenging the City of Starkville’s denial of a permit
                                                                                                               of New York, and Northern District of
             for its first ever LGBTQ pride parade.                                                            New York

             One of the very first cases filed by Kaplan Hecker was a high-stakes lawsuit under the            U.S. District Court for the District of
             Ku Klux Klan Act of 1871 against twenty-four neo-Nazi and white supremacist leaders               Colorado
             responsible for organizing the racial- and religious-based violence in Charlottesville in
                                                                                                               New York
             August 2017. See Sines v. Kessler, 324 F. Supp. 3d 765 (W.D. Va. 2018). In that case,
             Robbie and her team won a landmark decision assuring that white nationalists who                  Massachusetts
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             plotted racially motivated violence in 2017 will be held accountable. Robbie has likewise
             worked to hold Donald Trump accountable for fraudulent conduct in his business
             activities through her representations of Mary Trump as well as a class of victims of
             Trump’s fraudulent promotion of a multi-level marketing company. As the Washington

                                                                                                         Areas of Specialty
             Post noted, “a hallmark of Kaplan Hecker & Fink is crafting complaints in layman’s
             language that packs a wallop. The Mary Trump brief is a doozy…” Mary Trump herself
             went further when describing Robbie to Bloomberg Law: “She’s brilliant, she’s
             unrelenting, she can’t be intimidated and she’s not going to back down. She eats            Appellate Litigation    Commercial Litigation
             bullies… for lunch.”
                                                                                                         Education

                                                           ***                                           Employment, Discrimination, and Sexual
                                                                                                         Misconduct

             Robbie is the author of the book Then Comes Marriage: United States v. Windsor and the      Investigations and Crisis Management
             Defeat of DOMA (W.W. Norton), chosen by the L.A. Times as one of the top 10 books of
                                                                                                         Public Interest Litigation
             2015. President Bill Clinton noted that "United States v. Windsor was a landmark ruling
             and the case's architect, Roberta Kaplan, emerged as a true American hero. Then Comes       Regulatory Enforcement and Litigation     Trials

             Marriage is a riveting account of a watershed moment in our history, and the strategy,
             ingenuity, and humanity that made it happen." Rachel Maddow similarly noted that
             Robbie’s book “will forever change the understanding of this landmark case―its genesis,
             its outside-the-box strategy, and its tactical brilliance.”


             In addition to an A.B. from Harvard College magna cum laude and a J.D. from
             Columbia Law School (where she teaches a seminar on advanced civil procedure),
             Robbie holds an Honorary Doctorate of Humane Letters from Johns Hopkins
             University and an Honorary Doctorate of Laws from the Jewish Theological Seminary,
             among others.




             Read about Roberta A. Kaplan in our Newsroom




             Published on: SEPTEMBER 19, 2022


             Roberta Kaplan
                       plan Featured on “Amicus
                                        “A i with
                                                ith Dahlia
                                                    D hli Lithwick:
                                                           Lith i k L
                                                                    Lady
                                                                      d JJustice
                                                                            ti and
                                                                                 d Charlottesville
                                                                                   Ch l tt ill Nazis”
                                                                                                   N
                                                                                                   Nazis
                                                                                                   Na i
             Kaplan Hecker founding partner Roberta (“Robbie”) Kaplan joined her dear friend journalist Dahlia Lithwick on the podcast “Amicus
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                                       ABOUT US       OUR TALENT      OUR WORK       NEWSROOM        CONTACT US   CAREERS         SEARCH




                 Joshua Matz
                 Par tner
                 T: (212) 763-0883
                 E: jmatz@kaplanhecker.com

                   + VCARD




                 Joshua Matz is a partner at Kaplan Hecker & Fink LLP, resident in the DC oﬃce.
                                                                                                                  EDUCATION
                 Joshua’s practice includes complex commercial disputes, constitutional and civil rights
                                                                                                                  B.A., University of Pennsylvania,
                 law, and Supreme Court and appellate litigation. He litigates a wide array of
                                                                                                                  2008 magna cum laude
                 commercial cases, ranging from contract, fraud, and misappropriation disputes to
                 consumer protection and sex discrimination matters. He advises individuals and                   M.S.T., Oxford University, 2009 with
                 companies on their response to congressional and state attorney general inquiries,               distinction
                 participates in sensitive internal investigations, and supports clients seeking to navigate
                                                                                                                  J.D., Harvard University, 2012 magna
                 complex legal questions. Along with several of his colleagues at Kaplan Hecker, Joshua
                                                                                                                  cum laude
                 has represented Brown and Columbia Universities in Title IX litigation.

                 Joshua maintains a substantial civil rights and constitutional practice. His cases have          CLERKSHIPS

                 ranged across LGBTQ rights, religious liberty, reproductive rights, freedom of speech,           Hon. Anthony M. Kennedy, Supreme
                 privacy, firearm regulation, the right to counsel, due process, and the scope of                 Court of the United States
                 constitutional remedies. He has represented individual clients, civil rights organizations,
                                                                                                                  Hon. Stephen Reinhardt, U.S. Court of
                 non-profits, companies, current and former government oﬃcials, cities, states, and
                                                                                                                  Appeals for the Ninth Circuit
                 congressional committees. While many of these representations have involved litigation,
                 he also provides practical counsel to clients who seek to assess their options and risk          Hon. J. Paul Oetken, U.S. District
                 profile in areas of legal uncertainty.                                                           Court for the Southern District of New
                                                                                                                  York
                 Joshua’s list of current and recent representations in this field include:
                                                                                                                  FELLOWSHIPS, LEADERSHIPS &
                   The Governors of Wisconsin and Pennsylvania in defending their states’ congressional           RECOGNITION
                   districting maps against challenges at the U.S. Supreme Court
                                                                                                                  40 & Under Hot List, Benchmark
                   Two New York State legislators in a lawsuit against the NYPD for police misconduct             Litigation, 2020 - 2022
                   during the May 2020 Black Lives Matter protests
                                                                                                                  Rising Star of the Courtroom, Business
                                                                                                                  Insider,b2022
                   The Commonwealth of Pennsylvania in defending its certification of the results of the
                   2020 presidential election at the U.S. Supreme Court                                           Appellate Rising Star, Law360,b2022

                   Victims of consumer fraud in a federal class action lawsuit against Donald J. Trump,           Young Lawyer of the Year, The
                   his adult children, and the Trump Organization                                                 American Lawyer,b2021

                   Students, parents, teachers, and LGBTQ rights groups in challenging Florida H.B.               Leading Plaintiﬀ Employment & Civil
                   1557 (the “Don’t Say Gay” law)                                                                 Rights Lawyers, Lawdragon 500,b2021
                                                                                                                  and 2022
                   Governor Andy Beshear of Kentucky in defending the constitutionality of his
                   COVID-19 public health orders at the U.S. Supreme Court                                        List of Most Influential People in
                                                                                                                  Washington, Washingtonian
                   The Federal Defenders of New York in a statutory and constitutional challenge to               Magazine,b2021 and 2022
                   attorney access policies at the Metropolitan Detention Center
                                                                                                                  Kentucky Colonel, Commonwealth of
                   The SEIU in opposing a petition for certiorari seeking U.S. Supreme Court review of            Kentucky

                   the constitutionality of a state access to information law                                     Future Star, Benchmark Litigation

                   Former Judge John Gleeson as court-appointed amicus in proceedings before Judge                Elite Trial Lawyers List, Rising Star,
                   Emmett Sullivan in United States v. Michael T. Flynn                                           The National Law Journal,b2021

                   The House Judiciary Committee in litigation seeking to compel testimony by former              D.C. Rising Star, The National Law
                   White House Counsel Don McGahn                                                                 Journal,b2020

                   The City of Philadelphia in Fulton v. Philadelphia—a U.S. Supreme Court merits case            “30 under 30” Law & Policy List,
                   involving a First Amendment challenge to the City’s contractual non-discrimination             Forbes Magazine,b2014
                   requirements for foster care providers.
                                                                                                                  Articles & Book Reviews Chair,
                                                                                                                  Harvard Law Review
                 Joshua is also an experienced defamation litigator. His current and recent defamation
                 representations include:
                                                                                                                  BAR AND COURT ADMISSIONS

                   representing E. Jean Carroll in a case against Donald J. Trump for defamatory                  U.S. Supreme Court
                   statements Trump made in response to Ms. Carroll’s public revelation that he had
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                   sexually assaulted her                                                                          U.S. Courts of Appeals for the District
                                                                                                                   of Columbia, Second, Third, Fourth,
                   successfully obtaining the dismissal of two state court defamation cases brought by             Fifth, Seventh, Ninth, and Tenth
                   Rep. Devin Nunes against Liz Mair for her political criticism.                                  Circuits

                   representing Stanford Medical School faculty who were threatened with a defamation              U.S. District Court for the Southern
                   suit for scientific criticism of policies advocated by former White House Coronavirus           District of New York and Eastern
                   Advisor Dr. Scott Atlas.                                                                        District of New York

                                                                                                                   U.S. District Court for the District of
                 Joshua has also filed amicus briefs on behalf of legal scholars, civil rights organizations,      Columbia
                 public oﬃcials, and medical experts. These briefs have addressed issues including:
                                                                                                                   U.S. District Court for the District of
                   The denial of service to same-sex couples based on religious objections                         Colorado

                   The legality of emergency public health measures issued amid the pandemic                       U.S. District Court for the Western
                                                                                                                   District of Michigan
                   Protecting students against sectarian religious coercion by school personnel
                                                                                                                   U.S. District Court for the Eastern
                   The history of self-defense law and its implications for firearms regulation                    District of Wisconsin

                   The availability of compassionate release in light of the First Step Act                        New York

                                                                                                                   District of Columbia
                   Judicial power to release ICE detainees facing a substantial risk of harm

                   The application of Title VII to anti-LGBT discrimination

                   The addition of a citizenship question to the census

                   The exclusion of transgender persons from the military

                   The need for due process limits on suggestive in-court eyewitness identifications
                                                                                                                Areas of Specialty
                   The illegality of denying Medicaid coverage for gender-aﬃrming surgeries                     Appellate Litigation    Commercial Litigation

                   The lawfulness of election administration grant programs.                                    Congressional Investigations    Education

                                                                                                                Employment, Discrimination, and Sexual
                 In February 2021, Joshua took a leave of absence from the firm to serve as                     Misconduct
                 Impeachment Counsel to the House Judiciary Committee for the second Senate trial of
                                                                                                                Investigations and Crisis Management
                 President Trump; he previously served among counsel to the House Judiciary
                 Committee for the first impeachment and trial of President Trump.                              Public Interest Litigation


                 Alongside his litigation experience, Joshua has written for diverse audiences about legal
                 issues. His articles have appeared in The Washington Post, The Wall Street Journal, The
                 Harvard Law Review Forum, The University of Chicago Law Review, The Fordham Law
                 Review, The Daily Journal, The Guardian, The Atlantic, and Wired, and he has been
                 invited to speak at Harvard Law School, the 92nd Street Y, the ABA LGBT+ Forum,
                 the National Constitution Center, and Politics & Prose. Joshua also serves as an Adjunct
                 Professor at Georgetown Law School, where he co-teaches “Constitutional Litigation
                 and the Executive Branch.” Additionally, Joshua serves on the Board of Directors for
                 Citizens for Responsibility and Ethics in Washington (CREW).

                 In March 2012, Joshua and Larry Tribe of Harvard Law School published “The
                 Constitutional Inevitability of Same-Sex Marriage,” 71 Md. L. Rev. 471 (2012). In June
                 2014, they published an award-winning book, Uncertain Justice: The Roberts Court and
                 the Constitution (Henry Holt). In May 2018, they published their second book together,
                 To End a Presidency: The Power of Impeachment (Basic Books). The Economist proclaimed
                 this book “the definitive treatment of a vital subject.”


                 Following law school, Joshua clerked for Judge J. Paul Oetken of the Southern District
                 of New York, Judge Stephen Reinhardt of the Ninth Circuit Court of Appeals, and
                 Justice Anthony M. Kennedy of the United States Supreme Court.

                 Joshua has received widespread acclaim for his work. In 2021, he was recognized by The
                 American Lawyer as a “Young Lawyer of the Year”; more recently, Law360 named him
                 an “Appellate Rising Star” and Business Insider described him as a “Rising Star of the
                 Courtroom.” He has also been named to Washingtonian Magazine’s List of Most
                 Influential People in Washington in both 2021 and 2022. In January 2021, Joshua was
                 commissioned by Governor Andy Beshear as a Kentucky Colonel for successfully
                 defending the Governor’s COVID-19 public health measures at the Supreme Court. In
                 2014, Forbes named Joshua to its “30 under 30” Law & Policy List—and in 2016 it
                 named him an “Alumni All-Star” of past honorees.

                 Joshua received his JD, magna cum laude, from Harvard Law School. While in law
                 school, he interned at the Public Citizen Litigation Group and the Federal Defenders of
                 New York. He also served as Articles & Book Reviews Chair of the Harvard Law
                 Review. Joshua received his MSt, with distinction, from Oxford University, and his BA,
                 magna cum laude, from the University of Pennsylvania.
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                 Shawn G.
                 Crowley
                 Par tner
                 T: (212) 763-0883
                 E: scrowley@kaplanhecker.com

                   + VCARD




                 Shawn G. Crowley is a partner at Kaplan Hecker & Fink LLP, resident in the New York
                 oﬃce.                                                                                             EDUCATION

                                                                                                                   B.A., Northwestern University, 2006
                 A highly accomplished former federal prosecutor with a successful track record in high-
                 profile criminal and commercial matters, Shawn helps corporate and individual clients             J.D., Columbia Law School, 2011
                 to navigate and resolve complex internal and government-led investigations, and to
                 implement eﬀective compliance and remediation programs.
                                                                                                                   CLERKSHIPS

                 Shawn has a diverse white-collar practice, representing companies and individuals in              Hon. Lewis A. Kaplan, U.S. District

                 connection with white-collar criminal defense and investigations by the Department of             Court for the Southern District of New
                                                                                                                   York
                 Justice, the Securities and Exchange Commission, the Treasury Department’s Oﬃce of
                 Foreign Asset Control, the Commodities Futures Trading Commission, and state and
                 local enforcement agencies. These matters and investigations have included, among                 FELLOWSHIPS, LEADERSHIP &
                 other things, alleged insider trading, securities and wire fraud, sanctions evasion, money        RECOGNITION
                 laundering, and diversion of controlled substances. Shawn also maintains a broad civil            Best Lawyers: One to Watch, Litigation
                 practice, including advising clients in matters concerning allegations of harassment and          - Securities, Best Lawyers, 2023
                 discrimination, as well as contractual and labor and employment disputes.
                                                                                                                   40 & Under Hot List, Benchmark
                                                                                                                   Litigation, 2022
                 Shawn has briefed and argued numerous appeals before the U.S. Court of Appeals for
                 the Second Circuit. Her contributions to public service have been recognized with the             Leading Plaintiﬀ Employment & Civil
                 Director’s Award for Superior Performance by a Litigative Team and the U.S.                       Rights Lawyers, Lawdragon 500,b2022
                 Department of Justice Assistant Attorney General’s Award.
                                                                                                                   Director’s Award for Superior
                                                                                                                   Performance by a Litigative Team,
                 Shawn’s current and recent representations include:
                                                                                                                   2019

                   Representing employees of a major financial services institution in connection with             U.S. Department of Justice Assistant
                   DOJ and SEC investigations into block trading                                                   Attorney General’s Award, 2019

                   Representing the former CEO of a global technology company in a state attorney                  James Kent Scholar, Columbia Law
                   general criminal investigation of insider trading                                               School

                   Representing employees of a Wall Street bank in connection with an SEC inquiry into             Harlan Fisk Stone Scholar, Columbia
                   the bank’s preservation of oﬀ-channel communications                                            Law School

                                                                                                                   Editor-in-Chief, Columbia Journal of
                   Representing various individuals in separate federal criminal investigations into insider
                                                                                                                   Environmental Law
                   trading
                                                                                                                   Alfred S. Forsyth Prize for Excellence
                   Representing the former founder and head of a crypto-currency hedge fund who was
                                                                                                                   in Environmental Law, Columbia Law
                   prosecuted by the U.S. Attorney’s Oﬃce of the Southern District of New York for                 School
                   fraud

                   Representing the principal of a financial services firm in connection with DOJ and              BAR AND COURT ADMISSIONS
                   SEC investigations into short trading and market manipulation.
                                                                                                                   U.S. Court of Appeals for the Second
                                                                                                                   Circuit
                   Representing a witness in a criminal investigation into a real estate company for
                   potential wrongdoing                                                                            U.S. District Court for the Southern
                                                                                                                   District of New York
                   Representing the Democratic National Committee in connection with a criminal
                   investigation relating to the 2016 presidential election, as well as a defamation and           New York
                   civil RICO suit brought by former president Donald J. Trump

                   Representing an employee of New York-based non-profit in DOJ investigation into
                   potential kickback scheme

                   Representing professional athletes with claims of harassment

                   Representing a financial services firm in an SEC investigation related to SPACs             Areas of Specialty
                   Representing a former oﬃcer of a fortune-500 company in connection with a
                                                                                                                Appellate Litigation   Cryptocurrency
                   DOJ/SEC accounting fraud investigation
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                   Representing an individual in connection with a Commodity Futures Trading                   Cybersecurity and Data Privacy
                   Commission investigation into swaps trading at a large commercial bank
                                                                                                               Employment, Discrimination, and Sexual
                                                                                                               Misconduct
                   Representing an employee of a major transport-solutions company in connection with
                   a DOJ investigation into the company’s compliance measures                                  FCPA and Anti-Corruption

                                                                                                               Investigations and Crisis Management
                   Representing a non-profit homeless services provider in connection with state and
                   federal criminal investigation into its former CEO relating to embezzlement and             Public Interest Litigation
                   kickbacks                                                                                   Regulatory Enforcement and Litigation

                                                                                                               Securities Enforcement and Litigation    Trials
                 Shawn joined the firm after serving for more than six years as an Assistant United States
                 Attorney in the United States Attorney’s Oﬃce for the Southern District of New York,          White Collar Criminal Defense
                 during which time she investigated, supervised, and prosecuted a variety of cases,
                 including matters involving terrorism and national security oﬀenses, sanctions
                 violations, money laundering, cyber-terrorism, opioid diversion, and international
                 narcotics traﬃcking. Shawn was Co-Chief of both the Narcotics Unit and Terrorism
                 and International Narcotics Unit, supervising dozens of Assistant U.S. Attorneys,
                 investigators, and other personnel in investigations, prosecutions, and trials involving a
                 wide range of national security, drug traﬃcking, and white-collar oﬀenses.


                 Notable cases that Shawn supervised include the first-ever felony charges against an
                 opioid distributor, Rochester Drug Co-Operative, and its former chief executive oﬃcer
                 and chief compliance oﬃcer, in 2019, which resulted in a trial conviction, deferred
                 prosecution agreement, imposition of a monitorship and $20 million fine, and guilty
                 pleas; sanctions evasion, money laundering, and fraud charges against Türkiye Halk
                 Bankasi A.Ş. or “Halkbank,” for its alleged participation in a multi-billion-collar Iranian
                 sanctions-evasion scheme; the capital prosecution of Sayfullo Saipov for the alleged
                 2017 truck attack in Tribeca; and the coordinated narcotics-traﬃcking charges against
                 five doctors and two other health care professionals for oxycodone diversion in 2018.
                 Shawn also supervised the 2020 prosecution of the sitting president of Venezuela,
                 Nicolás Maduro, and other high-level Venezuelan oﬃcials, on charges of narco-
                 terrorism and weapons oﬀenses.


                 Shawn has tried numerous cases as a prosecutor, including those involving terrorism
                 oﬀenses, money laundering, opioid diversion, racketeering, murder, and narcotics
                 traﬃcking. These included the trial and conviction of the so-called “Chelsea Bomber,”
                 Ahmad Khan Rahimi, for perpetrating a terrorist attack bombing in the Chelsea
                 neighborhood of Manhattan in October 2016, and the trial and conviction of Akayed
                 Ullah for his attempted suicide bombing in the Times Square subway station in 2017.
                 Shawn previously served as a Lecturer-in-Law at Columbia Law School, where she
                 supervised externships for law students within the Southern District of New York. She
                 began her career as an associate at Cravath, Swaine & Moore LLP where she
                 maintained a broad commercial litigation practice with a focus on matters involving
                 violations of federal securities and antitrust laws, and served as a law clerk to the
                 Honorable Lewis A. Kaplan of the United States District Court for the Southern
                 District of New York.


                 Shawn received her JD from Columbia Law School, where she was a James Kent
                 Scholar, a Harlan Fisk Stone Scholar, the editor-in-chief of the Columbia Journal of
                 Environmental Law, and a recipient of the Alfred S. Forsyth Prize for Excellence in
                 Environmental Law. She received her BA from Northwestern University.




                 Read about Shawn G. Crowley in our Newsroom




                 Published on: JULY 27, 2022                      Published on: JUNE 16, 2022                   Published on: MAY 24, 2022


                 Several Partners Named to                        Kaplan Hecker & Fink                          New York’s Adult Survivors Act
                 Benchmark Litigation’s 2022                      Attorneys Named to 2022                       (A648/S66)
                 40 & Under Hot List                              Lawdragon 500 Leading                         On May 24, Governor Hochul signed into
                 Kaplan Hecker & Fink LLP is proud to             Plaintiﬀ
                                                                  Plainti ﬀ Employment & Civil                  law the Adult Survivors Act (A648/S66)
                 announce partners Shawn Crowley, Joshua          Rights Lawyers Guide                          (the “Act”). The Act amends New York’s
                 Matz, John Quinn, and Ray Tolentino have                                                       Civil Practice Law and Rules (“CPLR”)
                                                                  NEW YORK, NY, June 16, 2022 – Kaplan
                 been named to Benchmark Litigation’s                                                           to...READ   MORE
                                                                  Hecker & Fink LLP is pleased to announce
                 2022...READ   MORE
                                                                  that 10 of its lawyers have been named to
                                                                  the 2022 Lawdragon 500 Leading        READ
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             Carmen Iguina
             González
             Counsel

             T: (212) 763-0883
             E: ciguinagonzalez@kaplanhecker.com

               + VCARD




             Carmen Iguina González is counsel at Kaplan Hecker & Fink, resident in the DC oﬃce.
             She joined the firm in 2022.                                                                EDUCATIONb

                                                                                                         AB, Harvard University, 2005
             Carmen specializes in appellate and complex civil litigation and has substantial
                                                                                                         magna cum laudeb
             experience representing clients in matters related to administrative, constitutional, and
             civil rights law. She is a nationally renowned civil rights litigator whose work has
             advanced the rights of immigrants and people of color, including litigation concerning      JD, New York University School of
             the right to legal representation, basic fairness in removal proceedings, and critical      Law, 2010
             protections against arbitrary detention. She has won path-breaking court rulings,           magna cum laudeb

             advocated for the rights of asylum seekers, unaccompanied immigrant children,               Root Tilden Kern Scholar
             families, and other immigrants seeking refuge in the United States, and has worked with
             federal, state, and local governments to enact policies aimed at protecting immigrant
                                                                                                         CLERKSHIPSb
             communities. In addition to her legal work, Carmen advocates for immigrants’ rights
             and has frequently written on related topics, including California immigration              Hon. Sonia Sotomayor, US Supreme
             legislation, injustices in the asylum-seeking process, and the mistreatment of immigrants   Court of the United States
             with serious mental disabilities in immigration detention centers.
                                                                                                         Hon. Stephen R. Reinhardt, US Court
                                                                                                         of Appeals for the Ninth Circuit
             Carmen is a member of the Hispanic Bar Association of the District of Columbia, the
             Hispanic National Bar Association, and the DC Circuit Standing Committee on Pro             Hon. Kiyo A. Matsumotom US
             Bono Legal Services. She also serves as a mentor to young lawyers through The               District Court for the Eastern District
             Appellate Project, NYU Birnbaum Women’s Leadership Network Fellows Program, and             of New York
             the NYU Law Alumni of Color Association. In 2022, Carmen was recognized by the
             Hispanic National Bar Association among their “Top Attorneys Under 40.” She has also        FELLOWSHIPS, LEADERSHIP &
             been recognized in 2018 as a “40 Under 40 Rising Star” by the NYU Law Alumni of             RECOGNITIONb
             Color Association, in 2016 as a California Attorney of the Year (Immigration), and in
                                                                                                         Top Attorneys Under 40, Hispanic
             2014 as the recipient of the American Immigration Lawyers Association, Jack                 National Bar Association, 2022
             Wasserman Memorial Award.
                                                                                                         40 Under 40 Rising Star, NYU Law
             Carmen joined the firm from the ACLU Immigrants’ Rights Project, where she worked           Alumni of Color Association, 2018
             as a Senior Staﬀ Attorney. At the ACLU, Carmen developed and led complex civil
                                                                                                         California Attorney of the Year
             rights litigation and engaged in advocacy to protect the rights of immigrant                (Immigration), 2016
             communities, including constitutional, statutory, and administrative law challenges to
             detention practices, restrictions on asylum, and immigration enforcement abuses. She        American Immigration Lawyers
             represented immigrant detainees in challenges concerning the adequacy of procedures         Association, Jack Wasserman Memorial
             aﬀorded at initial bond hearings. Carmen also served as counsel for plaintiﬀs in            Award, 2014
             litigation challenging the practice of forcibly separating children from their parents at
             the US border. She also represented asylum seekers and organizational plaintiﬀs before
             the US Supreme Court and federal district court in challenges to the “Remain in
             Mexico” immigration policy.


             Carmen has served as a law clerk at every level of the federal judiciary, having clerked
             for the Hon. Sonia Sotomayor of the Supreme Court of the United States, the Hon.
             Stephen R. Reinhardt of the United States Court of Appeals for the Ninth Circuit, and
             the Hon. Kiyo A. Matsumoto of the United States District Court for the Eastern
             District of New York.
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             Prior to joining the ACLU as Senior Staﬀ Attorney, Carmen was an associate for Jones
             Day, where she represented clients in complex civil, criminal, and administrative
             matters as an attorney in the Issues and Appeals practice group. She also maintained an
             active pro bono docket, including the Laredo Project, which has provided legal counsel,
             as well as legal education, to over 10,000 asylum seekers who have been detained by the
             US government. Carmen also represented asylum seekers pro bono in proceedings
             before the Immigration Court and Board of Immigration Appeals.


             From 2012 to 2017, Carmen was an Equal Justice Works Fellow and then a Staﬀ
             Attorney at the ACLU of Southern California, where her work included acting as
             counsel in the first case that established a right to appointed legal representation for any
             group of immigrants facing deportation. This case, Franco v. Holder, requires the federal
             government to provide legal representation to immigrants with serious mental
             disabilities. She was also counsel in J.E.F.M. v. Holder, a nationwide class action lawsuit
             seeking to require the government to provide children with legal representation in their
             deportation hearings, and in Alfaro Garcia v. Holder, a nationwide class action lawsuit
             filed on behalf of thousands of immigrants fleeing persecution who had faced months of
             detention while awaiting reasonable fear determinations.


             Beyond her work pertaining to immigrant rights, Carmen has done critical work related
             to criminal justice. Carmen worked alongside a legal team in Youth Justice Coalition v.
             City of Los Angeles, a class action lawsuit on behalf of thousands of Angelenos against the
             Los Angeles police and prosecutors who unfairly subjected the plaintiﬀs to restrictive
             “gang injunctions” without due process. These “gang injunctions” included court
             orders that turn common behavior into crimes, such as possessing cell phones, drinking
             alcohol on your own front porch, and associating with people the police claim are also
             gang members. Carmen helped develop that litigation, working alongside community
             organizations to gather facts and interview aﬀected community members, develop the
             legal claims, and brief key pleadings in the case. The team ultimately settled the case
             with the City of Los Angeles, ensuring that no resident is subjected to “gang
             injunctions” without fair warning and process.


             Carmen was also lead counsel in Bridges v. United States, a criminal habeas appeal
             before the US Court of Appeals for the Seventh Circuit concerning the right to eﬀective
             assistance of counsel at sentencing proceedings. Bridges v. United States established
             hugely important precedent in the circuit holding that defense counsel must develop
             and raise claims that have been foreshadowed in the case law, even when there was no
             binding in-circuit precedent on that exact issue. Carmen developed the arguments and
             argued the case before the court of appeals, ultimately securing this important victory
             for criminal defendants in the circuit.

             Carmen received her JD, magna cum laude, from New York University School of Law,
             where she was a Root Tilden Kern Scholar and recipient of the Maurice Goodman
             Memorial Prize, awarded for outstanding scholarship and character, and the Ann
             Petluck Poses Memorial Prize, awarded for outstanding work in a clinical course
             requiring student practice. Carmen also served as an Articles Editor at the New York
             University Law Review. She received her AB, magna cum laude, from Harvard University,
             where she graduated with highest honors in her field and was awarded the Gordon W.
             Allport Prize for Distinguished Senior Thesis.




             Read about Carmen Iguina González in our Newsroom
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                 Max Feldman
                 Senior Associate

                 T: (212) 763-0883
                 E: mfeldman@kaplanhecker.com

                   + VCARD




                 Max Feldman is a senior associate at Kaplan Hecker & Fink LLP.
                                                                                                               EDUCATION
                 Max was previously counsel at the Brennan Center for Justice at NYU School of Law,
                                                                                                               A.B., Harvard College, 2007
                 where he litigated high-profile voting rights cases in state and federal courts at both the
                 trial and appellate level. Among his most significant matters were a challenge to Texas       J.D., NYU School of Law, 2013
                 Governor Greg Abbott’s restrictions on absentee ballot drop-oﬀ locations ahead of the
                                                                                                               magna cum laude
                 2020 election, a challenge to the security of Georgia’s voter registration system that
                 resulted in new provisions of state law, and a lawsuit that prevented Texas from turning
                 over voter data to President Trump’s “voter fraud” commission. Max also provided legal        CLERKSHIPS
                 and policy advice to policymakers and advocates on election issues, including providing
                                                                                                               Hon. Bruce M. Selya, U.S. Court of
                 assistance with legislative drafting. Max wrote a number of reports on election               Appeals for the First Circuit
                 administration that have been cited extensively in the media, including by the New York
                 Times, the Washington Post,bthe New Yorker, and Vox. A plan to protect the 2020 election
                                                                                                               FELLOWSHIPS, LEADERSHIPb&
                 from the coronavirus that he co-authored was widely endorsed by civil rights groups and
                                                                                                               RECOGNITION
                 political scientists.
                                                                                                               Order of the Coif, NYU School of Law
                 Prior to his time at the Brennan Center, Max was a litigation associate at Munger,
                                                                                                               Florence Allen Scholar, NYU School of
                 Tolles & Olson LLP. There, he maintained a complex commercial litigation practice,
                                                                                                               Law
                 representing clients in a range of industries, including financial services and energy. A
                 significant part of his practice focused on representing major financial institutions in      Guarini Scholar, NYU School of Law
                 litigation related to mortgages and mortgage-backed securities. In addition, he
                                                                                                               Staﬀ Editor, NYU Law Review
                 maintained a pro bono practice focused on immigration proceedings. Max also clerked
                 for the Honorable Bruce M. Selya of the U.S. Court of Appeals for the First Circuit.          Articles Editor, NYU Law Review


                 Max received his J.D. magna cum laude from the New York University School of Law,
                                                                                                               BAR AND COURT ADMISSIONS
                 where he was elected to the Order of the Coif and served as an articles editor of the
                 NYU Law Review.                                                                               U.S. Court of Appeals for the Ninth
                                                                                                               Circuit

                 Prior to law school, Max worked as a speechwriter, including as the head speechwriter         U.S. District Court for the Southern
                 for Governor David Paterson of New York. He graduated from Harvard College with an            District of California
                 A.B. in Philosophy.
                                                                                                               U.S. District Court for the Western
                                                                                                               District of Michigan

                                                                                                               New York




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                    Anna Collins
                    Peterson
                    Associate
                    T: (212) 763-0883
                    E: apeterson@kaplanhecker.com

                      + VCARD




                    Anna Collins Peterson is an associate at Kaplan Hecker & Fink LLP.
                                                                                                                  EDUCATION
                    She joined the firm after completing clerkships for the Honorable James A. Wynn, Jr. of
                                                                                                                  B.A., University of North Carolina at
                    the United States Court of Appeals for the Fourth Circuit and the Honorable Rebecca
                                                                                                                  Chapel Hill, 2012
                    Goodgame Ebinger of the United States District Court for the Southern District of
                    Iowa.                                                                                         Phi Beta Kappa

                                                                                                                  J.D., University of Wisconsin Law
                    Anna graduated summa cum laude from the University of Wisconsin Law School, where
                                                                                                                  School, 2018
                    she was first in her class. While in law school, she served as the Senior Articles Editor
                    for the Wisconsin Law Review. She was inducted into the Order of the Coif and received        summa cum laude
                    awards including the Bruce Beilfuss Memorial Award for Service to the Law School, the
                    Gwynette Smalley Law Review Prize, the Mathys Memorial Award for Achievement in
                                                                                                                  CLERKSHIPS
                    Moot Court Competitions, and several Best Performance in Class awards. She also
                    worked on campaign finance and election law as a research assistant to Professor Robert       Hon. James A. Wynn, Jr., U.S. Court
                    Yablon, provided post-conviction legal assistance to people in Wisconsin state prisons as     of Appeals for the Fourth Circuit

                    a student attorney at the Frank J. Remington Center, and took part in the New York            Hon. Rebecca Goodgame Ebinger,
                    City Bar National Moot Court Competition.                                                     U.S. District Court for the Southern
                                                                                                                  District of Iowa
                    Prior to law school, Anna worked as the traveling exhibits coordinator for the Wisconsin
                    Veterans Museum, as a corporate trainer at a software company, and interned in the
                                                                                                                  FELLOWSHIPS, LEADERSHIPb&
                    curator’s oﬃce of the Supreme Court of the United States. She graduated Phi Beta
                                                                                                                  RECOGNITION
                    Kappa from the University of North Carolina at Chapel Hill.
                                                                                                                  Order of the Coif, University of
                                                                                                                  Wisconsin Law School

                                                                                                                  Bruce Beilfuss Memorial Scholarship
                                                                                                                  for Service to the Law School,
                                                                                                                  University of Wisconsin Law School

                                                                                                                  Gwynette Smalley Law Review Prize,
                                                                                                                  University of Wisconsin Law School

                                                                                                                  Mathys Memorial Award for
                                                                                                                  Achievement in Moot Court
                                                                                                                  Competitions, University of Wisconsin
                                                                                                                  Law School

                                                                                                                  Sonnet Schmidt Edmonds Award for
                                                                                                                  Excellence in Energy Law, University
                                                                                                                  of Wisconsin Law School

                                                                                                                  Senior Articles Editor, Wisconsin Law
                                                                                                                  Review

                                                                                                                  Rath Foundation Scholarship,
                                                                                                                  University of Wisconsin Law School


                                                                                                                  BAR AND COURT ADMISSIONS

                                                                                                                  U.S. Court of Appeals for the Fourth
                                                                                                                  Circuit

                                                                                                                  U.S. District Court for the Western
                                                                                                                  District of Wisconsin

                                                                                                                  Wisconsin

                                                                                                                  District of Columbia

                                                                                                                  New York
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              Maggie Turner %LRJUDSK\
              March 2022
              Margaret “Maggie” Turner is an associate at Kaplan Hecker & Fink LLP.

              Maggie joined the firm after completing a clerkship with the Honorable Ronald M. Gould of the
              U.S. Court of Appeals for the Ninth Circuit. Prior to clerking, Maggie was a summer associate at
              Kellogg, Hansen, Todd, Figel & Frederick PLLC. In 2022, Maggie will clerk for the Honorable
              Carol Bagley Amon of the U.S. District Court for the Eastern District of New York.

              Maggie graduated PDJQDFXPODXGH from the University of Michigan Law School, where she
              was inducted into the Order of the Coif. She served as a Notes Editor for the 0LFKLJDQ/DZ
              5HYLHZand as Co-President of the American Constitution Society. At Michigan, Maggie was a
              finalist in the Henry M. Campbell Moot Court Competition and later served on the competition's
              executive board. She also competed on the mock trial team and was a finalist at the John L.
              Costello National Criminal Mock Trial Competition in Washington, D.C. As a student attorney
              in Michigan's Federal Appellate Litigation Clinic, Maggie represented indigent criminal
              defendants in the Sixth Circuit. As a 3L, she briefed and argued a successful habeas petition that
              resulted in a published opinion. During law school, Maggie interned in the Public Integrity
              Section of the United States Department of Justice, where she focused on public corruption and
              election law.

              Maggie began her career as an English literature teaching fellow at Millfield Senior School in
              Glastonbury, United Kingdom. She earned her B.A. in political philosophy, policy and law from
              the University of Virginia in 2014, graduating with distinction.

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                x B.A., University of Virginia, 2014
                      R ZLWK'LVWLQFWLRQ
                x J.D., University of Michigan, 2020
                      R PDJQDFXPODXGH

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                x Hon. Ronald M. Gould, U.S. Court of Appeals for the Ninth Circuit

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                x Order of the Coif, Michigan Law School
                x Notes Editor, 0LFKLJDQ/DZ5HYLHZ
                x Second Place, Henry M. Campbell Moot Court Competition, Michigan Law School
                x Problem Chair, Henry M. Campbell Moot Court Competition Board, Michigan Law
                   School
                x Co-President, American Constitution Society, Michigan Law School

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                x New York




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                                      304




             James Blum
             Associate

             T: (212) 763-0883
             E: jblum@kaplanhecker.com

               + VCARD




             James Blum is an associate at Kaplan Hecker & Fink LLP.
                                                                                                                                   EDUCATION
             Prior to joining Kaplan Hecker, James worked as a student advocate for the NAACP
                                                                                                                                   B.A., University of Michigan, 2013
             where he wrote memoranda for use in post-conviction cases. He also assisted in the
             preparation for a state post-conviction evidentiary hearing and researched an amicus                                  J.D., New York University School of
             brief contesting the constitutionality of the death penalty under state law. Previously,                              Law, 2020
             James served as a civil rights intern for the Surveillance Technology Oversight Project
             where he helped draft bills proposed in the New York Senate and conducted research,
                                                                                                                                   FELLOWSHIPS, LEADERSHIP &
             drafted testimony, and white papers relating to technologies and procedures threatening                               RECOGNITION
             New Yorkers’ privacy.
                                                                                                                                   Semifinalist, Marden Moot Court
                                                                                                                                   Competition
             James graduated New York University School of Law where he was a Marden Moot
             Court Competition semifinalist and a staﬀ editor for Review of Law & Social Change.                                   Staﬀ Editor, Review of Law & Social
             He also worked as a research and teaching assistant. He earned a B.A. from the                                        Change
             University of Michigan in Economics.

                                                                                                                                   BAR AND COURT ADMISSIONS

                                                                                                                                   New York




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                    Kelsey Dietrich
                    Senior Case Manager
                    T: (212) 763-0883
                    E: kdietrich@kaplanhecker.com

                      + VCARD




                    Kelsey Dietrich is a senior case manager at Kaplan Hecker & Fink LLP.
                                                                                                                                          EDUCATION
                    Kelsey joins the firm after serving as a litigation paralegal at Vedder Price P.C, where
                                                                                                                                          B.A., Loyola University Chicago
                    she supported teams of attorneys in complex litigations up to and through the trial
                                                                                                                                          cum laude
                    phase and in responding to DOJ and SEC investigations. She previously worked as a
                    legal secretary and legal assistant at other Chicago-based law firms.

                    Kelsey also has an extensive background in political volunteering, including work
                    helping to lead volunteer teams in national campaigns. She has similarly served as a
                    public benefits enrollment volunteer for Legal Aid Chicago, assisting applicants for cash
                    assistance and other public benefits to navigate complex government processes.

                    Kelsey is a cum laude graduate of Loyola UniversitybChicago where she majored in
                    International Studies and minored in Spanish and Marketing. She likewise received a
                    Certificate in Paralegal Studies from the University’s Institute of Paralegal Studies.




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                                                                                       )3K3IJEDVI36/I28D6VJ/C3V18H1M?/K3  KEV
                                                                                       &" VK3/CV3C/8@V1EHH3JV ED23D13VO8K7V( V!M/H28E@/V/D2V
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                                                                        Fees

  Date            Timekeeper   Rate                  Time               AmountClaimed                               Description

                                                                                           TelephoneconferencewithJ.Matz,S.Crowley,A.
                                                                                           Petersonregarding                                           
                                                                                                          ;analysisregarding                            
                                                                                                                            anddraftemailtoclient
                                                                                           regardingsame;reviewA.Petersonanalysisofclaimsin
                                                                                           connectionwith                                          ;email
                                                                                           correspondencewithJ.Matzconcerning                 
4/7/2022 MaximillianFeldman   $450.00 2.5          $1,125.00                  .
                                                                                           CommoninterestcallwithcounselforPerkinsCoiere
4/7/2022 ShawnCrowley         $700.00 1.2           $840.00    strategy.
4/11/2022 JoshuaMatz          $700.00 0.5           $350.00    CallwLevyFirestonecounselre:casestrategy.
4/11/2022 JoshuaMatz          $700.00 1.4           $980.00    Clientcallre:                                .

                                                                                           CommoninterestcallwithcounselforFusionand
                                                                                           discussionwithJ.Matzresame;callwithclientre
4/11/2022 ShawnCrowley        $700.00 1.1           $770.00
                                                                                                                                                                                                      304




                                                                                        ReviewdocumentsshowingservicesentbyJ.Matzand
                                                                                        coordinatewithcasemanagerforworkspace
4/12/2022 AnnaPeterson        $375.00 0.1            $37.50 organization.
4/12/2022 JoshuaMatz          $700.00 0.4           $280.00 Furtheroutreachre:potentiallocalcounsel.
4/12/2022 JoshuaMatz          $700.00 0.1            $70.00 Correspondwclientre:
                                                                                        SendMonicaanemail                               
4/12/2022 JoshuaMatz          $700.00 0.3           $210.00
4/12/2022 JoshuaMatz          $700.00 0.7           $490.00 CallwithGrahamWilson+followup.

4/12/2022 KelseyDietrich      $150.00 0.5             $75.00 Attentiontofilemanagementofreceivedsummonses.
                                                                                         Reviewnotesfromcallwithcommoninterestgroupand
4/13/2022 AnnaPeterson        $375.00 0.2             $75.00 emailS.Crowleyaboutthesame.
                                                                                         Reviewemailsummaryofcommoninterestcallearlierin
4/13/2022 JoshuaMatz          $700.00 0.4           $280.00 dayre:litigationstrategy.
4/13/2022 JoshuaMatz          $700.00 2.0          $1,400.00 Reviseandsendclientdraft
4/13/2022 JoshuaMatz          $700.00 0.7           $490.00 Callsandemailsre:obtaininglocalcounsel.
                                                                                                                                                                Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 67 of




4/13/2022 ShawnCrowley        $700.00 0.7           $490.00 Commoninterestcall;discussionwithJ.Matzrestrategy.
                                                                   Page3of26
                                                                                Fees

  Date             Timekeeper     Rate                   Time                   AmountClaimed                            Description

                                                                                                   CallwithS.Crowleytodiscusscasestatusandneeded
4/14/2022 AnnaPeterson           $375.00 0.5                $187.50    research;reviewpreviousresearchonclaimsincomplaint.
4/14/2022 ShawnCrowley           $700.00 0.3                $210.00    ConferencewithAnnaCollinsPetersonrestrategy.
                                                                                                   Researchclaimsincomplaintandpotentialdefenses;take
4/15/2022   AnnaPeterson         $375.00      2.7          $1,012.50   notesonthesame.
4/15/2022   JoshuaMatz           $700.00      0.4           $280.00    Callre:localcounselrepresentation.
4/15/2022   KelseyDietrich       $150.00      0.7           $105.00    CompilerecentcourtfilingsinTrumpv.Clinton.
4/15/2022   ShawnCrowley         $700.00      1.0           $700.00    CallwithpotentiallocalcounselWilfredoFerrer.
4/16/2022   MaximillianFeldman   $450.00      0.1             $45.00   Reviewdocketupdates.

                                                                                                ReviewCourtorderconcerningtrialdateandemail
                                                                                                correspondencewithKHFteamregardingsame;review
4/17/2022 MaximillianFeldman     $450.00 0.4                $180.00 Williams&Connollydraftmotiontodismiss.

                                                                                                   Research                                              
                                                                                                                   ;analyzethesameinlightof
                                                                                                                                                                                                       304




                                                                                                allegationsincomplaint;takenotesonthesame;draft
4/18/2022 AnnaPeterson           $375.00 2.2                $825.00 emailtoM.Feldmansummarizingthesame.
                                                                                                Correspondencere:declinationbypotentiallocalcounsel
                                                                                                andfollowupwithMonicare:nextsteps          
4/18/2022 JoshuaMatz             $700.00 0.9                $630.00                                    .
                                                                                                TelephoneconferencewithA.Petersonregardingcase
                                                                                                status;correspondencewithS.Crowleyregardingclaims;
                                                                                                emailcorrespondencewithA.Petersonregarding
4/18/2022 MaximillianFeldman     $450.00 0.7                $315.00 researchandreviewresearch.

                                                                                                Callwithteamtodiscussstatusandplanforfilings;review
4/19/2022 AnnaPeterson           $375.00 0.8                $300.00 docketalertsandbriefsentbycommoninterestcounsel.
                                                                                                PrepareforandparticipateincallwithShawn,Max,and
                                                                                                Annare:latestdevelopmentsandnextstepsinMTD
4/19/2022 JoshuaMatz             $700.00 0.5                $350.00 practice.
                                                                                                Preparefor,participatein,anddebriefcallwithpotential
4/19/2022 JoshuaMatz             $700.00 0.7                $490.00 localcounsel.
                                                                                                                                                                 Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 68 of




                                                                         Page4of26
                                                                         Fees

  Date           Timekeeper     Rate                  Time               AmountClaimed                             Description

                                                                                          TelephoneconferencewithJ.Matz,S.Crowley,andA.
                                                                                          Petersonregardingmotiontodismiss;reviewcomplaint
4/19/2022 MaximillianFeldman   $450.00 2.4          $1,080.00 andlegalresearchregardingsame.

4/19/2022 ShawnCrowley         $700.00 0.6           $420.00 Teamconferencerestrategy;correspondencewithclient.

4/19/2022 JoshuaMatz           $700.00 0.2           $140.00 Correspondw/DWSstaffre:

                                                                                            Takenotesonallegationsincomplaintspecifictoclient;
                                                                                            reviewcaselawandtreatisesaddressing                  
                                                                                                             analyzethesameinlightofallegationsin
4/20/2022 AnnaPeterson         $375.00 5.2          $1,950.00   complaint;takenotesonthesame.
                                                                                            Preparefor,participatein,andupdateclientonjoint
4/20/2022 JoshuaMatz           $700.00 1.3           $910.00    defensecallre:motiontodismissstrategy.
                                                                                            PreparebinderforS.CrowleyofbriefsinTrumpv.Clinton
4/20/2022 KelseyDietrich       $150.00 0.7           $105.00    matter.
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4/20/2022 MaximillianFeldman   $450.00 0.2            $90.00    Draftmotiontodismissoutline.
                                                                                            CorrespondwithDavidDamronre:schedulingcalland
4/20/2022 JoshuaMatz           $700.00 0.3           $210.00
                                                                                          CallwithM.Turnertodiscussmatterandresearchneeds;
                                                                                          reviewmotiontodismissfiledbyotherdefendantto
                                                                                          identifyargumentstoincorporate;callwithM.Feldman
                                                                                          todiscussarguments,additionalresearch,andplanfor
4/21/2022 AnnaPeterson         $375.00 5.3          $1,987.50 outliningbrief.
4/21/2022 JoshuaMatz           $700.00 0.8           $560.00 ParticipateinandfollowuponcallwithMonica.
4/21/2022 JoshuaMatz           $700.00 0.2           $140.00 EmailupdatetoMonicare:

4/21/2022 JoshuaMatz           $700.00 0.2           $140.00 CorrespondwithKHFteamabouttimingondraftingMTD.
4/21/2022 JoshuaMatz           $700.00 0.7           $490.00 ReviewdraftMTDcirculatedbyHRCcounsel.
                                                                                         FurtherupdatetoMonicare:
                                                                                                                                             
4/21/2022 JoshuaMatz           $700.00 0.2           $140.00
                                                                                         CorrespondencewcounseltoHRC+additionallegal
                                                                                                                                                             Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 69 of




4/21/2022 JoshuaMatz           $700.00 1.5         $1,050.00 researchintostructureofdraftMTD.
                                                                    Page5of26
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                                                                         Fees

  Date           Timekeeper     Rate                  Time               AmountClaimed                            Description
                                                                                          AnalysisregardingcomplaintandClintonbrief;telephone
                                                                                          conferencewithA.Petersonregardingmotiontodismiss
                                                                                          brief;draftoutlineof                           of
4/22/2022 MaximillianFeldman   $450.00 3.0          $1,350.00 motiontodismissbrief.
4/22/2022 ShawnCrowley         $700.00 0.2           $140.00 DiscussionwithJ.Matzrestrategy.
                                                                                          Emailsabout                                       
                                                                                                                                              +
                                                                                          connectingtolocalcounselandwShawnCrowley+calls
4/22/2022 JoshuaMatz           $700.00 1.3           $910.00 withGibsonDunnre:statusupdates

                                                                                           Reviewandcirculatefilings;draftoutlineofargumentsfor
                                                                                           motiontodismissregarding                              
                                                                                                 ;reviewbriefsaddressingsimilarclaims,analyzein
4/23/2022 AnnaPeterson         $375.00 0.6           $225.00   lightofallegationsincomplaint.
                                                                                           Draftoutlineof                               ofmotionto
4/23/2022 MaximillianFeldman   $450.00 1.5           $675.00   dismissbrief.
                                                                                           Callwithclientre              ;correspondencewithlocal
                                                                                                                                                                                                  304




                                                                                           counselremotionforextension;reviewmotionfor
4/23/2022 ShawnCrowley         $700.00 0.6           $420.00   extension.
                                                                                           Reviewcorrespondenceanddraftsre:                 
4/24/2022 JoshuaMatz           $700.00 0.4           $280.00                               +filingsoverSaturday.
4/24/2022 JoshuaMatz           $700.00 0.2           $140.00   CorrespondwDNCinsurer.

                                                                                          Furtherreviewofthecomplaintwitheyetopotential
4/24/2022 JoshuaMatz           $700.00 2.3          $1,610.00 separatelegalargumentsandMTDstrategy.


                                                                                         CorrespondwithM.Turnerregardingadditionalresearch
                                                                                         formotiontodismiss;draftoutlineofargumentsfor
                                                                                         motiontodismissregarding                              
                                                                                                reviewbriefsaddressingsimilarclaims,analyzein
                                                                                         lightofallegationsincomplaint;reviewdocketentriesand
                                                                                         updatefilingdeadlinesbasedonthesame;reviewcases
                                                                                         addressing                                           and
                                                                                                                                                            Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 71 of




4/25/2022 AnnaPeterson         $375.00 4.3         $1,612.50 emailM.Feldmanaboutthesame.
                                                                    Page7of26
                                                                         Fees

  Date            Timekeeper    Rate                  Time               AmountClaimed                           Description
                                                                                         Attentiontofilemanagement;managementofBloomberg
4/25/2022 KelseyDietrich       $150.00 1.8           $270.00 alertsforTrumpv.Clinton.

                                                                                            Researched                                              
4/25/2022 MaggieTurner         $375.00 3.5          $1,312.50


                                                                                          Emailcorrespondencewithteamregardingcourtorderon
                                                                                          expeditedbriefingofTrumpmotionforextensionoftime;
                                                                                          draftsectionofmotiontodismissbriefconcerning         
                                                                                                        ;legalresearchisomotiontodismissbrief;
                                                                                          correspondencewithA.PetersonandM.Turnerregarding
                                                                                          legalresearch;emailcorrespondencewithJ.Quinn
4/25/2022 MaximillianFeldman   $450.00 5.4          $2,430.00 concerning                       legalanalysis.

4/25/2022 ShawnCrowley         $700.00 0.2           $140.00 Correspondencewithlocalcounselreprohacvicemotion.
                                                                                                                                                                                                 304




4/25/2022 JoshuaMatz           $700.00 0.2           $140.00 SendclientupdateonCourtgrantingextensionmotions
                                                                                         CallwithM.FeldmanandM.Turnertodiscusseditsand
                                                                                         revisionstomotiontodismissoutline;makeeditsto
4/26/2022 AnnaPeterson         $375.00 2.5           $937.50 outlinetoreflectthesame.
                                                                                         Correspondencere:litigationschedule+legalresearchre:
4/26/2022 JoshuaMatz           $700.00 0.6           $420.00 potentialMTDissues.

                                                                                         Researched                                             ;
                                                                                         reviewedandanalyzedMTDoutlinebycrossͲreferencing
                                                                                         HRCbrief;metwithassociateteamtodiscusssubstantive
4/26/2022 MaggieTurner         $375.00 2.4           $900.00 issuesandanyresearchholesinoutline.

                                                                                          Legalresearchisomotiontodismiss;reviseoutlineof
                                                                                          motiontodismiss;telephoneconferencewithA.Peterson
                                                                                          andM.Turnerregardingmotiontodismiss;reviewdocket
4/26/2022 MaximillianFeldman   $450.00 4.3          $1,935.00 updates;revisePHVapplication.
                                                                                                                                                           Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 72 of




                                                                  Page8of26
                                                                         Fees

  Date            Timekeeper    Rate                  Time               AmountClaimed                            Description

                                                                                          Correspondencewithlocalcounselreprohacvice
4/26/2022 ShawnCrowley         $700.00 0.7           $490.00 motion;callwithlocalcounsel
                                                                                          RevieweditsandcommentsonoutlinefromM.Feldman;
4/27/2022 AnnaPeterson         $375.00 3.0          $1,125.00 reviseoutlinetorespondtothesame.
                                                                                          DraftshellforMotiontoDismiss;updateinternalfiles
4/27/2022 KelseyDietrich       $150.00 1.6           $240.00 withrecentcourtfilings.

                                                                                         ReviewedandanalyzedMTDoutlinetodetermineany
4/27/2022 MaggieTurner         $375.00 0.6           $225.00 researchholesoreditsinpreparationtosendtoJ.Matz.
                                                                                         Reviseoutlineofmotiontodismiss;correspondencewith
                                                                                         A.Petersonregardingmotiontodismiss;attentiontoPHV
4/27/2022 MaximillianFeldman   $450.00 0.8           $360.00 application.

                                                                                          CallwithJ.Matz,S.Crowley,M.Feldman,andM.Turner
                                                                                          todiscussoutlineformotiontodismissandadditional
                                                                                          areasofresearch;followupcallwithM.FeldmanandM.
                                                                                                                                                                                               304




                                                                                          Turnerregardingthesame;review                         
                                                                                                                                        andtake
                                                                                          notesonthesame;begindraftingbriefinsupportof
4/28/2022 AnnaPeterson         $375.00 3.6          $1,350.00 motiontodismiss.
                                                                                          CarefullyreviewdraftoutlineforMTDpapers+callwith
4/28/2022 JoshuaMatz           $700.00 1.8          $1,260.00 KHFteamtosharefeedbackforfulldraft.

4/28/2022 JoshuaMatz           $700.00 0.2           $140.00 Reviewanddiscussclientinquiryre:localrepresentation.

                                                                                            MetwithJ.MatzandS.CrowleytodiscussMTDoutline;
                                                                                            metwithassociateteamtodiscussgameplanfor
                                                                                            additionalresearchanddrafting;researched         
4/28/2022 MaggieTurner         $375.00 3.7          $1,387.50

                                                                                         TelephoneconferencewithKHFteamregardingoutlineof
                                                                                         brief;telephoneconferencewithA.PetersonandM.
4/28/2022 MaximillianFeldman   $450.00 1.0           $450.00 Turnerregardingplanningforbrief.
                                                                                                                                                         Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 73 of




                                                                  Page9of26
                                                                         Fees

  Date           Timekeeper     Rate                  Time               AmountClaimed                         Description
                                                                                          Correspondencewithclient;reviewoutlineofmotionto
4/28/2022 ShawnCrowley         $700.00 1.1           $770.00 dismissandteamconferenceresame.
                                                                                          ReviewresearchsentbyM.Turner;reviewcases
                                                                                          addressing                                            
                                                                                                                  analyzeinlightofallegationsin
                                                                                          complaint;draftargumentsinbriefinsupportofmotion
4/29/2022 AnnaPeterson         $375.00 6.3          $2,362.50 todismiss.

                                                                                            Researched                             asresultof
                                                                                            discussionsaboutMTDoutline;researched                   
4/29/2022 MaggieTurner         $375.00 5.2          $1,950.00
                                                                                            Draft                          andcirculatetoteam;
                                                                                            correspondencewithA.Petersonregardingmotionto
                                                                                            dismissbrief;reviewM.Turnerresearchconcerning     
4/29/2022 MaximillianFeldman   $450.00 1.1           $495.00
                                                                                          RevisedraftofmotiontodismissanddraftemailtoM.
4/30/2022 AnnaPeterson         $375.00 1.0           $375.00 Feldmanaboutthesame.
                                                                                                                                                                                                   304




5/1/2022 MaximillianFeldman    $450.00 0.1             $45.00 Reviewdraftofmotiontodismissbrief.
5/2/2022 JoshuaMatz            $700.00 0.6           $420.00 Correspondencerestrategyforbriefs
                                                                                          ResearchedEleventhCircuitpleadingstandards 
                                                                                                    ;researchedcomparisoncasesinEleventh
                                                                                          Circuit                                    
5/2/2022 MaggieTurner          $375.00 3.4          $1,275.00

                                                                                          Draftmotiontodismissbrief;emailcorrespondencewith
                                                                                          M.Turnerregardingresearch;emailcorrespondencewith
                                                                                          J.MatzandS.Crowleyregardingbrief;legalresearchiso
5/2/2022 MaximillianFeldman    $450.00 4.5          $2,025.00 motiontodismissbrief.
5/2/2022 ShawnCrowley          $700.00 0.1             $70.00 Correspondencewithclient.
                                                                                          Reviewlatestdistrictcourtfilingsandseveralrelevant
5/3/2022 JoshuaMatz            $700.00 0.8           $560.00 cases(

5/3/2022 MaggieTurner          $375.00 5.0         $1,875.00 Researched
                                                                                         Draftmotiontodismissbrief;legalresearchisomotionto
                                                                                                                                                             Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 74 of




5/3/2022 MaximillianFeldman    $450.00 4.0         $1,800.00 dismissbrief.
                                                                   Page10of26
                                                                        Fees

  Date           Timekeeper    Rate                  Time               AmountClaimed                           Description
                                                                                         Draftmotiontodismissbrief;legalresearchisomotionto
5/3/2022 MaximillianFeldman   $450.00 4.4          $1,980.00 dismissbrief.
                                                                                         Reviewdraftmotiontodismissandmakeeditstothe
                                                                                         same;correspondwithM.FeldmanandM.Turnerabout
5/4/2022 AnnaPeterson         $375.00 3.0          $1,125.00 thesame.
                                                                                         CirculatetoteamJ.Podesta'sMotiontoDismiss;adddate
                                                                                         forstatusconferencetofirmdocketandcirculatesameto
5/4/2022 KelseyDietrich       $150.00 0.4             $60.00 team.

                                                                                         Editeddraftbrief;draftedresearchemailbasedonnotes
5/4/2022 MaggieTurner         $375.00 4.8          $1,800.00 fromJ.Matzcallsummarizingresearchdoneonbrief.

                                                                                         Draftmotiontodismissbrief;legalresearchisomotionto
                                                                                         dismissbrief;emailcorrespondencewithA.Petersonand
                                                                                         M.Turnerregardingbriefandrelatedresearch;email
                                                                                         correspondencewithJ.MatzandS.Crowleyregarding
                                                                                         brief;emailcorrespondencewithJ.MatzandS.Crowley
                                                                                                                                                                                              304




5/4/2022 MaximillianFeldman   $450.00 6.2          $2,790.00 regarding
5/4/2022 RobertaKaplan        $700.00 0.5           $350.00 AttentiontoPHV;schedulingconf.
5/4/2022 ShawnCrowley         $700.00 0.2           $140.00 Correspondencewithclientreupdates.

                                                                                         Reviewdraftandresearchinadvanceofcall;callwithJ.
                                                                                         Matz,S.Crowley,M.Feldman,andM.Turnertodiscuss
                                                                                         editstomotiontodismiss;takenotesonthesame;begin
5/5/2022 AnnaPeterson         $375.00 1.2            $450.00 makingeditsinlightofthesame.
                                                                                         ReviewdetailedanalysisfromMax,Maggie,andAnnare:
5/5/2022 JoshuaMatz           $700.00 0.4            $280.00 researchquestionsforMTDbriefing

5/5/2022 JoshuaMatz           $700.00 1.2            $840.00 Prepareforandparticipateincallre:draftMTDbrief

                                                                                         Researched                                              
                                                                                         researched                             ;metwithJ.Matz
5/5/2022 MaggieTurner         $375.00 2.2            $825.00 todiscussmotiontodismissdraft.
                                                                                                                                                        Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 75 of




                                                                 Page11of26
                                                                             Fees

  Date           Timekeeper    Rate                   Time                   AmountClaimed                               Description
                                                                                                TelephoneconferencewithKHFteamregardingbrief;
                                                                                                review             legalresearchisomotiontodismiss
5/5/2022 MaximillianFeldman   $450.00 3.0               $1,350.00   brief.
                                                                                                Reviewmotiontodismiss;correspondencewithclient;
5/5/2022 ShawnCrowley         $700.00 2.3               $1,610.00   teamcallremotiontodismiss.
                                                                                                Makeeditstomotiontodismiss;callwithM.Feldmanand
                                                                                                M.Turnertodiscussthesame;draftemailexplainingedits
5/6/2022 AnnaPeterson         $375.00 2.8               $1,050.00   regardingthesame.
                                                                                                ReviewdraftDNCmotiontodismissbriefandsharewith
5/6/2022 JoshuaMatz           $700.00 2.3               $1,610.00   RAKforfinalreview
                                                                                                Researched                                     ;editedbrief
5/6/2022 MaggieTurner         $375.00 3.1               $1,162.50   draftperJ.Matzcomments.
                                                                                                TelephoneconferencewithA.PetersonandM.Turner
                                                                                                regardingbrief;legalresearchisomotiontodismissbrief;
5/6/2022 MaximillianFeldman   $450.00 2.9               $1,305.00   revisemotiontodismissbrief.
5/6/2022 RobertaKaplan        $700.00 0.7                $490.00    EͲmailsre:opptomotiontodismiss.
                                                                                                Correspondencewithclient;conferencewithJ.Matzre
                                                                                                                                                                                                        304




5/6/2022 ShawnCrowley         $700.00 0.4                $280.00    motiontodismiss
                                                                                                AttentiontoR.Kaplaneditstobriefandinternal
5/7/2022 MaximillianFeldman   $450.00 0.6                $270.00    correspondenceregardingsame.
5/7/2022 RobertaKaplan        $700.00 2.7               $1,890.00   Editstomotiontodismiss.
                                                                                                RevieweditsfromR.Kaplantomotiontodismissand
                                                                                                reviewdraftincorporatingthesame;emailwithM.
                                                                                                FeldmanandM.Turnerregarding                       in
5/8/2022   AnnaPeterson       $375.00      1.0           $375.00    responsetoquestionfromR.Kaplan.
5/8/2022   JoshuaMatz         $700.00      0.5           $350.00    Begin        review.
5/8/2022   JoshuaMatz         $700.00      1.7          $1,190.00   Reviewreviseddraftandsharefeedback
5/8/2022   JoshuaMatz         $700.00      0.5           $350.00    Reviewrevised
5/8/2022   JoshuaMatz         $700.00      0.2           $140.00    AddressquestionfromMaxFre:MTDbrief
                                                                                                IncorporatedR.Kaplaneditsintobriefdraft;researched
5/8/2022 MaggieTurner         $375.00 2.7               $1,012.50                   toaddtodraft.
5/8/2022 MaximillianFeldman   $450.00 0.4                $180.00    Reviewcomplaintandmotiontodismissbrief.
5/8/2022 RobertaKaplan        $700.00 2.3               $1,610.00   Finaleditstomotiontodismiss.
                                                                                                                                                                  Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 76 of




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                                                                         Fees

  Date            Timekeeper    Rate                  Time               AmountClaimed                             Description
                                                                                           ConferwithM.Feldmanregardinginformationon
                                                                                           argumentbyotherdefensecounsel;revieweditsfrom
                                                                                           localcounsel;emailM.FeldmanandM.Turnerregarding
5/9/2022 AnnaPeterson          $375.00 1.3             $487.50 localrulesforsignatures.
5/9/2022 JamesBlum             $375.00 2.3             $862.50 DNCcitecheck.
5/9/2022 KelseyDietrich        $150.00 0.3              $45.00 Createshellforcorporatedisclosurestatement.

                                                                                           CoordinatedciteͲcheckofbrief;researched           
                                                                                                                               ;draftedcorporate
5/9/2022 MaggieTurner          $375.00 1.4             $525.00 disclosurestatementwithhelpfromcasemanager.

                                                                                           Attentiontocorrespondencewithclientsandlocal
                                                                                           counsel                                    ;
                                                                                           correspondencewithteamregardingcorporatedisclosure
                                                                                           certificate;reviewdraftcorporatedisclosurecertificate
                                                                                           andcirculatetoJ.MatzandS.Crowley;telephone
                                                                                           conferencewithcounselforNeustarregardingbriefs;
                                                                                                                                                                                               304




                                                                                           correspondencewithA.Petersonregarding         ;legal
5/9/2022 MaximillianFeldman    $450.00 1.9             $855.00 researchregard       .
                                                                                           Reviewmotiontodismissdraft;correspondencewith
                                                                                           clientredraft;correspondencewithcounselforNeustar;
5/9/2022 ShawnCrowley          $700.00 1.3             $910.00 callwithcounselforNeustar.

                                                                                           Draftsectionofmotiontodismissaddressing
5/10/2022 AnnaPeterson         $375.00 2.2             $825.00                                    reviewrecentfiling.
5/10/2022 JoshuaMatz           $700.00 0.5             $350.00 ReviewfurthereditstoMTDbrief

                                                                                           ReviseandformatMotiontoDismiss;addextensionof
5/10/2022 KelseyDietrich       $150.00 0.7             $105.00 timeforplaintiff'sresponsetofirmdocket.
5/10/2022 MaggieTurner         $375.00 1.7             $637.50 IncorporatedciteͲcheckandlocalcounseledits.
                                                                                           Reviseandfinalizebriefisomotiontodismiss;
                                                                                           correspondencewithteamregardingmotiontodismiss;
                                                                                           correspondenceconcerningcorporatedisclosure
5/10/2022 MaximillianFeldman   $450.00 2.2             $990.00 statementand
                                                                                                                                                         Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 77 of




5/10/2022 ShawnCrowley         $700.00 0.2             $140.00 Correspondencewithclientre
                                                                   Page13of26
                                                                         Fees

  Date            Timekeeper    Rate                  Time               AmountClaimed                                Description
                                                                                            Reviewbrieffiledbyotherdefendants;reviewmotionto
5/11/2022 AnnaPeterson         $375.00 1.6           $600.00    dismissandotherdocumentsforfiling.
                                                                                            FormatMotiontoDismissforfiling;saveother
                                                                                            defendants'MotionstoDismissfiledtodaytointernal
5/11/2022 KelseyDietrich       $150.00 1.0           $150.00    casefile.
                                                                                            ReviewedandanalyzedfiledFusionbrief;assistedwith
5/11/2022 MaggieTurner         $375.00 0.8           $300.00    coordinatingfinalproofingofbrief.
5/11/2022 MaximillianFeldman   $450.00 0.6           $270.00    Attentiontofinalizingbriefforfiling.
5/11/2022 RobertaKaplan        $700.00 0.8           $560.00    Attentiontomotiontodismiss.
                                                                                            ReviewFusionmotiontodismiss;correspondencewith
5/11/2022 ShawnCrowley         $700.00 1.0           $700.00    localcounselrefiling;fileMTD.
5/11/2022 ShawnCrowley         $700.00 0.3           $210.00    Correspondencewithclientre
                                                                                            Reviewmotionstodismissfiledbyotherdefendants;draft
                                                                                            summariesofthesame;coordinatehardcopysetoffilings
5/12/2022 AnnaPeterson         $375.00 3.2          $1,200.00   forR.Kaplan.
                                                                                            Saveotherdefendants'MotionstoDismissfiledtodayto
5/12/2022 KelseyDietrich       $150.00 0.3            $45.00    internalcasefile.
                                                                                                                                                                                                304




                                                                                            Reviewedandsummarizedforteamandclienttheother
5/12/2022 MaggieTurner         $375.00 1.4           $525.00    MTDsfiledinthecase.
5/12/2022 MaximillianFeldman   $450.00 0.1            $45.00    Reviewsummaryofparties'briefs.
5/12/2022 RobertaKaplan        $700.00 0.6           $420.00    EͲmailsre:variousmotions;etc.
                                                                                            Correspondencewithclientre                       
5/12/2022 ShawnCrowley         $700.00 0.1            $70.00
                                                                                            Attentiontorequestfromopposingcounselconcerning
                                                                                            extensionandcorrespondencewithS.Crowleyregarding
5/13/2022 MaximillianFeldman   $450.00 0.2            $90.00    same.
5/13/2022 RobertaKaplan        $700.00 0.8           $560.00    Emailswithteamre:filingsandstrategy.
                                                                                            Correspondenceredefendant'srequestforextensionof
5/13/2022 ShawnCrowley         $700.00 0.3           $210.00    time.
5/13/2022 MaximillianFeldman   $450.00 0.1            $45.00    Coordinatecallregarding

5/13/2022 ShawnCrowley         $700.00 0.1            $70.00 Correspondencewithclientre
5/14/2022 RobertaKaplan        $700.00 0.6           $420.00 Emailsre:statusconf.
                                                                                                                                                          Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 78 of




5/16/2022 AnnaPeterson         $375.00 0.3           $112.50 Reviewmotiontodismissfiledbyotherdefendant.
                                                                   Page14of26
                                                                         Fees

  Date           Timekeeper     Rate                  Time               AmountClaimed                            Description

5/16/2022 KelseyDietrich       $150.00 0.1             $15.00 CirculatetoteamHillaryForAmerica'smotiontodismiss.
5/16/2022 MaximillianFeldman   $450.00 0.1             $45.00 ReviewbrieffiledonbehalfofHFA.
                                                                                          TelephoneconferenceswithS.Crowleyregarding
                                                                                                         telephoneconferencewithclientstaff
5/16/2022 MaximillianFeldman   $450.00 0.9            $405.00 regarding

                                                                                            Review                       ;conferencewithM.Feldman
5/16/2022 ShawnCrowley         $700.00 0.8            $560.00   re                     andcallwithclientresame.
                                                                                            Cleanupnotesofclientcallconcerning           
5/17/2022 MaximillianFeldman   $450.00 0.1             $45.00                .
                                                                                            Prepforjointdefensegroupcallregardingscheduling
                                                                                            conference;jointdefensegroupcallregardingscheduling
5/18/2022 MaximillianFeldman   $450.00 0.5            $225.00   conference.
                                                                                            Callw/defensecounselre:strategy;eͲmailsw/D.Kendall
5/18/2022 RobertaKaplan        $700.00 0.7            $490.00   re:same.
                                                                                                                                                                                                304




5/18/2022 ShawnCrowley         $700.00 0.7           $490.00 JointdefensecallanddiscussionwithR.Kaplanresame.
                                                                                          Reviewsecondarysourcesandcaselawaddressing        
                                                                                                                     ;takenotesandconferwithM.
                                                                                          Turneraboutthesame;draftemailtoM.Feldman
                                                                                          summarizingthesame;followupresearchaboutthe
5/18/2022 AnnaPeterson         $375.00 4.7          $1,762.50 same.
                                                                                          Researched                                           
                                                                                                                                             
5/18/2022 MaggieTurner         $375.00 1.7           $637.50
                                                                                          CorrespondencewithA.PetersonandM.Turnerregarding
                                                                                                                 research;analyze           
5/18/2022 MaximillianFeldman   $450.00 0.4           $180.00              research.

                                                                                          Reviewresearchregarding                                 ;
                                                                                          draftcorrespondencetoclientconcerning        
                                                                                                            ;correspondencewithS.Crowley
5/19/2022 MaximillianFeldman   $450.00 0.6            $270.00 regarding                             .
                                                                                                                                                          Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 79 of




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                                                                               +.I3N.?2N18B1H;.F3NF@NG3.>N#@453EN.?173?:@EN.?2N
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                                                                               FF3?F8@?NF@N1@BC3EN @?23?13N4C@>N1=83?GN1@?13B?8?6N
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                                                                               )H;<N.?2N19C1H<.F3N@;.?N',N1@>A8<3NC313?FN/B834EN4@CN* N
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      N '.K9>8=<8.?N!3<2>.?N    N           N            N *3I83JN#.:3N+H;<8I.?N>@F8@?NF@N28E>8EEN0B834 N
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                                                                               "?G3C?.;NF3.>N1@CC3EA@?23?13NC36.C29?6NHA1@>8?6N1@HDFN
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                                                                                                                                                                                     304




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  N +7.J?NC@J;3LN              N           N           N 1@H?E3; N
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                                                                                 @BB3EA@?23?13NJ8F7N NC@J;3LN.?2N$ N'.GMNB36.C29?6N
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                                                                           <2;AJ-./.;@.J0><C=J,*89J>.0*>-2;0J+>3./4;0J,8.*;JC=J;<A.@
                                                                          </J!$J,*98J.:*39J,<>>.@=<;-.;,.JE3A1J(J><E9.GJ*;-J
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          J #*F3:2982*;J.8-:*;                            ;*9G@2@J>.0*>-2;0J*:.;-.-J,<:=9*2;A
                                                                          '.D2.EJ*:.;-.-J,<:=8*2;AJ*;-J.:*28J/><:J#J.9-:*;
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                                                                                ;*9G@2@J>.0*>-2;0J*:.;-.-J,<:=9*3;AJ.:*28
                                                                                ,<>>.@=<;-.;,.JE3A1JA.*:J>.0*>-2;0J*:.;-.-J,<:=8*3;A
                                                                                .:*29J,<>>.@=<;-.;,.JE2A1JA.*:J>.0*>-2;0J>.,C@*9J</
                                                                                :*02@A>*A.J6C-0.J.:*28J,<>>.@=<;-.;,.JE2A1JA.*:
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                                                                                ).9.=1<;.J,<;/.>.;,.JE2A1                          *>-2;0
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         J #*F3:2982*;J.8-:*;                                    +>3./3;0J*;*8G@3@J>.0*>-2;0J
         J '<+.?B*J"*=9*;                                         <2;AJ-./.;@.J.:*39@
         J (1*E;J><E9.G                      J                   <2;AJ-./.;@.J,*98J>.J*:.;-.-J,<:J 8*2;A
         J #*F3:2882*;J.8-:*;                                    ;*9G@2@J>.0*>-2;0
                                                                                '.D2.EJ;<A.@J/><:J>.,.;AJ,*98@J*;-J.:*39@J>.0*>-2;0J
                                                                                :<A2<;JA<J-2@:2@@J,<;/.>JE3A1J#J.8-:*;J*+<CAJ@A*AC@
                                                                                </JA1.J@*:.J>.D3.EJ=>3<>J+>2./2;0J*;-J>.@.*>,1J<;
   J ;;*J%.A.>@<;                                         

   J #*F3:2982*;J.8-:*;                                       '.@.*>,1J*;-J*;*9G@3@J>
                                                                              '.D2.EJ=>3<>J+>3./2;0J<;                                  
                                                                                                                                        
   J ;;*J&.A.>@<;                                         >.D2.EJ,*@.@J,2A.-J+GJ<A1.>J-./.;-*;A@
                                                                              '.@.*>,1J*;-J*;*9G@3@J>.0*>-3;0                     ,9*3:@
                                                                                                                                            Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 81 of




   J #*F3:2982*;J.8-:*;                                      >.D2.EJ-<,7.A
                                                       %*0.J J</J
                                                                         Fees

  Date           Timekeeper     Rate                  Time               AmountClaimed                            Description

                                                                                         Correspondencewithclientre                         
6/28/2022 ShawnCrowley         $700.00 0.2           $140.00 correspondencewithlocalcounselresame
6/28/2022 ShawnCrowley         $700.00 0.2           $140.00 Correspondencewithclientre

                                                                                            ReviewcaselawandFloridatreatisesaddressing         
                                                                                                                               ;summarizethesame
6/29/2022 AnnaPeterson         $375.00 1.7           $637.50    andsendtoM.Feldman;reviewdocket.
6/29/2022 MaximillianFeldman   $450.00 2.7          $1,215.00   Draftsummaryofsectionon
                                                                                            Reviewoutlineof                 argumentandemail
6/30/2022 AnnaPeterson         $375.00 0.2            $75.00    M.Feldmancommentsonthesame.
6/30/2022 MaximillianFeldman   $450.00 0.5           $225.00    Draftoutlineof
                                                                                            Attentiontooutlineofmotiontodismiss;jointdefense
6/30/2022 ShawnCrowley         $700.00 0.2           $140.00    correspondence

                                                                                         Identifynewallegationsinamendedcomplainttoaddress
                                                                                         inmotiontodismiss;takenotesonthesame;review
                                                                                                                                                                                                 304




7/1/2022 AnnaPeterson          $375.00 1.7           $637.50 docketfororderonextensionrequest.
7/1/2022 RobertaKaplan         $700.00 0.5           $350.00 EͲmailsw/SCre:schedule,etc.

                                                                                            Jointdefensecorrespondence;reviewoutlineofmotion
7/1/2022 ShawnCrowley          $700.00 1.2           $840.00    todismiss;reviewamendedcomplaint;jointdefensecall
                                                                                            Analysisregardingargumentstobeincludedinmotionto
                                                                                            dismissbrief;emailcorrespondencewithteamregarding
7/4/2022 MaximillianFeldman    $450.00 0.4           $180.00    motiontodismissbriefing
7/4/2022 RobertaKaplan         $700.00 0.3           $210.00    EͲmailsw/Crowleyre:status.
                                                                                            Reviewandrespondtoemailsfromteamregarding
                                                                                            extensionanddeadlinesformotiontodismiss;draft
                                                                                                              sectionofmotiontodismiss;reviewcase
                                                                                            lawrelatedtothesame;reviewamendedcomplaintin
7/5/2022 AnnaPeterson          $375.00 2.3           $862.50    lightofthesame.
                                                                                            Updatefirmdocketwithextendeddeadlinefor
                                                                                            defendants'MTDandduedateforDNCportionofsame;
                                                                                            providesignatureblockstoS.CrowleyforGibsonDunn
                                                                                                                                                           Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 82 of




7/5/2022 KelseyDietrich        $150.00 0.4           $60.00     useinfinalmotion.
                                                                   Page18of26
                                                                        Fees

  Date          Timekeeper     Rate                  Time               AmountClaimed                            Description

                                                                                         ReviewA.Petersondraftofmotiontodismiss               
7/5/2022 MaximillianFeldman   $450.00 0.5          $225.00           section;legalresearchregarding
7/5/2022 RobertaKaplan        $700.00 1.2          $840.00   Jointdefensecall;attentiontocourtorder.
                                                                                         Prepareforjointdefensecall;jointdefensecall;
7/5/2022 ShawnCrowley         $700.00 1.0          $700.00   discussionwithR.KaplanreMTD
                                                                                         Reviewdraftbriefsectionon                      andprovide
7/6/2022 AnnaPeterson         $375.00 0.4          $150.00   editsonthesame.
                                                                                         Draft                   sectionofbrief;legalresearchiso
                                                                                                            section;correspondencewithA.
                                                                                         Petersonregardingbrief;correspondencewithteam
7/6/2022 MaximillianFeldman   $450.00 2.0          $900.00   regardingbrief
7/6/2022 ShawnCrowley         $700.00 0.3          $210.00   Reviewdraftmotiontodismiss
7/7/2022 JoshuaMatz           $700.00 0.4          $280.00   Reviewbrief
                                                                                         Revise                    section;legalresearchisomotion
                                                                                         todismissbrief;reviewadditionalsectionsofmotionto
7/7/2022 MaximillianFeldman   $450.00 0.5          $225.00   dismissbrief
                                                                                                                                                                                                   304




                                                                                         Reviewmotiontodismissdrafts;jointdefense
7/7/2022 ShawnCrowley         $700.00 0.5          $350.00   correspondence
                                                                                         Reviewbriefexcerptsfromotherdefendants;correspond
7/8/2022 AnnaPeterson         $375.00 0.4          $150.00   withteamaboutthesame.
                                                                                         Reviewandcommentondraftsofvarioussectionsof
                                                                                         motiontodismissbrief;emailcorrespondencewithKHF
                                                                                         teamregardingmotiontodismissbrief;reviewPlaintiff
7/8/2022 MaximillianFeldman   $450.00 0.9          $405.00   filing

7/8/2022 ShawnCrowley         $700.00 1.0          $700.00 Jointdefensecorrespondence;reviewdraftsofMTD

                                                                                        Reviewdraftmotiontodismisssectionsfromother
                                                                                        defendants;insertbriefsectionsandadditionalarguments
                                                                                                        reviewcaselawandfilingsrelatedtothe
7/9/2022 AnnaPeterson         $375.00 2.7         $1,012.50 same;emailM.Feldmanaboutthesame.
                                                                                        Reviewadditionalmotiontodismisssectionscirculatedby
                                                                                        otherdefendants;provideeditsandsuggestionforreview
                                                                                                                                                             Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 83 of




7/10/2022 AnnaPeterson        $375.00 0.7           $262.50 byM.Feldmantothesame.
                                                                  Page19of26
                                                                         Fees

  Date            Timekeeper    Rate                  Time               AmountClaimed                               Description
                                                                                             ReviewdraftsectionsofbrieffromothersJDGmembers;
                                                                                             revisesectionsofbriefandcirculatetoteam;email
                                                                                             correspondencewithA.Petersonregardingbrief;email
                                                                                             correspondencewithJ.Matzregardingbriefandupdates
7/10/2022 MaximillianFeldman   $450.00 3.2          $1,440.00    toclients
                                                                                             Reviewproposededitstomotiontodismissandsection
                                                                                             addressing                arguments;sendeditstothe
                                                                                             sametoM.Feldman;callwithM.Feldmantodiscussthe
7/11/2022 AnnaPeterson         $375.00 2.0             $750.00   same.
                                                                                             TelephoneconferenceandemailcorrespondencewithA.
                                                                                             Petersonregardingbrief;revisebriefandcirculatetoJ.
7/11/2022 MaximillianFeldman   $450.00 1.1             $495.00   Matz
                                                                                             Reviewdraftofmotiontodismisscirculatedbyjoint
                                                                                             defensegroup;provideeditsonandcorrespondwithM.
7/12/2022 AnnaPeterson         $375.00 0.9             $337.50   Feldmanregardingthesame.
                                                                                             Analysisregarding               issueraisedbyGibson
                                                                                             Dunn;emailcorrespondencewithJ.Matzregardingsame;
                                                                                                                                                                                                 304




7/12/2022 MaximillianFeldman   $450.00 1.8             $810.00   revisebriefandcirculatetoteam
                                                                                             Reviewrevisedmotiontodismisssentbyjointdefense
7/13/2022 AnnaPeterson         $375.00 0.2              $75.00   group.
                                                                                             Reviewrevisedjointdefensegroupbrief;email
7/13/2022 MaximillianFeldman   $450.00 0.2              $90.00   correspondencewithteamregardingsame

7/13/2022 ShawnCrowley         $700.00 1.0             $700.00 Reviewmotiontodismiss;jointdefensecorrespondence
7/14/2022 KelseyDietrich       $150.00 0.5              $75.00 Updateinternalfileswithrecentcourtfilings.
7/14/2022 MaximillianFeldman   $450.00 0.1              $45.00 Reviewcorrespondenceconcerningscheduling
                                                                                           Reviewemailfromjointdefensecounselsummarizingcall
7/15/2022 AnnaPeterson         $375.00 0.1              $37.50 withopposingcounsel.
                                                                                           Filemanagementofcorrespondencewithcounselfor
7/15/2022 KelseyDietrich       $150.00 0.2              $30.00 defendantsrejointdefense.
                                                                                           DialintomeetͲandͲconferregardingschedulingand
7/15/2022 MaximillianFeldman   $450.00 0.2              $90.00 reviewsummaryofsame
7/15/2022 ShawnCrowley         $700.00 0.2             $140.00 Jointdefensecorrespondence
                                                                                           Reviewextensionandrequestproposedschedulingorder
                                                                                                                                                           Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 84 of




7/21/2022 AnnaPeterson         $375.00 0.3             $112.50 filedbyplaintiff.
                                                                   Page20of26
                                                                           Fees

  Date            Timekeeper      Rate                  Time               AmountClaimed                              Description
                                                                                              Updatefirmdocketwithextendeddeadlineforplaintiff's
7/21/2022 KelseyDietrich         $150.00 0.1             $15.00   responsetomotionstodismiss.
                                                                                              ReviewdocumentsfiledbyPlaintiffregardingscheduling;
                                                                                              attentiontocorrespondencefromjointdefensegroup
7/21/2022 MaximillianFeldman     $450.00 0.3            $135.00   regardingcallonreplybrief
                                                                                              Reviewcourtordersreschedulingandinternal
7/21/2022 ShawnCrowley           $700.00 0.3            $210.00   correspondenceresame
                                                                                              TelephoneconferencewithJDGregardingreplybrief;
                                                                                              emailcorrespondencewithC.Gonzalezregardingcase
7/26/2022 MaximillianFeldman     $450.00 0.6            $270.00   background
7/26/2022 ShawnCrowley           $700.00 0.4            $280.00   Jointdefensecallremotiontodismiss

                                                                                            Reviewamendedcomplaintandconsolidatedmotionto
8/4/2022 CarmenIguinaGonzalez   $500.00 2.2          $1,100.00 dismissinanticipationofplaintiff'soppositionfiling.
                                                                                            ReviewTrumpoppositionbrief;circulateinitialanalysison
8/4/2022 MaximillianFeldman      $450.00 0.8           $360.00 Trumpoppositionbrieftoteam
                                                                                                                                                                                                  304




                                                                                            Reviewplaintiff'soppositiontodefendants'motionto
                                                                                            dismiss;reviewandrespondtocorrespondencefrom
                                                                                            teamaboutthesame;reviewemailfromjointdefense
8/5/2022 AnnaPeterson            $375.00 1.1            $412.50 groupcallregardingplanforreplybrief.
                                                                                            Reviewplaintiff'soppositiontomotiontodismiss;prepare
                                                                                            forandparticipateindefensecounselcalltodiscuss
8/5/2022 CarmenIguinaGonzalez   $500.00 1.3            $650.00 plaintiff'soppositionandplansforreply.

                                                                                            AnalysisregardingPlaintiff'soppositiontomotionto
                                                                                            dismiss;emailcorrespondencewithKHFteamregarding
                                                                                            same;telephoneconferencewithjointdefensegroup
8/5/2022 MaximillianFeldman      $450.00 1.6            $720.00 regardingoppositiontomotiontodismiss
                                                                                            JointdefensecallreMTDreplyandinternal
8/5/2022 ShawnCrowley            $700.00 0.5            $350.00 correspondenceresame
                                                                                            Locateauthoritiesaddressing                            
                                                                                            forinclusioninreplybrief;emailM.Feldmanaboutthe
8/8/2022 AnnaPeterson            $375.00 1.4            $525.00 same.
                                                                                                                                                            Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 85 of




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                                                                            Fees

  Date            Timekeeper       Rate                  Time               AmountClaimed                            Description

                                                                                               Reviewandreviselanguagetoaddtoreplybriefre:
8/8/2022 CarmenIguinaGonzalez    $500.00 0.3            $150.00                                                           .

                                                                                               CorrespondencewithA.Petersonregardingresearchon
                                                                                                      ;reviewA.Petersonresearch;draftsectionof
                                                                                               defendants'replybrief;emailcorrespondencewithKHF
                                                                                               teamregardingsame;emailcorrespondencewith
8/8/2022 MaximillianFeldman       $450.00 1.1            $495.00   Williams&Connollyregardingreplybrief
                                                                                               Reviewdraftofreplyinsupportofconsolidatedmotionto
8/9/2022 CarmenIguinaGonzalez    $500.00 0.4            $200.00   dismiss.
                                                                                               Reviewreplybrief;emailcorrespondencewithKHFteam
8/9/2022 MaximillianFeldman       $450.00 0.8            $360.00   regardingsame
                                                                                               EmailswithM.Feldman,A.CollinsPetersonandS.
                                                                                               Crowleyre:notesofcallwithjointdefensecounselre:
8/10/2022 CarmenIguinaGonzalez   $500.00 0.1             $50.00   replybrief.
                                                                                               Telephoneconferencewithjointdefensegroup;email
                                                                                                                                                                                                   304




                                                                                               correspondencewithKHFteamregardingjointdefense
8/10/2022 MaximillianFeldman      $450.00 0.3            $135.00   call
                                                                                               Revieweditstoreplybriefandcorrespondenceaboutthe
8/11/2022 AnnaPeterson            $375.00 0.1             $37.50   same.
                                                                                               CorrespondencewithS.Crowleyregardingmotionto
                                                                                               dismissbrief;correspondencewithclients           
8/11/2022 MaximillianFeldman      $450.00 0.5            $225.00
                                                                                             Reviewandpullrecentcourtfilingsandupdateinternal
8/12/2022 KelseyDietrich          $150.00 1.1           $165.00 fileswithsame.
                                                                                             Updateinternalfileswithrecentfilingsincase;emailto
8/15/2022 KelseyDietrich          $150.00 0.5             $75.00 M.Feldmanresame.
8/15/2022 MaximillianFeldman      $450.00 0.1             $45.00 EmailclientsasͲfiledversionofbrief
 9/1/2022 MaximillianFeldman      $450.00 0.2             $90.00 ReviewPlaintifffilings
                                                                                             Reviewdecisiondismissingcomplaintandcorrespondence
 9/8/2022 MaximillianFeldman      $450.00 0.6           $270.00 withteamregardingsame
                                                                                             Attentiontodecisiononmotiontodismiss;emailswith
 9/8/2022 RobertaKaplan           $700.00 1.9          $1,330.00 teamandclient.
                                                                                                                                                             Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 86 of




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                                                                                    Fees

  Date             Timekeeper        Rate                    Time                   AmountClaimed                           Description

 9/8/2022 ShawnCrowley              $700.00 0.5                 $350.00 ReviewMTDopinionandcorrespondencewithclient

                                                                                                      Reviewopiniononmotiontodismissanddraftsummary
                                                                                                      forclientofthesame;reviewcorrespondencefromclient
 9/9/2022 AnnaPeterson              $375.00 1.7               $637.50   andjointdefensegroupregarding
                                                                                                      ReviewMTDdecision;emailswithjointdefenseteamre:
 9/9/2022   CarmenIguinaGonzalez   $500.00     0.4           $200.00   nextsteps.
 9/9/2022   MaximillianFeldman      $450.00     0.1            $45.00   ReviewA.Petersonsummaryofdecisionforclient
 9/9/2022   RobertaKaplan           $700.00     1.4           $980.00   Attentiontodismissaldecision;emailsre:same.
 9/9/2022   ShawnCrowley            $700.00     0.2           $140.00   Correspondencewithclientsre
9/10/2022   RobertaKaplan           $700.00     0.7           $490.00   EmailswithD.Kendallre:
                                                                                                      Reviewproposedagendaforjointdefensecallre:    
9/12/2022 CarmenIguinaGonzalez     $500.00 0.1                 $50.00
9/12/2022 RobertaKaplan             $700.00 0.6               $420.00 Emailsre:possiblesanctions.
                                                                                                     Prepareforandparticipateinjointdefensecallre:   
9/13/2022   CarmenIguinaGonzalez   $500.00     0.6           $300.00                           .
                                                                                                                                                                                                         304




9/13/2022   MaximillianFeldman      $450.00     0.7           $315.00 Jointdefensecall
9/13/2022   ShawnCrowley            $700.00     0.7           $490.00 Jointdefensecallre
9/14/2022   MaximillianFeldman      $450.00     0.1             $45.00 Reviewclientcorrespondence
9/14/2022   ShawnCrowley            $700.00     0.2           $140.00 Correspondencewithclientsre
9/14/2022   ShawnCrowley            $700.00     0.2           $140.00 Correspondencewithclientsre
                                                                                                     TelephoneconferencewithDWSstaffregarding         
9/16/2022 MaximillianFeldman        $450.00 0.3               $135.00
9/16/2022 ShawnCrowley              $700.00 0.4               $280.00 Callwithclientsre
                                                                                                     Quickreviewofdraftofsanctionsmotion;emailKHFteam
9/19/2022 CarmenIguinaGonzalez     $500.00 0.2               $100.00 re:reviewofdraft.
9/19/2022 MaximillianFeldman        $450.00 0.6               $270.00 Reviewdraftsanctionsmotion
9/19/2022 ShawnCrowley              $700.00 0.3               $210.00 Reviewdraftsanctionsmotion
                                                                                                     Reviewandprovidecommentsondraftmotionfor
                                                                                                     sanctions;emailswithR.Kaplan,S.Crowley,M.Feldman
9/20/2022 CarmenIguinaGonzalez     $500.00 2.0              $1,000.00 andA.CollinsPetersonre:same.
                                                                                                                                                                   Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 87 of




                                                                           Page23of26
                                                                              Fees

  Date           Timekeeper        Rate                  Time                 AmountClaimed                          Description

                                                                                              Emailcorrespondencewithteamregardingdraftsanction
                                                                                              motion;workondeclarationandsupportingmaterialsin
                                                                                              connectionwithpotentialsanctionsmotion;review
9/20/2022 MaximillianFeldman      $450.00 2.0           $900.00 commentsonsanctionsmotion
                                                                                              Attentiontosanctionsmotionandinternal
9/20/2022 ShawnCrowley            $700.00 0.4           $280.00 correspondenceresame

                                                                                              Draftparagraphsconcerningexperienceascounselin
                                                                                              supportoffeesapplicationforsanctionsmotion;email
                                                                                              withS.Crowleyre:draft;shareKHFcommentsondraftof
9/21/2022 CarmenIguinaGonzalez   $500.00 0.6           $300.00 sanctionsmotionwithjointdefensecounsel.
                                                                                              Workondeclarationandsupportingmaterialsin
                                                                                              connectionwithpotentialsanctionsmotionandemail
9/21/2022 MaximillianFeldman      $450.00 2.2           $990.00 correspondencewithteamregardingsame

9/21/2022 ShawnCrowley            $700.00 0.3           $210.00 Correspondenceanddiscussionresanctionsmotion
                                                                                                                                                                                                  304




                                                                                              Workondeclarationandsupportingmaterialsin
                                                                                              connectionwithpotentialsanctionsmotion;email
9/22/2022 MaximillianFeldman      $450.00 1.1           $495.00 correspondencewithteamregardingsame
9/22/2022 RobertaKaplan           $700.00 0.9           $630.00 Attentiontoaffidavitre:fees.

9/22/2022 ShawnCrowley            $700.00 0.7           $490.00 Attentiontofeesaffidavitandinternaldiscussionresame
                                                                                              Workonsupportingmaterialsinconnectionwith
                                                                                              potentialsanctionsmotion;emailcorrespondencewith
9/23/2022 MaximillianFeldman      $450.00 0.3           $135.00 teamregardingsame

                                                                                              Reviewreviseddraftofsanctionsmotion,research
                                                                                                                  andproposedadditionalrevisionsto
                                                                                              draft;reviewjointdefensecounsel'semailre:questions
                                                                                              concerningmotionforsanctions;emailwithS.Crowley,
9/26/2022 CarmenIguinaGonzalez   $500.00 1.2           $600.00 M.Feldman,andA.CollinsPetersonre:same.
                                                                                              ReviewcorrespondencefromC.IguinaGonzalezregarding
9/26/2022 MaximillianFeldman      $450.00 0.1            $45.00 sanctionsmotion
                                                                                                                                                            Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 88 of




                                                                      Page24of26
                                                                              Fees

  Date           Timekeeper        Rate                  Time                 AmountClaimed                           Description

                                                                                               ReviewexampledeclarationsentbyM.Feldman;search
                                                                                               forrelevantcaselawaddressing                        ;
                                                                                               takenotesonthesame;emailC.IguinaGonzalezabout
                                                                                               thesame;reviewlocalrulesandotherprocedural
                                                                                               guidanceregardingfilingprocedureandemailC.Iguina
9/27/2022 AnnaPeterson            $375.00 2.2            $825.00 Gonzalezaboutthesame.
                                                                                               Correspondencewithteamregardingsanctionsand
                                                                                               attorneyfeesissues;correspondencewithA.Peterson
                                                                                               regardinglegalresearch;reviewmaterialsrelatedto
9/27/2022 MaximillianFeldman      $450.00 0.6            $270.00 attorneysfeesanddeclaration

                                                                                               Prepareforandparticipateincallwithjointdefense
9/28/2022 CarmenIguinaGonzalez   $500.00 0.3            $150.00 counselre:motionforsanctionsandrequestforfees.

9/28/2022 MaximillianFeldman      $450.00 0.1             $45.00 CorrespondencewithS.Crowleyregardingattorneyfees
                                                                                               Jointdefensecallresanctionsmotion;correspondence
                                                                                                                                                                                                    304




9/28/2022 ShawnCrowley            $700.00 0.6            $420.00 withlocalcounselresame
                                                                                               Revisedeclarationinsupportoffeesmotiontoconform
                                                                                               tojointdefensegroup;emailM.Feldmanandcase
9/29/2022 AnnaPeterson            $375.00 1.1            $412.50 manageraboutthesame.
                                                                                               EmailswithS.Crowley,M.Feldman,andA.Collins
                                                                                               Petersonre:motionforsanctionsandsupporting
9/29/2022 CarmenIguinaGonzalez   $500.00 0.1             $50.00 affidavits.
                                                                                               Workonmaterialsrelatedtoattorneyfeesinconnection
9/29/2022 MaximillianFeldman      $450.00 1.4            $630.00 withsanctionsmotion

9/29/2022 ShawnCrowley            $700.00 0.1             $70.00 Attentiontofeesaffidavitandcorrespondenceresame
                                                                                               Reviewcorrespondencewithfinancestaffregardingbilling
                                                                                               forsanctionsmotionandupdatedeclarationinlightofthe
9/30/2022 AnnaPeterson            $375.00 0.3            $112.50 same.
                                                                                               Emailcorrespondencewithfinancestaffregardingbilling
9/30/2022 MaximillianFeldman      $450.00 0.3            $135.00 forsanctionsmotion
                                                                                               Correspondenceresanctionsmotion;callwithlocal
                                                                                                                                                              Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 89 of




9/30/2022 ShawnCrowley            $700.00 0.3            $210.00 counselresame
                                                                       Page25of26
                                                          Fees

Date   Timekeeper   Rate             Time                 AmountClaimed       Description

                           374.3          $179,337.50
                                                                                                                                   304
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Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 91 of
                                      304




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                                       304




                                        CHRISTOPHER SUNDBY
                                        Christopher Sundby joined Gelber Schachter & Greenberg, P.A. after serving as a law clerk to Judge
                                        Adalberto Jordan on the United States Court of Appeals for the Eleventh Circuit.

                                        Chris became only the second student to receive both a law degree and a PhD in neuroscience through
ASSOCIATE                               Vanderbilt University’s joint law and neuroscience program. Chris graduated Order of the Coif and
                                        served as Senior Articles Editor on the Vanderbilt Law Review and worked in the Vanderbilt Appellate
CONTACT INFORMATION
                                        Litigation Clinic. He also served as a teaching assistant for Evidence Law and gave guest lectures in the
Email: csundby@gsgpa.com
                                        Law and Neuroscience and Introduction to Psychology courses. While at Vanderbilt he received the
Phone: 305-728-0965
Fax: 305-728-0951                       Scholastic Excellence award for earning the top grade in Contracts Law, Patent Law, and Law and
Address:                                Neuroscience. He was also awarded the Best Oralist Award for the mock trial competition.
One Southeast Third Avenue
Suite 2600                              Chris was a National Institute of Justice Graduate Research Fellow and his research focused on the
Miami, Florida 33131-1715
                                        psychological underpinnings of the Federal Rules of Evidence and the formation and retrieval of
    Download V-card
                                        memory. He has published in a range of journals serving different audiences including the Texas Law
EDUCATION                               Review, The SciTech Lawyer, and Memory and Cognition, and he has presented his research at several
Vanderbilt Law School, J.D., Order of   national conferences.
the Coif

Vanderbilt Brain Institute, Ph.D.,      Chris lives with his Øancé and dog in Coconut Grove.
Neuroscience

Oberlin College, B.A., High Honors


CLERKSHIPS

Honorable Adalberto Jordan, United
States Court of Appeals for the
Eleventh Circuit


STATE BAR ADMISSIONS

Florida
      Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 93 of
                                            304 News & Analysis              E-mail: info@gsgpa.com
                                                                                         @g gp
Gerald
  erald Greenbergg Recognized
                       g      as White Collar Criminal Defense Lawyer
                                                               Lawy
                                                                  y ofo   Contact
the
  e Year by
          y Best Lawyers
                     y                                                    Sitemap
Gelber Schachter & Greenberg congratulates our partner Gerald Greenberg   Legal Disclaimer
for being honored as White Collar Criminal Defense Lawyer of the […]


MORE NEWS →




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                                       304




                                          GERALD GREENBERG
                                          "I treat each client the way I hope a family member would be treated – with
                                          respect, diligence, and total responsiveness."

                                          Gerald Greenberg has received wide acclaim as one of a small group of attorneys in South Florida with
PARTNER                                   extensive experience in both white collar criminal matters and high-stakes commercial litigation.
                                          Deeply familiar with both federal and state courts due to his work as a federal prosecutor and private
                                          lawyer, Jerry combines passionate courtroom advocacy with patient and careful review of legal issues,
                                          strong writing skills, and compassion for his clients.

                                          Jerry has been honored for multiple years as one the “Top 100” lawyers in Miami by Super Lawyers, and
                                          he is among the few local attorneys recognized for both commercial litigation and criminal defense in
                                          Best Lawyers, which named him White Collar Criminal Defense lawyer of the year in its 2021 edition.b
CONTACT INFORMATION
                                          The prestigiousbChambers and Partners has recognized him as one of South Florida’s leading attorneys
Email: ggreenberg@gsgpa.com
Phone: 305-728-0953                       for White-Collar Crime and Government Investigations, describing him as “an incredibly bright, well-
Fax: 305-728-0951                         rounded lawyer,” and praising him as “easy to work with, thorough and always prepared.”
Address:
One Southeast Third Avenue                After receiving Bachelors and Masters Degrees in History at the University of Pennsylvania and a law
Suite 2600
                                          degree at Yale Law School, where he was a member of the Yale Law Journal, Jerry worked as a law clerk
Miami, Florida 33131-1715
                                          to Judge Stanley Marcus on the United States Court of Appeals for the Eleventh Circuit and Judge
    Download V-card
                                          Allyne Ross on the United States District Court for the Eastern District of New York.
EDUCATION

Yale Law School, J.D.                     Following his clerkships, Jerry served as an Assistant United States Attorney in the Southern District of

University of Pennsylvania, M.A.,         Florida, prosecuting cases involving narcotics, fraud, money laundering, violent crime and gangs,
History                                   Ørearm violations, immigration crimes, and domestic terrorism. He also argued multiple cases before
University of Pennsylvania, B.A.,         the Eleventh Circuit Court of Appeals. After leaving the United States Attorney’s OfØce, Jerry was a
summa cum laude
                                          shareholder at one of Florida’s most respected law Ørms before becoming one of the founders of Gelber
                                          Schachter & Greenberg, PA in 2012.
CLERKSHIPS

Honorable Stanley Marcus, United          On the criminal side, Jerry represents both companies and individuals in a wide variety of matters,
States Court of Appeals for the
                                          including internal investigations, grand jury inquiries, and indicted cases. Representative recent cases
Eleventh Circuit
                                          have involved allegations of health care fraud, anti-kickback violations, tax crimes, securities fraud, wire
Honorable Allyne Ross, United States
District Court for the Eastern District   fraud, antitrust offenses, importation offenses and a variety of other Ønancial crimes. In addition to
of New York                               representing defendants and investigated parties, Jerry also has an extensive practice representing
                                          witnesses and victims in federal investigations. Moreover, as a member of the Criminal Justice Act
STATE BAR ADMISSIONS
                                          panel of attorneys for the Southern District of Florida, Jerry has represented defendants in cases
Florida
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                                                   304
                      involving narcotics violations, Ørearms matters, and other offenses. In all of his cases, Jerry works
                                  closely with his clients and their families to help navigate the legal, personal, economic, and emotional
                                  challenges inherent in the criminal justice system while striving to achieve the best outcomes possible
                                  that allow all involved to move on with their lives.

                                  On the civil side, Jerry has represented plaintiffs and defendants in a variety of important matters
                                  before federal and state courts as well as domestic and international arbitration tribunals. His clients
                                  have included companies, individuals, and local governments. Jerry’s civil matters often overlap with his
                                  criminal practice, including a number of qui tam and other cases involving health care fraud, anti-
                                  kickback claims, antitrust violations, and other quasi-criminal activity. He has also represented clients
                                  in commercial matters, employment and restrictive covenant cases, contract disputes, defamation
                                  claims, product liability matters, international business controversies, health care billing questions, and
                                  purchase-and-sale disagreements. While Jerry always assists his clients in Ønding the most efØcient
                                  resolutions possible, he recognizes that not all cases can be settled and has achieved signiØcant
                                  successes for his clients at trial.

                                  Jerry has also played an active role in pro bono and public interest matters, representing individuals
                                  and organizations in trials, appeals, and administrative proceedings regarding voting rights, public
                                  safety, civil rights, due process, inmate rights, immigration, fair housing, and education law issues. For
                                  example, Jerry and his partners represented civic groups and individuals in the groundbreaking
                                  constitutional challenge to Florida’s improperly-drawn congressional and state legislative districts,
                                  which resulted in the court-ordered creation of new, legal maps under Florida’s Fair Districts
                                  Amendments. In addition, Jerry represented various children’s health and physicians’ organizations as
                                  amici curiae in a successful federal First Amendment challenge to a Florida law prohibiting doctors
                                  from inquiring about the presence of Ørearms in their patients’ homes.

                                  Aside from the practice of law, Jerry is active in a wide range of community activities.b Along with his
                                  wife, Jerry operates the Thanksgiving Baskets Fund, which collects donations and prepares holiday
                                  meals for hundreds of South Florida families every year.b He also serves on the bZoning Board for the
                                  Village of Pinecrest, the Advisory Board of the Education Fund, and the Board of the Indian & Forest
                                  Acres Scholarship Foundation.b Previously, Jerry has been on the Board of the Trustees for the Southern
                                  Florida Chapter of the Leukemia & Lymphoma Society, the Board of Directors of Big Brothers Big
                                  Sisters of Miami, and the Board of the Bet Shira Congregation. He has also served as a “Big Brother” for
                                  twenty years, taught as an adjunct professor at the Florida International University School of Law,
                                  served as Vice-Chairman of a Florida Bar Grievance Committee, and run multiple marathons to raise
                                  money for blood cancer research and patient support.

                                  A native Miamian, Jerry lives with his wife and three children in Pinecrest.
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                                        NATALIE BEDOYA MCGINN
                                        Natalie Bedoya McGinn is a partner at Gelber Schachter & Greenberg, P.A.

                                        Natalie’s practice includes a variety of criminal, civil, and appellate matters.b In her criminal work,
                                        Natalie represents companies and individuals in white-collar matters involving allegations of health
PARTNER                                 care fraud, Foreign Corrupt Practices Act violations, money laundering, and various other offenses.b
                                        Natalie also represents witnesses in federal investigations and clients in connection with internal
CONTACT INFORMATION
                                        investigations.b In her civil work, Natalie represents plaintiffs and defendants in commercial matters,
Email: nmcginn@gsgpa.com
                                        contract disputes, and cases involving such claims as fraud, defamation, and breach of Øduciary duty.
Phone: 305-728-0964
Fax: 305-728-0951
                                        Natalie received her Bachelor of Arts degree from Harvard College and her law degree from Duke
Address:
One Southeast Third Avenue              University School of Law.b At Duke, she served as the Editor-in-Chief of the Duke Law Journal and as a
Suite 2600                              teaching assistant for both Legal Writing and Constitutional Law.b She also received the Faculty Award
Miami, Florida 33131-1715
                                        for Constitutional Law and Civil Rights, the James S. Bidlake Memorial Award for Superior
    Download V-card
                                        Achievement in Legal Analysis, Research & Writing, and the Justin Miller Award for Intellectual
EDUCATION                               Curiosity.
Duke University School of Law, J.D.
                                        After graduating, Natalie served as a law clerk to Judge Stanley Marcus on the United States Court of
Harvard College, B.A.
                                        Appeals for the Eleventh Circuit and Judge Edward R. Korman on the United States District Court for
CLERKSHIPS                              the Eastern District of New York.b Natalie then joined a prominent national law Ørm in New York City as
Honorable Stanley Marcus, United        a litigation associate, focusing on white-collar investigations and complex commercial litigation.b
States Court of Appeals for the
                                        Following her time at the Ørm, Natalie re-entered public service by joining the Appeals Division of the
Eleventh Circuit
                                        New York County District Attorney’s OfØce, where she gained extensive experience writing briefs and
Honorable Edward R. Korman, United
                                        arguing appeals before New York appellate courts.
States District Court for the Eastern
District of New York
                                        In 2019, Natalie was selected as one of the 40 outstanding South Florida lawyers under the age of 40 by

STATE BAR ADMISSIONS                    the Cystic Fibrosis Foundation.

Florida
                                        A native Floridian and Ùuent Spanish speaker, Natalie lives with her husband and three children in Coral
New York
                                        Gables.
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                                      304




                             (;+,%,7'
                                                                                      Amount
  Date           Timekeeper          Rate                Time                         Claimed                                Description
4/19/2022 GeraldE.Greenberg       $525.00                            0.5                $262.50 initialconferenceandreviewofmaterials
                                                                                                     preparationofWassermanSchultzextensionpapers;
4/23/2022 GeraldE.Greenberg       $525.00                            0.8                 $420.00
                                                                                                     relatedcorrespondence
                                                                                                     reviewofordersandfilings;preparationofprohacvice
4/25/2022 GeraldE.Greenberg       $525.00                            0.5                 $262.50
                                                                                                     motionandcorporatestatement
4/26/2022 GeraldE.Greenberg       $525.00                            0.4                   $210.00 conferencesre:positiononmotion;reviewoffilings
4/28/2022   GeraldE.Greenberg     $525.00                            0.3                   $157.50 reviewoforderandfilings
4/29/2022   GeraldE.Greenberg     $525.00                            0.2                   $105.00 reviewoffilings
 5/3/2022   GeraldE.Greenberg     $525.00                            0.3                   $157.50 reviewoffilings
 5/4/2022   GeraldE.Greenberg     $525.00                            0.3                   $157.50 reviewofcoͲdefendantmotionandcasefilings
 5/9/2022   GeraldE.Greenberg     $525.00                              1                   $525.00 reviewandrevisionofmotiontodismiss
 5/9/2022   ChristopherS.Sundby   $262.50                            2.4                   $630.00 reviewedproposedmotiontodismiss
5/11/2022 GeraldE.Greenberg       $525.00                            0.7                   $367.50 reviewoffilings;coordinationre:motiontodismiss
5/11/2022   ChristopherS.Sundby   $262.50                            0.6                   $157.50 reviewfilings
 6/2/2022   GeraldE.Greenberg     $525.00                            0.8                   $420.00 statushearing;preparationcall
                                                                                                                                                                                                          304




6/27/2022   GeraldE.Greenberg     $525.00                            0.3                   $157.50 reviewofamendedcomplaint
6/28/2022   GeraldE.Greenberg     $525.00                            0.6                   $315.00 reviewofamendedcomplaint
7/14/2022   GeraldE.Greenberg     $525.00                            0.4                   $210.00 reviewofmotiontodismiss
                                                                                                       reviewamendedcomplaintandmotiontodismiss
7/14/2022 NatalieB.McGinn         $375.00                               1                  $375.00
                                                                                                       amendedcomplaint;
7/15/2022   NatalieB.McGinn       $375.00                            0.3                   $112.50 reviewmotiontodismissamendedcomplaint;
8/18/2022   NatalieB.McGinn       $375.00                            0.6                   $225.00 reviewjointmotiontodismiss
 9/9/2022   GeraldE.Greenberg     $525.00                            0.8                   $420.00 reviewofdismissalorder;callwithcoͲcounsel
9/28/2022   GeraldE.Greenberg     $525.00                            0.3                   $157.50 preparationofsanctionsdeclaration
9/29/2022   GeraldE.Greenberg     $525.00                            0.3                   $157.50 preparationofsanctionsdeclaration
                                                                                                       preparationandorganizationofmaterialsforfeemotion;
9/30/2022 GeraldE.Greenberg       $525.00                               1                  $525.00
                                                                                                       callwithcoͲcounsel

                                               14.4                 $6,487.50
                                                                                                                                                                    Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 98 of




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                     EXHIBIT 5
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

    Donald J. Trump,

                            Plaintiff,

            v.
                                                          Civil Action No. 2:22-14102-DMM
    Hillary R. Clinton et al.,

                            Defendants.


                    DECLARATION OF WENDY B. REILLY IN SUPPORT OF
                     DEFENDANTS’ MOTION FOR SANCTIONS AND FEES

           I, Wendy B. Reilly, declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that

    the following is true and correct:

           1.      I am a counsel at Debevoise & Plimpton LLP (“Debevoise”), counsel of record

    for Robert Mook in the above-captioned matter.

           2.      Mr. Mook retained Debevoise to represent him in connection with the present

    litigation. Attached as Exhibit A are the law firm website biographies of the attorneys at Debevoise

    for whom Mr. Mook seeks attorneys’ fees: partner Andrew J. Ceresney, counsel Wendy B. Reilly,

    senior associate Isabela Garcez, and associate Alexa Busser Lopez. The biographies reflect the

    professional qualifications of these attorneys.

           3.      Attached as Exhibit B is a true and correct copy of the hours worked by counsel for

    Mr. Mook for whom he seeks attorneys’ fees. Mr. Mook is not seeking reimbursement for the

    aforementioned attorneys’ customary hourly rates. Instead, Mr. Mook seeks fees at discounted

    hourly rates, as described in Exhibit B and below. These discounted hourly rates are consistent

    with the rates this Court concluded were reasonable in Celsius Holdings, Inc v. A SHOC Beverage,

    LLC, No. 21-cv-80740, 2022 WL 3568042 (July 19, 2022). Exhibit B also provides an accurate

    statement of the work provided by Debevoise during the periods for which fees are sought.


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           4.      Consistent with the discussion in the Memorandum in Support of Sanctions and the

    information provided in Exhibit B, I summarize below in Charts A, B, and C the fees associated

    with three different phases of the case: the fees incurred from the filing of the initial complaint to

    the filing of Mr. Mook’s initial motion to dismiss; the fees incurred between the filing of Mr.

    Mook’s initial motion to dismiss to the Court’s order dismissing the suit; and the fees incurred as

    of September 30, 2022 in connection with the motion for sanctions.

           5.      As reflected in Chart A, the discounted fees incurred from the filing of the initial

    complaint to the filing of Mr. Mook’s initial motion to dismiss total $36,312.50.

           6.      As reflected in Chart B, the discounted fees incurred from the filing of Mr. Mook’s

    initial motion to dismiss to this Court’s dismissal of the suit total $24,192.50.

           7.      As reflected in Chart C, the discounted fees incurred in connection with the motion

    for sanctions, as of September 30, 2022, total $9,105.

                 Chart A: Discounted Fees Incurred from Complaint to Initial MTD

         Timekeeper              Discounted Fee                Hours                     Fees
     Andrew J. Ceresney         $700                   2.2 hours                 $1,540.00

     Wendy B. Reilly            $550                   20.8 hours                $11,440.00

     Isabela Garcez             $450                   35.6 hours                $16,020.00

     Alexa Busser Lopez         $375                   19.5 hours                $7,312.50



                 Chart B: Discounted Fees Incurred from Initial MTD to Dismissal

         Timekeeper              Discounted Fee               Hours                      Fees
     Wendy B. Reilly            $550                   26.0 hours                $14,300.00

     Isabela Garcez             $450                   8.9 hours                 $4,005.00

     Alexa Busser Lopez         $375                   15.7 hours                $5,887.50



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        Chart C: Discounted Fees Incurred as of September 30, 2022 on Sanctions Motion

         Timekeeper              Discounted Fee              Hours                       Fees
     Wendy B. Reilly            $550                  11.4 hours                 $6,270.00

     Isabela Garcez             $450                  2.3 hours                  $1,035.00

     Alexa Busser Lopez         $375                  4.8 hours                  $1,800.00


           8.      I believe that the discounted rates claimed are reasonable for the Southern District of

    Florida market given the professional qualifications of the billers as evidenced in Exhibit A and

    given the rates approved by this Court in Celsius. These rates reflect 57%-66% discounts from

    these attorneys’ customary rates.

           9.      In connection with this case, counsel also incurred necessary costs for electronic

    legal research. I understand that courts in this Circuit have held that legal research costs are not

    ordinarily taxable as costs under 28 U.S.C. § 1920, but are properly considered a component of

    attorneys’ fees. Springer v. Convergy’s Corp., No. 3:03-CV-302-J-99MCR, 2006 WL 8439203,

    at *2 (M.D. Fla. July 7, 2006). As such, in addition to the discounted fees set out above, Mr. Mook

    requests an award of $597.08 incurred for electronic legal research.

           10.     Consistent with local Rule 7.3, Defendants’ counsel sent the motion papers and

    exhibits to Plaintiff’s counsel on October 5, 2022. Defendants’ counsel met and conferred in good

    faith with Plaintiff’s counsel by video conference on October 13 and October 26, 2022, but were

    unable to reach agreement as to either the Defendants’ entitlement to or the amount of fees and

    expenses not taxable under 28 U.S.C. § 1920 that are recoverable from Plaintiff and/or his counsel.




    Wendy B. Reilly
    October 27, 2022


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              EXHIBIT A
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                                      304
                        Andrew J. Ceresney               aceresney@debevoise.com
                        Partner, New York                +1 212 909 6947




    .




                         Andrew J. Ceresney
                         Partner
                           Andrew J. Ceresney is a partner in the New York office
                           and Co-Chair of the Litigation Department.
                           Mr. Ceresney represents public companies, financial institutions, asset
                           management firms, accounting firms, boards of directors, and individuals in
                           federal and state government investigations and contested litigation in federal
                           and state courts. Mr. Ceresney has many years of experience prosecuting and
                           defending a wide range of white collar criminal and civil cases, having served in
                           senior law enforcement roles at both the United States Securities and Exchange
                           Commission and the U.S. Attorney’s Office for the Southern District of New
                           York. Mr. Ceresney also has tried and supervised many jury and non-jury trials
                           and argued numerous appeals before federal and state courts of appeal.
                           Mr. Ceresney is ranked in the top band for Securities Enforcement by Chambers
                           USA (2022), where he is lauded by fellow practitioners and clients as “incredibly
                           smart,” “the real deal,” with “the right temperament to handle tough
                           situations.” He is said to be “very revered, very smart and well credentialed,” and
                           “at the top of his game.” He has been described as “knock-your-socks-off
                           impressive,” “incredibly strategic,” and has received further praise for being a
                           “marquee name” in the market with a “compendious knowledge of the facts”
                           and an “extraordinary memory.” Mr. Ceresney was named to Securities Docket’s
                           2020 “Enforcement 40,” their list of the 40 best securities enforcement defense
                           lawyers in the business. He receives further recognition from Chambers USA
                           (2022) as a leading practitioner in White Collar Crime and Criminal Defense,


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                        Andrew J. Ceresney               aceresney@debevoise.com
                        Partner, New York                +1 212 909 6947




                           where clients have noted that he is “brilliant, strategic, thorough and
                           thoughtful” and declare that “there is no better lawyer to have by your side.”
                           Sources have also credited his “unparalleled industry experience” and his “ability
                           to bring insights and strategic advice.” Mr. Ceresney is also recommended as a
                           Leading Lawyer by The Legal 500 US (2022).
                           Prior to rejoining Debevoise in 2017, Mr. Ceresney served for nearly four years
                           as the Director of Enforcement at the SEC under Chair Mary Jo White. In that
                           role, he oversaw approximately 1,400 SEC personnel, supervising law
                           enforcement efforts in 12 offices throughout the country, including matters
                           related to financial reporting and accounting, asset management, insider
                           trading, market structure, and the Foreign Corrupt Practices Act (FCPA). Under
                           his leadership, the Division brought a record number of cases, including
                           pathbreaking and significant cases across the entire spectrum of the securities
                           industry. Mr. Ceresney also helped broaden the use of the SEC’s analytical tools
                           to detect and investigate financial misconduct, while enhancing the
                           Enforcement Division’s litigation capacity and improving morale. As Director
                           of Enforcement, Mr. Ceresney worked closely with the high-level leadership of
                           other regulators, including the Department of Justice, many U.S. Attorney’s
                           offices, CFTC, New York Attorney General, New York Department of Financial
                           Services, FINRA and CFPB.
                           Prior to joining the SEC in 2013, Mr. Ceresney Co-Chaired the White Collar &
                           Regulatory Defense Group at Debevoise. During that time, he represented
                           various financial institutions, accounting firms, companies and individuals,
                           including a major financial institution in investigations and litigation relating to
                           origination, securitization and servicing of mortgages. Mr. Ceresney played an
                           integral role in negotiating the historic $25 billion national mortgage
                           settlement between the federal government, 49 state attorneys general and
                           some of the country’s largest banks. His practice focused on a wide range of
                           issues, including securities-related and money laundering for financial
                           institutions, and investigations and civil matters relating to accounting fraud,
                           FCPA, valuation issues, complex financial instruments, insider trading and
                           disclosure issues. He also handled matters involving the pharmaceutical
                           industry, including government investigations of promotional practices and
                           class action litigation.
                           Prior to joining Debevoise in 2003, Mr. Ceresney served as a Deputy Chief
                           Appellate Attorney in the U.S. Attorney’s Office for the Southern District of
                           New York. During his tenure at the U.S. Attorney’s Office, Mr. Ceresney was a
                           member of the Securities and Commodities Fraud Task Force and the Major
                           Crimes Unit and handled numerous white collar criminal investigations, trials
                           and appeals, including matters relating to securities fraud, mail fraud, money



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                        Andrew J. Ceresney              aceresney@debevoise.com
                        Partner, New York               +1 212 909 6947




                           laundering, public corruption and obstruction of justice.
                           Mr. Ceresney served as a law clerk to the Hon. Dennis Jacobs, formerly Chief
                           Judge of the U.S. Court of Appeals for the Second Circuit from 1997 to 1998;
                           and the Hon. Michael B. Mukasey, formerly Chief Judge of the U.S. District
                           Court for the Southern District of New York, from 1996 to 1997. Mr. Ceresney
                           received his J.D. in 1996, from Yale Law School, where he was essays editor of
                           the Yale Law Journal. He obtained his B.A. summa cum laude Phi Beta Kappa,
                           from Columbia University in 1993.
                           Mr. Ceresney is a member of the Board of Advisors of the Yale Law School
                           Center for the Study of Corporate Law.




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                                        Andrew J. Ceresney                      aceresney@debevoise.com
                                        Partner, New York                       +1 212 909 6947




    ANDREW J. CERESNEY'S SELECT REPRESENTATIONS
    Financial Institutions               UBS in federal and state             A technology company in an        A pharmaceutical company in
                                         regulatory investigations            SEC investigation related to      an SEC investigation of
    A large financial services           relating to auction-rate             key performance indicators.       investor disclosures relating to
    institution in an SEC                securities.                                                            FDA communications that
    investigation focused on its                                              A private equity firm in an SEC
                                                                                                                resulted in a declination by the
    share class selection and            A leading financial institution in   investigation focused on
                                                                                                                government.
    revenue sharing arrangements         a Department of Justice              technology investments.
    that resulted in a declination by    investigation relating to                                              A global pharmaceutical
                                                                              Time Warner Book Group and
    the government.                      alleged money laundering and                                           company in an SEC
                                                                              New York Times editor
                                         Bank Secrecy Act violations.                                           investigation.
    JPMorgan Chase & Co. in                                                   Timothy O'Brien in a libel
    federal and state                    A major investment bank in an        action brought by Donald J.       Forest Laboratories in multi-
    investigations of mortgage           internal investigation relating      Trump relating to the             district litigation class action
    servicing, foreclosure, and          to mispricing of subprime            publication of Mr. O'Brien's      suits arising from the
    origination related issues,          securities and representation        book "TrumpNation," which         marketing and promotion of
    including in connection with         in follow-up government              was dismissed on motion for       Celexa and Lexapro.
    $25 billion settlement with          investigations.                      summary judgment for failure
                                                                                                                Forest Laboratories and
    DOJ, State Attorneys General                                              to demonstrate actual malice.
                                         A major accounting firm in a                                           Forest Pharmaceuticals in the
    and other federal authorities.
                                         Public Company Accounting            A large media company in U.S.     settlement of civil and criminal
    A major insurer in SEC and DFS       Oversight Board inquiry.             Attorney’s Office investigation   investigations led by the
    investigations related to                                                 of alleged improper               United States Department of
                                         A national accounting firm in
    financial reporting and internal                                          subscription practices.           Justice and the United States
                                         U.S. Attorney’s Office and SEC
    controls issues.                                                                                            Attorney's Office for the
                                         investigations relating to           Cryptocurrency                    District of Massachusetts, and
    A clearing firm and its              collateralized debt obligations.
                                                                              Tether, Bitfinex and related      related civil qui tam litigation,
    subsidiaries in various SEC                                                                                 regarding marketing,
                                         Major financial institutions on      entities in a putative class
    examination and enforcement                                                                                 promotional and other
                                         Anti-Money Laundering and            action relating to the
    matters.                                                                                                    activities for its products
                                         Bank Secrecy Act compliance          sufficiency of reserves for
    A high-profile financial             issues, including a review of        Tether tokens.                    Celexa, Lexapro and
    information content provider         Bank Secrecy Act compliance                                            Levothroid.
                                         for these institutions.              Tether, Bitfinex and related
    in an SEC investigation.                                                                                    A large hospital corporation in
                                                                              entities in a putative class
    A large global hedge fund in an      JPMorgan Chase Bank, N.A. in         action asserting Commodities      an insider trading investigation
    SEC investigation related to         civil lawsuits filed by the          Exchange Act, antitrust and       conducted by the U.S.
    alleged Rule 105 violations.         Massachusetts and New York           fraud claims based on alleged     Attorney’s Office and SEC.
                                         attorneys general alleging           manipulation of the price of
    A large hedge fund in an SEC         consumer protection
                                                                                                                Conglomerates
                                                                              cryptocommodities.
    investigation related to             violations based upon the                                              A global shoe and apparel
    trading.                             bank’s use of the Mortgage           A digital currency exchange in
                                                                                                                company in a federal
                                         Electronic Registration System       an NYAG inquiry.
    Robinhood in its SEC and                                                                                    corruption investigation.
    FINRA settlements relating to        and allegations that the banks       Ripple with ongoing civil
                                         foreclosed without proper                                              A Brazilian industrial company
    best execution practices and                                              litigation in the Southern
                                         standing.                                                              in an FCPA investigation.
    payment for order flow.                                                   District of New York against
                                                                              the Securities and Exchange       A major international
    A major financial institution in     Technology, Media &
                                                                              Commission regarding the          conglomerate in conducting
    DOJ Mortgage Fraud Task              Telecommunications                   legal and regulatory status of    FCPA due diligence on
    Force, SEC and AG
                                         SolarWinds Corporation, a            XRP.                              numerous M&A transactions.
    investigations of mortgage-
                                         software developer, in its
    backed securitizations.                                                   A public company engaged in       An internal review for the Audit
                                         investigation of the December
                                                                              Bitcoin mining operations and     Committee of BG Group
    JPMorgan Chase in                    2020 high profile cyber attack.
                                                                              blockchain investments in an      relating to issues arising in an
    investigations by several State
                                         A global technology company          SEC investigation.                investigation by Italian
    Attorneys General and a
                                         in an SEC investigation                                                authorities into allegations of
    federal regulator into credit
                                         involving revenue recognition
                                                                              Healthcare                        corruption in a project in
    card collections and debt sale
                                         and other accounting issues.                                           Brindisi, Italy.
    practices.
                                         A real estate company in an
                                         SEC investigation and other
                                         regulatory inquiries.


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                                     Andrew J. Ceresney                   aceresney@debevoise.com
                                     Partner, New York                    +1 212 909 6947



    A large, multinational            Individual                        A former senior manager at
    company on compliance with        Representations                   AIG in an investigation of
    the Foreign Corrupt Practices                                       valuation of credit default
    Act in connection with various    Kenneth D. Lewis, former CEO      swaps.
    foreign business ventures.        of Bank of America, in
                                      regulatory matters relating to    The former officer of a public
    A Special Committee of the        the Merrill Lynch acquisition,    company in a filed SEC action
    Board of Tommy Hilfiger in an     including defense against civil   in the United States District
    internal investigation and        claims brought by the New         Court for the Southern District
    United States Attorney’s          York Attorney General and         of New York alleging
    Office investigation of tax       various civil securities and      accounting fraud and revenue
    accounting issues related to      derivative cases.                 recognition violations.
    offshore subsidiaries.




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                                      304
                        Wendy B. Reilly               wbreilly@debevoise.com
                        Counsel, New York             +1 212 909 6316




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                         Wendy B. Reilly
                         Counsel
                          Ms. Reilly is a counsel in the firm’s Litigation
                          Department. Her practice focuses on complex
                          commercial litigation, including contract disputes and
                          bankruptcy-related litigation and advice, particularly on
                          behalf of investment banking, financial advisory and
                          asset management clients. She also has significant
                          experience with white collar criminal defense and SEC
                          investigations and enforcement actions. Ms. Reilly
                          maintains an active pro bono practice as well, and she
                          received the 2005 inMotion “Commitment to Justice”
                          award, the 2015 New York Law Journal “Lawyers Who
                          Lead by Example” Pro Bono award, the 2016 Chambers
                          Diversity “Pro Bono Lawyer of the Year” award and the
                          2019 Sanctuary for Families' “Above & Beyond Pro
                          Bono Achievement Award.”
                          Ms. Reilly joined the firm in 2001. From 2000 to 2001 she clerked for Justice
                          James H. Coleman, Jr. of the New Jersey Supreme Court. Ms. Reilly received a
                          J.D. with honors from Rutgers Law School in Newark in 2000, where she was a
                          Marsha Wenk fellow, a managing editor of the Rutgers Law Review and a


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                        Wendy B. Reilly                wbreilly@debevoise.com
                        Counsel, New York              +1 212 909 6316




                          recipient of the Alumni Senior Prize. She received her undergraduate degree
                          magna cum laude from Douglass College, Rutgers University in 1997.
                          Ms. Reilly is a member of the Bars of New York and New Jersey and is admitted
                          to practice before the Southern and Eastern Districts of New York, the District
                          of New Jersey and the Second and Third Circuit Courts of Appeals.




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                                      Wendy B. Reilly                        wbreilly@debevoise.com
                                      Counsel, New York                      +1 212 909 6316




    WENDY B. REILLY'S SELECT REPRESENTATIONS
    YPF S.A., as a co-defendant        The D. E. Shaw Group and            American Airlines in litigation    The former General Counsel of
    with the Argentine Republic, in    Madison Dearborn Partners in        arising out of the September       Computer Associates in
    litigation brought by Petersen     their $327 million litigation win   11, 2001 terrorist attacks.        Department of Justice and
    Energía and Eton Park in the       against TerraForm for breach                                           SEC investigations of
                                                                           JC Flowers in litigation brought
    S.D.N.Y. arising from the          of contract arising from the                                           accounting irregularities.
                                                                           by the MF Global bankruptcy
    Republic’s 2012 intervention in    plaintiffs’ sale of First Wind
                                                                           trustee seeking to recover         The former President of North
    YPF, temporary occupation of       Holdings, LLC to TerraForm
                                                                           dividends paid in connection       America sales for Lucent in
    51% of YPF’s capital stock held    and SunEdison Inc.
                                                                           with preferred stock.              litigation with the Company
    by Repsol S.A., and subsequent
                                       CHC Group, one of the largest                                          and the SEC.
    expropriation of that capital                                          A class of minority sheet metal
                                       global commercial helicopter
    stock.                                                                 workers in winning a contempt      A high-profile financial
                                       service companies in the world,
                                                                           judgment against their union,      information content provider
    GlaxoSmithKline, in obtaining      as aircraft counsel in its
                                                                           after a three-day trial, based     in an SEC investigation.
    a seven-figure verdict, after a    Chapter 11 proceedings in the
                                                                           on the union’s discriminatory
    jury trial, in a commercial        U.S. Bankruptcy Court for the
                                                                           practices and non-compliance
    dispute with a contractual         Northern District of Texas, in
                                                                           with affirmative action orders.
    counter-party; and in obtaining    which CHC successfully
                                                                           Debevoise handled this matter
    an eight-figure arbitration        restructured more than
                                                                           pro bono.
    award, following trial, with       $2 billion in indebtedness.
    another contractual                Debevoise was named joint           GoldenTree Asset
    counterparty.                      winners of “Restructuring Deal      Management in
                                       of the Year (Over $1 B to $5 B)”    employment/ERISA litigation
                                       at the 12th Annual M&A              arising out of the bankruptcy of
                                       Advisor Turnaround Awards           Source Home Entertainment.
                                       for this representation.




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                        Isabela Garcez                 imgarcez@debevoise.com
                        Associate, New York            +1 212 909 6636




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                         Isabela Garcez
                         Associate
                           Isabela Garcez is an associate in the Litigation
                           Department.
                           Ms. Garcez joined Debevoise in 2016. From 2018 to 2019, she clerked for the
                           Hon. Raymond J. Dearie of the United States District Court for the Eastern
                           District of New York. Ms. Garcez received a J.D. from New York University Law
                           School in 2016, where she was an executive editor of the NYU Journal of Law
                           and Business. Ms. Garcez received her B.A. from the University of Pennsylvania
                           in 2011. Ms. Garcez is fluent in Portuguese.




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                               Isabela Garcez          imgarcez@debevoise.com
                               Associate, New York     +1 212 909 6636




    ISABELA GARCEZ’S SELECT REPRESENTATIONS

    A securities brokerage platform in an            A Special Committee of the
    internal investigation into recent               Board of Trustees of the
    outage issues and responding to                  University of Rochester in an
    related regulatory inquiries.                    independent investigation of
                                                     all claims alleged in EEOC and
    The Alavi Foundation in a civil                  federal complaints filed by
    forfeiture action, resulting in the              eight current and former
    successful reversal of adverse jury              University faculty members
    verdicts by the U.S. Court of Appeals            and students.
    for the Second Circuit.
                                                     Capital One in a resolution
                                                     with FinCEN regarding its AML
                                                     program, without criminal
                                                     charges being filed.




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                                      304
                        Alexa Busser Lopez              ablopez@debevoise.com
                        Associate, New York             +1 212 909 6415




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                         Alexa Busser Lopez
                         Associate
                           Alexa Busser Lopez is an associate in the Litigation
                           Department.
                           Ms. Lopez joined Debevoise in 2020. Ms. Lopez received a J.D. from Columbia
                           Law School and an LL.M. from the University of Amsterdam in 2020. At
                           Columbia, she was a Harlan Fiske Stone Scholar, a notes editor of the Journal of
                           Transnational Law, and a coach for the Immigration Moot Court. Ms. Lopez
                           received a B.A. from Colby College in 2017.




    www.debevoise.com
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                                      304
                               Alexa Busser Lopez           ablopez@debevoise.com
                               Associate, New York          +1 212 909 6415




    ALEXA BUSSER LOPEZ’S SELECT REPRESENTATIONS

    Robinhood Markets and affiliates in multiple putative
    class action lawsuits arising from outages on
    Robinhood’s trading platform.




    www.debevoise.com
                                  Discounted           Amount
  Date      Timekeeper Name                   Time                                                Narrative
                                     Rate              Claimed
3/24/2022 Ceresney, Andrew J.         $700.00   0.3   $ 210.00     Review Trump complaint. Emails with Robby.
 4/5/2022 Ceresney, Andrew J.         $700.00   0.1   $ 70.00      Emails with Robby.
                                                                   Emails to & from R. Mook, A. Ceresney, I. Garcez re: Trump lawsuit;
                                                                   emails to & from R. Trout re: Trump lawsuit; emails to & from D.
 4/5/2022 Reilly, Wendy B.           $550.00    0.6   $ 330.00     Kendall re: Trump lawsuit
 4/7/2022 Reilly, Wendy B.           $550.00    0.1   $ 55.00      Emails to & from R. Trout, A. Ceresney, I. Garcez re: Trump lawsuit
                                                                   Reviewing Trump complaint to identify relevant sections for client;
 4/8/2022 Garcez, Isabela            $450.00    1.2   $ 540.00     participating in call w/ common interest counsel
                                                                   Call with defense counsel re: Trump lawsuit; call with I. Garcez re:
 4/8/2022 Reilly, Wendy B.           $550.00    1.4   $ 770.00     Trump lawsuit ; review summary re: Trump lawsuit
                                                                   Participating in call w/ common interest counsel; correspondence w/
                                                                   W. Reilly re personal jurisdiction question; conducting research into
4/11/2022 Garcez, Isabela            $450.00    0.8   $ 360.00     personal jurisdiction question
4/12/2022 Garcez, Isabela            $450.00    0.2   $ 90.00      Call w/ A. Lopez re Trump lawsuit research
4/13/2022 Ceresney, Andrew J.        $700.00    0.4   $ 280.00     Call with JDA group
                                                                   Participating in joint defense call re Trump lawsuit; drafting update of
                                                                                                                                                                                    304




4/13/2022   Garcez, Isabela          $450.00    1.5   $   675.00   call for W. Reilly and A. Ceresney
4/14/2022   Ceresney, Andrew J.      $700.00    0.3   $   210.00   Review call summary. Review brief.
4/17/2022   Ceresney, Andrew J.      $700.00    0.6   $   420.00   Review Clinton brief. Email to team re Mook brief (0.6).
4/17/2022   Reilly, Wendy B.         $550.00    0.1   $    55.00   Emails to & from A. Ceresney, I. Garcez re: Trump lawsuit
4/18/2022   Ceresney, Andrew J.      $700.00    0.1   $    70.00   Review comments on brief.
4/18/2022   Garcez, Isabela          $450.00    0.5   $   225.00   Correspondence re brief
                                                                   Emails to & from A. Ceresney, I. Garcez re: H. Clinton motion to
4/18/2022 Reilly, Wendy B.           $550.00    0.4   $ 220.00     dismiss Trump lawsuit.
4/19/2022 Ceresney, Andrew J.        $700.00    0.1   $ 70.00      Review edits to brief.
4/19/2022 Reilly, Wendy B.           $550.00    0.5   $ 275.00     Review H. Clinton draft motion to dismiss Trump lawsuit
                                                                   Correspondence w/ W. Reilly and library re article in Trump lawsuit
4/20/2022 Garcez, Isabela            $450.00    0.5   $ 225.00     complaint
                                                                   Review H. Clinton draft motion to dismiss; call with defense counsel
4/20/2022 Reilly, Wendy B.           $550.00    2.0   $1,100.00    re: Trump lawsuit
4/21/2022 Garcez, Isabela            $450.00    3.8   $1,710.00    Drafting brief for MTD; meeting w/ W. Reilly re Trump lawsuit
                                                                                                                                              Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 116 of
                                                                Mtg. w/ I. Garcez re: Trump litigation; emails to & from Gibson re:
4/21/2022 Reilly, Wendy B.      $550.00   1.0   $ 550.00        extension request; review & revise extension motion
                                                                Correspondence w/ W. Reilly, A. Ceresney and R. Mook re local
                                                                counsel; calls w/ B. Stekloff re local counsel; call w/ B. Barzee re
                                                                representation; drafting NOA for B. Barzee; correspondence w/
4/22/2022 Garcez, Isabela       $450.00   2.8   $1,260.00       Gibson re local counsel; drafting brief
                                                                Emails to & from R. Mook, Gibson Dunn, A. Ceresney, I. Garcez re:
                                                                extension request in Trump lawsuit; emails to & from W. Barzee, A.
                                                                Ceresney, I. Garcez re: local counsel notice of appearance in Trump
                                                                lawsuit; review & revise draft notice of appearance for local counsel in
4/22/2022 Reilly, Wendy B.      $550.00   1.5   $ 825.00        Trump lawsuit
4/25/2022 Reilly, Wendy B.      $550.00   0.2   $ 110.00        Emails to & from Gibson re: extension motions
                                                                Emails from Gibson re: Trump lawsuit; docket updates re: Trump
4/26/2022 Reilly, Wendy B.      $550.00   0.3   $ 165.00        lawsuit
                                                                Correspondence w/ B. Barzee re PHV motions and engagement letter;
4/27/2022 Garcez, Isabela       $450.00   1.6   $ 720.00        drafting PHV for SD FL
4/28/2022 Lopez, Alexa Busser   $375.00   0.6   $ 225.00        Call with I. Garcez re motion to dismiss brief.
                                                                Finalizing Ceresney PHV motion; drafting engagement letter for B.
                                                                                                                                                                                 304




                                                                Barzee; correspondence and meeting w/ W. Reilly re Trump lawsuit;
                                                                call w/ A. Lopez re Trump lawsuit; revising list of lawsuit defendant
4/28/2022 Garcez, Isabela       $450.00   4.5   $2,025.00       counsel; correspondence w/ A. Lopez re trump lawsuit brief
                                                                Review & revise local counsel engagement letter & pro hac vice
                                                                motion papers re: Trump lawsuit; emails to & from I. Garcez re:
4/28/2022 Reilly, Wendy B.      $550.00   1.5   $ 825.00        Trump lawsuit; mtg. w/ I. Garcez re: Trump lawsuit
                                                                Finalizing PHV motions; correspondence w/ W. Barzee and R. Mook
                                                                re engagement letter; calls and correspondence w/ A. Lopez re Trump
4/29/2022 Garcez, Isabela       $450.00   4.1   $1,845.00       lawsuit brief; drafting MTD brief for trump lawsuit.
                                                                Review Trump complaint and H. Clinton MTD discuss MTD with I.
4/29/2022 Lopez, Alexa Busser   $375.00   2.6   $ 975.00        Garcez.
 5/2/2022 Lopez, Alexa Busser   $375.00   0.9   $ 337.50        Draft portions of MTD brief.
                                                                Drafting brief for MTD in Trump Lawsuit; correspondence w/ W.
                                                                Reilly re PHV filing in Trump lawsuit; correspondence w/ local
 5/2/2022 Garcez, Isabela       $450.00   4.0   $1,800.00       counsel re engagement letter
                                                                                                                                           Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 117 of




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                                                                Correspondence w/ W. Reilly re NOA; call w/ A. Lopez re edits to
                                                                MTD brief; revising MTD brief; correspondence w/ A. Lopez re MTD
 5/3/2022 Garcez, Isabela       $450.00   2.3   $1,035.00       edits
                                                                Research RICO conspiracy standing, revise RICO conspiracy section
 5/3/2022 Lopez, Alexa Busser   $375.00   3.0   $1,125.00       of MTD brief.
 5/4/2022 Lopez, Alexa Busser   $375.00   4.1   $1,537.50       Revise MTD and discuss with I. Garcez re same.
                                                                Review & revise motion to dismiss brief re: Trump lawsuit; emails to
 5/4/2022 Reilly, Wendy B.      $550.00   2.9   $1,595.00       & from I. Garcez, A. Lopez re: same
                                                                Revising draft of MTD brief; correspondence w/ A. Lopez, W. Reilly
 5/4/2022 Garcez, Isabela       $450.00   2.0   $ 900.00        and re same.
 5/5/2022 Lopez, Alexa Busser   $375.00   1.0   $ 375.00        Revise motion to dismiss.
                                                                Review & revise motion to dismiss brief re: Trump lawsuit; emails to
                                                                & from I. Garcez, A. Lopez re: same; call with R. Mook, I. Garcez re:
 5/5/2022 Reilly, Wendy B.      $550.00   1.3   $ 715.00        draft motion to dismiss brief re: Trump lawsuit
 5/5/2022 Garcez, Isabela       $450.00   1.4   $ 630.00        Revising MTD for Trump lawsuit
 5/6/2022 Lopez, Alexa Busser   $375.00   2.0   $ 750.00        Revise brief, cite check brief.
                                                                Review & revise motion to dismiss brief re: Trump lawsuit; emails to
 5/6/2022 Reilly, Wendy B.      $550.00   2.0   $1,100.00       & from A. Ceresney, I. Garcez, A. Lopez re: motion to dismiss brief
                                                                                                                                                                                 304




 5/6/2022 Garcez, Isabela       $450.00   0.7   $ 315.00        Revising MTD for Trump lawsuit
 5/7/2022 Ceresney, Andrew J.   $700.00   0.3   $ 210.00        Review MTD brief.
                                                                Emails to & from A. Ceresney, I. Garcez re: draft motion to dismiss
 5/7/2022 Reilly, Wendy B.      $550.00   0.1   $ 55.00         brief
 5/8/2022 Garcez, Isabela       $450.00   0.3   $ 135.00        Sending draft of MTD brief to client
 5/9/2022 Lopez, Alexa Busser   $375.00   0.9   $ 337.50        Revise MTD.
                                                                Emails to & from A. Ceresney, I. Garcez, A. Lopez re: motion to
                                                                dismiss brief; call with I. Garcez re: motion to dismiss brief re: Trump
 5/9/2022 Reilly, Wendy B.      $550.00   1.1   $ 605.00        lawsuit
 5/9/2022 Garcez, Isabela       $450.00   2.0   $ 900.00        Revising MTD for Trump lawsuit
                                                                Call with W. Reilly and I. Garcez, review other Trump complaints,
5/10/2022 Lopez, Alexa Busser   $375.00   3.4   $1,275.00       revise MTD and prepare table of contents and table of authorities.
                                                                Emails to & from A. Ceresney, I. Garcez, A. Lopez re: motion to
                                                                dismiss brief; review & revise motion to dismiss brief; video call with
5/10/2022 Reilly, Wendy B.      $550.00   2.0   $1,100.00       I. Garcez, A. Lopez re: motion to dismiss brief
                                                                                                                                           Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 118 of




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                                                                   Call w/ W. Reilly and A. Lopez re motion filing; correspondence w/
5/10/2022 Garcez, Isabela         $450.00   1.0   $ 450.00         local counsel re MTD filing
5/11/2022 Lopez, Alexa Busser     $375.00   1.0   $ 375.00         Revise MTD and prepare for filing.
                                                                   Review & revise motion to dismiss brief; emails to & from R. Mook,
5/11/2022   Reilly, Wendy B.      $550.00   1.8   $   990.00       A. Ceresney, I. Garcez, A. Lopez re: motion to dismiss brief
5/11/2022   Garcez, Isabela       $450.00   0.4   $   180.00       Correspondence w/ local counsel re motion filing
5/14/2022   Reilly, Wendy B.      $550.00   0.1   $    55.00       Emails to & from K. Meeks re: Trump/Florida lawsuit
5/16/2022   Reilly, Wendy B.      $550.00   0.1   $    55.00       Review docket updates re: Trump lawsuit
5/18/2022   Lopez, Alexa Busser   $375.00   0.4   $   150.00       Attend call with joint defense group
5/18/2022   Reilly, Wendy B.      $550.00   0.4   $   220.00       Defense call re: Trump/Florida lawsuit
5/18/2022   Garcez, Isabela       $450.00   0.5   $   225.00       Correspondence w/ W. Reilly re Trump lawsuit conference
                                                                   Emails to & from Williams & Connolly, Gibson re: stipulation in
5/27/2022 Reilly, Wendy B.        $550.00   0.2   $ 110.00         Trump/Florida lawsuit
                                                                   Review magistrate judge's order re: conference in Trump/Florida
5/31/2022 Reilly, Wendy B.        $550.00   0.1   $    55.00       lawsuit
5/31/2022 Garcez, Isabela         $450.00   0.1   $    45.00       Correspondence re Trump v. Clinton conference
 6/1/2022 Garcez, Isabela         $450.00   0.2   $    90.00       Correspondence w/ W. Reilly and local counsel re conference
                                                                                                                                                                                304




                                                                   Emails to & from Gibson, William & Connolly, Debevoise re:
 6/1/2022 Reilly, Wendy B.        $550.00   0.1   $    55.00       preparation for court conference in Trump/Florida lawsuit
                                                                   Correspondence w/ team re plaintiff filing in Trump lawsuit;
 6/2/2022 Garcez, Isabela         $450.00   1.4   $ 630.00         participating in status conference in Trump lawsuit
 6/2/2022 Lopez, Alexa Busser     $375.00   1.6   $ 600.00         Attend status conference and discuss next steps with team.
                                                                   Attend virtual Court conference re: Trump/Florida lawsuit; emails to
 6/2/2022 Reilly, Wendy B.        $550.00   1.5   $ 825.00         & from A. Ceresney, I. Garcez, A. Lopez re: Trump/Florida lawsuit
                                                                   Correspondence w/ W. Reilly and JD counsel re availability for Trump
 6/3/2022   Garcez, Isabela       $450.00   0.6   $   270.00       lawsuit conference
 6/3/2022   Reilly, Wendy B.      $550.00   0.3   $   165.00       Emails to & from defense counsel, Debevoise team re: Trump lawsuit
6/14/2022   Reilly, Wendy B.      $550.00   0.3   $   165.00       Joint defense emails re: Trump lawsuit
6/15/2022   Garcez, Isabela       $450.00   0.2   $    90.00       Participating in call w/ JDC; correspondence w/ team re same
6/15/2022   Reilly, Wendy B.      $550.00   0.6   $   330.00       Video call with defense counsel re: Trump lawsuit
6/21/2022   Lopez, Alexa Busser   $375.00   0.3   $   112.50       Review amended complaint.
6/21/2022   Reilly, Wendy B.      $550.00   0.1   $    55.00       Emails to & from A. Lopez re: Trump's amended complaint
6/22/2022   Lopez, Alexa Busser   $375.00   1.4   $   525.00       Review amended complaint and prepare redline.
                                                                                                                                          Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 119 of




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                                                                   Review allegations re: R. Mook in Trump's amended complaint;
                                                                   review proposed work plan from D. Kendall; emails to & from A.
6/22/2022   Reilly, Wendy B.      $550.00   0.7   $ 385.00         Ceresney, A. Lopez re: same
6/23/2022   Lopez, Alexa Busser   $375.00   1.0   $ 375.00         Meet with joint defense group and draft summary re meeting.
6/23/2022   Reilly, Wendy B.      $550.00   1.0   $ 550.00         Video call with defense counsel re: Trump lawsuit
6/27/2022   Garcez, Isabela       $450.00   0.2   $ 90.00          Reviewing correspondence from JDC
6/27/2022   Reilly, Wendy B.      $550.00   0.1   $ 55.00          Emails from defense counsel re: Trump lawsuit
6/28/2022   Lopez, Alexa Busser   $375.00   0.1   $ 37.50          Review new filings.
6/28/2022   Reilly, Wendy B.      $550.00   0.1   $ 55.00          Review docket updates from Trump lawsuit
                                                                   Review docket updates in Trump lawsuit; review joint stipulation to
                                                                   extend deadlines for motions to dismiss; emails to & from defense
6/30/2022 Reilly, Wendy B.        $550.00   0.2   $ 110.00         counsel, Debevoise re: same
6/30/2022 Lopez, Alexa Busser     $375.00   0.1   $ 37.50          Review filings in Trump v. Clinton.
                                                                   Video call with defense counsel re: Trump lawsuit; review revised
                                                                   extension request; review docket updates; review Court order re:
 7/1/2022 Reilly, Wendy B.        $550.00   0.7   $ 385.00         second extension request in Trump lawsuit
 7/1/2022 Lopez, Alexa Busser     $375.00   3.8   $1,425.00        Attend joint defense group call, draft motion to dismiss.
                                                                                                                                                                                304




 7/5/2022 Lopez, Alexa Busser     $375.00   1.9   $ 712.50         Call with W. Reilly and I. Garcez, revise MTD brief.
                                                                   Video call with defense counsel in Trump lawsuit re: motion to
                                                                   dismiss briefing; video call with I. Garcez, A. Lopez re: motion to
                                                                   dismiss briefing; emails to & from D. Kendall re: draft rider for
 7/5/2022 Reilly, Wendy B.        $550.00   1.2   $ 660.00         motion to dismiss brief
                                                                   Reviewing redline of trump complaint; call w/ W. Reilly and A. Lopez
 7/5/2022   Garcez, Isabela       $450.00   0.7   $   315.00       re response to complaint
 7/6/2022   Lopez, Alexa Busser   $375.00   1.0   $   375.00       Draft Mook section of motion to dismiss.
 7/6/2022   Reilly, Wendy B.      $550.00   0.1   $    55.00       Emails to & from D. Kendall, K. Meeks re: motion to dismiss briefing
 7/6/2022   Garcez, Isabela       $450.00   2.0   $   900.00       Revising draft of response to Trump Complaint
 7/7/2022   Lopez, Alexa Busser   $375.00   0.4   $   150.00       Revise motion to dismiss section.
                                                                   Review & revise draft rider for motion to dismiss brief (Trump
                                                                   lawsuit); emails to & from D. Kendall, A. Ceresney, I. Garcez, A.
 7/7/2022 Reilly, Wendy B.        $550.00   2.3   $1,265.00        Lopez re: same
                                                                   Correspondence w/ joint defense counsel re response to Trump
 7/7/2022 Garcez, Isabela         $450.00   0.1   $    45.00       complaint
                                                                                                                                          Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 120 of




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                                                                  Review & revise rider to motion to dismiss Trump lawsuit; emails to
 7/8/2022 Reilly, Wendy B.        $550.00   1.5   $ 825.00        & from A. Ceresney, I. Garcez, A. Lopez re: same
7/11/2022 Lopez, Alexa Busser     $375.00   0.4   $ 150.00        Attend call with defense subgroup.
                                                                  Call with defense counsel re: motion to dismiss; review & revise draft
                                                                  motion to dismiss; emails to & from defense counsel re: motion to
7/11/2022 Reilly, Wendy B.        $550.00   1.4   $ 770.00        dismiss
7/12/2022 Lopez, Alexa Busser     $375.00   0.1   $ 37.50         Update W. Reilly on defense group call.
                                                                  Review & revise draft motion to dismiss; emails to & from defense
7/12/2022 Reilly, Wendy B.        $550.00   0.8   $ 440.00        counsel re: same
7/13/2022 Lopez, Alexa Busser     $375.00   0.4   $ 150.00        Attend call with joint defense group.
                                                                  Review & revise draft motion to dismiss Trump's lawsuit; emails to &
7/13/2022 Reilly, Wendy B.        $550.00   2.3   $1,265.00       from defense counsel, Debevoise re: same
7/14/2022 Lopez, Alexa Busser     $375.00   0.3   $ 112.50        Share MTD with client.
7/14/2022 Garcez, Isabela         $450.00   0.2   $ 90.00         Reviewing filed motion; correspondence w/ A. Lopez re same
                                                                  Review & revise draft motion to dismiss Trump's lawsuit; emails to &
7/14/2022   Reilly, Wendy B.      $550.00   3.2   $1,760.00       from defense counsel, R. Mook, Debevoise re: same
7/15/2022   Lopez, Alexa Busser   $375.00   0.1   $ 37.50         Review correspondence with joint defense group.
                                                                                                                                                                                 304




7/21/2022   Lopez, Alexa Busser   $375.00   0.2   $ 75.00         Review and send case filings.
7/21/2022   Reilly, Wendy B.      $550.00   0.1   $ 55.00         Emails re: motion to dismiss briefing
7/22/2022   Lopez, Alexa Busser   $375.00   0.2   $ 75.00         Review and send case filings.
7/22/2022   Reilly, Wendy B.      $550.00   0.2   $ 110.00        Review docket updates; emails to & from A. Lopez re: same
7/26/2022   Lopez, Alexa Busser   $375.00   0.1   $ 37.50         Coordinate reply drafting.
                                                                  Video call with defense counsel re: motion to dismiss briefing; emails
7/26/2022 Reilly, Wendy B.        $550.00   0.7   $ 385.00        to & from M. Mestitz, I. Garcez, A. Lopez re: same
                                                                  Correspondence w/ W. Reilly re FL rules on reply; correspondence re
7/26/2022   Garcez, Isabela       $450.00   0.5   $ 225.00        joint defense call follow up
 8/4/2022   Lopez, Alexa Busser   $375.00   0.4   $ 150.00        Review opposition to MTD.
 8/4/2022   Reilly, Wendy B.      $550.00   0.1   $ 55.00         Emails to & from A. Lopez re: Trump's opposition brief
 8/5/2022   Lopez, Alexa Busser   $375.00   0.6   $ 225.00        Attend joint defense group meeting.
                                                                  Emails to & from R. Mook, A. Lopez re: Trump’s opposition brief;
 8/5/2022 Reilly, Wendy B.        $550.00   0.9   $ 495.00        review Trump’s opposition brief
 8/5/2022 Garcez, Isabela         $450.00   0.5   $ 225.00        Participating in JDG call; updating team re same
 8/9/2022 Lopez, Alexa Busser     $375.00   0.6   $ 225.00        Review draft reply brief.
                                                                                                                                           Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 121 of




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 8/9/2022 Reilly, Wendy B.        $550.00   0.3   $ 165.00         Emails to & from I. Garcez, A. Lopez re: defendants’ reply brief
 8/9/2022 Garcez, Isabela         $450.00   0.5   $ 225.00         Reviewing draft reply brief; correspondence w/ team re same
                                                                   Review & revise defendants’ draft reply brief; review Trump’s
8/10/2022 Reilly, Wendy B.        $550.00   3.9   $2,145.00        opposition brief; emails re: draft reply brief
                                                                   Participating in JDG call re reply brief; circulating reply brief to client;
8/10/2022   Garcez, Isabela       $450.00   0.5   $ 225.00         correspondence w/ team re JDG call
8/11/2022   Lopez, Alexa Busser   $375.00   0.2   $ 75.00          Review revisions to reply brief.
8/11/2022   Reilly, Wendy B.      $550.00   0.1   $ 55.00          Emails re: defendants’ reply brief
8/11/2022   Garcez, Isabela       $450.00   0.5   $ 225.00         Reviewing final version of reply brief
8/12/2022   Reilly, Wendy B.      $550.00   0.1   $ 55.00          Emails to & from A. Lopez re: defendants’ reply brief
8/12/2022   Garcez, Isabela       $450.00   0.2   $ 90.00          Correspondence w/ A. Lopez re sending filed reply brief to client
8/23/2022   Reilly, Wendy B.      $550.00   0.1   $ 55.00          Review docket entries for new court filings
 9/6/2022   Reilly, Wendy B.      $550.00   0.1   $ 55.00          Emails to & from A. Lopez re: new court filing by D. Trump
 9/6/2022   Lopez, Alexa Busser   $375.00   0.1   $ 37.50          Review docket updates.
 9/8/2022   Lopez, Alexa Busser   $375.00   0.2   $ 75.00          Review order granting MTD.
                                                                   Emails to & from A. Ceresney, A. Lopez re: Court decision granting
 9/8/2022 Reilly, Wendy B.        $550.00   0.2   $ 110.00         defendants' motion to dismiss D. Trump's Florida lawsuit
                                                                                                                                                                                        304




                                                                   Review Court's decision on motion to dismiss; emails to & from R.
                                                                   Mook, A. Ceresney, I. Garcez, A. Lopez re: same; emails from
 9/9/2022 Reilly, Wendy B.        $550.00   1.4   $ 770.00         defense counsel re: same
9/12/2022 Garcez, Isabela         $450.00   0.1   $ 45.00          Correspondence w/ W. Reilly re JDG call
                                                                   Review Court order on motions to dismiss; review Court's prior
                                                                   opinion on sanctions; review transcript of Trump's counsel
                                                                   commenting on Court's order; emails to & from D. Kendall, I. Garcez
9/12/2022 Reilly, Wendy B.        $550.00   1.8   $ 990.00         re: agenda for defense counsel call
                                                                   Participating in JDG call re sanctions motion in Trump v. Clinton
                                                                   lawsuit; discussions with A. Lopez re JDG call; drafting summary of
9/13/2022 Garcez, Isabela         $450.00   1.3   $ 585.00         JDG call for A. Ceresney
                                                                   Video call with defense counsel re: motion to dismiss decision &
9/13/2022   Reilly, Wendy B.      $550.00   0.8   $   440.00       potential sanctions motion; emails to & from I. Garcez re: same
9/14/2022   Lopez, Alexa Busser   $375.00   0.6   $   225.00       Review timesheets.
9/14/2022   Reilly, Wendy B.      $550.00   0.3   $   165.00       Emails to & from I. Garcez, A. Lopez re: draft sanctions motion
9/14/2022   Garcez, Isabela       $450.00   0.3   $   135.00       Drafting summary of JDG call for team
                                                                                                                                                  Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 122 of




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9/19/2022 Reilly, Wendy B.      $550.00   0.2   $ 110.00        Review draft sanctions motion; review email from D. Kendall re: same
9/20/2022 Reilly, Wendy B.      $550.00   0.5   $ 275.00        Review draft sanctions motion
9/21/2022 Lopez, Alexa Busser   $375.00   0.4   $ 150.00        Review draft sanctions motion.
                                                                Review & revise draft sanctions motion; emails to & from A. Lopez
9/21/2022 Reilly, Wendy B.      $550.00   1.1   $ 605.00        re: same
                                                                Review & revise sanctions motion; emails to & from Williams &
9/22/2022 Reilly, Wendy B.      $550.00   0.8   $ 440.00        Connolly, A. Lopez re: same
9/23/2022 Lopez, Alexa Busser   $375.00   1.4   $ 525.00        Review bills for sanctions motion.
                                                                Emails to & from D. Kendall re: draft sanctions motion; emails to &
                                                                from A. Lopez re: draft sanctions motion; review & revise draft
9/23/2022 Reilly, Wendy B.      $550.00   1.1   $ 605.00        sanctions motion
9/28/2022 Lopez, Alexa Busser   $375.00   1.3   $ 487.50        Attend joint defense call, draft declaration.
9/28/2022 Garcez, Isabela       $450.00   0.3   $ 135.00        Discussion w/ A. Lopez re JDG call and sanctions motion affidavit
                                                                Video call with defense counsel group re: sanctions motion; emails to
                                                                & from I. Garcez, A. Lopez re: sanctions motion; review draft
9/28/2022 Reilly, Wendy B.      $550.00   0.7   $ 385.00        declaration re: sanctions motion
9/30/2022 Garcez, Isabela       $450.00   0.3   $ 135.00        Correspondence re sanctions motion affidavit for Trump lawsuit
                                                                                                                                                                              304




9/30/2022 Lopez, Alexa Busser   $375.00   0.9   $ 337.50        Draft declaration for sanctions.
                                                                Review & revise exhibits to declaration in support of sanctions
                                                                motion; email to Williams & Connolly re: sanctions motion; emails to
                                                                & from R. Mook, A. Ceresney, I. Garcez, A. Lopez re: sanctions
9/30/2022 Reilly, Wendy B.      $550.00   2.5   $1,375.00       motion
                                                                                                                                        Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 123 of




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                     EXHIBIT 6
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

     Donald J. Trump,

                             Plaintiff,

             v.
                                                           Civil Action No. 2:22-14102-DMM
     Hillary R. Clinton et al.,

                             Defendants.


                       DECLARATION OF JOSHUA A. LEVY IN SUPPORT OF
                       DEFENDANTS’ MOTION FOR SANCTIONS AND FEES

            I, Joshua A. Levy, declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that the

    following is true and correct:

            1.      I am a partner at Levy Firestone Muse LLP, counsel of record for Fusion GPS,

    Glenn Simpson, and Peter Fritsch in the above captioned matter.

            2.      Attached as Exhibit A are the law firm website biographies of the attorneys at Levy

    Firestone Muse LLP for whom Fusion GPS, Glenn Simpson, and Peter Fritsch seek attorneys fees. The

    biographies reflect the professional qualifications of those attorneys.

            3.      Levy Firestone Muse LLP entered into a retention agreement with Fusion GPS,

    Glenn Simpson, and Peter Fritsch covering the present litigation. Fusion GPS, Glenn Simpson,

    and Peter Fritsch agreed to pay all of Levy Firestone Muse LLP’s costs, fees, and expenses incurred

    in connection with the present suit, and agreed to pay discounted hourly rates from the firm’s

    customary rates.

            4.      Attached as Exhibit B is a true and correct copy of the hours worked by counsel for

    Fusion GPS, Glenn Simpson, and Peter Fritsch. Fusion GPS, Glenn Simpson, and Peter Fritsch

    are not seeking reimbursement for the attorneys’ already discounted hourly rates described in

    Paragraph 3. Instead, Fusion GPS, Glenn Simpson, and Peter Fritsch seek fees at an additionally


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    discounted hourly rate for the attorneys as described in Exhibit B and below. Specifically, Fusion

    GPS, Glenn Simpson, and Peter Fritsch are seeking reimbursement at the following additionally

    discounted hourly rates: $700/hr for Joshua A. Levy (partner); $600/hr for Rachel Clattenburg

    (partner); $300/hr for Kevin Crenny (associate); and $300/hr for E. Andrew Sharp (associate).

    These additionally discounted hourly rates are consistent with the rates this Court concluded were

    reasonable in Celsius Holdings, Inc v. A SHOC Beverage, LLC, No. 21-cv-80740, 2022 WL

    3568042 (July 19, 2022). Exhibit B also provides an accurate statement of the work provided by

    Levy Firestone Muse during the periods for which discounted fees are sought.

            5.      Attached as Exhibit C is the law firm website biography of Adam S. Fels, an attorney

    at Fridman Fels & Soto, PLLC for whom Defendants Fusion GPS, Peter Fritsch, and Glenn Simpson seek

    attorneys fees. The biography reflects his professional qualifications.

            6.      Fridman Fels & Soto, PLLC entered into a retention agreement with Defendants

    Fridman Fels & Soto, PLLC in connection with the present litigation. Defendants Fusion GPS, Peter

    Fritsch, and Glenn Simpson agreed to pay all of Fridman Fels & Soto, PLLC’s costs, fees, and

    expenses incurred in connection with the present suit, and agreed to pay a discounted rate from the

    firm’s customary rate. Fridman Fels & Soto, PLLC are charging Defendants Fusion GPS, Peter

    Fritsch, and Glenn Simpson $600 per hour.

            7.      Attached as Exhibit D is a true and correct copy of the hours worked by Adam S.

    Fels at Fridman Fels & Soto, PLLC for Defendants Fusion GPS, Peter Fritsch, and Glenn Simpson.

    Defendants Fusion GPS, Peter Fritsch, and Glenn Simpson seek fees at the already discounted hourly

    rate for Mr. Fels as described in Exhibit B and below. These discounted hourly rates are consistent

    with the rates this Court concluded were reasonable in Celsius Holdings, Inc v. A SHOC Beverage,

    LLC, No. 21-cv-80740, 2022 WL 3568042 (July 19, 2022). Exhibit D also provides an accurate




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    statement of the work provided by Fridman Fels & Soto, PLLC during the periods for which

    discounted fees are sought.

           8.      Consistent with the discussion in the Memorandum in Support of Sanctions and the

    information provided in Exhibits B & D, I summarize below in Charts A, B, and C the fees

    associated with three different phases of the case: the fees incurred from the filing of the initial

    complaint to the filing of the initial motion to dismiss by Fusion GPS, Glenn Simpson, and Peter

    Fritsch; the fees incurred between the filing of Fusion GPS’s, Glenn Simpson’s, and Peter Fritsch’s

    motion to dismiss to the Court’s order dismissing the suit; and the fees incurred to date in

    connection with the motion for sanctions.

           9.      As reflected in Chart A, the discounted fees incurred by Fusion GPS, Glenn Simpson,

    and Peter Fritsch from the filing of the initial complaint to the filing of Fusion GPS’s, Glenn

    Simpson’s, and Peter Fritsch’s initial motion to dismiss total $31,550.00.

           10.     As reflected in Chart B, the discounted fees incurred by Fusion GPS, Glenn

    Simpson, and Peter Fritsch from the filing of Fusion GPS’s, Glenn Simpson’s, and Peter Fritsch’s

    initial motion to dismiss to this Court’s dismissal of the suit total $18,690.00.

           11.     As reflected in Chart C, the discounted fees incurred by Fusion GPS, Glenn

    Simpson, and Peter Fritsch in connection with the motion for sanctions, to date, total $5,580.




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                        Chart A: Fees incurred from Complaint to initial MTD

          Timekeeper              Discounted Fee                Hours                       Fees
     Joshua A. Levy              $700/hr               0.5                        $350.00

     Rachel Clattenburg          $600/hr               27.0                       $16,200.00

     Kevin P. Crenny             $300/hr               41.5                       $12,450.00

     E. Andrew Sharp             $300/hr               2.5                        $750.00

     Adam S. Fels                $600/hr               3.0                        $1,800.00



                            Chart B: Fees incurred initial MTD to dismissal

         Timekeeper               Discounted Fee                Hours                     Fees
     Rachel Clattenburg          $600/hr               14.7                       $8,820.00

     Kevin Crenny                $300/hr               26.9                       $8,070.00

     Adam S. Fels                $600/hr               3.0                        $1,800.00



                          Chart C: Fees incurred to date on sanctions motion

         Timekeeper               Discounted Fee                Hours                     Fees
     Rachel Clattenburg          $600/hr               5.4                        $3,240.00

     Kevin Crenny                $300/hr               3.4                        $1,020.00

     Adam S. Fels                $600/hr               2.2                        $1,320.00



           12.      I believe that the discounted rates claimed are reasonable for the Southern District of

    Florida market given the professional qualifications of the billers as evidenced in Exhibits A and C

    and given the rates approved by this Court in Celsius.

           13.      Consistent with local Rule 7.3, counsel sent the draft sanctions motion and draft

    supporting declarations to Plaintiff’s counsel on October 5, 2022. Defendants met and conferred


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    in good faith with Plaintiff’s counsel by Microsoft Teams twice, on October 13 and October 26,

    2022, but were unable to reach any agreement as to either the Defendants’ entitlement to or the

    amount of fees and expenses not taxable under 28 U.S.C. §1920 that are recoverable from Plaintiff

    and/or his counsel.

    Date: October 27, 2022                                /s/ Joshua A. Levy

                                                          Joshua A. Levy




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                           EXHIBIT A
Joshua A. Levy | Levy Firestone Muse LLP
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Rachel Clattenburg | Levy Firestone Muse LLP
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                                                                                  PRACTICES   LAWYERS   NEWS   CONTACT




       Rachel Clattenburg
       PARTNER




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       investigations practice groups. She has represented clients in

       high profile, high stakes investigations and litigation.




       Ms. Clattenburg has represented clients in business litigation, RICO cases, defamation cases,

       personal injury, whistleblower actions, Freedom of Information Act (FOIA) litigation, and in

       response to third party subpoenas in civil litigation. She has also represented clients in response

       to grand jury subpoenas and other inquiries from federal enforcement agencies and

       congressional committees. Prior to joining Levy Firestone Muse LLP, she worked as an attorney

       for the public interest law firm Public Citizen Litigation Group where she litigated numerous FOIA

       cases. Ms. Clattenburg has experience in both federal district and appellate courts.


       Representative matters include:


          Represented Fusion GPS and its principals in four RICO suits filed against them, all of which the

          courts have dismissed. See Trump v. Clinton, Case No. 22-cv-14102-DMM (SDFL Order on

          Motions to Dismiss Sept. 8, 2022); Nunes v. Fusion GPS, Case No. 1:19-cv-01148-RDA-

          TCB (EDVA Order of Dismissal with Prejudice Mar. 31, 2021); Nunes v. Fusion GPS, Case No.

          1:19-cv-1148-LO-TCB (E.D.VA. Order of Dismissal Feb. 21, 2020); Halvorssen v. Simpson, Case



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Rachel Clattenburg | Levy Firestone Muse LLP
          Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 137 of
                                                             304 with Prejudice Aug. 26, 2019),
          No. 2:18-cv-2684 (ENV) (RLM) (E.D.N.Y. Order of Dismissal

          affirmed by the U.S. Court of Appeals for the Second Circuit (Mar. 18, 2020).

          Represented Fusion GPS and one of its principals, Glenn Simpson, in a defamation case filed

          against them by Russian oligarchs, Mikhail Fridman, Petr Aven and German Khan. That case

          is dismissed. Fridman v. Bean LLC, Case No. 1:17-cv-2041-RJL (D.D.C. Stipulation of Dismissal

          with Prejudice Mar. 18, 2022).

          Co-represented Dr. Dennis Burke, in a whistleblower lawsuit against Massachusetts General

          Hospital, resulting in a $13 million settlement.


          Represented Fusion GPS and its principals Glenn Simpson, Peter Fritsch and Tom Catan before

          PXOWLSOHFRQJUHVVLRQDOFRPPLWWHHVGXULQJWKHLULQTXLULHVLQWRWKH5XVVLDQJRYHUQPHQWҋV

          interference in the 2016 US presidential elections.


          On behalf of the Rwandan government, Ms. Clattenburg has been part of the team at Levy

          Firestone Muse LLP that has been investigating the role of the French government in connection

          with the 1994 Genocide against the Tutsi.


       She is a member of the New York and District of Columbia Bars and is admitted to practice in the

       U.S. District Court for the District of Columbia, the U.S. District Court for the District of Maryland,

       and the Second, Third and Ninth Circuits.


       Ms. Clattenburg served as a law clerk to the Honorable S. Martin Teel, Jr., U.S. Bankruptcy Court

       for the District of Columbia. During law school, she worked for the Honorable Roger J. Miner of

       the Second Circuit Court of Appeals. Ms. Clattenburg graduated first in her class, summa cum

       laude, from Albany Law School and Phi Beta Kappa from Princeton University.


            rmc@levyfirestone.com


            202.845.3215           OFFICE



            Practice Areas

            Litigation

            White Collar

            Congressional Investigations



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Rachel Clattenburg | Levy Firestone Muse LLP
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           Healthcare Fraud                     304
            Whistleblowers

            Personal Injury/Medical Malpractice


            Education

            Albany Law School
            summa cum laude
            Order of the Coif
            J.D. 2010

            Princeton University
            Phi Beta Kappa
            B.A. 2007



            Admissions

            District of Columbia

            New York




       Contact


            info@levyfirestone.com

            900 17th Street NW
            Suite 1200
            Washington, DC 20006

            575 Fifth Avenue
            14th Floor
            New York, NY 10017

            (202) 845-3215              MAIN


            (202) 595-8253              FAX




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Kevin P. Crenny | Levy Firestone Muse LLP
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                                                                            PRACTICES   LAWYERS         NEWS   CONTACT




       Kevin P. Crenny
       ASSOCIATE




       Kevin P. Crenny is an associate with Levy Firestone Muse.




       Before joining the firm, he clerked for Judge Stanley Marcus of the U.S. Court of Appeals for the

       Eleventh Circuit, Judge Rudolph Contreras of the U.S. District Court for the District of Columbia,

       and Judge John D. Bates of the U.S. District Court for the District of Columbia, in his capacity as

       Chair of the Judicial Conference Standing Committee on the Rules of Practice and Procedure.

       Mr. Crenny graduated cum laude from Harvard Law School, where he served as an Executive

       Editor on the Harvard Law Review.


       He is a member of the District of Columbia and Michigan bars.


       Representative matters include:


          Represented Fusion GPS and one of its principals, Glenn Simpson, in a defamation case filed

          against them by Russian oligarchs, Mikhail Fridman, Petr Aven and German Khan. That case

          is dismissed. Fridman v. Bean LLC, Case No. 1:17-cv-2041-RJL (D.D.C. Stipulation of Dismissal

          with Prejudice Mar. 18, 2022).


          Represented Fusion GPS and its principals in a RICO suit filed by former President Donald J.

          Trump. The Court dismissed the case. See Trump v. Clinton, Case No. 22-cv-14102-DMM (SDFL



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Kevin P. Crenny | Levy Firestone Muse LLP
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          Order on Motions to Dismiss Sept. 8, 2022). 304


            kcrenny@levyfirestone.com


            Practice Areas

            Litigation

            White Collar

            Congressional Investigations

            Healthcare Fraud

            Whistleblowers

            Personal Injury/Medical Malpractice


            Education

            Harvard Law School
            cum laude
            J.D. 2018

            Fordham University
            summa cum laude
            B.A. 2011



            Admissions

            District of Columbia

            Michigan




       Contact


            info@levyfirestone.com

            900 17th Street NW
            Suite 1200
            Washington, DC 20006

            575 Fifth Avenue
            14th Floor

https://www.levyfirestone.com/lawyers/kevin-crenny/[30/09/2022, 13:15:02]
E. Andrew Sharp | Levy Firestone Muse LLP
          Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 141 of
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                                                                                PRACTICES            LAWYERS          NEWS   CONTACT




       E. Andrew Sharp
       ASSOCIATE




       Mr. Sharp joined Levy Firestone Muse LLP after graduating

       from Georgetown University Law Center in 2019.




       Mr. Sharp has represented individuals and companies under investigation and in litigation. His

       representative matters include:


       Representation of an individual investigated for his alleged involvement in a
       government contracting kickback scheme, resulting in no criminal charges.

       Representation of Fusion GPS and its principals in litigation filed against them by
       WKUHH5XVVLDQELOOLRQDLUHVZKRFROOHFWLYHO\RZQDPDMRULW\RI$OID%DQN5XVVLDҋV
       largest commercial bank.

       On behalf of the Rwandan government, Mr. Sharp has been part of the team that has
       been investigating the role of the French government in connection with the 1994
       Genocide against the Tutsi, in Rwanda.


       Prior to joining the firm, Mr. Sharp was a journalist covering NBA basketball at ESPN and Sports



http://web.archive.org/web/20211016075120/https://www.levyfirestone.com/lawyers/andrew-sharp/[30/09/2022, 13:13:50]
E. Andrew Sharp | Levy Firestone Muse LLP
           Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 142 of
                                                                  304 and in Sports Illustrated magazine.
       Illustrated, with features regularly published at Grantland.com


       Mr. Sharp resides in Washington D.C. and is a member of the District of Columbia bar.


            eas@levyfirestone.com


            (202) 819-2720          OFFICE



            Practice Areas

            Litigation

            White Collar

            Congressional Investigations

            Healthcare Fraud

            Whistleblowers

            Personal Injury/Medical Malpractice


            Education

            Georgetown University Law Center
            J.D. 2019

            Boston College
            B.A. 2009



            Admissions

            District of Columbia




       Contact


            info@levyfirestone.com

            1701 K Street NW
            Suite 350
            Washington, DC 20006




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                           EXHIBIT B
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       EXHIBIT B to Decl. of Joshua A. Levy
       In Support of Defs.’ Mot. for Sanctions & Fees

        Date            Timekeeper Discounted    Time   Amount      Description
        (DD/MM/YYYY)                Rate                Claimed
        06/04/2022      Rachel M.   $600.00      1.2    $720.00     Reviewing Trump v. Clinton
                        Clattenburg                                 lawsuit and legal research
        07/04/2022      Joshua A.   $700.00      0.5    $350.00     Telecons with co-counsel
                        Levy
        07/04/2022      Rachel M.   $600.00      2.7    $1,620.00   Analysis: legal research re
                        Clattenburg                                 motion to dismiss
        07/04/2022      Kevin P.    $300.00      3.5    $1,050.00   Call with R. Clattenburg;
                        Crenny                                      legal research for Motion to
                                                                    Dismiss.
        08/04/2022      Rachel M.     $600.00    0.5    $300.00     Legal Research re motion to
                        Clattenburg                                 dismiss; confer with K.
                                                                    Crenny re research
        08/04/2022      Kevin P.      $300.00    5.4    $1,620.00   Calls with R. Clattenburg;
                        Crenny                                      legal research re motion to
                                                                    dismiss
        11/04/2022      Rachel M.     $600.00    2.3    $1,380.00   Common interest call re
                        Clattenburg                                 motion to dismiss; call with
                                                                    Kevin re motion to dismiss;
                                                                    legal research and drafting
                                                                    motion to dismiss.
        11/04/2022      Kevin P.      $300.00    4.2    $1,260.00   Analyze Complaint; calls
                        Crenny                                      and with R. Clattenburg and
                                                                    co-counsel; assemble and
                                                                    analyze alleged timeline of
                                                                    allegations
        12/04/2022      Rachel M.     $600.00    3.1    $1,860.00   Legal research and drafting
                        Clattenburg                                 motion to dismiss;
        12/04/2022      Kevin P.      $300.00    5.2    $1,560.00   Continue research and
                        Crenny                                      drafting motion to dismiss
                                                                    all claims, including calls
                                                                    and conversations with R.
                                                                    Clattenburg.
        13/04/2022      Rachel M.     $600.00    2.5    $1,500.00   Common Interest call with
                        Clattenburg                                 counsel for defendants re
                                                                    motions to dismiss; legal
                                                                    research and drafting motion
                                                                    to dismiss;
        13/04/2022      Kevin P.      $300.00    0.8    $240.00     Call with codefendants and
                        Crenny                                      follow-up call with R.
                                                                    Clattenburg
        14/04/2022      Rachel M.     $600.00    3.1    $1,860.00   Confer with team re motion
                        Clattenburg                                 to dismiss (0.5); editing
                                                                    motion (0.5); review Trump
                                                                    v. Clinton draft and confer
                                                                    with Kevin (0.8); legal
                                                                    research and drafting motion
                                                                    to dismiss (1.3)
        14/04/2022      Kevin P.      $300.00    4.4    $1,320.00   Review draft brief from co-
                        Crenny                                      counsel; draft Motion to
                                                                    Dismiss background section;




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       EXHIBIT B to Decl. of Joshua A. Levy
       In Support of Defs.’ Mot. for Sanctions & Fees
        Date            Timekeeper Discounted Time      Amount      Description
        (DD/MM/YYYY)               Rate                 Claimed
                                                                    legal research and drafting
                                                                    Motion to Dismiss
        15/04/2022      Rachel M.     $600.00    0.5    $300.00     Reviewing brief from
                        Clattenburg                                 counsel for co-defendant
                                                                    (0.4); call with Kevin re
                                                                    drafting brief (0.1)
        15/04/2022      Kevin P.      $300.00    4.1    $1,230.00   Complete research and first
                        Crenny                                      draft of motion to dismiss.
        17/04/2022      Rachel M.     $600.00    1.0    $600.00     Review draft motion to
                        Clattenburg                                 dismiss
        18/04/2022      Rachel M.     $600.00    1.8    $1,080.00   Drafting motion to dismiss
                        Clattenburg                                 and email to HRC counsel re
                                                                    motion to dismiss (1.5);
                                                                    confer with Kevin re legal
                                                                    research (0.3)
        18/04/2022      Kevin P.      $300.00    1.4    $420.00     Review co-Defendant brief
                        Crenny                                      and draft feedback email;
                                                                    review R. Clattenburg
                                                                    comments on Fusion Motion
                                                                    to Dismiss brief and make
                                                                    edits.
        19/04/2022      Rachel M.     $600.00    0.4    $240.00     Review revised Trump v.
                        Clattenburg                                 Clinton motion to dismiss by
                                                                    HRC; confer with Kevin re
                                                                    our brief and plan for
                                                                    revising
        19/04/2022      Kevin P.      $300.00    0.3    $90.00      Review new draft of co-
                        Crenny                                      defendant's motion and
                                                                    discuss edits to Fusion's
                                                                    motion with R. Clattenburg.
        20/04/2022      Rachel M.     $600.00    2.3    $1,380.00   Joint defense call re motions
                        Clattenburg                                 to dismiss; confer with
                                                                    Kevin on phone re revising
                                                                    brief based on case re
                                                                    incorporation; drafting new
                                                                    section on RICO standing
                                                                    for MTD; confer with Kevin
                                                                    re motion; draft pro hac
                                                                    motions.
        20/04/2022      Kevin P.      $300.00    4.6    $1,380.00   Call with co-defendants'
                        Crenny                                      counsel; research re Fla.
                                                                    briefing procedure; review
                                                                    and finalize pro hac vice
                                                                    motion and certification;
                                                                    expand on arguments in
                                                                    motion to dismiss to avoid
                                                                    incorporating co-defendant
                                                                    briefing.
        21/04/2022      Rachel M.     $600.00    0.5    $300.00     Reviewing draft motion for
                        Clattenburg                                 extension; call with Kevin re
                                                                    motion for extension and
                                                                    Trump request for extension



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       EXHIBIT B to Decl. of Joshua A. Levy
       In Support of Defs.’ Mot. for Sanctions & Fees
        Date            Timekeeper Discounted Time      Amount      Description
        (DD/MM/YYYY)               Rate                 Claimed
                                                                    to amend complaint;
                                                                    common interest email re
                                                                    our recommendation
        21/04/2022      Kevin P.      $300.00    0.7    $210.00     Call to S.D. Fl. Clerk's office
                        Crenny                                      re filing pro hac vice
                                                                    motions; conversations with
                                                                    R. Clattenburg re motions
                                                                    for extension of time,
                                                                    including review of draft
                                                                    motion and review of Trump
                                                                    proposal.
        22/04/2022      Rachel M.     $600.00    2.0    $1,200.00   drafting motion to dismiss
                        Clattenburg                                 and legal research
        22/04/2022      Kevin P.      $300.00    0.3    $90.00      Review R. Clattenburg edits
                        Crenny                                      to Motion to Dismiss; review
                                                                    Trump motion for extension
                                                                    of time and discuss with R.
                                                                    Clattenburg and J. Levy.
        25/04/2022      Rachel M.     $600.00    0.3    $180.00     Review motion to dismiss
                        Clattenburg
        25/04/2022      Kevin P.      $300.00    1.2    $360.00     Implement R. Clattenburg
                        Crenny                                      edits to Motion to Dismiss
                                                                    and make additional edits.
        26/04/2022      Kevin P.      $300.00    0.2    $60.00      Review and implement J.
                        Crenny                                      Levy edits to Motion to
                                                                    Dismiss.
        02/05/2022      Rachel M.     $600.00    0.5    $300.00     Revising motion to dismiss;
                        Clattenburg                                 confer with Kevin re legal
                                                                    arguments
        02/05/2022      Kevin P.      $300.00    1.4    $420.00     Review counsel for
                        Crenny                                      codefendants' suggestions re
                                                                    draft and make related edits
                                                                    to draft motion to dismiss;
                                                                    incorporate J. Levy and R.
                                                                    Clattenburg edits to motion
                                                                    to dismiss, including
                                                                    correspondence.
        04/05/2022      Rachel M.     $600.00    0.9    $540.00     Confer with K. Crenny on
                        Clattenburg                                 edits to our motion; review
                                                                    Trump Twitter archive;
                                                                    review revised motion to
                                                                    dismiss; confer with K.
                                                                    Crenny on the minute order
                                                                    re status conference and
                                                                    review the local rules
        04/05/2022      Kevin P.      $300.00    1.3    $390.00     Review court order and
                        Crenny                                      related rules re upcoming
                                                                    hearing; review Podesta
                                                                    motion to dismiss; revise
                                                                    draft motion to dismiss to
                                                                    incorporate additional
                                                                    discussion of tweets and



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Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 147 of
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       EXHIBIT B to Decl. of Joshua A. Levy
       In Support of Defs.’ Mot. for Sanctions & Fees
        Date            Timekeeper Discounted Time      Amount    Description
        (DD/MM/YYYY)               Rate                 Claimed
                                                                  circulate draft to client for
                                                                  review.
        05/05/2022      Rachel M.     $600.00    0.4    $240.00   confer with K. Crenny re
                        Clattenburg                               corporate disclosure
        05/05/2022      Kevin P.      $300.00    0.6    $180.00   Prepare corporate disclosure
                        Crenny                                    statement for filing with
                                                                  Motion to Dismiss.
        09/05/2022      E. Andrew     $300.00    2.5    $750.00   Editing and cite checking
                        Sharp                                     Trump Motion to Dismiss
        10/05/2022      Rachel M.     $600.00    0.5    $300.00   Reviewing and editing final
                        Clattenburg                               draft of brief and 7.1
                                                                  statement
        10/05/2022      Kevin P.      $300.00    1.0    $300.00   Finalize Motion to Dismiss
                        Crenny                                    and Rule 7.1 disclosure
                                                                  statement for filing.
        11/05/2022      Rachel M.     $600.00    0.5    $300.00   confer with local counsel re
                        Clattenburg                               motion to dismiss; confer
                                                                  with Kevin re same
        11/05/2022      Kevin P.      $300.00    0.9    $270.00   Add material on sufficiency
                        Crenny                                    of attorneys fees as RICO
                                                                  injury to motion to dismiss
                                                                  and research speculative
                                                                  damages argument.
        18/05/2022      Rachel M.     $600.00    0.3    $180.00   Joint defense call regarding
                        Clattenburg                               June 2 conference set by the
                                                                  Court
        18/05/2022      Kevin P.      $300.00    0.4    $120.00   Call with counsel for
                        Crenny                                    codefendants re upcoming
                                                                  hearing.
        31/05/2022      Rachel M.     $600.00    0.3    $180.00   Legal research re re motion
                        Clattenburg                               to stay discovery pending
                                                                  motion to dismiss
        01/06/2022      Rachel M.     $600.00    1.0    $600.00   Confer with Adam Fels re
                        Clattenburg                               hearing tomorrow and
                                                                  strategy for Rule 16
                                                                  scheduling (0.4); review
                                                                  docket in preparation for
                                                                  hearing and draft email to
                                                                  joint defense group re
                                                                  hearing (0.6)
        02/06/2022      Rachel M.     $600.00    0.6    $360.00   Status hearing before Judge
                        Clattenburg                               Reinhart (0.5); call with A.
                                                                  Fels re hearing (0.1)
        02/06/2022      Kevin P.      $300.00    0.6    $180.00   Attend status conference by
                        Crenny                                    Zoom.
        15/06/2022      Rachel M.     $600.00    0.5    $300.00   Joint defense call re strategy
                        Clattenburg                               for briefing second round of
                                                                  Motion to Dismiss
        15/06/2022      Kevin P.      $300.00    0.6    $180.00   Joint defense group call
                        Crenny                                    (0.5); conversations re case
                                                                  deadlines (0.1)



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       EXHIBIT B to Decl. of Joshua A. Levy
       In Support of Defs.’ Mot. for Sanctions & Fees
        Date            Timekeeper Discounted Time      Amount      Description
        (DD/MM/YYYY)               Rate                 Claimed
        21/06/2022      Kevin P.   $300.00    0.6       $180.00     Research procedural rules re
                        Crenny                                      filing deadlines and holidays
                                                                    (0.4); initial review of
                                                                    amended complaint (0.2).
        22/06/2022      Kevin P.      $300.00    2.5    $750.00     Review Amended Complaint
                        Crenny                                      for substantive changes and
                                                                    new allegations concerning.
                                                                    clients.
        23/06/2022      Rachel M.     $600.00    0.7    $420.00     Joint defense call re strategy
                        Clattenburg                                 for responding to Amended
                                                                    Complaint
        23/06/2022      Kevin P.      $300.00    0.9    $270.00     Joint defense group call.
                        Crenny
        24/06/2022      Kevin P.      $300.00    2.7    $810.00     Draft motion to dismiss
                        Crenny                                      section on Malicious
                                                                    prosecution.
        27/06/2022      Rachel M.     $600.00    0.8    $480.00     revise section on malicious
                        Clattenburg                                 prosecution for second
                                                                    motion to dismiss
        27/06/2022      Kevin P.      $300.00    0.2    $60.00      Coordinate review of
                        Crenny                                      amended complaint for
                                                                    allegations of conduct in
                                                                    2017 for statute of
                                                                    limitations defense.
        29/06/2022      Rachel M.     $600.00    2.2    $1,320.00   Research and drafting
                        Clattenburg                                 malicious prosecution
                                                                    section
        29/06/2022      Kevin P.      $300.00    2.1    $630.00     Edits to draft motion to
                        Crenny                                      dismiss section on malicious
                                                                    prosecution claims.
        01/07/2022      Rachel M.     $600.00    2.3    $1,380.00   Reviewing amended
                        Clattenburg                                 complaint for new
                                                                    allegations; drafting start of
                                                                    motion to dismiss (2.0); joint
                                                                    defense call re deadlines and
                                                                    coordinating (0.3)
        01/07/2022      Kevin P.      $300.00    1.6    $480.00     Call and correspondence
                        Crenny                                      with R. Clattenburg, J. Levy,
                                                                    and co-counsel re Motion to
                                                                    Dismiss and extension (1.0);
                                                                    Edit abbreviated version of
                                                                    Motion to Dismiss section re
                                                                    malicious prosecution (0.6).
        05/07/2022      Rachel M.     $600.00    0.7    $420.00     Joint defense call re drafting
                        Clattenburg                                 (0.2); editing the malicious
                                                                    prosecution section (0.5)
        05/07/2022      Kevin P.      $300.00    0.6    $180.00     Call with co-defendants
                        Crenny                                      (0.4); follow up edits on
                                                                    section of motion to dismiss
                                                                    (0.2).
        07/07/2022      Kevin P.      $300.00    4.0    $1,200.00   Draft Fusion-specific
                        Crenny                                      material for joint Motion to


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       EXHIBIT B to Decl. of Joshua A. Levy
       In Support of Defs.’ Mot. for Sanctions & Fees
        Date            Timekeeper Discounted Time      Amount    Description
        (DD/MM/YYYY)               Rate                 Claimed
                                                                  Dismiss, including additional
                                                                  review of Amended
                                                                  Complaint (3.7); review
                                                                  draft brief sections from
                                                                  other firms (0.3).
        08/07/2022      Rachel M.     $600.00    0.6    $360.00   Revising draft insert specific
                        Clattenburg                               to Fusion Defendants (0.3);
                                                                  reviewing draft sections of
                                                                  brief from joint defense
                                                                  group (0.3)
        08/07/2022      Kevin P.      $300.00    0.6    $180.00   Review draft brief sections
                        Crenny                                    by other firms.
        10/07/2022      Rachel M.     $600.00    0.7    $420.00   Editing Fusion section of
                        Clattenburg                               brief (0.2); reviewing
                                                                  amended complaint
                                                                  (consolidated) (0.5)
        10/07/2022      Kevin P.      $300.00    0.2    $60.00    Assemble latest draft of
                        Crenny                                    Fusion-specific section of
                                                                  Motion to Dismiss.
        11/07/2022      Rachel M.     $600.00    0.1    $60.00    Joint defense call with Ben
                        Clattenburg                               Peacock (Ohr's counsel) re
                                                                  section of brief specific to
                                                                  our defendants
        11/07/2022      Kevin P.      $300.00    1.0    $300.00   Review draft materials from
                        Crenny                                    other firms and coordinate
                                                                  with counsel for N. Ohr.
        12/07/2022      Rachel M.     $600.00    0.4    $240.00   Reviewing consolidated
                        Clattenburg                               brief and email Ben Peacock
                                                                  re individual section
        12/07/2022      Kevin P.      $300.00    0.2    $60.00    Correspondence with
                        Crenny                                    counsel for co-defendants re
                                                                  motion to dismiss and
                                                                  Plaintiff's scheduling motion.
        13/07/2022      Rachel M.     $600.00    0.5    $300.00   review final brief and send
                        Clattenburg                               edits to Williams &
                                                                  Connolly
        13/07/2022      Kevin P.      $300.00    0.3    $90.00    Review latest draft of
                        Crenny                                    Motion to Dismiss and
                                                                  correspondence with co-
                                                                  counsel re same.
        15/07/2022      Kevin P.      $300.00    0.6    $180.00   Call with opposing counsel
                        Crenny                                    (0.4); file management re
                                                                  court records (0.2).
        21/07/2022      Kevin P.      $300.00    0.3    $90.00    Review filings by plaintiff
                        Crenny                                    and court orders,
        26/07/2022      Rachel M.     $600.00    0.4    $240.00   Joint defense call - strategy
                        Clattenburg                               for reply brief
        26/07/2022      Kevin P.      $300.00    0.4    $120.00   Call with co-defendants re
                        Crenny                                    reply in support of motion to
                                                                  dismiss.
        05/08/2022      Rachel M.     $600.00    1.0    $600.00   Joint defense call re reply
                        Clattenburg                               brief (0.4); review


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        (DD/MM/YYYY)               Rate                 Claimed
                                                                    Opposition brief from Trump
                                                                    (0.6)
        05/08/2022      Kevin P.      $300.00    4.7    $1,410.00   Call with other counsel for
                        Crenny                                      co-defendants re motion to
                                                                    dismiss reply (0.5); review
                                                                    opposition to motion to
                                                                    dismiss, research and draft
                                                                    reply section re malicious
                                                                    prosecution (4.2).
        08/08/2022      Kevin P.      $300.00    0.6    $180.00     Finalize draft of material re
                        Crenny                                      malicious prosecution for
                                                                    consolidated reply brief.
        09/08/2022      Rachel M.     $600.00    0.4    $240.00     Review and edit reply brief
                        Clattenburg
        10/08/2022      Rachel M.     $600.00    1.2    $720.00     Review and edit reply brief
                        Clattenburg                                 (1.0); joint defense call re
                                                                    reply brief (0.2).
        10/08/2022      Kevin P.      $300.00    1.0    $300.00     Review and offer edits on
                        Crenny                                      draft of consolidated Reply
                                                                    re Motion to Dismiss (0.8);
                                                                    call with counsel for co-
                                                                    defendants re Motion to
                                                                    Dismiss Reply (0.2).
        11/08/2022      Kevin P.      $300.00    0.2    $60.00      Review final draft of
                        Crenny                                      consolidated Reply re
                                                                    Motion to Dismiss.
                        Rachel M.
        12/09/2022                    $600.00    0.5    $300.00     Reviewing case law on fees
                        Clattenburg
                        Kevin P.                                    Strategize re possible motion
        12/09/2022                    $300.00    0.2    $60.00
                        Crenny                                      for sanctions.
                        Rachel M.                                   Call with Adam Fels re fees
        13/09/2022                    $600.00    0.2    $120.00
                        Clattenburg                                 motion
                                                                    Call with counsel for co
                        Kevin P.
        13/09/2022                    $300.00    0.8    $240.00     defendants (0.7); review
                        Crenny
                                                                    material re fees (0.1).
                        Kevin P.                                    Review material re motion
        15/09/2022                    $300.00    0.2    $60.00
                        Crenny                                      for sanctions and/or fees.
                        Rachel M.                                   Review draft motion for
        19/09/2022                    $600.00    0.6    $360.00
                        Clattenburg                                 sanctions
                                                                    Review and perform
                        Kevin P.                                    additional research for draft
        19/09/2022                    $300.00    0.7    $210.00
                        Crenny                                      consolidated motion for
                                                                    sanctions.
                                                                    Additional research for draft
                        Kevin P.
        20/09/2022                    $300.00    0.5    $150.00     consolidated motion for
                        Crenny
                                                                    sanctions.
                        Rachel M.
        21/09/2022                    $600.00    0.3    $180.00     Edit motion for sanctions
                        Clattenburg
                        Rachel M.                                   Joint Defense call re motion
        28/09/2022                    $600.00    0.2    $120.00
                        Clattenburg                                 for sanctions




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        (DD/MM/YYYY)               Rate                 Claimed
                                                                  Drafting declaration and
                        Rachel M.
        28/09/2022                    $600.00    1.1    $660.00   exhibits for Motion for
                        Clattenburg
                                                                  Sanctions
                                                                  Call with counsel for co
                        Kevin P.
        28/09/2022                    $300.00    0.5    $150.00   defendants re motion for
                        Crenny
                                                                  fees.
                                                                  Draft affidavit in support of
                        Rachel M.
        29/09/2022                    $600.00    1      $600.00   motion for sanctions, and
                        Clattenburg
                                                                  supporting exhibits
                                                                  Draft affidavit in support of
                        Rachel M.
        30/09/2022                    $600.00    1.5    $900.00   motion for sanctions, and
                        Clattenburg
                                                                  supporting exhibits
        30/09/2022      Kevin P.      $300.00    0.5    $150.00   Review affidavit and
                        Crenny                                    supporting exhibits




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                           EXHIBIT C
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    Adam S. Fels




    Partner


     +1 305 569 7746


     www.linkedin.com/in/adam-fels-819621195/


                                                      afels@ slawfirm.com
                                                        Download vCard


    Adam S. Fels is a founding partner of Fridman Fels & Soto, PLLC. His practice focuses on
    international money laundering cases, white-collar criminal defense, and complex internal
    investigations.



 https://www.ffslawfirm.com/attorneys/adam-s-fels/                                                   1/7
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    Before forming Fridman Fels & Soto, PLLC, Mr. Fels served as an Assistant United States
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    Attorney in the Southern District of Florida for thirteen years, specializing in international
    money laundering, counternarcotics, and counterterrorism prosecutions. He also served as
    a Special Assistant United States Attorney in both the Southern District of New York and the
    Eastern District of New York. Mr. Fels was one of the lead prosecutors and delivered the
    opening statement in the Governmentʼs successful prosecution of Joaquin “El Chapo”
    Guzmán, one of the largest drug kingpins ever tried in the United States. The members of
    the prosecution team, including Mr. Fels, were honored with the 2019 U.S. Department of
    Justice Attorney Generalʼs Award for Exceptional Service, the Departmentʼs highest award
    for employee performance.


    Throughout his thirteen-year career as a federal prosecutor, Mr. Fels successfully managed
    and directed a wide array of criminal investigations and cases in district court, and
    successfully argued several cases in federal courts of appeal. Mr. Fels also handled some of
    the Miami U.S. Attorneyʼs O iceʼs highest profile cases, including a variety of
    counterterrorism prosecutions, and the prosecution of some of the most prominent
    Colombian drug cartel leaders of the time. He has developed expertise in several areas of
    federal criminal practice, including Title III wiretaps, classified information litigation, money
    laundering and other financial investigations, mortgage fraud, and customs enforcement.
    He was cleared for top secret information and granted access to sensitive compartmented
    information.


    Mr. Fels has lectured extensively to various audiences, including domestic and foreign law
    enforcement personnel and university students. His seminars and guest lectures have
    addressed international criminal procedure, money laundering, terrorist financing, and
    psychology of the courtroom. He has participated on state-sponsored money laundering
    panels on three continents.


    Prior to his tenure as a federal prosecutor in Miami, Mr. Fels served as a Senior Trial Attorney
    with the Department of Justiceʼs O ice of Special Investigations in Washington, DC, where
    he worked to denaturalize and deport several World War II concentration camp guards who
    had unlawfully entered the United States a er the war. For his role in bringing Nazi camp
    guards to justice, Mr. Fels was recognized alongside other OSI attorneys with the first U.S.
    Department of Justice Assistant Attorney General Award for Human Rights Law
    Enforcement.


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    Before joining the Department of Justice, Mr. Fels spent four years as a commercial litigation
     
    and appellate associate in the Washington, D.C. o ice of Latham & Watkins LLP,
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    participating in several trials and developing expertise in internal investigations. Mr. Fels
    began his legal career by clerking for United States District Judge Donald M. Middlebrooks in
    the Southern District of Florida.


    News Reports and Media Accounts

     “Duped” and “egged on”: Capitol rioters use Trump as excuse in court,” CBS News,
      February 16, 2021, available at https://www.cbsnews.com/news/capitol-riot-suspects-
         trump-blame-court/
     “DBR Recognizes Most E ective Lawyers for 2019,” Daily Business Review, November 15,
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         most-e ective-lawyers-for-2019/?slreturn=20191015145223
     “Opinion: Will El Chapoʼs Trial Change Organized Crime Forever?” The New York Times,
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         trial-witnesses.html
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         2019, available at https://miami.cbslocal.com/2019/02/12/notorious-drug-lord-joaquin-
         el-chapo-guzman-convicted/
     “Joaquín ʻEl Chapoʼ Guzmánʼs trial: From shocking to bizarre,” BBC.com, February 4, 2019,
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     “ʼEl Chapoʼ trial jurors heard the accused Mexican drug lordʼs voice — or did they?” USA
         Today, December 19, 2018, available at
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         accused-mexican-drug-lord-voice-secret-tape/2360588002/
     “El Chapo Trial Updates,” Newsweek, December 13, 2018, available at
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         jorge-milton-cifuentes-1258241
     “Las leyendas de El Chapo, a juicio,” El Pais, November 18, 2018, available at
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     “Main witness against ʻEl Chapoʼ will be ʻEl Chapo,ʼ prosecutor says,” NBC News,
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         opening-arguments-delayed-because-anxious-juror-n935761
     “As El Chapo trial opens, attorneys o er contrasting portraits of ʻmythologicalʼ drug lord,”
         Washington Post, November 13, 2018, available at
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         https://www.washingtonpost.com/world/national-security/el-chapo-trial-begins-drug-
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         kingpin-faces-life-in-prison/2018/11/12/52846f2a-e466-11e8-b759-
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     “Miami judge orders ex-Panamanian president sent home to face criminal charges,”
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         world/article170521432.html
     “Man Who Made Bomb Threats to Palm Beach County Schools Sentenced to More Than 3
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     “South Florida brothers sentenced to long prison terms for terrorist plot in New York,”
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         July 25, 2014, available at https://www.infobae.com/2014/07/25/1583091-los-detalles-la-
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         Group Pleads Guilty And Is Sentenced,” U.S. Dept. of Justice, July 24, 2014, available at
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      Colombian Narcotics Kingpin,” FBI, January 24, 2014, available at
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     “Manhattan, Brooklyn, And Miami U.S. Attorneys Announce Extradition Of Colombian
         Narcotics Kingpin,” U.S. Dept. of Justice, July 9, 2013, available at
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         announce-extradition-colombian-narcotics
     “Miami Jury Convicts Guatemalan Drug Kingpin of Distributing Cocaine Knowing it Would
         be Imported into the United States,” U.S. Dept. of Justice, May 8, 2012, available at
         https://www.justice.gov/archive/usao/fls/PressReleases/2012/120508-01.html
     “High-Level Colombian BACRIM Narco-Tra icker Indicted on Cocaine Conspiracy
         Charges,” FBI, February 9, 2011, available at
         https://archives.fbi.gov/archives/miami/press-releases/2011/mm020911a.htm
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     “OSIʼs Prosecution of World War II Persecutor Cases,” United States Attorneys Bulletin,
         January 2006


    Awards and Recognition

     Recipient of Attorney Generalʼs David Margolis Award for Exceptional Service, 2019
     “Most E ective Lawyer” for Criminal Law, Daily Business Review, 2019
     Recipient of Federal Law Enforcement Foundation Award, 2019
     Recipient of Timothy Evans Award for Outstanding Assistant United States Attorney, 2012
     Recipient of Assistant Attorney General Award for Human Rights Law Enforcement, 2008




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            305 569 7746


            www.linkedin.com/in/adam-fels-819621195/


            afels@ slawfirm.com
            Download vCard

           Education

            J.D., University of Chicago Law School


            A.B., Columbia University




           Bar Admissions

            Florida Bar


            District of Columbia Bar


            US Court of Appeals for the Eleventh Circuit


            US District Court for the Southern District of Florida


            US District Court for the Middle District of Florida




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       In Support of Defs.’ Mot. for Sanctions & Fees
        Date                       Discounted           Amount
        (DD/MM/YYYY)    Timekeeper Rate       Time      Claimed   Description
                                                                  Exchange emails with co-
                                                                  counsel regarding joint motion
                                                                  for extension; review pro hac
                                                                  filings, prepare notice of
                                                                  appearance, pay pro hac fees;
                        Adam S                                    file notice of appearance and
        22/04/2022      Fels         600         0.6     $360.00 pro hac motions.
                                                                  Review docket; send co-
                        Adam S                                    counsel orders granting pro
        28/04/2022      Fels         600         0.1     $60.00   hac motions.
                                                                  Review complaint (split with
                                                                  co-defendants); review draft
                                                                  motion to dismiss; research
                                                                  legal issues relating to legal
                                                                  fees as injury under RICO;
                        Adam S                                    exchange emails with co-
        11/05/2022      Fels         600         2.3    $1,380.00 counsel; file motion to dismiss.
                                                                  Calls with co-counsel to
                                                                  discuss upcoming status
                                                                  conference hearing; research
                                                                  local rules re: Rule 26
                                                                  conference; review docket for
                        Adam S                                    entries relating to scheduling
        01/06/2022      Fels         600         1       $600.00 order
                                                                  Attend status conf (split with
                        Adam S                                    co-defendants); T/C with co-
        02/06/2022      Fels         600         0.7     $420.00 counsel
                                                                  Review portion of Amended
                                                                  Complaint (split with co-
                                                                  defendants); research, review
                                                                  and edit malicious prosecution
                        Adam S                                    section (split with co-
        01/07/2022      Fels         600         0.9     $540.00 defendants)
                                                                  Review of revised malicious
                        Adam S                                    prosecution section (split with
        05/07/2022      Fels         600         0.2     $120.00 co-defendants)
                                                                  Participate on status call with
                        Adam S                                    Plaintiffs & Defendants (split
        15/07/2022      Fels         600         0.2     $120.00 with co-defendant)
                                                                  Review Court’s order
                                                                  dismissing case; research Rule
                                                                  11 rulings by J. Middlebrooks;
                                                                  participate in call with counsel
                        Adam S                                    to discuss same (all split with
        13/09/2022      Fels         600         0.8     $480.00 co-defendants).
                                                                  Review of draft sanctions
                                                                  motion (split with co-
                        Adam S                                    defendants); T/C with co-
        22/09/2022      Fels         600         0.3     $180.00 counsel re: same.
                                                                  Appear at teleconference to
                        Adam S                                    discuss fees; T/C with Rachel
        28/09/2022      Fels         600         1.1     $660.00 Clattenburg to discuss fees;
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                                                        prepare chart breaking down
                                                        fees.
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                     EXHIBIT 7
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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

    Donald J. Trump,

                            Plaintiff,

            v.
                                                         Civil Action No. 2:22-14102-DMM
    Hillary R. Clinton et al.,

                            Defendants.


                       DECLARATION OF JOSHUA BERMAN IN SUPPORT OF
                        DEFENDANTS’ MOTION FOR SANCTIONS AND FEES

           I, Joshua Berman, declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that the

    following is true and correct:

           1.      I am a partner at Clifford Chance US LLP (“Clifford Chance”), counsel of record

    for Bruce and Nellie Ohr in the above captioned matter.

           2.      Attached as Exhibit A are biographies of the attorneys at Clifford Chance for whom

    Bruce and Nellie Ohr seek attorneys’ fees. The biographies reflect the professional qualifications of

    those attorneys.

           3.      Clifford Chance entered into a retention agreement with Mr. and Mrs. Ohr covering

    the present litigation. Mr. Ohr has a modest insurance policy that covers certain fees related to the

    present litigation, but only covers attorneys’ fees up to $300 per hour. Mr. and Mrs. Ohr agreed

    to pay all of Clifford Chance’s costs, fees, and expenses incurred in connection with the present

    suit that are not covered by this insurance policy, and agreed to pay discounted rates, which for

    this matter are $800 per hour for my time, and $500 per hour for associate Benjamin Peacock.

    These rates represent a nearly 40 percent discount from standard Clifford Chance rates.

           4.      Attached as Exhibit B is a true and correct copy of the hours worked by counsel for

    Defendants Bruce and Nellie Ohr. Defendants Bruce and Nellie Ohr seek fees at the already discounted


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    hourly rate for the attorneys as described in Exhibit B and below. These significantly discounted

    hourly rates are consistent with the rates this Court concluded were reasonable in Celsius Holdings,

    Inc v. A SHOC Beverage, LLC, No. 21-cv-80740, 2022 WL 3568042 (July 19, 2022). Exhibit B

    also provides an accurate statement of the work provided by Clifford Chance during the periods

    for which discounted fees are sought.

            5.      Attached as Exhibit C is the law firm website biography of the attorney at Fridman Fels

    & Soto, PLLC (“Fridman Fels”) for whom Defendants Bruce and Nellie Ohr seek attorneys’ fees. The

    biography reflects the professional qualifications of this attorney.

            6.      Fridman Fels & Soto, PLLC entered into a retention agreement with Defendants

    Bruce and Nellie Ohr in connection with the present litigation. Bruce and Nellie Ohr agreed to pay

    all of Fridman Fels’s costs, fees, and expenses incurred in connection with the present suit, and

    agreed to pay a discounted rate from the firm’s customary rate. Fridman Fels is charging

    Defendants Bruce and Nellie Ohr $500 per hour.

            7.      Attached as Exhibit D is a true and correct copy of the hours worked by Fridman

    Fels for Defendants Bruce and Nellie Ohr. Defendants Bruce and Nellie Ohr seek fees at the already

    discounted hourly rate for the attorneys as described in Exhibit D and below. These discounted

    hourly rates are consistent with the rates this Court concluded were reasonable in Celsius Holdings,

    Inc v. A SHOC Beverage, LLC, No. 21-cv-80740, 2022 WL 3568042 (July 19, 2022). Exhibit D

    also provides an accurate statement of the work provided by Fridman Fels during the periods for

    which discounted fees are sought.

            8.      Consistent with the discussion in the Memorandum in Support of Sanctions and the

    information provided in Exhibit B and Exhibit D, I summarize below in Charts A, B, and C the

    fees associated with three different phases of the case: (A) the fees incurred from the filing of the




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    initial complaint to the filing of Mrs. Ohr’s initial motion to dismiss; (B) the fees incurred between

    the filing of Mrs. Ohr’s initial motion to dismiss and the Court’s order dismissing the suit; and (C)

    the fees incurred to date in connection with the motion for sanctions.

            9.      As reflected in Chart A, the discounted fees incurred by Mr. and Mrs. Ohr from the

    filing of the initial complaint to the filing of initial motion to dismiss total $25,760.

            10.     As reflected in Chart B, the discounted fees incurred by Mr. and Mrs. Ohr from the

    filing of the initial motion to dismiss to this Court’s dismissal of the suit total $26,820.

            11.     As reflected in Chart C, the discounted fees incurred by Mr. and Mrs. Ohr in

    connection with the motion for sanctions, to date, total $6,330.

                        Chart A: Fees incurred from Complaint to initial MTD

          Timekeeper              Discounted Fee                Hours                        Fees
     Joshua Berman               $800 / hour            4.2 hours                  $3,360

     Benjamin Peacock            $500 / hour            40.3 hours                 $20,150

     Adam Fels                   $500 / hour            4.3 hours                  $2,150

     Victoria Pantin             $125 / hour            0.8 hours                  $100



                            Chart B: Fees incurred initial MTD to dismissal

          Timekeeper              Discounted Fee               Hours                         Fees
     Joshua Berman               $800 / hour            1.9 hours                  $1,520

     Benjamin Peacock            $500 / hour            47.6 hours                 $23,800

     Adam Fels                   $500 / hour            3 hours                    $1,500




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                         Chart C: Fees incurred to date on sanctions motion

          Timekeeper            Discounted Fee               Hours                      Fees
     Joshua Berman             $800 / hour           0.6 hours                 $480

     Benjamin Peacock          $500 / hour           10.6 hours                $5,300

     Adam Fels                 $500 / hour           1.1 hours                 $550



           12.     I believe that the discounted rates claimed are reasonable given the professional

    qualifications of the billers as evidenced in Exhibit A and Exhibit C for the Southern District of

    Florida market and given the rates approved by this Court in Celsius.

           13.     In connection with this case, counsel also incurred necessary costs in the amount of

    $400 for admission to this court pro hac vice. As such in addition to the costs and fees set out

    above, Mr. and Mrs. Ohr request and award of $400 for these fees.

           14.     Consistent with local Rule 7.3, counsel sent the motion papers and exhibits to

    Plaintiff’s counsel on October 5, 2022. Counsel for Mr. and Mrs. Ohr, together with counsel for

    other defendants, met and conferred with Plaintiff’s counsel on October 26, 2022, but were unable

    to reach an agreement regarding defendants’ entitlement to fees and expenses or the amount of

    such fees and expenses.


     /s/

    Joshua Berman
    October 31, 2022




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                     EXHIBIT $
     Case
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         4:22 PM                                            Document 280-2 Entered  onBerman
                                                                                Joshua FLSD Docket 10/31/2022 Page 168 of
                                                                           304
             Joshua Berman
             Partner




    Joshua Berman, a seasoned trial and appellate lawyer, has over twenty years of
                                                                                                                                     Contact details
    experience handling white collar and government investigations matters both in the private
    sector and in government. Josh represents and provides counsel to corporate clients,                                                Clifford Chance, Washington D.C.

    Boards of Directors and individuals in government, Congressional and internal                                                       +12029125174
    investigations, civil litigation, information security, and securities enforcement proceedings.
                                                                                                                                        Email me
    Josh has expertise in developing global compliance and training programs for companies,
    and handling due diligence in connection with anti-corruption and other potential fraud                                             Follow me on LinkedIn

    matters.                                                                                                                            Practice area Litigation, dispute resolution & risk
                                                                                                                                        management
    Prior to joining Clifford Chance, Josh served as Deputy General Counsel for the U.S. Department of Commerce. There, he
    was responsible for a wide array of substantive matters, including: CFIUS, international export sanctions, cybersecurity,
    ethics guidance, data privacy, international anti-corruption efforts, Congressional investigations and oversight, Treasury tax
    regulations, ECPA reform, counter-terrorism efforts, FirstNet, telecommunications and intellectual property matters.
                                                                                                                                         Career and qualifications
    From 1997 to 2001, Josh served as an Assistant U.S. Attorney for the Southern District of New York, where he
                                                                                                                                        Cornell University (BA, Government) 1991
    supervised, investigated, prosecuted and tried cases relating to securities fraud, white collar crime, terrorism, espionage,
    health care fraud, public corruption, obstruction of justice, bank fraud, immigration fraud, anti-piracy and copyright              University of Michigan Law School (JD Law) 1994
    infringement, money laundering, racketeering, cybercrime, and organized and violent crime. Josh served on team of
                                                                                                                                        Assistant U.S. Attorney (SDNY), U.S. Department of
    counter-terrorism prosecutors who investigated and prosecuted al Qaeda members and associates overseas and within                   Justice 1997
    the U.S. From 2001-2002, Josh served as Associate Investigative Counsel on the high profile Webster Commission for the
                                                                                                                                        Associate Investigative Counsel, Webster Commission
    Review of FBI Security Matters where he led a large multi-agency team of intelligence agents examining lapses in FBI
                                                                                                                                        for the Review of FBI Security Programs, U.S.
    national security in the wake of Robert Hanssen’s espionage. From 2002-2004, Josh was a senior Trial Counsel for the                Department of Justice 2001
    U.S. Department of Justice, Criminal Division, Public Integrity Section, where he supervised, investigated and prosecuted
                                                                                                                                        Senior Trial Attorney, Criminal Division, Public Integrity
    investigations and prosecutions of high profile corruption, FEC and campaign finance cases.                                         Section, U.S. Department of Justice 2002


    Josh is a member of our global Corruption Risk team.                                                                                Partner, SNR Denton 2004

                                                                                                                                        Partner, Katten Muchin Rosenman 2010

       Corruption Risk                                                                                                                  Deputy General Counsel, U.S. Department of
                                                                                                                                        Commerce 2016
       We help businesses to build resilience, sustain growth and
                                                                                                                                        Joined Clifford Chance as Partner 2017
       be better prepared



                                                                                                                           ❯



    Relevant experience          Publications and insights




    News and client work
       Clifford Chance advises Japan Bank for International Cooperation on acquiring US$110 million equity in NuScale to
       advance clean energy
       New York/Tokyo: Leading international law firm Clifford Chance has advised Japan Bank for International Cooperation
       (JBIC) on acquiring US$110 million of prefe...
       26 April 2022




https://www.cliffordchance.com/people_and_places/people/partners/us/joshua-berman.html                                                                                                               1/1
BENJAMIN PEACOCK
NEW YORK

                   BENJAMIN PEACOCK           Prior to joining Clifford Chance, Benjamin interned at the     A hedge fund in connection with a review of policies
                   Associate                  New England Legal Foundation, where he assisted in              and risk assessment of its global commodities- and
                                              authoring briefs for the United States Court of Appeals for     securities-trading operations.
                   T +1 212 878 8051          the First Circuit and the Supreme Courts of Massachusetts,
                   E benjamin.peacock@        New Hampshire and Maine.                                       A digital assets company in connection with an SEC
                     cliffordchance.com
                                                                                                              investigation into its offering of digital tokens
                                              Benjamin received a JD from the New York University
                                              School of Law and a BA in philosophy from the University of
                                                                                                             A cryptocurrency exchange in connection with a joint
                                              Georgia. He is admitted to practice in New York.
                                                                                                              DOJ and CFTC investigation of trading practices on the
                                              Representative matters include representing:                    exchange

                                                                                                             A digital assets company in connection with U.S.
Benjamin Peacock is a senior associate in      A major financial institution in regulatory
                                                                                                              regulatory issues
Clifford Chance's Litigation & Dispute          investigations alleging manipulation of LIBOR, and
                                                in subsequent implementation of settlement                   Defeated all DOJ FCPA charges against Lawrence
Resolution practice in New York. He
                                                undertakings                                                  Hoskins at trial, with remaining money laundering
represents clients in cross-border criminal
                                                                                                                                                                                                           304




                                                                                                              counts resulting in a 15-month sentence that is
and regulatory investigations and complex      A joint venture in connection with investigations by          currently under appeal
commercial litigation and arbitration.          CFTC and NYAG of spoofing and other foreign
                                                exchange market-related misconduct.

                                               A large international financial institution in
                                                connection with a spoofing investigation by the CME

                                               A major Asian financial institution in connection with
                                                CME investigations into trading of energy and
                                                agricultural futures

                                               A vertically integrated energy company in
                                                connection with a review of policies and risk
                                                assessment of its global commodities-trading
                                                operations.

                                               A major US financial institution in connection with
                                                remediation of its foreign exchange trading practices
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                                                                                                                                           CLIFFORD CHANCE   |   1
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                     EXHIBIT %
                                                        ExhibitBͲCliffordChancefeechart(24004627221.1)                                                               Page1


Date           Attorney           DiscountedRate    Time        AmountClaimed       Description

   4/13/2022 JoshuaBerman                     800          0.5 $400.00 CommunicationswithjointͲdefenseteam;reviewcomplaintandanalyzenextsteps.
   4/14/2022 JoshuaBerman                     800          0.5 $400.00 Furthercommuncationswithjointdefenseteamandwithclientrenextsteps.
   4/15/2022 BenjaminPeacock                  500          1.5 $750.00 Analyzecomplaintandpotentiallegaldefenses.
                                                                                            CommunicationwithjointͲdefenseteamandplaintiff'scounsel;analyzecomplaint
   4/18/2022 JoshuaBerman                     800          1.2 $960.00 andpotentiallegaldefenses.
   4/18/2022 BenjaminPeacock                  500            5 $2,500.00 Legalresearchformotiontodismiss;outlinepotentialdefenses.
   4/19/2022 JoshuaBerman                     800          0.5 $400.00 Reviewdocket;telephoneconferencewithB.Peacockrenextsteps.
                                                                                            Legalresearchformotiontodismiss;outlinepotentialdefenses;telephone
   4/19/2022 BenjaminPeacock                  500          3.5 $1,750.00 conferencewithJ.Bermanresame.
   4/20/2022 JoshuaBerman                     800          0.7 $560.00 JointͲdefensecall;attentiontoselectionoflocalcounsel.
                                                                                            JointͲdefensecall;telephoneconferencewithAdamFelsreengagement;draft
                                                                                            motionforextensionoftime;eͲmailswithplaintiff'scounselresame;draftprohac
   4/20/2022 BenjaminPeacock                  500          4.5 $2,250.00 vice motions.
   4/21/2022 JoshuaBerman                     800          0.1 $80.00 Finalizefilings;communicationswithjointͲdefensecounselresame.
                                                                                            ReviewdraftFridmanFelsandSotoengagementletter;communicationswithclient
   4/21/2022 BenjaminPeacock                  500          4.7 $2,350.00 resame;outlineargumentsformotiontodismiss.
   4/22/2022 JoshuaBerman                     800          0.1 $80.00 Resolvelocalcounselandfilingissuesreextensionoftime.
                                                                                            Finalizemotionforextensionoftimeandprohacvice motions;eͲmailand
                                                                                                                                                                                                                           304




                                                                                            telephoneconferenceswithlocalcounselrefiling;eͲmailBruceandNellieOhrre
   4/22/2022 BenjaminPeacock                  500          1.7 $850.00  statusandnextsteps.
                                                                                            Attentiontoplaintiffquestionremotiontoamendcomplaint;communciationswith
   4/25/2022   JoshuaBerman                   800          0.2 $160.00 jointͲdefensecounsel.
   4/27/2022   JoshuaBerman                   800          0.2 $160.00 ReviewdraftclientlettertoDOJreWestfallrepresentation.
   4/28/2022   BenjaminPeacock                500          0.5 $250.00 EditdraftclientWestfallletter;eͲmailJ.Bermanresame.
    5/4/2022   BenjaminPeacock                500          6.5 $3,250.00 Legalresearchinconnectionwithmotiontodismiss;draftsame.
    5/5/2022   BenjaminPeacock                500          4.5 $2,250.00 Legalresearchinconnectionwithmotiontodismiss;draftsame.
    5/6/2022   BenjaminPeacock                500          3.5 $1,750.00 Legalresearchinconnectionwithmotiontodismiss;draftsame.
   5/10/2022   JoshuaBerman                   800          0.2 $160.00 Reviewdraftmotiontodismiss.
                                                                                            Revisedraftmotiontodismiss;eͲmailclientsresame;eͲmailswithJ.BermanandA.
   5/10/2022 BenjaminPeacock                  500          1.2 $600.00 Felsresame.
                                                                                            Finaleditstodraftmotiontodismiss;multipletelephoneconferencesandeͲmails
   5/11/2022   BenjaminPeacock                500          3.2 $1,600.00 withA.Felsresame.
   5/13/2022   BenjaminPeacock                500          0.3 $150.00 Attentiontorequestforextensionoftimefromplaintiff'scounsel.
   5/18/2022   BenjaminPeacock                500            1 $500.00 AttendjointͲdefensecall;eͲmailswithJ.Bermanrestatusandnextsteps.
   5/25/2022   BenjaminPeacock                500          0.2 $100.00 EͲmailBruceOhrrestatus.
   5/26/2022   BenjaminPeacock                500          0.5 $250.00 Reviewproposedstipulation;eͲmailcounselforH.Clintonresame.
                                                                                                                                                                                     Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 171 of
                                     ExhibitBͲCliffordChancefeechart(24004627221.1)                                                            Page2


5/26/2022 BenjaminPeacock     500     0.4 $200.00 Attendmeetingwithsummerinterntointroducematteranddiscussnextsteps.
 6/2/2022 JoshuaBerman        800     0.2 $160.00 TelephoneconferencewithB.Peacockrestrategyandnextsteps.
                                                                      Courtconference;followͲuptelephoneconferenceswithJ.BermanandA.Felsre
 6/2/2022   BenjaminPeacock   500     2.5 $1,250.00 same;eͲmailBruceandNellieOhrresame.
   15ͲJun   BenjaminPeacock   500       1 $500.00 JointͲdefensecall.
   21ͲJun   BenjaminPeacock   500     3.4 $1,700.00 Analyzeamendedcomplaintandevaluatedefenses.
   22ͲJun   JoshuaBerman      800     0.2 $160.00 Analyzeamendedcomplaint.
   22ͲJun   BenjaminPeacock   500     1.7 $850.00 Furtheranalysisofamendedcomplaint;legalresearchinconnectionwithsame.
   23ͲJun   JoshuaBerman      800     0.5 $400.00 JointͲdefensecall.
                                                                      JointͲdefensecall;telephoneconferencewithDOJreWestfallissues;legalreseach
   23ͲJun BenjaminPeacock     500     3.4 $1,700.00 inconnectionwithsame.
   24ͲJun JoshuaBerman        800     0.3 $240.00 Analyzeargumentsforrenewedmotiontodismiss.
                                                                      FurtheranalysisofWestfallissues;furtheranalysisofamendedcomplaintand
   24ͲJun BenjaminPeacock     500     5.5 $2,750.00 relatedlegalresearch.
                                                                      ReviewandrevisedraftmaliciousͲprosecutionsectionofrenewedmotionto
   29ͲJun BenjaminPeacock     500     1.9 $950.00 dismiss;jointͲdefensecommunicationsinconnectionwithsame.
     1ͲJul JoshuaBerman       800     0.2 $160.00 JointͲdefensecall.
                                                                      JointͲdefensecall;revisemaliciousͲprosecutionsectionofrenewedmotionto
                                                                      dismiss;jointͲdefensecommunicationsresame;telephoneconferencewithDOJre
     1ͲJul BenjaminPeacock    500     4.5 $2,250.00 Westfallissues;followͲupeͲmailswithJ.Bermanresame.
                                                                                                                                                                                                     304




                                                                      FurthercommunicationwithDOJreWestfallissues;revisedraftmotiontodismiss;
     5ͲJul BenjaminPeacock    500     2.9 $1,450.00 jointͲdefensecommunicationsresame.
    11ͲJul BenjaminPeacock    500     0.7 $350.00 Revisedraftmotiontodismiss;multiplejointͲdefensecommunciationsresame.
    12ͲJul BenjaminPeacock    500     2.5 $1,250.00 Revisedraftmotiontodismiss;jointͲdefensecommunicationsresame.
                                                                      Furtheranalysisofissuesrelatedtorenewedmotiontodismiss;eͲmailswithA.Fels
    13ͲJul BenjaminPeacock    500     2.2 $1,100.00 resame.
    14ͲJul BenjaminPeacock    500     0.6 $300.00 Reviewfiledoppositiontomotiontodismiss.
    15ͲJul JoshuaBerman       800     0.5 $400.00 MeetͲandͲconferwithplaintiff'scounselandjointͲdefenseteam.
                                                                      MeetͲandͲconferwithplaintiff'scounselandjointͲdefenseteam;eͲmailBruceand
    15ͲJul BenjaminPeacock    500     0.7 $350.00 NellieOhrresame.
    26ͲJul BenjaminPeacock    500     0.5 $250.00 JointͲdefensecall.
    4ͲAug BenjaminPeacock     500     2.5 $1,250.00 Analyzeplaintiff'soppositiontomotiontodismiss.
                                                                      Furtheranalysisofoppositiontomotiontodismiss;eͲmailclientsresame;outline
    5ͲAug   BenjaminPeacock   500     1.7 $850.00 pointsforopposition.
    8ͲAug   BenjaminPeacock   500     1.3 $650.00 Draftandrevise"maliciousprosecution"argumentforreplybrief.
   10ͲAug   BenjaminPeacock   500     3.2 $1,600.00 Reviewreplybrief;eͲmailswithBruceandNellieOhrresame;jointͲdefensecall.
   11ͲAug   BenjaminPeacock   500     2.5 $1,250.00 Finalreviewofreplybriefinpreparationforfiling;eͲmailswithclientsresame.
    8ͲSep   BenjaminPeacock   500     2.7 $1,350.00 ReviewOrderGrantingMotiontoDismiss;eͲmailJ.Bermanresame.
                                                                                                                                                               Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 172 of
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                                                                      ReviewOrderGrantingMotiontoDismiss;preliminaryconsiderationofsanctions
    9ͲSep JoshuaBerman      800     0.3 $240.00   issues.
                                                                      Analysisofnextstepsincludingsanctions;eͲmailBruceandNellieOhrreOrderand
    9ͲSep BenjaminPeacock   500     1.7 $850.00   relatedissues.
   12ͲSep JoshuaBerman      800     0.3 $240.00   Addressissueresanctions.
                                                                      Legalresearchrelegalstandardforsanctions;telephoneconferencewithA.Felsre
   13ͲSep BenjaminPeacock   500     0.5 $250.00   same.
   23ͲSep BenjaminPeacock   500     1.9 $950.00   Reviewdraftmotionforsanctions;legalresearchinconnectionwithsame.
                                                                      ReviewmaterialsprovidedbyA.Felsinconnectionwithmotionforsanctions;
   28ͲSep BenjaminPeacock   500     0.3 $150.00   telephoneconferencewithA.Felsresame.

10/2/2022 BenjaminPeacock   500     1.5 $750.00 Draftdeclarationtoaccompanymotionforsanctionsandprepareexhibitstosame.
                                                                    Revisedeclarationtoaccompanymotionforsanctionsandprepareexhibitsto
    3ͲOct BenjaminPeacock   500       2 $1,000.00 same;eͲmailBruceandNellieOhrresame.
                                   105.2 $54,610.00
                                                                                                                                                                                                    304
                                                                                                                                                              Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 173 of
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 Menu




                  Adam S. Fels




                                                                                      +1 305 569 7746
                                                                           Partner

 www.linkedin.com/in/adam-fels-819621195/
                                                                                                                        Menu
                                                      afels@ slawfirm.com
                                                        Download vCard


Adam S. Fels is a founding partner of Fridman Fels & Soto, PLLC. His practice focuses on international money laundering
cases, white-collar criminal defense, and complex internal investigations.


Before forming Fridman Fels & Soto, PLLC, Mr. Fels served as an Assistant United States Attorney in the Southern District of
Florida for thirteen years, specializing in international money laundering, counternarcotics, and counterterrorism
prosecutions. He also served as a Special Assistant United States Attorney in both the Southern District of New York and the
Eastern District of New York. Mr. Fels was one of the lead prosecutors and delivered the opening statement in the Governmentʼs
successful prosecution of Joaquin “El Chapo” Guzmán, one of the largest drug kingpins ever tried in the United States. The
                                                                                                                                                                          304




members of the prosecution team, including Mr. Fels, were honored with the 2019 U.S. Department of Justice Attorney
Generalʼs Award for Exceptional Service, the Departmentʼs highest award for employee performance.


Throughout his thirteen-year career as a federal prosecutor, Mr. Fels successfully managed and directed a wide array of criminal
investigations and cases in district court, and successfully argued several cases in federal courts of appeal. Mr. Fels also
handled some of the Miami U.S. Attorneyʼs O iceʼs highest profile cases, including a variety of counterterrorism prosecutions,
and the prosecution of some of the most prominent Colombian drug cartel leaders of the time. He has developed expertise in
several areas of federal criminal practice, including Title III wiretaps, classified information litigation, money laundering and
other financial investigations, mortgage fraud, and customs enforcement. He was cleared for top secret information and
granted access to sensitive compartmented information.
                                                                                                                                    Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 176 of
Mr. Fels has lectured extensively to various audiences, including domestic and foreign law enforcement personnel and
                                                                                                                       Menu
university students. His seminars and guest lectures have addressed international criminal procedure, money laundering,
terrorist financing, and psychology of the courtroom. He has participated on state-sponsored money laundering panels on
three continents.


Prior to his tenure as a federal prosecutor in Miami, Mr. Fels served as a Senior Trial Attorney with the Department of Justiceʼs
O ice of Special Investigations in Washington, DC, where he worked to denaturalize and deport several World War II
concentration camp guards who had unlawfully entered the United States a er the war. For his role in bringing Nazi camp
guards to justice, Mr. Fels was recognized alongside other OSI attorneys with the first U.S. Department of Justice Assistant
Attorney General Award for Human Rights Law Enforcement.


Before joining the Department of Justice, Mr. Fels spent four years as a commercial litigation and appellate associate in the
Washington, D.C. o ice of Latham & Watkins LLP, participating in several trials and developing expertise in internal
                                                                                                                                                                          304




investigations. Mr. Fels began his legal career by clerking for United States District Judge Donald M. Middlebrooks in the
Southern District of Florida.


News Reports and Media Accounts

 “Duped” and “egged on”: Capitol rioters use Trump as excuse in court,” CBS News, February 16, 2021, available at
  https://www.cbsnews.com/news/capitol-riot-suspects-trump-blame-court/
 “DBR Recognizes Most E ective Lawyers for 2019,” Daily Business Review, November 15, 2019, available at
  https://www.law.com/dailybusinessreview/2019/11/15/dbr-recognizes-most-e ective-lawyers-for-2019/?
  slreturn=20191015145223
 “Opinion: Will El Chapoʼs Trial Change Organized Crime Forever?” The New York Times, February 14, 2019, available at
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  https://www.nytimes.com/2019/02/14/opinion/el-chapo-trial-witnesses.html
 “Notorious Drug Lord Joaquin “El Chapo” Guzman Convicted,” CBS Miami, February 12, 2019, available at
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  https://miami.cbslocal.com/2019/02/12/notorious-drug-lord-joaquin-el-chapo-guzman-convicted/
 “Joaquín ʻEl Chapoʼ Guzmánʼs trial: From shocking to bizarre,” BBC.com, February 4, 2019, available at
  https://www.bbc.com/news/world-us-canada-46282173
 “ʼEl Chapoʼ trial jurors heard the accused Mexican drug lordʼs voice — or did they?” USA Today, December 19, 2018, available
  at https://www.usatoday.com/story/news/2018/12/19/did-el-chapo-drug-trial-jurors-hear-accused-mexican-drug-lord-
  voice-secret-tape/2360588002/
 “El Chapo Trial Updates,” Newsweek, December 13, 2018, available at “https://www.newsweek.com/joaquin-el-chapo-
  guzman-loera-sinaloa-cartel-brooklyn-jorge-milton-cifuentes-1258241
 “Las leyendas de El Chapo, a juicio,” El Pais, November 18, 2018, available at
  https://elpais.com/internacional/2018/11/16/actualidad/1542382504_906964.html
 “Main witness against ʻEl Chapoʼ will be ʻEl Chapo,ʼ prosecutor says,” NBC News, November 14, 2018, available at
  https://www.nbcnews.com/news/crime-courts/el-chapo-opening-arguments-delayed-because-anxious-juror-n935761
                                                                                                                                                                         304




 “As El Chapo trial opens, attorneys o er contrasting portraits of ʻmythologicalʼ drug lord,” Washington Post, November 13,
  2018, available at https://www.washingtonpost.com/world/national-security/el-chapo-trial-begins-drug-kingpin-faces-life-
  in-prison/2018/11/12/52846f2a-e466-11e8-b759-3d88a5ce9e19_story.html
 “Miami judge orders ex-Panamanian president sent home to face criminal charges,” Miami Herald, August 31, 2017, available
  at ”https://www.miamiherald.com/news/nation-world/article170521432.html
 “Man Who Made Bomb Threats to Palm Beach County Schools Sentenced to More Than 3 Years In Prison,” Sun-Sentinel,
  November 26, 2016, available at https://www.sun-sentinel.com/local/palm-beach/fl-palm-hoax-bomb-threat-sentencing-
  20161129-story.html
 “Man touted as one of biggest drug dealers ever gets 35 years,” AP News, July 25, 2016, available at
  https://apnews.com/b67b14c742334f0cb07a35513cf92162
 “South Florida brothers sentenced to long prison terms for terrorist plot in New York,” Miami Herald, June 10, 2015, available
  at https://www.miamiherald.com/news/local/crime/article23669335.html
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 “Los detalles de la detención en Aruba del general venezolano Hugo Carvajal,” Infobae, July 25, 2014, available at
                                                                                                                   Menu
  https://www.infobae.com/2014/07/25/1583091-los-detalles-la-detencion-aruba-del-general-venezolano-hugo-carvajal/
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  Sentenced,” U.S. Dept. of Justice, July 24, 2014, available at https://www.justice.gov/usao-sdfl/pr/individual-who-provided-
  false-statements-regarding-attempted-support-extremist-group
 “United States Attorney for the Southern District of Florida Announces Guilty Plea of Colombian Narcotics Kingpin,” FBI,
  January 24, 2014, available at https://archives.fbi.gov/archives/miami/press-releases/2014/united-states-attorney-for-the-
  southern-district-of-florida-announces-guilty-plea-of-colombian-narcotics-kingpin
 “Manhattan, Brooklyn, And Miami U.S. Attorneys Announce Extradition Of Colombian Narcotics Kingpin,” U.S. Dept. of
  Justice, July 9, 2013, available at https://www.justice.gov/usao-edny/pr/manhattan-brooklyn-and-miami-us-attorneys-
  announce-extradition-colombian-narcotics
 “Miami Jury Convicts Guatemalan Drug Kingpin of Distributing Cocaine Knowing it Would be Imported into the United
  States,” U.S. Dept. of Justice, May 8, 2012, available at
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  https://www.justice.gov/archive/usao/fls/PressReleases/2012/120508-01.html
 “High-Level Colombian BACRIM Narco-Tra icker Indicted on Cocaine Conspiracy Charges,” FBI, February 9, 2011, available at
  https://archives.fbi.gov/archives/miami/press-releases/2011/mm020911a.htm


Publications

 “OSIʼs Prosecution of World War II Persecutor Cases,” United States Attorneys Bulletin, January 2006


Awards and Recognition

 Recipient of Attorney Generalʼs David Margolis Award for Exceptional Service, 2019
                                                                                                                                 Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 179 of
 “Most E ective Lawyer” for Criminal Law, Daily Business Review, 2019
                                                                                            Menu
 Recipient of Federal Law Enforcement Foundation Award, 2019
 Recipient of Timothy Evans Award for Outstanding Assistant United States Attorney, 2012
 Recipient of Assistant Attorney General Award for Human Rights Law Enforcement, 2008
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     305 569 7746


     www.linkedin.com/in/adam-fels-819621195/


     afels@ slawfirm.com
     Download vCard
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    Education
                                                                                Menu
     J.D., University of Chicago Law School



     A.B., Columbia University




    Bar Admissions

     Florida Bar


     District of Columbia Bar


     US Court of Appeals for the Eleventh Circuit
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     US District Court for the Southern District of Florida


     US District Court for the Middle District of Florida




                                                             CONTACT US TODAY
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                   2525 Ponce de Leon Blvd. Suite 750 Coral Gables, FL 33134
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                                       305 569 7701

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                     EXHIBIT '
                                                                                    ExhibitDͲFridmanFelsFeeChart


Date         Timekeeper     DiscountedRate Time      AmountClaimed Description


                                                                            Reviewandeditprohacmotions,certificationsandproposedorders;reviewandeditmotionforextensionoftimeanddraft
4/21/2022 AdamSFels                  500     1.2 $600.00 proposedorder;draftnoticeofappearance;initialfilings;exchangeemailswithcoͲcounselre:initialfilings.



4/22/2022 VictoriaPantin              125     0.8 $100.00 CollectionofpreviousCM/ECFfilingsandsaveintoclient'sfolder.
                                                                           ReviewComplaint(splitwithcoͲdefendants);Reviewmotiontodismiss;researchlegalissuesin11thCir/SDFLrelatingto
                                                                           cognizableRICOinjuries;defamatorystatementsre:politicalcandidates;existenceofproceedingincontextofmalicious
5/10/2022 AdamSFels                  500     2.1 $1,050.00 prosecutioncase;annotatedraftbrief.



5/11/2022 AdamSFels                  500         1 $500.00 Additionalreviewofmotiontodismiss;T/CwithcoͲcounselre:same;filemotion.


 6/1/2022 AdamSFels                  500     0.4 $200.00 CallwithcoͲcounseltodiscussupcomingstatusconferencehearing.
 6/2/2022 AdamSFels                  500     0.7 $350.00 Attendstatusconf(splitwithcoͲdefendants);T/CwithcoͲcounsel
                                                                            ReviewportionofAmendedComplaint(splitwithcoͲdefendants);research,reviewandeditmaliciousprosecutionsection
 7/1/2022 AdamSFels                  500     0.9 $450.00 (splitwithcoͲdefendants)
 7/5/2022 AdamSFels                  500     0.2 $100.00 Reviewofrevisedmaliciousprosecutionsection(splitwithcoͲdefendants)
                                                                            Reviewissueindraftmotiontodismissre:"federaldefendants"inmaliciousprosecutionsection;exchangeemailswithcoͲ
7/13/2022 AdamSFels                  500     0.6 $300.00 counselre:same.
                                                                                                                                                                                                                                                    304




7/15/2022 AdamSFels                  500     0.2 $100.00 ParticipateonstatuscallwithPlaintiffs&Defendants(splitwithcoͲdefendant)
                                                                            ReviewCourt'sorderdismissingcase;researchRule11rulingsbyJ.Middlebrooks;participateincallwithcounseltodiscuss
9/13/2022 AdamSFels                  500     0.8 $400.00 same(allsplitwithcoͲdefendants).

9/22/2022 AdamSFels                  500     0.2 $100.00 Reviewofdraftsanctionsmotion(splitwithcoͲdefendants).

9/28/2022 AdamSFels                  500     0.9 $450.00 Appearatteleconferencetodiscussfees;T/CwithcoͲcounseltodiscussfees;preparechartbreakingdownfees.


 4/21/2022                                            $400.00 ProhacvicefeespaidforcoͲcounsel
TOTAL                                                             $5,100.00
                                                                                                                                                                                                              Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 185 of
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                     EXHIBIT 8
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

     Donald J. Trump,

                            Plaintiff,

            v.
                                                          Civil Action No. 2:22-14102-DMM
     Hillary R. Clinton et al.,

                            Defendants.


                 DECLARATION OF FRANKLIN MONSOUR JR. IN SUPPORT OF
                    DEFENDANTS’ MOTION FOR SANCTIONS AND FEES

           I, Franklin Monsour Jr., declare under penalty of perjury pursuant to 28 U.S.C. § 1746,

    that the following is true and correct:

           1.      I am a partner at Orrick Herrington & Sutcliffe LLP (“Orrick”), counsel of record

    for Igor Danchenko in the above captioned matter.

           2.      Attached as Exhibit A is my firm website biography demonstrating my professional

    qualifications, as the attorney for whom Mr. Danchenko seeks attorneys fees.

           3.      Orrick entered into a retention agreement with Mr. Danchenko in connection with

    the present litigation. Mr. Danchenko agreed to pay all of Orrick’s costs, fees, and expenses

    incurred in connection with the present suit, and agreed to pay the firm’s customary rates.

           4.      Attached as Exhibit B is a true and correct copy of the hours worked by counsel for

    Mr. Danchenko. Mr. Danchenko is not seeking reimbursement for the customary hourly rates

    mentioned in Paragraph 3. Instead, Mr. Danchenko seeks fees at a discounted hourly rate for the

    attorneys as describe in Exhibit B and below. These discounted hourly rates are consistent with

    the rates this Court concluded were reasonable in Celsius Holdings, Inc v. A SHOC Beverage,

    LLC, No. 21-cv-80740, 2022 WL 3568042 (July 19, 2022). Exhibit B also provides an accurate

    statement of the work provided by Orrick during the periods for which discounted fees are sought.


                                                      1
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           5.      Consistent with the discussion in the Memorandum in Support of Sanctions and the

    information provided in Exhibit B, I summarize below in Charts A, B, and C the fees associated

    with three different phases of the case: the fees incurred from the filing of the initial complaint to

    the filing of Mr. Danchenko’s initial motion to dismiss; the fees incurred between the filing of Mr.

    Danchenko’s motion to dismiss to the Court’s order dismissing the suit; and the fees incurred to

    date in connection with the motion for sanctions.

           6.      As reflected in Chart A, the discounted fees incurred by Mr. Danchenko from the

    filing of the initial complaint to the filing of Mr. Danchneko’s initial motion to dismiss total

    $5,600.

           7.      As reflected in Chart B, the discounted fees incurred by Mr. Danchenko from the

    filing of Mr. Danchenko’s initial motion to dismiss total to this Court’s dismissal of the suit total

    $10,220.

           8.      As reflected in Chart C, the discounted fees incurred by Mr. Danchenko in

    connection with the motion for sanctions, to date, total $1,540.

                       Chart A: Fees incurred from Complaint to initial MTD

          Timekeeper             Discounted Fee                Hours                       Fees
     Franklin Monsour Jr.       $700 per hour           8                        $5,600



                            Chart B: Fees incurred initial MTD to dismissal

          Timekeeper             Discounted Fee                Hours                       Fees
     Franklin Monsour Jr.       $700 per hour           14.6                     $10,220




                                                      2
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                          Chart C: Fees incurred to date on sanctions motion

          Timekeeper             Discounted Fee               Hours                         Fees
     Franklin Monsour Jr.       $700 per hour         2.2                       $1,540



           9.      I believe that the discounted rates claimed are reasonable given the professional

    qualifications of the billers as evidenced in Exhibit A for the Southern District of Florida market

    and given the rates approved by this Court in Celsius.

           10.     In connection with this case, counsel incurred necessary costs for electronic legal

    research. I understand that courts in this Circuit have held that legal research costs are not

    ordinarily taxable as costs under 28 U.S.C. § 1920, but are properly considered a component of

    attorneys’ fees. Springer v. Convergy’s Corp., No. 3:03-CV-302-J-99MCR, 2006 WL 8439203,

    at *2 (M.D. Fla. July 7, 2006). As such, in addition to the discounted fees set out above, Mr.

    Danchenko requests an award of $6,389 incurred for electronic legal research. Attached as Exhibit

    C is a true and correct copy of the amount of incurred for electronic legal research.

           11.     Consistent with local Rule 7.3, counsel sent the draft sanctions motion and draft

    supporting declarations to Plaintiff’s counsel on October 5, 2022. Defendants met and conferred

    in good faith with Plaintiff’s counsel by Microsoft Teams twice, on October 13 and October 26,

    2022, but were unable to reach any agreement as to either the Defendants’ entitlement to or the

    amount of fees and expenses not taxable under 28 U.S.C. §1920 that are recoverable from Plaintiff

    and/or his counsel.


     /s/ Franklin Monsour Jr.
    Franklin Monsour Jr.

    Date: October 27, 2022




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                             EXHIBIT A
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                                              Franklin Monsour, Jr.
                                              Partner
                                              New York
                                              T +1 212 506 3512
                                              E fmonsour@orrick.com
                                              ................................................................................................................
                                              Franklin Monsour is a white collar and
                                              investigations partner who defends clients in
                                              criminal and civil government actions and
     Honors                                   complex commercial litigation.
     x B.B. Allen Award, 2013
                                              As a former federal prosecutor for the Southern District of Florida,
     x Commendation by the                    in Miami, Franklin was lead counsel in negotiating multiple record
       Defense Criminal                       settlements totaling over $100 million in False Claims Act, Anti-
       Investigative Service (DCIS),          Kickback Statute, healthcare fraud and civil penalty recoveries. He
       2017                                   also prosecuted numerous criminal cases including the largest
                                              compounding pharmacy fraud case to go to trial.
     x Patriotic Service Medal by
       the US Army, 2017                      Franklin frequently represents clients in the life sciences and
                                              healthcare industries in both criminal and civil investigations
     x Commendation by the Drug               brought by the Department of Justice and other regulatory
       Enforcement Administration             agencies such as the DEA and FDA. He also represents clients in
       (DEA), 2013                            FCPA, securities and fraud-related civil cases, including civil RICO
                                              actions. In doing so, Franklin relies on his prior experience as an
                                              Assistant US Attorney in Miami where he prosecuted numerous
     Education
                                              criminal and civil regulatory cases. He was lead counsel on multiple
     x J.D., Benjamin N. Cardozo              False Claims Act, Anti-Kickback Statute cases resulting in record
       School of Law, 2003, Dean’s            resolutions. He was also lead counsel in a DEA drug diversion
                                              case against one of the largest pharmacy chains resulting in the
       Merit Scholar, Moot Court
                                              record civil penalty under the Controlled Substances Act. That case
       editorial board member,                developed the template for DEA actions against drug distribution
       Jacob Burns Medal recipient            centers alleged to distribute suspiciously large amounts of
       for moot court performance,            prescription narcotics.
       Best Writing Award for
                                              Franklin prosecuted numerous criminal cases involving fraud,
       Criminal Justice
                                              narcotics and violent crimes. He has successfully tried a variety of
     x B.A., Virginia                         criminal and civil cases to verdict, including a five-week federal trial
                                              convicting a pharmacist and a co-conspirator of conspiracy to
       Commonwealth University,
                                              commit healthcare fraud, pay kickbacks and money laundering.
       1999, cum laude                        That case is the largest compounding pharmacy fraud case to go
                                              to trial, involving numerous co-conspirators in billing well over $30
                                              million to the US military’s health insurance program.

                                              In addition to litigation, Franklin applies his Government experience
                                              in helping clients develop sophisticated compliance programs to
                                              preempt and resolve Anti-Kickback Statute and broader anti-
                                              corruption and FCPA enforcement issues.




    Orrick Biography: Franklin Monsour, Jr.                                                                                                                      1
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                                              Franklin understands what factors motivate investigations, actions,
                                              and litigation, and what factors conclude them. He builds strong
                                              relationships with clients to navigate difficult situations, developing
                                              defenses and strategies to resolve cases successfully, from
                                              negotiation through trial.

                                              Admissions
                                              x New York




    Orrick Biography: Franklin Monsour, Jr.                                                                             2
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                             EXHIBIT B
Date        Timekeeper        Discounted Rate   Time Amount Claimed Description
 5/6/2022   Monsour, Franklin            $700    2.00     $1,400.00 Research and outline thereto for MTD.
5/12/2022   Monsour, Franklin            $700    1.00       $700.00 Research and draft MTD.
5/13/2022   Monsour, Franklin            $700    1.00       $700.00 Draft MTD and research thereto.
5/18/2022   Monsour, Franklin            $700    2.00     $1,400.00 Draft and revise MTD brief.
5/20/2022   Monsour, Franklin            $700    2.00     $1,400.00 Draft and revise MTD brief.
 6/2/2022   Monsour, Franklin            $700    1.20       $840.00 Prepare for and attend status conference.
6/15/2022   Monsour, Franklin            $700    0.50       $350.00 Joint defense zoom conference.
6/23/2022   Monsour, Franklin            $700    0.50       $350.00 Call with codefendant counsel.
6/30/2022   Monsour, Franklin            $700    0.20       $140.00 Review case filings and correspondence.
 7/1/2022   Monsour, Franklin            $700    0.50       $350.00 Meet and confer and correspondence on motion for extension.
 7/5/2022   Monsour, Franklin            $700    0.50       $350.00 Joint defense call.
7/12/2022   Monsour, Franklin            $700    2.00     $1,400.00 Work on draft motion.
7/13/2022   Monsour, Franklin            $700    2.00     $1,400.00 Review draft motion and make edits thereto.
 8/5/2022   Monsour, Franklin            $700    0.50       $350.00 Call with Defense group to plan reply brief.
 8/5/2022   Monsour, Franklin            $700    2.50     $1,750.00 Review prior briefs and exhibits and confer thereto.
8/10/2022   Monsour, Franklin            $700    2.00     $1,400.00 Review draft reply and revise and confer with client thereto.
8/11/2022   Monsour, Franklin            $700    2.20     $1,540.00 Review revised reply brief and make edits thereto; confer with co-defense counsel.
9/13/2022   Monsour, Franklin            $700    0.50       $350.00 Joint defense strategy call.                                                         not billed yet
9/28/2022   Monsour, Franklin            $700    0.50       $350.00 Call with co-defendant counsel to discuss sanctions motion.                          not billed yet
9/30/2022   Monsour, Franklin            $700    1.20       $840.00 Review sanctions motion and revise affidavit.                                        not billed yet
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                             EXHIBIT C
                                                                          DISBURSEMENTS
Date         Tkpr.   Description                                                  Quantity    Bill Amt   Check No.Print On Bill?   Disb ID
05/05/22     FM      Lexis Research ; ; ; Inv No. Entry employee: 16673                       1,637.00            Y                40083841
05/06/22     FM      Lexis Research ; ; ; Inv No. Entry employee: 16673                        594.00             Y                40083842
05/08/22     FM      Lexis Research ; ; ; Inv No. Entry employee: 16673                        396.00             Y                40089027
05/12/22     FM      Lexis Research ; ; ; Inv No. Entry employee: 16673                        198.00             Y                40089028
05/13/22     FM      Lexis Research ; ; ; Inv No. Entry employee: 16673                       1,683.00            Y                40089029
05/15/22     FM      Lexis Research ; ; ; Inv No. Entry employee: 16673                        198.00             Y                40095211
05/16/22     FM      Lexis Research ; ; ; Inv No. Entry employee: 16673                       1,287.00            Y                40095212
07/12/22     FM      Lexis Research ; ; ; Inv No. Entry employee: 16673                        297.00             Y                40138354
07/13/22     FM      Lexis Research ; ; ; Inv No. Entry employee: 16673                         99.00             Y                40138355
Disbursement Total                                                                           $6,389.00
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                     EXHIBIT 9
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

     Donald J. Trump,

                            Plaintiff,

             v.
                                                           Civil Action No. 2:22-14102-DMM
     Hillary R. Clinton et al.,

                            Defendants.


                  DECLARATION OF SAMANTHA L. SOUTHALL IN SUPPORT OF
                     DEFENDANTS’ MOTION FOR SANCTIONS AND FEES

           I, Samantha L. Southall, declare under penalty of perjury pursuant to 28 U.S.C. § 1746,

    that the following is true and correct:

           1.       I am a shareholder of Buchanan Ingersoll & Rooney PC (“Buchanan”), counsel of

    record for Defendant Neustar, Inc. (“Neustar”) in the above captioned matter.

           2.       Attached as Exhibit A are the law firm website biographies of the attorneys at Buchanan

    for whom Neustar seeks attorneys’ fees. The biographies reflect the professional qualifications of those

    attorneys.

           3.       Buchanan entered into a retention agreement with Neustar in connection with the

    above-captioned litigation. Neustar agreed to pay Buchanan’s discounted, negotiated rates as well

    as its costs, fees, and expenses incurred in connection with this action.

           4.       Attached as Exhibit B is a true and correct copy of the hours worked by counsel for

    Neustar. These hourly rates are consistent with the rates this Court concluded were reasonable in

    Celsius Holdings, Inc v. A SHOC Beverage, LLC, No. 21-cv-80740, 2022 WL 3568042 (July 19,

    2022). Exhibit B also provides an accurate statement of the work provided by Buchanan during

    the periods for which discounted fees are sought.

           5.       Consistent with the discussion in the Memorandum in Support of Sanctions and the


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    information provided in Exhibit B, I summarize below in Charts A, B, and C the fees associated

    with three different phases of the case: the fees incurred from the filing of the initial complaint to

    the filing of Neustar’s initial motion to dismiss; the fees incurred between the filing of Neustar’s

    motion to dismiss to the Court’s order dismissing the suit; and the fees incurred to date in

    connection with the motion for sanctions.

           6.      As reflected in Chart A, the fees incurred by Neustar from the filing of the initial

    complaint to the filing of Neustar’s initial motion to dismiss total $67,944.50.

           7.      As reflected in Chart B, the fees incurred by Neustar from the filing of Neustar’s

    initial motion to dismiss total to this Court’s dismissal of the suit total $57,569.00.

           8.      As reflected in Chart C, the discounted fees incurred by Neustar in connection with

    the motion for sanctions, to date, total $8,630.00.

                        Chart A: Fees incurred from Complaint to initial MTD

                Timekeeper               Discounted                 Hours                     Fees
                                             Fee
     Samantha L. Southall               $560              56.1                          $31,416.00

     Jennifer Olmedo-Rodriguez          $560              14.2                          $7,952.00

     Patrick Doran                      $475              19.2                          $9,120.00

     Anna Sanders                       $255              76.3                          $19,456.50



                            Chart B: Fees incurred initial MTD to dismissal

                Timekeeper               Discounted                 Hours                     Fees
                                             Fee
     Samantha L. Southall               $560              60.2                          $33,712.00

     Jennifer Olmedo-Rodriguez          $560              11.9                          $6,664.00

     Patrick Doran                      $475              4.2                           $1,995.00



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                Timekeeper               Discounted               Hours                     Fees
                                             Fee
     Anna Sanders                       $255             59.6                        $15,198.00



                         Chart C: Fees incurred to date on sanctions motion

                Timekeeper               Discounted               Hours                     Fees
                                             Fee
     Samantha L. Southall               $560             12.6                        $7,056.00

     Jennifer Olmedo-Rodriguez          $560             1.9                         $1,064.00

     Anna Sanders                       $255             2                           $510.00



           9.      I believe that the rates claimed are reasonable given the professional qualifications

    of the billers as evidenced in Exhibit A for the Southern District of Florida market and given the

    rates approved by this Court in Celsius.

           10.     Consistent with local Rule 7.3, counsel sent the motion papers and exhibits to

    Plaintiff’s counsel on October 5, 2022. Defendants met and conferred in good faith with Plaintiff’s

    counsel by Microsoft Teams twice, on October 13 and October 26, 2022, but were unable to reach

    any agreement as to either the Defendants’ entitlement to or the amount of fees and expenses not

    taxable under 28 U.S.C. §1920 that are recoverable from Plaintiff and/or his counsel.


    Dated: October 27, 2022
           Philadelphia, Pennsylvania

                                                                  /s/ Samantha L. Southall
                                                                 Samantha L. Southall




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                               EXHIBIT A
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     Buchanan Experience




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                           https://www.bipc.com/
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                                   Samantha L. Southall
                                   Shareholder
                                   Email: samantha.southall@bipc.com
                                   p: 215 665 3884       Philadelphia, PA
                                   p: 302 552 4249       Wilmington, DE




  Samantha has a diverse practice litigating complex commercial and environmental disputes in jurisdictions
  throughout the United States. She has significant experience representing clients in litigation involving
  business disputes, consumer fraud and protection, complicated contractual claims and environmental
  matters.

  Drawing on her extensive work defending clients faced with private litigation, class actions, and
  enforcement actions for alleged violations of the Telephone Consumer Protection Act, Fair Credit
  Reporting Act, and other consumer protection laws, Samantha proactively counsels clients on the rapidly
  evolving standards of care for safeguarding confidential information and the expanding legal requirements
  and consumer expectations for protecting personal information.

  Her thorough preparation, ability to develop innovative and creative arguments in complex litigation and
  effective advocacy helps her clients pragmatically resolve disputes and has led her to play a leading role in
  the defense and overall strategy for many key clients. Samantha's clients operate in a wide range of
  industries, from consumer products, financial products and software, and insurers to retail, technology and
  medical devices and supplies.

  Samantha has more than two decades of experience in defending public and private companies in class
  actions and other high stakes litigation. She also has represented corporations and individuals investigated
  by the Department of Justice, Antitrust Division, the Federal Trade Commission and various State
  Attorneys General. She has conducted internal investigations for corporate clients. Samantha also regularly
  counsels clients on consumer fraud and protection issues.

  Samantha was named to the 2019 "Best of the Bar" list by the Philadelphia Business Journal.

  Samantha is a co-chair of the firm’s Pro Bono Committee.


  Proof Points

       Obtained dismissal of a nationwide putative class action alleging that a market research firm violated
       the Telephone Consumer Protection Act, Katz v. Focus Forward, LLC, 532 F. Supp.3d 170 (S.D.N.Y.
       2021), aff’d, 22 F. 4th 368 (2d Cir. 2022).
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      Successfully defended a consumer reporting agency in a case brought on behalf of a nationwide class
      alleging that the agency violated the Fair Credit Reporting Act when it misreported information
      relating to a furnisher.
      Successfully defended a consumer reporting agency in a case brought on behalf of a nationwide class
      alleging that the agency violated the Racketeer Influenced and Corrupt Organizations Act when it
      provided consumer reports to tribal lenders, with the consent of those consumers.
      Successfully defended a nationally recognized market research firm in a case brought on behalf of a
      nationwide class alleging that the firm violated the Telephone Consumer Protection Act when it
      recruited physicians to participate in market research studies.
      Obtained dismissal of a putative class action alleging that a retailer improperly collected sales tax on
      masks during the COVID-19 pandemic in violation of Pennsylvania’s unfair trade practices and
      consumer protection law. James v. ALDI, Inc., 2021 WL 289637 (W.D. Pa. July 9, 2021).
      Obtained dismissal of a putative class action accusing a transportation authority of violating the Fair
      Credit Reporting Act by not providing job applicants with proper notice that it was using consumer
      reports for background checks.
      Serve as common counsel in multi-party Superfund matters, including negotiating consent decrees,
      resolving natural resource damages claims and past clean-up cost claims.
      Pursued cost recovery claims on behalf of performing party groups against non-performing potentially
      responsible parties.
      Served as litigation counsel for transporter groups in environmental litigation involving the Calais
      Road site in New Jersey.
      Defended a transporter in a cost recovery claim involving the Pennsauken Landfill in Camden County,
      New Jersey.
      Obtained summary judgment for our client in a $20 million toxic tort action after prevailing in Daubert
      motions excluding the plaintiff’s causation experts. Johnson v. Arkema, Inc., 685 F.3d 452 (5th Cir.
      2012).
      Represented a public agency in its response to a cybersecurity incident, analyzing the scope of the
      incident, advising on public communications, and complying with breach notification laws.
      Counsel a wide range of clients about satisfying their obligations under privacy laws, such as the
      California Consumer Privacy Act, including retail, real estate developers and technology companies.
      Successfully defended a distributor of dental products in In re Dental Supplies Antitrust Litig.
      (E.D.N.Y.), a nationwide multidistrict litigation brought on behalf of a nationwide class of 200,000
      dentists, alleging a conspiracy among the leading dental supply distributors to fix prices, boycott
      manufacturers and others, and to allocate customers and employees through no poaching agreements.
      Obtained dismissal of a putative class of indirect purchasers of dental case in Illinois who alleged that
      they were overcharged as a result of a purported price fixing conspiracy. Hatchett v. Henry Schein,
      2020 WL 73384 (S.D. Ill. Feb. 23, 2020).
      Successfully defended a distributor of dental products in Source Once Dental, Inc. v. Patterson
      Companies, Inc., et al. (E.D.N.Y.) in a litigation brought by a competitor alleging a conspiracy among
      the leading dental supply distributors to fix prices, boycott manufacturers and others.
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       Successfully defended an egg producer in In re Processed Egg Products class action antitrust
       litigation (E.D. Pa.), a nationwide multi district litigation alleging an industry-wide supply restriction
       scheme to fix the prices of eggs and egg products sold in the United States during an eight-year period.
       Successfully defended a bodybuilding league accused of illegally monopolizing the business of
       competitive bodybuilding in the United States.
       Obtained dismissal of a putative class action on summary judgment, affirmed on appeal, of a claim for
       $1.3 billion against a nonprofit insurer accused of violating Pennsylvania's Nonprofit Corporation
       Law.
       Obtained a petition to strike and vacate an improperly entered foreign judgment under the Uniform
       Foreign Money Judgment Recognition Act and Uniform Enforcement of Foreign Judgments Act.
       Louis Dreyfus Commodities Suisse SA v. Financial Software Systems, Inc., 99 A.3d 79 Pa. Super.
       2014).




  Related Services & Industries
  LITIGATION
  ANTITRUST & TRADE REGULATION
  CLASS ACTIONS
  CONSUMER DEFENSE
  CORPORATE COMPLIANCE
  CRIMINAL DEFENSE & GOVERNMENT ENFORCEMENT
  CYBERSECURITY & DATA PRIVACY
  ENVIRONMENTAL
  INTERNAL INVESTIGATIONS


  Education
  The George Washington University Law School, J.D., with honors
  University of Miami, B.A., magna cum laude, International & Comparative Studies, Economics, and
  Political Science


  Courts & Admissions
  New York
  Pennsylvania
  U.S. Court of Appeals for the Second Circuit
  U.S. Court of Appeals for the Sixth Circuit
  U.S. Court of Appeals for the Third Circuit
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  U.S. District Court for the Eastern District of Michigan
  U.S. District Court for the Eastern District of New York
  U.S. District Court for the Eastern District of Pennsylvania
  U.S. District Court for the Northern District of New York
  U.S. District Court for the Southern District of New York
  U.S. District Court for the Western District of New York
  U.S. District Court for the Western District of Pennsylvania


  Affiliations
  Philadelphia Bar Association
  Former Board of Directors Member, Philadelphia Volunteers for the Indigent Program


  Related Keywords
  FAIR CREDIT REPORTING ACT (FCRA)
  FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
  TELEPHONE CONSUMER PROTECTION ACT (TCPA)
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                                    Jennifer Olmedo-Rodriguez
                                    Shareholder
                                    Head of the Miami Office
                                    Email: jennifer.olmedo-rodriguez@bipc.com
                                    p: 305 347 5900       Miami, FL




  Jennifer Olmedo-Rodriguez is the Managing Shareholder of the firm's Miami office. She focuses her
  practice on complex commercial litigation, class action defense litigation and civil appellate litigation while
  utilizing the firm’s full-service national platform to counsel her clients. By coordinating and implementing
  a centralized and unified legal strategy, Jennifer meets her clients’ legal needs across diverse practice areas.
  In this manner, her clients find Jennifer to be a valued counselor who uses her experience as a litigator to
  help businesses avoid the pitfalls that oftentimes result in costly and extenuated litigation.

  Jennifer has litigated a variety of commercial litigation disputes involving banking, UCC issues and
  construction-defect matters, as well as a variety of contractual disputes, including partnership disputes,
  non-compete agreements, employment agreements, franchising disputes,cand real property disputes in
  state and federal courts, including commercial and land-lord tenant disputes. She also has experience
  litigating claims arising under the Florida Deceptive and Unfair Trade Practices Act ("FDUTPA") and
  defending class actions, including claims brought under the Telephone Consumer Protection Act ("TCPA").c
  Jennifer also handles all aspects of civil appeals and appellate proceedings in a wide variety of matters,
  including real property disputes, commercial contractual matters and business torts.

  Her combined experience at the trial and appellate levels allows Jennifer to provide clients with the
  benefits of continuous representation throughout the entire trajectory of their case. Her appellate
  experience allows her to protect the record and properly prepare a case for appeal as it travels through the
  trial court. When handling appeals in cases she managed at the trial court level, Jennifer’s clients benefit
  from her intimate, first-hand knowledge of the record. On cases where she solely serves as appellate
  counsel, Jennifer partners with trial counsel and relies upon her experience to either protect a ruling
  favorable to her client or pursue reversal of a lower court’s legally flawed ruling. Jennifer’s appellate
  experience is further enhanced by the fact that she was appointed to serve on the Appellate Court Rules
  Committee of the Florida Bar from 2015 to 2018. As a member of this prestigious Committee, Jennifer will
  use her experience in the industry to help carry out mandates concerning the proposal of new rules of
  appellate procedure and changes to existing appellate rules.

  In 2016, following the change in U.S. Cuba relations, Jennifer traveled to Cuba as part of the historic
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  Florida Bar International Law Section’s delegation to meet Cuban lawyers and journalists to learn about
  the Cuban legal system and how foreign companies transact business and invest in Cuba. Upon her return
  from Cuba, Jennifer used that valuable experience to advise clients and fellow lawyers.c She was
  interviewed on WLRN Channel 10’s "This Week in South Florida" with Michael Putney and other media
  outlets and co-authored several articles about her experience and what she learned.c

  Jennifer’s skills and effectiveness as an advocate are self-evident given her achievements on behalf of her
  clients. Jennifer was recognized as a “Top Up and Comer” in 2015 and 2016 and as a "Top Lawyer" in 2020
  and 2017 by the South Florida Legal Guide based on peer nominations intended to recognize attorneys who
  are well-regarded in the legal profession, have years of experience and a distinguished record of
  achievement. In 2016, Jennifer received an AV® Preeminent™ Peer Review rating, the highest available
  mark for professional excellence from Martindale-Hubbell’s Peer Review Ratings. In addition, the Daily
  Business Review named Jennifer to its "On the Rise" 2015 class, thereby recognizing her as one of 40 South
  Florida attorneys under the age of 40 "selected not only for what they've achieved thus far, but for what we
  believe they're likely to accomplish for the legal profession and for their respective communities in the
  future. In 2020, Jennifer was named a Hispanic Woman of Distinction by Latina Style Magazine, in
  partnership with Sylvester Comprehensive Cancer Center and Latin Biz Today. In 2021, Jennifer received
  the South Florida Legal Award from the South Florida Hispanic Chamber of Commerce, after being
  nominated by her alma mater, Florida International University.cJennifer has been named to the Florida
  Super Lawyers list since 2018 and has been selected for inclusion in The Best Lawyers in America© editions
  since 2020 in the Commercial Litigation category; and since 2023 in the Appellate Practice category.
  Additionally, she has been recognized in Florida Trend's Legal Elite each year since 2021. Most recently,
  Jennifer was named a Prestigious Women Award honoree by South Florida Business & Wealth.

  She is also a member of a well-seasoned four-attorney team recently honored as the 2014 South Florida
  Litigation Department of the Year for Real Estate by the Daily Business Review. The DBR recognized
  Jennifer and her colleagues in the Miami office for, among other things, overcoming two motions for
  summary judgment in the case of DEC v. The Aragon Group and Summersport Enter., LLC, Case No. 11-29313,
  in the 17th Circuit Court, Broward County, Fla., where due to their efforts, the client saved its vision and
  contract for the purchase of the historic Dania Jai-Alai. Additionally, by devising and implementing
  aggressive, yet tactical, litigation strategies, Jennifer and her colleagues in the Miami office achieved
  resolution of multi-billion dollars’ worth of commercial loans during the commercial foreclosure crisis that
  crippled South Florida real estate development resulting in the era dubbed the Great Recession.

  Jennifer has also notably:


       Represented a company that offers resource services and products support for patients seeking
       services to address hair loss concerns in a matter involving the Lanham Act, the Ohio Trade Practices
       Act and common law and injunctive relief to enjoin unfair competition and false or misleading
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      advertising activity as well as libelous communications and tortious interference with business
      relationships.
      Represented an investment realty firm in a matter involving defamation, injurious falsehood, and
      tortious interference with contract.
      Represented an individual in a case alleging defamation per se predicated upon statements relating to
      grand theft, fraud and perjury.
      Obtained a dismissal with prejudice from the United States District Court for the Middle District of
      Florida on behalf of a national quick-service restaurant in a case that received national media attention
      where the plaintiffs filed a putative nationwide class action asserting claims for Sherman Act
      violations and unfair trade practices based upon alleged unfair pricing practices for quarter-pound
      hamburgers sold with and without cheese.
      Developed and implemented innovative legal strategies that resulted in the resolution of claims under
      the TCPA. Fridman v. My Cosmetic Surgery, Inc., Case No. 16-15399 CA 20, 11th Judicial Circuit
      Court, Miami-Dade County, Florida
      Obtained dismissal of appeal in a heavily litigated case within approximately 60 days from the date
      the appeal was filed. Bregman v. Pearce, 2014 WL 1975178 (Fla. 3d DCA, Apr. 8, 2014).
      Defeated two motions for summary judgment in a case against the clients’ former employee after
      filing a complaint alleging claims for anticipatory breach of an asset purchase agreement,
      misappropriation of trade secrets, tortious interference and unfair trade practices, among other claims.
      Kresse & Asso., LLC et al. v. Thomas J. Kresse, et al., Case No. 13-28745, 11th Circuit Court, Miami-
      Dade County, Florida.
      Obtained precedent setting opinion from the Third District Court of Appeal reversing the trial court’s
      entry of a final judgment enforcing a settlement agreement prior to payment of the statutory
      documentary stamp taxes and clarifying that promissory notes are unenforceable in Florida courts
      unless and until the statutory documentary stamp taxes are paid. Solis v. Lacayo, 86 So. 3d 1147 (Fla.
      3d DCA 2012).
      Defeated a motion for temporary restraining order and preliminary injunction involving several
      restrictive covenants, including a non-compete agreement, and claims of misappropriation of trade
      secrets and unfair trade practices, thereby paving the way for settlement of the dispute without the
      need or expense of additional litigation. Bankers Ins. Group, Inc. et al. v. Michael Whalen, AIA
      Holdings, Inc. et al., Case No. 11-5867, in the 6th Judicial Circuit Court, Pinella County, Florida.
      Developed and implemented legal strategies that resulted in the resolution of a case involving myriad
      issues under the Uniform Commercial Code and claims for damages of millions of dollars resulting
      from allegedly unauthorized transactions in a bank account. Gilson v. TD Bank, N.A. et al., Case No.
      10-cv-20535, United States District Court, Southern District of Florida.
      Developed and implemented legal strategies that resulted in the resolution of claims between banks
      and the United States government resulting from certain transactions involved in the Rothstein ponzi
      scheme. TD Bank, N.A. v. United States of America; Regions Bank, et al., Case No. 10-cv-60044,
      United States District Court, Southern District of Florida.
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       Won summary judgment on behalf of Seneca Insurance Company, Inc. in an action that arose from an
       allegedly unconstitutional search of the plaintiffs’ residence by bail enforcement agents and
       subsequent attempts to apprehend a fugitive. Tirreno v. Mott, 453 F. Supp. 2d 562 (D. Conn. 2006)

  In the Litigation-Real Estate category for U.S. News & World Report–Best Lawyers, a client stated that
  Jennifer is an "extremely professional and knowledgeable attorney to have as representation.”

  In addition to her work as a commercial litigator and appellate counsel, Jennifer also holds leadership
  positions and serves on several committees within the firm, including the Diversity Committee, the Credit
  Allocation Committee and the Associates Committee. Jennifer has also served as an Adjunct Professor of
  Constitutional Law in the Department of Politics and International Relations at Florida International
  University. Immediately prior to rejoining Buchanan in 2005, Jennifer worked with a boutique firm's
  Miami office representing and counseling the consumer finance division of a Fortune 100 company with
  respect to its Hispanic-language private label retail consumer and commercial credit card programs for
  compliance with various federal laws and regulations and provided legal review of Spanish language
  private label consumer and commercial credit card disclosures. After graduating with honors from law
  school, Jennifer secured one of two prestigious positions as a law clerk for the Hon. James Lawrence King
  of the United States District Court, Southern District of Florida. While in law school, she served on the
  Florida Law Review, was a judicial intern with Judge King and worked as a summer associate with
  Buchanan's Miami office.

  Jennifer is fluent in Spanish.




  Related Services & Industries
  LITIGATION
  APPELLATE
  CONSUMER DEFENSE
  FINANCE
  INTERNATIONAL SERVICES


  Education
  University of Florida Levin College of Law, J.D., 2002, with honors, Florida Law Review
  Florida International University, B.A., 1999, Dean's List; Pi Sigma Alpha: The National Political Science
  Honor Society; Certificate: Law, Ethics & Society, Political Science with Minors in International
  Relations and Criminal Justice
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  Courts & Admissions
  Florida
  U.S. Court of Appeals for the Eleventh Circuit
  U.S. District Court for the Middle District of Florida
  U.S. District Court for the Northern District of Florida
  U.S. District Court for the Southern District of Florida


  Affiliations
  Appellate Court Rules Committee, The Florida Bar, Appointee
  Third District Court of Appeal Historical Society, Board of Directors & Vice Presidentb
  Rosemary Barkett Appellate American Inn of Court, Vice Presidentb
  Florida Association for Women Lawyers -Miami Dade Chapter, Corporate Council Committee Member
  Cuban American Bar Association, Member
  Latin Builders Association, Member
  Leadership Council on Legal Diversity, Fellow (2019)
  Hispanic National Bar Association, Former Member
  Women's Law Network, FormerbMember
  Brazilian-American Chamber of Commerce of Florida, FormerbMember
  TerraLex Worldwide Network of Independent Law Firms, Member


  Civic & Charitable
  The Florida Bar Foundation, Fellow
  Sylvester Comprehensive Cancer Center, University of Miami, Founding Member and Former
  Executive Board Member andbCommunicationsbChair, Young Philanthropists for Sylvesterb
  President's Council, Florida International University, Chair Elect for the Worlds Ahead Faculty Award
  Committee, Executive Board and Member of the First Generation Scholarship Task Forceb
  Sunset Elementary School, International Program, Volunteerb
  Saint Louis Catholic Church, Humanities Ministry & Camillus Casserole Ministry
  Branches Thanksgiving Program, Volunteerb
  Habitat for Humanity, Volunteer
  Our Lady of Lourdes Catholic High School, Volunteer


  Languages
  Spanish
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  Related Keywords
  DIVERSITY & INCLUSION COUNCIL
  TELEPHONE CONSUMER PROTECTION ACT (TCPA)
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                                    Patrick D. Doran
                                    Counsel
                                    Email: patrick.doran@bipc.com
                                    p: 215 665 3802        Philadelphia, PA




  HowbPatrick Helps Clients
  Patrick Doran handles a variety of consumer defense, contract and intellectual property litigation. Patrick
  primarily practices in the state and federal courts of Pennsylvania and New Jersey but has experience in
  federal courts across the nation. He has significant experience defending lawsuits against banks, mortgage
  lenders and servicers and auto finance companies. These include claims under the Telephone Consumer
  Protection Act (TCPA),cFair Debt Collection Practices Act (FDCPA) and Fair Credit Reporting Act (FCRA),
  as well as state unfair trade practices laws and lender liability claims.

  Patrick also handles various intellectual property matters involving patent and trademark infringement, as
  well as commercial contract and lease disputes.

  In addition, Patrick has prepared firm opinions on various issues, obtained positive results for prisoners in
  Section 1983 actions and has argued matters in multiple orphans courts of the Commonwealth on behalf of
  clients seeking legal guardianships.

  Prior to joining Buchanan, Patrick completed a number of legal internships and assistantships while in law
  school, including an internship with the Philadelphia District Attorney’s office where he prosecuted cases
  in the Municipal Court. He was also a legal intern in the compliance division of the Philadelphia
  Commission on Human Relations.


  What Clients Can Expect
  Patrick conducts a careful examination of his clients’ legal needs and desires, provides a thoughtful,
  thorough and honest assessment of the issues, and works closely with them on implementing an effective
  strategy to achieve their objectives. Patrick adheres to the principle of respectful discourse with his
  adversaries even to the most contentious negotiations but advocates in the courtroom with the steadiness,
  courage and zeal that his clients expect and deserve.


  Outside the Office
  Born and raised by two passionate educators in the working-class community of Conshohocken, Pa.,
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  Patrick and his wife are raising three young, bright, rambunctious kids that keep him on his toes. Before
  coming to the law, Patrick received an undergraduate degree in Biology and spent nearly a decade as a
  stage actor. Patrick is passionate about theatre and the artists who sacrifice so much to create the stories
  that feed the soul and challenge our perspective on the world.


              As a former stage actor, I understand the essential tasks at the
              heart of preparing for the various roles we play: zealous
              advocate, shrewd negotiator and embodiment of our client in the
              eyes of the Court.




  Proof Points

       Defeated a request for an injunction in New Hampshire federal court on plaintiff’s patent infringement
       claim against client in the sporting goods industry, and assisted in negotiating positive resolution of
       the matter.
       Obtained summary judgment for bank client in New Jersey state court, defeating Plaintiff’s consumer
       fraud act claims, and obtaining a victory on client’s counterclaim.
       Obtained dismissal of various securities and RICO claims against developer client in New Jersey
       federal court.
       Managed and resolving more than 20 lender liability and FCRA matters on behalf of bank client.
       Managed a nationwide campaign to enforce a newly-issued patent relating to sporting goods through
       demand letters and patent infringement actions that to date has caused more than 120 competitors to
       cease all sales of infringing products, while recovering significant royalties for our client.
       Obtained dismissal of TCPA class action based on allegedly illegal fax communications
       Named to the Pennsylvania Super Lawyers list in 2019 and 2020.




  Related Services & Industries
  LITIGATION
  CONSUMER DEFENSE
  FINANCE


  Education
  Drexel University Thomas R. Kline School of Law, J.D., 2010, magna cum laude; Senior Articles Editor,
  Drexel Law Review; Member of the Drexel Environmental Law Society; Member of the Drexel
  International Law Society
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  LaSalle University, B.A., 2000, summa cum laude, Biology


  Courts & Admissions
  New Jersey
  Pennsylvania
  U.S. Court of Appeals for the Third Circuit
  U.S. District Court for the District of New Jersey
  U.S. District Court for the Eastern District of Pennsylvania


  Civic & Charitable
  Executive Committee Member of Board of Directors at InterAct Theatre Company
  Philadelphia VIP
  EDPA Prisoner Civil Rights Pro Bono Panel
  Whitemarsh Township Planning Commissioner


  Languages
  Spanish


  Related Keywords
  FAIR CREDIT REPORTING ACT (FCRA)
  FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
  TELEPHONE CONSUMER PROTECTION ACT (TCPA)
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                                      304




                                   Anna E. Sanders
                                   Associate
                                   Email: anna.sanders@bipc.com
                                   p: 215 665 3957        Philadelphia, PA




  How Anna Helps Clients
  Anna focuses her practice on complex commercial litigation matters. Her diverse experience has involved
  non-compete agreements, theories of alter ego liability, estate litigation, and COVID-19 service disruptions.c

  Following law school, Anna served as a judicial law clerk to the Honorable Denis P. Cohen in the
  Philadelphia County Court of Common Pleas. Prior to joining Buchanan, she defended clients in a wide
  range of civil lawsuits including premises liability, healthcare providers involving catastrophic losses with
  significant financial exposures, and general liability matters.

  During her tenure at Boston College Law School, Anna served as a legal intern at the Middlesex County
  District Attorney’s Office in the Appeals and Training Bureau, where she wrote two appellate briefs which
  were both filed with the Massachusetts Court of Appeals. One of the matters was granted oral arguments,
  which she successfully argued. She served as a judicial extern to the Honorable David T. Donnelly in the
  Boston Municipal Court, Brighton Division.


  What Clients Can Expect
  Anna is committed to developing comprehensive and effective defense strategies throughout all stages of
  litigation. Clients can expect Anna to be a responsive, amicable, and diligent associate who prioritizes
  clients’ goals throughout her work.


  Outside the Office
  Anna lives in Philadelphia with her husband, Wellington. When not in the office, Anna enjoys exploring
  Philadelphia with friends and family.ccc




  Related Services & Industries
  LITIGATION
  HEALTHCARE LITIGATION
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                                      304



  Education
  Boston College Law School, J.D., 2018
  Northeastern University, B.A., 2011, magna cum laude, Communication Studies


  Courts & Admissions
  Massachusetts
  New Jersey
  Pennsylvania
  U.S. District Court for the Eastern District of Pennsylvania


  Affiliations
  Member of the Executive Committee and Former Corresponding Secretary, Louis D. Brandeis Law
  Society
  Philadelphia Bar Association
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                               EXHIBIT B
Work Date Name of Timekeeper        Discounted    Hours   Amount Claimed        Narrative
                                    Rate
 4/26/2022 Southall, S.                    560.00    1.00              560.00   Review and analyze background documentation.
 4/29/2022 Doran, P.                       475.00    1.80              855.00   Review complaint and background materials from client.
 4/29/2022 Olmedo-Rodriguez, J.            560.00    2.70            1,512.00   Review of Complaint and docket in anticipation of initial meeting with clients and video
                                                                                conference with J. Centeno, S. Southall, L. Rang, J. Bologna and A. Chen to discuss preliminary
                                                                                factual background and procedural posture of case
 4/29/2022 Southall, S.                    560.00    2.10            1,176.00   Review and analyze background documentation to prepare strategy.
 4/29/2022 Southall, S.                    560.00    1.20              672.00   Confer with L. Rang, A. Chen, J. Centeno, J. Olmedo-Rodriguez and J. Bologna regarding
                                                                                background and status.
 4/30/2022 Olmedo-Rodriguez, J.            560.00    0.50              280.00   Review overview of task list and next steps to advance preparation of response to Complaint,
                                                                                confirmation of upcoming deadlines, review Judge Middlebrooks' orders/specific procedures as
                                                                                well as the same information for paired Magistrate Judge and provide response to inquiries and
                                                                                recommendations on same (0.5).
 4/30/2022 Southall, S.                    560.00    1.90            1,064.00   Develop strategy for defense of case, including review of background documentation and docket
                                                                                entries.
  5/2/2022 Doran, P.                       475.00    3.00            1,425.00   Review MTD by Clinton, continue to review claims against Neustar and grounds for motions to
                                                                                dismiss, addressing strategy
  5/2/2022 Sanders A. E.                   255.00    0.70              178.50   Review and analyze pleadings to date
  5/2/2022 Sanders A. E.                   255.00    1.10              280.50   Review and analyze complaint to identify allegations and claims against Neustar to prepare
                                                                                response thereto
  5/2/2022   Southall, S.                  560.00    1.70              952.00   Review and analyze transactional documentation regarding NSS
  5/2/2022   Southall, S.                  560.00    0.50              280.00   Review and analyze orders entered by Court to ascertain applicable deadlines
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  5/2/2022   Southall, S.                  560.00    2.50            1,400.00   Review and analyze complaint to evaluate potential motion to dismiss
  5/3/2022   Doran, P.                     475.00    1.30              617.50   Addressing indemnification issues and lit hold
  5/3/2022   Olmedo-Rodriguez, J.          560.00    1.00              560.00   Team call with A. Chen, L. Rang, S. Southall, J. Bologna, and J. Centeno
  5/3/2022   Sanders A. E.                 255.00    2.10              535.50   Review and analyze relevant case law re pleading requirements of conspiracy claims in the 11th
                                                                                circuit
  5/3/2022 Southall, S.                    560.00    0.50              280.00   Analyze potential indemnification issues
  5/3/2022 Southall, S.                    560.00    0.50              280.00   Email communications with L. Rang and A. Chen regarding additional background documents and
                                                                                strategy
  5/3/2022 Southall, S.                    560.00    0.30              168.00   Confer with L. Rang regarding document retention issues
  5/3/2022 Southall, S.                    560.00    1.10              616.00   Confer with A. Chen, L. Rang, J. Olmedo-Rodriguez and J. Bologna regarding strategy and status

  5/4/2022 Doran, P.                       475.00    2.00              950.00 Review and analyze Complaint, draft and revise litigation hold for client
  5/4/2022 Olmedo-Rodriguez, J.            560.00    0.20              112.00 Review order setting status conference and advance matters relating to attendance in person vs.
                                                                              over zoom and filing of pro hac vice papers (0.2)
  5/4/2022   Sanders A. E.                 255.00    3.40              867.00 Review and analyze relevant case law re RICO conspiracy claims in the 11th circuit
  5/4/2022   Southall, S.                  560.00    0.80              448.00 Revise and edit litigation hold
  5/4/2022   Southall, S.                  560.00    0.20              112.00 Review and analyze order entered by court scheduling conference
  5/4/2022   Southall, S.                  560.00    1.30              728.00 Communications with L. Rang, L. Lu and A. Chen regarding strategy and status
  5/4/2022   Southall, S.                  560.00    1.10              616.00 Review and analyze Transition Services Agreement, conferring with L. Rang regarding same
  5/5/2022   Doran, P.                     475.00    1.00              475.00 Review legal issues for motion to dismiss, litigation hold, and overlap with criminal investigation
                                                                                                                                                                                    Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 219 of
 5/5/2022 Olmedo-Rodriguez, J.     560.00   0.90     504.00 Strategy call with S. Southall, P. Doran, A. Chen and J. Bologna
 5/5/2022 Sanders A. E.            255.00   4.40   1,122.00 Review and analyze relevant case law re theft of trade secrets to assist in preparing motion to
                                                            dismiss
 5/5/2022 Southall, S.             560.00   0.40     224.00 Communications with L. Lu, A. Chen and L. Rang regarding status and strategy
 5/5/2022 Southall, S.             560.00   1.20     672.00 Develop strategy for motion to dismiss and defense of litigation
 5/6/2022 Sanders A. E.            255.00   4.90   1,249.50 Review and analyze relevant case law re pleading standards for alleged violations of Stored
                                                            Communications Act to prepare motion to dismiss
 5/6/2022 Sanders A. E.            255.00   2.30     586.50 Review and analyze relevant case law re determining whether domain name system (DNS) is
                                                            communication or of value pursuant to claims in complaint
 5/6/2022   Southall, S.           560.00   1.60     896.00 Develop strategy for motion to dismiss
 5/6/2022   Southall, S.           560.00   1.00     560.00 Confer with L. Lu and J. McNichols regarding background
 5/6/2022   Southall, S.           560.00   0.80     448.00 Communications with L. Lu and L. Rang regarding status and strategy
 5/8/2022   Sanders A. E.          255.00   0.80     204.00 Further review and analyze of Stored Communications Act allegations to prepare motion to
                                                            dismiss
 5/9/2022 Doran, P.                475.00   0.80     380.00 Address strategy for moving to dismiss RICO conspiracy claim against Neustar
 5/9/2022 Sanders A. E.            255.00   4.90   1,249.50 Draft memorandum of law in support of motion to dismiss
 5/9/2022 Sanders A. E.            255.00   3.70     943.50 Review and analyze relevant case law re adequately pleading conspiracy to violate RICO where
                                                            the predicate acts are insufficiently alleged
 5/9/2022 Southall, S.             560.00   0.80     448.00 Review and analyze relevant case law regarding specific personal jurisdiction in Florida
 5/9/2022 Southall, S.             560.00   2.60   1,456.00 Review and analyze securities purchase agreement and unit purchase agreement to evaluate
                                                            potential claims for breach of representations and warranties against NSS/Golden Gate

 5/9/2022 Southall, S.             560.00   0.50     280.00 Draft and revise letter to NSS regarding litigation hold issues stemming from transfer of
                                                                                                                                                                                                     304




                                                            information and data
 5/9/2022 Southall, S.             560.00   0.90     504.00 Review and analyze transition services agreement to provide required notice to NSS of litigation
                                                            hold issues
 5/9/2022   Southall, S.           560.00   0.30     168.00 Communications with A. Chen regarding litigation hold issues
 5/9/2022   Southall, S.           560.00   0.50     280.00 Confer with L. Lu, A. Chen and L. Rang regarding strategy
5/10/2022   Doran, P.              475.00   1.50     712.50 Revise brief in support of motion to dismiss the Complaint
5/10/2022   Olmedo-Rodriguez, J.   560.00   0.80     448.00 Review personal jurisdiction allegations over Neustar and assess impact upon lack of personal
                                                            jurisdiction analysis
5/10/2022 Sanders A. E.            255.00   7.70   1,963.50 Draft memorandum of law in support of motion to dismiss
5/10/2022 Sanders A. E.            255.00   0.10      25.50 Review and analyze Plaintiff's motion for extension of time
5/10/2022 Southall, S.             560.00   0.80     448.00 Communications with client regarding Florida contacts to evaluate potential motion to dismiss

5/11/2022 Doran, P.                475.00   1.20    570.00 Address motion to dismiss brief and specific responses to cyber torts, conferring with A. Sanders
                                                           re personal jurisdictional issues
5/11/2022 Doran, P.                475.00   1.00    475.00 Review communications with client regarding cooperation with NSS, review contractual language
                                                           and provide edits for proposed agreement
5/11/2022 Sanders A. E.            255.00   3.40    867.00 Draft jurisdictional arguments in motion to dismiss re lack of minimum contacts with Florida

5/11/2022 Sanders A. E.            255.00   5.20   1,326.00 Review and analyze relevant case law to determine inclusion of jurisdictional arguments in
                                                            motion to dismiss
5/11/2022 Sanders A. E.            255.00   0.30      76.50 Draft motion to substitute appearance
                                                                                                                                                               Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 220 of
5/11/2022 Sanders A. E.          255.00   0.40     102.00 Review and analyze defendants Fusion GPS, G. Simpson, and P. Fritsch's motion to dismiss
5/11/2022 Sanders A. E.          255.00   0.40     102.00 Review and analyze correspondence from client to evaluate inclusion of jurisdictional arguments
                                                          in motion to dismiss
5/11/2022 Southall, S.           560.00   1.50     840.00 Review and analyze motions to dismiss filed by additional defendants
5/11/2022 Southall, S.           560.00   2.20   1,232.00 Review, analyze, revise and edit draft cooperation agreement, communicating with L. Lu
                                                          regarding same
5/11/2022 Southall, S.           560.00   0.90     504.00 Communications with client regarding quantum of Florida contexts for analysis of potential
                                                          personal jurisdiction argument
5/11/2022 Southall, S.           560.00   0.30     168.00 Communications regarding joint defense group meeting
5/12/2022 Sanders A. E.          255.00   0.90     229.50 Review and analyze relevant case law re court taking judicial notice of SEC filings at motion to
                                                          dismiss stage of litigation
5/12/2022 Sanders A. E.          255.00   0.60     153.00 Review and analyze Transunion's SEC filings related to Neustar acquisition to include in motion
                                                          to dismiss
5/12/2022 Sanders A. E.          255.00   3.60     918.00 Revise motion to dismiss
5/12/2022 Sanders A. E.          255.00   0.60     153.00 Review and analyze relevant case law re granting motion to dismiss due to vicarious liability not
                                                          being a cause of action
5/12/2022 Southall, S.           560.00   4.20   2,352.00 Revise and edit motion to dismiss complaint
5/12/2022 Southall, S.           560.00   0.80     448.00 Draft and revise email to A. Chen and L. Rang regarding viability of personal jurisdiction defense

5/12/2022   Southall, S.         560.00   0.40    224.00    Confer with L. King and L. Rang regarding document retention issues
5/12/2022   Southall, S.         560.00   0.60    336.00    Confer with J. Martin and L. Rang regarding document retention issues
5/13/2022   Doran, P.            475.00   1.50    712.50    Revise Motion to Dismiss
5/13/2022   Sanders A. E.        255.00   2.90    739.50    Revise motion to dismiss
                                                                                                                                                                                                     304




5/13/2022   Sanders A. E.        255.00   0.40    102.00    Review and analyze opinions by Judge Middlebrooks re granting motions to dismiss pursuant to
                                                            failing to meet the heightened pleading standard for fraud
5/13/2022 Sanders A. E.          255.00   1.10    280.50    Review and analyze Judge Middlebrooks' opinions related to granting motion to dismiss
                                                            pursuant to improperly named defendant
5/13/2022 Sanders A. E.          255.00   0.20      51.00   Review and analyze Transunion's SEC filings post-Neustar acquisition to include in motion to
                                                            dismiss
5/13/2022 Southall, S.           560.00   5.90   3,304.00   Revise and edit motion to dismiss
5/15/2022 Sanders A. E.          255.00   0.90     229.50   Review and analyze relevant case law re determining whether IP addresses rise to "electronic
                                                            communications" pursuant to Stored Communications Act
5/16/2022 Sanders A. E.          255.00   3.30    841.50    Analyze case law cited in memorandum of law in support of motion to dismiss to identify any
                                                            supplemental sources of authority
5/16/2022 Sanders A. E.          255.00   0.90    229.50    Review and analyze relevant case law and Judge Middlebrooks' opinions re dismissing
                                                            complaints due to improper "shotgun" pleadings
5/16/2022 Southall, S.           560.00   1.20    672.00    Revise and edit motion to dismiss
5/17/2022 Olmedo-Rodriguez, J.   560.00   0.40    224.00    Emails with A. Sanders re status of comments from client (0.2); review email from L. Lu and
                                                            confer with S. Southall re same (0.2)
5/17/2022 Southall, S.           560.00   0.30    168.00    Communications with L. Lu and L. Rang regarding motion to dismiss
5/18/2022 Sanders A. E.          255.00   0.50    127.50    Review and analyze R. Joffe's draft motion to dismiss
5/18/2022 Sanders A. E.          255.00   1.40    357.00    Review and analyze relevant case law re court sua sponte dismissing improperly named
                                                            defendant pursuant to Federal Rule of Civil Procedure 21
5/18/2022 Southall, S.           560.00   0.20    112.00    Revise and edit motion for pro hac vice admission
                                                                                                                                                               Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 221 of
5/18/2022   Southall, S.           560.00   0.40     224.00   Review and analyze draft motion to dismiss by Joffe
5/18/2022   Southall, S.           560.00   0.30     168.00   Revise and edit motion to substitute
5/18/2022   Southall, S.           560.00   0.30     168.00   Revise and edit cooperation agreement
5/18/2022   Southall, S.           560.00   2.10   1,176.00   Revise and edit motion to dismiss
5/18/2022   Southall, S.           560.00   0.40     224.00   Participate in joint defense call regarding June 2 status conference
5/18/2022   Southall, S.           560.00   0.40     224.00   Confer with counsel for R. Joffe regarding motion to dismiss
5/18/2022   Southall, S.           560.00   0.20     112.00   Confer with L. Lu regarding cooperation agreement
5/18/2022   Southall, S.           560.00   0.40     224.00   Communications with J. Martin regarding litigation hold and availability of email
5/19/2022   Doran, P.              475.00   1.40     665.00   Address revisions to motion to dismiss and cooperation agreement
5/19/2022   Olmedo-Rodriguez, J.   560.00   4.10   2,296.00   Review and revise draft MTD
5/19/2022   Sanders A. E.          255.00   2.60     663.00   Review and analyze cited authority to ensure compliance with local rules of civil procedure and
                                                              style guidelines
5/19/2022 Sanders A. E.            255.00   1.90    484.50    Revise Stored Communications Act arguments in memorandum of law in support of motion to
                                                              dismiss
5/19/2022   Southall, S.           560.00   0.20    112.00    Email communications with Joffe's counsel regarding draft brief
5/19/2022   Southall, S.           560.00   0.90    504.00    Draft and revise joint defense and common interest agreement
5/19/2022   Southall, S.           560.00   0.20    112.00    Email communications with L. Lu regarding cooperation agreement
5/19/2022   Southall, S.           560.00   1.30    728.00    Revise and edit motion to dismiss
5/19/2022   Southall, S.           560.00   0.30    168.00    Confer with J, McNichols regarding common interest agreement and cooperation agreement

5/20/2022   Sanders A. E.          255.00   2.10    535.50    Finalize memorandum of law in support of motion to dismiss
5/20/2022   Southall, S.           560.00   0.80    448.00    Revise and edit litigation hold
5/20/2022   Southall, S.           560.00   0.20    112.00    Revise and edit cooperation agreement
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5/20/2022   Southall, S.           560.00   1.10    616.00    Revise and finalize motion to dismiss
5/24/2022   Southall, S.           560.00   0.20    112.00    Communications with A. Chen regarding litigation hold
5/26/2022   Southall, S.           560.00   0.30    168.00    Communications with Joint Defense Group and A. Chen regarding proposed stipulation to
                                                              adjourn FRCP 16 conference
5/31/2022   Southall, S.           560.00   0.20    112.00    Review and analyze order denying joint motion requesting to adjourn conference
 6/1/2022   Olmedo-Rodriguez, J.   560.00   0.60    336.00    Attend Court-ordered Status Conference
 6/1/2022   Southall, S.           560.00   0.40    224.00    Revise, edit and finalize letter to NSS regarding litigation hold issues
 6/1/2022   Southall, S.           560.00   0.40    224.00    Confer with client regarding litigation hold
 6/2/2022   Southall, S.           560.00   0.80    448.00    Prepare for and attend status conference
 6/3/2022   Sanders A. E.          255.00   0.50    127.50    Revise litigation hold letter directed to Neustar Security Services per A. Chen's request
 6/6/2022   Southall, S.           560.00   1.10    616.00    Revise and edit litigation hold for former Neustar employees
6/13/2022   Southall, S.           560.00   0.30    168.00    Communications with Joint Defense Group regarding status conference
6/15/2022   Southall, S.           560.00   0.50    280.00    Participate in joint defense call regarding consolidated briefing and proposed amended
                                                              complaint
6/21/2022 Olmedo-Rodriguez, J.     560.00   0.20    112.00    Review overview and outline/breakdown of tasks and MTD arguments criculated by co-
                                                              defendants' counsel and weigh in on page limits and topics set out for our client
6/22/2022   Sanders A. E.          255.00   2.10     535.50   Review and analyze first amended complaint to prepare response in opposition to same
6/22/2022   Sanders A. E.          255.00   0.10      25.50   Review order re: recusal of magistrate judge
6/22/2022   Sanders A. E.          255.00   0.10      25.50   Review court order re: scheduling conference
6/22/2022   Southall, S.           560.00   2.10   1,176.00   Review and analyze amended complaint to develop strategy for response
                                                                                                                                                                Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 222 of
6/23/2022 Sanders A. E.          255.00   1.80    459.00 Review and analyze relevant case law re: dismissing an action with prejudice where an amended
                                                         pleading fails to delineate allegations against multiple defendants
6/23/2022 Sanders A. E.          255.00   0.10     25.50 Review two orders re: motions to dismiss the original complaint
6/23/2022 Sanders A. E.          255.00   0.10     25.50 Correspond with counsel for Neustar Security Services re: strategy for motion to dismiss
6/23/2022 Sanders A. E.          255.00   0.40    102.00 Conference with counsel for Neustar Security Services and R. Joffe re: motion to dismiss strategy

6/23/2022   Southall, S.         560.00   0.90    504.00    Numerous communications with NSS and Joffe's counsel regarding motion to dismiss
6/23/2022   Southall, S.         560.00   0.50    280.00    Draft and revise email to A. Chen regarding status and strategy
6/23/2022   Southall, S.         560.00   1.00    560.00    Participate in joint defense call regarding motion to dismiss amended complaint
6/24/2022   Sanders A. E.        255.00   2.30    586.50    Draft section of omnibus motion to dismiss re: improperly pleading Neustar Inc. and Neustar
                                                            Security Services are "Neustar" and therefore failing to separate allegations as to each distinct
                                                            entity
6/24/2022 Southall, S.           560.00   1.30    728.00    Review and analyze summaries of motions to dismiss prepared by Clinton/Perkins Coie for use in
                                                            motion to dismiss amended complaint
6/27/2022 Doran, P.              475.00   0.50    237.50    Address shotgun pleading as basis for dismissal
6/27/2022 Sanders A. E.          255.00   0.80    204.00    Review and analyze relevant case law re: identify cases where the court dismissed improper
                                                            shotgun pleadings authored by counsel for plaintiff
6/27/2022 Sanders A. E.          255.00   1.40    357.00    Review and analyze relevant case law re: decisions authored by newly appointed magistrate
                                                            judge that granted motions to dismiss shotgun pleadings to incorporate in omnibus motion to
                                                            dismiss
6/27/2022 Sanders A. E.          255.00   1.70    433.50    Draft section of omnibus motion to dismiss re: improperly pleading Neustar Inc. and Neustar
                                                            Security Services are "Neustar" and therefore failing to separate allegations as to each distinct
                                                            entity
                                                                                                                                                                                                           304




6/27/2022 Southall, S.           560.00   0.40    224.00    Communications with JDG regarding briefing schedule and anticipated motion to dismiss
6/28/2022 Olmedo-Rodriguez, J.   560.00   0.30    168.00    Review court filings/order on status conference and status of docket
6/29/2022 Sanders A. E.          255.00   0.20     51.00    Revise section of omnibus motion to dismiss re: improperly pleading Neustar Inc. and Neustar
                                                            Security Services are "Neustar" and therefore failing to separate allegations as to each distinct
                                                            entity
6/29/2022 Sanders A. E.          255.00   0.80    204.00    Review and analyze counsel for NSS's draft section of the omnibus motion to dismiss
6/30/2022 Olmedo-Rodriguez, J.   560.00   0.70    392.00    Review and revise draft of Neustar argument for joint MTD and overview comments provided by
                                                            A. Sanders
6/30/2022 Southall, S.           560.00   0.40     224.00   Communications with JDG regarding strategy
6/30/2022 Southall, S.           560.00   2.30   1,288.00   Revise and edit motion to dismiss amended complaint
 7/1/2022 Olmedo-Rodriguez, J.   560.00   0.80     448.00   Review timing on motion for extension of time and asses next steps (0.3); Participate in defense
                                                            counsel call to discuss strategy on MTD and motion for reconsideration of motion for extension
                                                            of time (0.3); further strategy to assess next steps and status of filing if reconsideration is denied
                                                            (0.2)
 7/1/2022 Sanders A. E.          255.00   0.10     25.50    Review and analyze court mandated plaintiff's status report
 7/1/2022 Sanders A. E.          255.00   3.70    943.50    Draft motion to dismiss amended complaint pursuant to court order denying proposed
                                                            stipulation for extension
 7/1/2022 Sanders A. E.          255.00   0.70    178.50    Review and analyze relevant case law to support dismissing Neustar pursuant to Fed. R. Civ. P. 23
                                                            as an improper party, where NSS as the proper party has been joined
 7/1/2022 Sanders A. E.          255.00   0.10     25.50    Review and analyze court order denying the parties proposed joint stipulation re: response time
                                                            to amended complaint
                                                                                                                                                                     Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 223 of
 7/1/2022 Southall, S.           560.00   3.90   2,184.00 Draft and revise motion to dismiss Amended Complaint
 7/1/2022 Southall, S.           560.00   0.40     224.00 Email communications with A. Chen regarding court orders and proposed strategy
 7/1/2022 Southall, S.           560.00   0.40     224.00 Communications with JDG regarding second request for extension of time to file motion to
                                                          dismiss
 7/1/2022 Southall, S.           560.00   0.20     112.00 Review and analyze court order denying request for extension
 7/1/2022 Southall, S.           560.00   0.60     336.00 Confer with JDG regarding court order denying request for extension
 7/5/2022 Olmedo-Rodriguez, J.   560.00   0.70     392.00 Review and revise Neustar's portion of the Joint MTD (0.4); review and assess recusal order of
                                                          additional magistrate judge (0.1); review emails from various co-defendants' counsel re
                                                          timing/strategy for joint motion to dismiss (0.2)
 7/5/2022   Sanders A. E.        255.00   2.30     586.50 Revise draft section of omnibus motion to dismiss for "Neustar Defendants"
 7/5/2022   Southall, S.         560.00   0.30     168.00 Communications with JDG regarding motion to file oversized brief
 7/5/2022   Southall, S.         560.00   0.50     280.00 Communciations with J. McNichols regarding NSS/Neustar brief
 7/5/2022   Southall, S.         560.00   0.60     336.00 Revise and edit portion of brief regarding shotgun pleadings
 7/5/2022   Southall, S.         560.00   0.80     448.00 Revise and edit portion of motion to dismiss amended complaint relating to CFAA, DTSA and SCA

 7/5/2022 Southall, S.           560.00   0.40     224.00 Confer with JDG regarding briefing
 7/6/2022 Sanders A. E.          255.00   1.60     408.00 Draft motion to dismiss on issues relevant to Neustar, including being an improperly named
                                                          defendant and shotgun pleadings
 7/6/2022 Southall, S.           560.00   0.80     448.00 Revise and edit insert for motion to dismiss prepared by Neustar group
 7/7/2022 Sanders A. E.          255.00   0.20      51.00 Review revised "Neustar defendants" section of omnibus motion to dismiss as received from
                                                          Williams & Connolly LLP to ensure suggested comments were incorporated
 7/7/2022 Sanders A. E.          255.00   1.20     306.00 Revise motion to dismiss on behalf of Neustar, including being an improperly named defendant
                                                          and shotgun pleadings
                                                                                                                                                                                                  304




 7/7/2022 Southall, S.           560.00   1.90   1,064.00 Revise and edit independent motion to dismiss amended complaint
 7/7/2022 Southall, S.           560.00   1.40     784.00 Review and analyze draft sections of joint motion to dismiss
 7/8/2022 Olmedo-Rodriguez, J.   560.00   0.20     112.00 Strategize re filing motion for leave to file short separate MTD given arguments adverse to NSS
                                                          and NSS's counsel's push back to joining brief with argument that NSS is the proper defendant

 7/8/2022 Sanders A. E.          255.00   0.10      25.50 Review and analyze co-defendants' omnibus draft motion for leave to exceed page limit in
                                                          defendants' omnibus motion to dismiss first amended complaint
 7/8/2022 Southall, S.           560.00   1.10     616.00 Review, analyze and revise sections of omnibus motion to dismiss amended complaint
 7/8/2022 Southall, S.           560.00   1.50     840.00 Numerous communications regarding motion to file oversized brief and ability to include
                                                          Neustar request in it, including revising motion
 7/9/2022 Southall, S.           560.00   1.90   1,064.00 Revise, analyze and revise ombinbus motion to dismiss amended complaint
7/11/2022 Doran, P.              475.00   0.70     332.50 Review Neustar and NSS sections for MTD and discussions among common interest counsel

7/11/2022 Sanders A. E.          255.00   1.10     280.50 Per client request review and analyze relevant case law re: potential claims against NSS for
                                                          failure to disclose all liabilities
7/11/2022   Southall, S.         560.00   0.60     336.00 Revise and edit Neustar specific section of Omnibus brief
7/11/2022   Southall, S.         560.00   0.40     224.00 Confer with J. McNichols regarding motion to dismiss
7/11/2022   Southall, S.         560.00   1.40     784.00 Review, analyze and revise draft omnibus brief
7/12/2022   Sanders A. E.        255.00   2.90     739.50 Review and analyze relevant case law re: asserting claim against NSS
7/12/2022   Southall, S.         560.00   2.20   1,232.00 Revise and edit omnibus brief to dismiss
7/12/2022   Southall, S.         560.00   0.50     280.00 Confer with Joint Defense Group regarding whether DNS data is publicly available
                                                                                                                                                            Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 224 of
7/13/2022 Olmedo-Rodriguez, J.     560.00   0.20     112.00 Review communication from plaintiff's counsel proposing continuance of trial and other asks to
                                                            be requested from court and assess impact of same on client’s interests
7/13/2022 Southall, S.             560.00   1.80   1,008.00 Revise and edit briefs in support of motion to dismiss, both Omnibus and individualized
                                                            supplemental brief
7/13/2022   Southall, S.           560.00   0.20     112.00 Email communications with plaintiff's counsel regarding case schedule
7/13/2022   Southall, S.           560.00   0.30     168.00 Confer with D. Kendall regarding oral argument on motion to dismiss
7/13/2022   Southall, S.           560.00   0.50     280.00 Confer with J. McNichols regarding litigation hold issues
7/13/2022   Southall, S.           560.00   0.40     224.00 Research various issues related to litigation hold, drafting email to client regarding same
7/14/2022   Olmedo-Rodriguez, J.   560.00   0.80     448.00 Strategize re comments on draft supp. MTD, timeline for filings and next steps
7/14/2022   Olmedo-Rodriguez, J.   560.00   0.30     168.00 Review/revise draft Suppl. MTD and provide comments on same
7/14/2022   Sanders A. E.          255.00   0.20      51.00 Review and analyze government defendants' motion to substitute party and motion to dismiss

7/14/2022 Sanders A. E.            255.00   0.20      51.00 Finalize individual motion to dismiss on issues relevant to Neustar
7/14/2022 Southall, S.             560.00   1.20     672.00 Revise, edit and finalize motion to dismiss amended complaint
7/15/2022 Olmedo-Rodriguez, J.     560.00   0.80     448.00 Attend and participate in R. 16 scheduling conference with all counsel (0.4); post R. 16
                                                            Scheduling Conference strategy session to assess impact of same on Neustar (0.2); confer with S.
                                                            Southall re background info on new Magistrate Judge P. Hunt (0.2)
7/15/2022 Sanders A. E.            255.00   1.90     484.50 Review and analyze relevant case law re: asserting claim against NSS for contractual indemnity in
                                                            Delaware
7/15/2022   Sanders A. E.          255.00   3.20     816.00 Review and analyze relevant case law re: choice of law for asserting claim against NSS
7/15/2022   Southall, S.           560.00   0.30     168.00 Draft and revise email to A. Chen regarding status and strategy
7/15/2022   Southall, S.           560.00   0.40     224.00 Participate in meet and confer with plaintiff's counsel regarding schedule
7/16/2022   Sanders A. E.          255.00   4.80   1,224.00 Review and analyze relevant case law re: asserting common law claim against NSS under
                                                                                                                                                                                                      304




                                                            Delaware law
7/18/2022 Sanders A. E.            255.00   0.80     204.00 Analysis of evidence required to prove indemnity claim against NSS
7/19/2022 Southall, S.             560.00   0.40     224.00 Analyze indemnification issues
7/20/2022 Sanders A. E.            255.00   1.10     280.50 Review and analyze relevant case law to determine if a conspiracy claim may form the basis for
                                                            common law indemnification in Delaware
7/20/2022 Sanders A. E.            255.00   1.20     306.00 Review and analyze relevant case law to determine if a claim asserting violation of Computer
                                                            Fraud and Abuse Act may form the basis for common law indemnification in Delaware

7/20/2022 Sanders A. E.            255.00   1.40    357.00 Review and analyze relevant case law to determine if a claim asserting violation of Stored
                                                           Communications Act may form the basis for common law indemnification in Delaware
7/21/2022 Doran, P.                475.00   0.50    237.50 Review case orders and motions regarding motion to dismiss response
7/21/2022 Olmedo-Rodriguez, J.     560.00   0.20    112.00 Review joint defense communications from HRC's counsel re opposition to motion for
                                                           continuance and reply in support of MTD and confer with S. Southall re Neustar's position on
                                                           same
7/21/2022 Sanders A. E.            255.00   0.10     25.50 Review and analyze Plaintiff's motion to extend trial date
7/21/2022 Sanders A. E.            255.00   0.10     25.50 Review and analyze Plaintiff's motion for extension of time to file response to motions to dismiss

7/21/2022 Southall, S.             560.00   0.30    168.00 Confer with A. Chen regarding status and strategy
7/21/2022 Southall, S.             560.00   0.20    112.00 Review and analyze motion for extension of time to answer motion to dismiss and motion to
                                                           adjourn trial filed by plaintiff as well as court order regarding motion for extension of time to
                                                           answer motion to dismiss
                                                                                                                                                                Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 225 of
7/22/2022 Sanders A. E.            255.00   0.10     25.50 Review court order denying plaintiff's motion to continue trial
7/26/2022 Olmedo-Rodriguez, J.     560.00   0.40    224.00 Participate in Joint Defense Call with all defense counsel to strategize and plan for joint reply in
                                                           support of the MTD (0.3); follow up call with A. Sanders to discuss Neustar's independent reply
                                                           and coordinating review/analysis of NeuStar's contributions to joint reply given tight time line
                                                           set out by Joint Defense Team (0.1)
7/26/2022 Sanders A. E.            255.00   0.30     76.50 Strategic joint defense conference re: coordinate reply to Plaintiff's opposition to pending
                                                           motion to dismiss
 8/4/2022 Sanders A. E.            255.00   0.90    229.50 Review and analyze Plaintiff's response in opposition to Defendants' joint motion to dismiss.

 8/4/2022 Sanders A. E.            255.00   0.20      51.00 Review and analyze Plaintiff's response in opposition to motion to dismiss of Neustar, Inc.
 8/5/2022 Sanders A. E.            255.00   0.40     102.00 Strategic defense conference with counsel for non-government defendants to prepare reply in
                                                            support of joint motion to dismiss.
 8/5/2022 Sanders A. E.            255.00   1.60     408.00 Review and analyze opinions authored by Judge Middlebrooks related to DNS and/or IP
                                                            addresses to assist in replying to Plaintiff's opposition to joint motion to dismiss.
 8/5/2022   Southall, S.           560.00   0.80     448.00 Multiple communications with counsel for NSS and Joffe regarding reply brief.
 8/5/2022   Southall, S.           560.00   0.80     448.00 Draft and revise outline of reply regarding CFAA and SCA issues for omnibus brief.
 8/5/2022   Southall, S.           560.00   0.20     112.00 Review, analyze and edit draft motion to file oversized reply brief.
 8/5/2022   Southall, S.           560.00   0.40     224.00 Participate in JDG meeting regarding reply papers.
 8/5/2022   Southall, S.           560.00   2.80   1,568.00 Review and analyze opposition papers to defendants' motions to dismiss.
 8/6/2022   Sanders A. E.          255.00   4.90   1,249.50 Draft Stored Communications Act and Computer Fraud and Abuse Act sections of joint reply to
                                                            Plaintiff's opposition to joint motion to dismiss.
 8/6/2022 Sanders A. E.            255.00   1.30     331.50 Review and analyze case law cited in Plaintiff's opposition to joint motion to dismiss to prepare
                                                            reply to same.
                                                                                                                                                                                                         304




 8/6/2022 Sanders A. E.            255.00   1.60     408.00 Further review and analyze of Plaintiff's opposition to joint motion to dismiss to prepare reply to
                                                            same.
 8/8/2022 Sanders A. E.            255.00   0.70     178.50 Review and analyze case law cited in Plaintiff's opposition to joint motion to dismiss in support of
                                                            claim for violation of computer fraud and abuse act.
 8/8/2022   Sanders A. E.          255.00   3.90     994.50 Draft reply in support of Neustar, Inc.'s individual motion to dismiss.
 8/8/2022   Southall, S.           560.00   1.30     728.00 Revise and edit individual reply brief.
 8/8/2022   Southall, S.           560.00   1.70     952.00 Revise and edit section on CFAA and SCA for omnibus brief.
 8/8/2022   Southall, S.           560.00   0.50     280.00 Revise and edit section on DNS data for omnibus brief.
 8/9/2022   Sanders A. E.          255.00   0.90     229.50 Revise joint reply in support of omnibus motion to dismiss as received from counsel for H.
                                                            Clinton.
 8/9/2022 Sanders A. E.            255.00   0.50     127.50 Revise draft individual reply in support of motion to dismiss to incorporate A. Chen's comments.

 8/9/2022   Southall, S.           560.00   0.60     336.00Revise and edit insert for omnibus reply brief.
 8/9/2022   Southall, S.           560.00   1.70     952.00Revise and edit individual reply in further support of motion to dismiss.
8/10/2022   Olmedo-Rodriguez, J.   560.00   1.80   1,008.00Review Trump's Opposition to the Joint MTD
8/10/2022   Olmedo-Rodriguez, J.   560.00   0.70     392.00Review opposition to Neustar's individual MTD
8/10/2022   Southall, S.           560.00   0.50     280.00Revise and edit individual reply.
8/10/2022   Southall, S.           560.00   2.10   1,176.00Revise and edit omnibus reply.
8/11/2022   Olmedo-Rodriguez, J.   560.00   0.70     392.00Review final draft joint reply ISO joint MTD circulated by HRC’s counsel and advance same for
                                                           filing.
8/11/2022 Olmedo-Rodriguez, J.     560.00   0.30    168.00 Review final draft individual reply ISO individual MTD and advance same for filing.
                                                                                                                                                                   Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 226 of
8/11/2022 Sanders A. E.            255.00   0.40    102.00 Review and analyze updated joint reply in support of omnibus motion to dismiss as received
                                                           from counsel for H. Clinton prior to filing.
8/11/2022 Southall, S.             560.00   0.30    168.00 Revise, edit and finalize individual reply.
8/11/2022 Southall, S.             560.00   1.10    616.00 Revise and edit omnibus reply.
8/15/2022 Olmedo-Rodriguez, J.     560.00   0.20    112.00 Review communications with OC and assess need to file corrected individual reply on MTD.

8/16/2022 Olmedo-Rodriguez, J.     560.00   0.40    224.00 Revise Corrected Reply on MTD and confer with S. Southall re same and advance same for filing

8/23/2022 Sanders A. E.            255.00   0.50    127.50 Review pleadings to identify potential timeline for ruling on defendants' joint motion to dismiss.

8/23/2022   Southall, S.           560.00   0.20     112.00 Email communications with A. Chen regarding status of various motions to dismiss.
 9/2/2022   Olmedo-Rodriguez, J.   560.00   0.30     168.00 Preliminary review indemnification demand from R. Joffe.
 9/2/2022   Southall, S.           560.00   0.30     168.00 Review and analyze demand for indemnification from R. Joffe.
 9/6/2022   Southall, S.           560.00   0.30     168.00 Draft and revise email to A. Chen regarding R. Joffe demand for advancement.
 9/6/2022   Southall, S.           560.00   0.50     280.00 Confer with J. McNichols regarding demand for advancement from R. Joffe.
 9/8/2022   Olmedo-Rodriguez, J.   560.00   0.70     392.00 Review Order Granting Motion to Dismiss.
 9/8/2022   Southall, S.           560.00   3.20   1,792.00 Analyze issues related to Joffe's demand for indemnification and advancement, including
                                                            communications with client, review of pertinent documents and communications with NSS
                                                            counsel.
 9/9/2022 Sanders A. E.            255.00   0.30      76.50 Strategic analysis to determine plaintiff's right to appeal order dismissing claims with prejudice
                                                            where claims against some defendants were dismissed without prejudice.
 9/9/2022 Sanders A. E.            255.00   0.10      25.50 Review correspondence received from co-defendants' counsel re: potential motion for sanctions.
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 9/9/2022 Sanders A. E.            255.00   1.10     280.50 Review and analyze court order granting joint motion to dismiss with prejudice.
 9/9/2022 Southall, S.             560.00   1.90   1,064.00 Address issues related to Joffe demand for indemnification and advancement, including review
                                                            of draft letter, communications with NSS counsel and communications with client.
 9/9/2022 Southall, S.             560.00   1.10     616.00 Review and analyze opinion granting motions to dismiss.
9/12/2022 Sanders A. E.            255.00   0.30      76.50 Review and analyze correspondence and documents received from counsel for H. Clinton prior
                                                            to joint defense call re: motion for sanctions.
9/12/2022   Southall, S.           560.00   0.60     336.00 Communications regarding potential sanctions motion.
9/12/2022   Southall, S.           560.00   0.50     280.00 Confer with client regarding Joffe demand for advancement and investment.
9/12/2022   Southall, S.           560.00   0.50     280.00 Confer with J. McNichols regarding Joffe demand for indemnification.
9/13/2022   Olmedo-Rodriguez, J.   560.00   0.30     168.00 Review correspondence from D. Kendall re next steps and potential basis for sanctions motion.

9/13/2022 Olmedo-Rodriguez, J.     560.00   0.30    168.00 Communicate with S. Southall to develop recommendation to client on motion for sanctions

9/13/2022   Southall, S.           560.00   0.80    448.00    Joint defense group meeting regarding potential sanctions motion.
9/14/2022   Southall, S.           560.00   0.90    504.00    Confer with J. McNichols regarding Joffe indemnification issues.
9/15/2022   Southall, S.           560.00   0.50    280.00    Draft and revise letter responding to demand for advancement from R. Joffe.
9/16/2022   Southall, S.           560.00   0.40    224.00    Revise, edit and finalize letter regarding advancement demand.
9/20/2022   Southall, S.           560.00   0.30    168.00    Communications with A. Chen regarding request for reimbursement from NSS.
9/20/2022   Southall, S.           560.00   1.20    672.00    Review, analyze and revise draft sanctions motion.
9/21/2022   Sanders A. E.          255.00   0.20     51.00    Review and analyze motion for sanctions filed by C. Dolan.
9/21/2022   Southall, S.           560.00   0.30    168.00    Confer with A. Chen regarding reimbursement of fees from NSS.
                                                                                                                                                                 Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 227 of
9/21/2022   Southall, S.           560.00   1.10   616.00   Review, analyze and revise draft sanctions motion.
9/27/2022   Southall, S.           560.00   0.40   224.00   Review and analyze recent J. Middlebrooks decision regarding appropriateness of rates.
9/27/2022   Southall, S.           560.00   1.20   672.00   Review, analyze and revise draft sanctions brief.
9/28/2022   Olmedo-Rodriguez, J.   560.00   1.30   728.00   Review draft Motion for Sanctions, Declaration
9/28/2022   Southall, S.           560.00   0.40   224.00   Draft and revise email to client regarding sanctions motion.
9/28/2022   Southall, S.           560.00   0.50   280.00   Participate in joint defense group meeting regarding sanctions.
                                                                                                                                                                                           304
                                                                                                                                                     Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 228 of
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                   EXHIBIT 10
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

    Donald J. Trump,

                            Plaintiff,

            v.
                                                         Civil Action No. 2:22-14102-DMM
    Hillary R. Clinton et al.,

                            Defendants.


                  DECLARATION OF JOHN M. MCNICHOLS IN SUPPORT OF
                    DEFENDANTS’ MOTION FOR SANCTIONS AND FEES

           I, John M. McNichols, declare under penalty of perjury pursuant to 28 U.S.C. § 1746,

    that the following is true and correct:

           1.      I am a partner at Williams & Connolly LLP (“W&C), counsel of record for

    Security Services LLC, d/b/a Neustar Security Services (“NSS”), a Defendant in the above

    captioned matter.

           2.      W&C entered into a retention agreement with NSS in connection with the present

    litigation to serve as lead counsel. NSS agreed to pay all of W&C’s costs, fees, and expenses

    incurred in connection with the present suit, and agreed to pay the firm’s customary rates.

           3.      Attached as Exhibit A are the law firm website biographies of the attorneys at W&C for

    whom NSS seeks attorneys’ fees. The biographies reflect the professional qualifications of those

    attorneys.

           4.      Attached as Exhibit B is a true and correct copy of the hours worked by counsel for

    NSS. NSS is not seeking reimbursement for the attorneys’ customary hourly rates. Instead, NSS

    seeks fees at discounted hourly rate for the attorneys as described in Exhibit B and below. These

    discounted hourly rates are consistent with the rates this Court concluded were reasonable in

    Celsius Holdings, Inc v. A SHOC Beverage, LLC, No. 21-cv-80740, 2022 WL 3568042 (July 19,


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    2022). Exhibit B also provides an accurate statement of the work provided by Greenberg Traurig

    during the periods for which discounted fees are sought.

            5.       Attached as Exhibit C is the law firm website biography of the attorney at Greenberg

    Traurig for whom NSS seeks attorneys’ fees. The biography reflects the professional qualifications of

    that attorney.

            6.       Greenberg Traurig also entered into a retention agreement with NSS in connection

    with the present litigation to serve as local counsel. NSS agreed to pay all of Greenberg Traurig

    costs, fees, and expenses incurred in connection with the present suit, and agreed to pay the firm’s

    customary rates.

            7.       Consistent with the discussion in the Memorandum in Support of Sanctions and the

    information provided in Exhibit B, I summarize below in Charts A, B, and C the fees associated

    with three different phases of the case: the fees incurred from the filing of the initial complaint to

    the filing of NSS’s initial motion to dismiss; the fees incurred between the filing of NSS’s motion

    to dismiss to the Court’s order dismissing the suit; and the fees incurred to date in connection with

    the motion for sanctions.

            8.       As reflected in Chart A, NSS incurred no fees during the first phase of the case.

    NSS was not named a defendant until filing of the amended complaint and therefore incurred no

    fees.

                         Chart A: Fees incurred from Complaint to initial MTD

            Timekeeper             Discounted Fee              Hours                      Fees
     John M. McNichols           $700                  0                         $0
     Kathryn E. Garza            $300                  0                         $0
     Allison S. Eisen            $300                  0                         $0
     James E. Gillenwater        $700                  0                         $0




                                                      2
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           9.      As reflected in Chart B, the discounted fees incurred by NSS from the filing of

    NSS’s initial motion to dismiss to this Court’s dismissal of the suit total $50,950.

                            Chart B: Fees incurred initial MTD to dismissal

          Timekeeper             Discounted Fee                Hours                       Fees
     John M. McNichols          $700                   37.2                     $26,040
     Kathryn E. Garza           $300                   43.2                     $12,960
     Allison S. Eisen           $300                   20                       $6,000
     James E. Gillenwater       $700                   8.5                      $5,950



           10.     As reflected in Chart C, the discounted fees incurred by NSS in connection with

    the motion for sanctions, to date, total $2,270.

                          Chart C: Fees incurred to date on sanctions motion

          Timekeeper             Discounted Fee                Hours                       Fees
     John M. McNichols          $700                   2.6                      $1,820
     Kathryn E. Garza           $300                   0                        $0
     Allison S. Eisen           $300                   1.5                      $450
     James E. Gillenwater       $700



           11.     I believe that the discounted rates claimed are reasonable given the professional

    qualifications of the billers as evidenced in Exhibit A and Exhibit C for the Southern District of

    Florida market and given the rates approved by this Court in Celsius.

           12.     In connection with this case, counsel incurred necessary costs for electronic legal

    research. I understand that courts in this Circuit have held that legal research costs are not

    ordinarily taxable as costs under 28 U.S.C. § 1920, but are properly considered a component of

    attorneys’ fees. Springer v. Convergy’s Corp., No. 3:03-CV-302-J-99MCR, 2006 WL 8439203,

    at *2 (M.D. Fla. July 7, 2006). As such, in addition to the discounted fees set out above, NSS



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    requests an award of $327.98 incurred for electronic legal research.

           13.     Consistent with local Rule 7.3, counsel sent the draft sanctions motion and draft

    supporting declarations to Plaintiff’s counsel on October 5, 2022. Defendants met and conferred

    in good faith with Plaintiff’s counsel by Microsoft Teams twice, on October 13 and October 26,

    2022, but were unable to reach any agreement as to either the Defendants’ entitlement to or the

    amount of fees and expenses not taxable under 28 U.S.C. §1920 that are recoverable from Plaintiff

    and/or his counsel.


                                                                              /s/ John M. McNichols
                                                                                 John M. McNichols
                                                                                    October 27, 2022




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              Exhibit A
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                                                  John McNichols
                                                  Partner
                                                  jmcnichols@wc.com
                                                  D 202-434-5043



                                                  John McNichols focuses his practice in trial litigation, with emphasis
    Education                                     in trade secret disputes involving technology companies. John has
    • University of Michigan Law School,          multiple clients in the Dulles Technology Corridor, including Appian
      J.D., cum laude, 2003: Executive            Corporation and Neustar Security Services. He has tried multiple
      Note Editor, Michigan Law Review;
      Semifinalist, Campbell Moot Court           civil cases in both state and federal court, representing both plaintiffs
      Competition                                 and defendants. Outside of his civil trial practice, John has also
    • Yale University, B.A., 2000                 represented criminal defendants in multiple matters, including a
                                                  recent conspiracy trial in federal court in Maryland resulting in a jury
    Practice Focus
                                                  acquittal.
    • Civil Litigation and Trial Practice

    • Commercial Litigation                       John is an Adjunct Professor of Evidence at the Antonin Scalia Law
                                                  School at George Mason University, and an Associate Editor of
    • Criminal Defense and Government
      Investigations                              Litigation News, where he writes the quarterly column on technology
    • Unfair Competition, Trade Secrets
                                                  and the law. Before joining Williams & Connolly in 2005, he clerked
      and Restrictive Covenants                   for a year for Judge T. S. Ellis III of the U.S. District Court for the
                                                  Eastern District of Virginia. John is also a former noncommissioned
    Recognitions
                                                  officer of the U.S. Army Special Forces.
    • AV Preeminent Peer Review Rated
      by Martindale-Hubbell
                                                  Representative Experience
    Admissions
                                                  Though all cases vary and none is predictive, John’s experience
    • Virginia
                                                  includes:
    • District of Columbia
                                                  •   A three-week securities fraud bench trial in federal court in
    • Maryland
                                                      Delaware
    • United States Supreme Court
                                                  •   A one-week federal criminal trial on behalf of an insurance agent
    • United States Court of Appeals for
      the District of Columbia, First, Third,         accused of fraud and money laundering
      Fourth, Ninth, and Federal Circuits
                                                  •   A one-week federal criminal conspiracy trial premised on identity
    • United States District Court for the
      Eastern District of Virginia, District of       theft and automobile theft
      Maryland, District of Columbia, and
      District of Colorado                        •   A one-week federal criminal conspiracy trial based on alleged
    • United States Court of Federal                  fraudulent payroll claims against an insurance company
      Claims
                                                  •   A one-week civil trial in Virginia state court defending a military
                                                      contractor against claims of unlawful termination
                                                  •   A one-week commercial arbitration between an international
                                                      lodging company and one of its franchisees
                                                  •   A one-week commercial arbitration concerning a residential
                                                      building contract



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                              •   Two commercial arbitrations between an international media
                                  company and its exclusive trademark licensee


                              Resources
                              Publications
                              • How Do You Cross-Examine Siri If You Think She’s Lying?, March

                                2022
                              •   John McNichols Authors Article Explaining New Notice Standard
                                  for FLSA Collective Actions, November 2021
                              •   John McNichols Authors Article Discussing Non-Fungible Tokens
                                  (“NFTs”), November 2021
                              •   John McNichols Authors Article “Cryptocurrency: The Coin of the
                                  Future?”, August 2021
                              •   Keeping One’s Public Face Private, June 2021
                              •   New Ethics Advice on Working from Home in a Pandemic, June
                                  2021
                              •   John McNichols Authors ABA’s Litigation News Article: “Evidence
                                  of Juror Dishonesty Requires Evidentiary Hearing”, January 2021
                              •   John McNichols Authors Article for ABA’s Litigation News: “Law
                                  Firm Not Liable to Adverse Party for Groundless Suit”, December
                                  2020
                              •   Delaware’s Daubert Standards for Toxic Tort Cases: An Issue of
                                  Nationwide Importance , July 2020
                              •   John McNichols Authors Article on New Notice Standard
                                  Established in FLSA Collective Actions, July 2020
                              •   New Ethics Advice on Working from Home in Pandemic, July 2020
                              •   Best Practices in Veteran Hiring: Balancing Employer Risks and
                                  Goals with Applicant Rights, May 2020
                              •   John McNichols Authors Article on Heightened Pleading Standards
                                  for Anonymous Online Activity, April 2020
                              •   John McNichols Authors “First Amendment Bars Non-
                                  disparagement Clause in Settlement”, December 2019
                              •   Transforming Veteran Hiring: The Legal Implications of the
                                  Defense Department’s “Skillbridge” Program, October 2019
                              •   John McNichols and Joshua Tully Co-Author “Tips for Using the
                                  Foundational Voir Dire”, May 2019

                              Presentations
                              •Extraterritorial Application of U.S. Law under the Defend Trade
                               Secrets Act, September 2016



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                              •   John McNichols and Chris Geyer Speak on Panel Hosted by the
                                  Federal Circuit Bar Association, September 2016
                              •   Current Issues in D&O Liability & Insurance 2016, May 2016




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                                      304


                                            Kathryn E. Garza
                                            Associate
                                            kgarza@wc.com
                                            D 404-343-5722



                                            Kathryn received her Juris Doctor from the University of Texas
    Education                               School of Law, graduating with honors. After law school, Kathryn
    • The University of Texas School of     clerked for Judge Randy Crane of the United States District Court for
      Law, J.D., with honors, 2020: Texas   the Southern District of Texas. Prior to law school, she spent three
      Law Review, Member
                                            sessions working at the Texas House of Representatives. Kathryn is
    • The University of Texas, B.A., 2015
                                            passionate about mentorship and serves on the board of Law Clerks
    Admissions                              for Diversity.
    • District of Columbia
                                            Publications:
                                            (Note) Qui Tam Tension: The Appropriate Standard of Review in
                                            Government-Requested FCA Dismissals, Texas Law Review




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                                      304


                              Allison Eisen
                              Associate
                              aeisen@wc.com
                              D 202-434-5354



                              Education & Honors

                              •   New York University School of Law, J.D., cum laude, 2018;
                                  AnBryce Scholar; Articles Editor, New York University Law Review
                              •   Duke University, B.A., 2015

                              Bar & Court Admissions

                              •   New York
                              •   United States District Court for the Southern District of New York
                                  and for the Eastern District of New York

                              Government Experience

                              •   Law Clerk, Judge Ann M. Donnelly, United States District Court for
                                  the Eastern District of New York, 2020-2021

                              Limitations

                              Admitted in New York. Practice in the District of Columbia supervised
                              by members of the D.C. Bar as required by D.C. App. R. 49(c)(8).




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             EXHIBIT B
                                                         Amount
  Date           Timekeeper       DiscountRate   Time                  Description
                                                         Claimed
 06/06/22    GARZA,KATHRYNE.      $300.00       0.50   $150.00        CallwithM.Mestitz(ClintonCounsel)re:Trumpv.Clintonupdate;attendweeklymeeting.
 06/15/22    GARZA,KATHRYNE.      $300.00       0.50   $150.00        AttendTrumpv.Clintoncommoninterestcall.
 06/21/22    GARZA,KATHRYNE.      $300.00       0.50   $150.00        ReviewamendedcomplaintinTrumpv.Clinton;circulatetoclient.
                                                                        ReviewTrumpv.Clintonamendedcomplaint;prepareforweeklyhuddle;attendweekly
 06/22/22    GARZA,KATHRYNE.      $300.00       3.40   $1,020.00
                                                                        huddle;performfollowupassignments.
                                                                        Circulatesummaryofamendedcomplaint;correspondre:Trumpv.Clintonmotionto
 06/23/22    GARZA,KATHRYNE.      $300.00       3.60   $1,080.00      dismissorganization;participateinjointdefensegroupcall;prepareforandparticipatein
                                                                        callwithNeustardefendantstocoordinatemotiontodismissdrafting.
 06/24/22    GARZA,KATHRYNE.      $300.00       2.90   $870.00        DraftmotiontodismissportionsassignedtoNeustardefendants.
 06/26/22    GARZA,KATHRYNE.      $300.00       1.00   $300.00        DraftsectionofmotiontodismissforTrumpv.Clintoncase.
                                                                        Editmotiontodismisssection;draftlanguageforinsurer;attendcallwithK.HughesandJ.
 06/27/22     EISEN,ALLISONS.     $300.00       2.30   $690.00
                                                                        McNichols.
 06/27/22    GARZA,KATHRYNE.      $300.00       1.20   $360.00        Revisemotiontodismisssection.
 06/28/22     EISEN,ALLISONS.     $300.00       2.50   $750.00        Draftmotiontodismissanddiscusswithteam.
                                                                        DiscussmotiontodismissdraftwithA.Eisen;meetingwithA.EisenandJ.McNicholsto
 06/28/22    GARZA,KATHRYNE.      $300.00       2.80   $840.00
                                                                        discussdraftmotion.
                                                                        ReviewTrumpamendedcomplaint;reviewpreviousmotionspractice;reviewdraftportion
 06/28/22    MCNICHOLS,JOHNM.     $700.00       5.00   $3,500.00      ofmotiontodismissTrumpamendedcomplaint;discussionwithA.Eisenre:draftmotion
                                                                        todismiss.
                                                                                                                                                                                                               304




 06/29/22     EISEN,ALLISONS.     $300.00       3.00   $900.00        Draftmotiontodismissanddiscusswithteam;attendteamhuddle.
 06/29/22    GARZA,KATHRYNE.      $300.00       1.70   $510.00        Revisemotiontodismisssection;attendteammeeting;participateinweeklyhuddle.
                                                                        ReviewTrumpamendedcomplaint;revisemotiontodismiss;reviewpreviousmotions
 06/29/22    MCNICHOLS,JOHNM.     $700.00       3.80   $2,660.00      practice;legalresearchonfederalstatutoryclaims;attendstatusteleconferencewith
                                                                        commsteam.
                                                                        Revisemotiontodismisssection;meetingwith
 06/30/22    GARZA,KATHRYNE.      $300.00       1.80   $540.00
                                                                        J.McNicholstorevieweditstomotiontodismiss.
                                                                        Revisedraftmotiontodismiss;discussionwithK.Garzare:same;discussiontoD.Kendall
                                                                        (ClintonCounsel)re:argumentsaboutDNSdata;emailswith
 06/30/22    MCNICHOLS,JOHNM.     $700.00       3.30   $2,310.00
                                                                        S.Southall(TransUnioncounsel)re:Trumpamendedcomplaintandmotiontodismiss;
                                                                        reviewcommentsondraft.
07/01/2022    EISEN,ALLISONS.     $300.00       2.00    $600.00       EditmotiontodismisssectionanddiscusswithW&Cteam.
07/01/2022   GARZA,KATHRYNE.      $300.00       6.30   $1,890.00      Revisemotiontodismisssection.
07/01/2022   GARZA,KATHRYNE.      $300.00       0.50    $150.00       Participateinjointdefensecall.
                                                                        EmailsandZoomcallwithdefensegroupre:extensionrequest;teleconferencewithA.
                                                                        EisenandK.Garzare:nextsteps;revisedraftmotiontodismiss;emailswith
07/01/2022   MCNICHOLS,JOHNM.     $700.00       1.60   $1,120.00
                                                                        D.Kendallre:argumentsaboutDNSdata;emailswith
                                                                        R.JoffecounselandTransUnioncounselre:motiontodismiss.
07/05/2022    EISEN,ALLISONS.     $300.00       1.00   $300.00        EditmotiontodismisssectionanddiscusswithW&Cteam.
07/05/2022   GARZA,KATHRYNE.      $300.00       3.00   $900.00        Participateinjointdefensegroupcall;revisemotiontodismisssection.
                                                                                                                                                                         Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 241 of




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                                                         Amount
  Date           Timekeeper       DiscountRate   Time                  Description
                                                         Claimed
                                                                        Teleconferencewithdefensegroup;emailswithClintoncounselre:draftofsectionon
                                                                        statutoryclaims;callswithK.GarzaandA.Eisenre:draftingofmotiontodismiss;emails
07/05/2022   MCNICHOLS,JOHNM.     $700.00       0.90   $630.00        withJ.Gillenwater(GreenbergTraurig)re:localcounselrepresentationinSouthernDistrict
                                                                        ofFlorida;emailswithNeustarcounsel(S.Southall)re:Neustarv.NSSasproperdefendant
                                                                        andargumentincommonbrief.
                                                                        Senddraftmotiontodismisstoclient;draftandsendsignatureblocktojointdefense
07/06/2022    EISEN,ALLISONS.     $300.00       2.2    $660.00
                                                                        group;attendteamhuddle;furthereditdraftmotiontodismiss.
07/06/2022   GARZA,KATHRYNE.      $300.00       1.8    $540.00        Attendweeklyhuddle;revisemotiontodismisstoincorporateS.Southall'sedits.
                                                                        Teleconferencewithcommsgroupre:statusofTrumpvClintonlawsuit;reviewdraft
07/06/2022   MCNICHOLS,JOHNM.     $700.00       0.40   $280.00        motionbriefingandeditsfromTransUnioncounselandJoffecounsel;emailswith
                                                                        K.Hughesre:same;emailswithK.Garzare:editstomotionbriefing.
 7/7/2022     EISEN,ALLISONS.     $300.00        1     $300.00        EditNSSportionofmotiontodismiss.
 7/7/2022    GARZA,KATHRYNE.      $300.00       2.8    $840.00        Revisemotiontodismisssection;correspondwithJDGcounsel.
                                                                        EmailsanddiscussionswithK.Garzare:motionbriefing;reviewandrevisedraftsectionof
 7/7/2022    MCNICHOLS,JOHNM.     $700.00       2.8    $1,960.00
                                                                        motiontodismiss;emailswithNeustardefendants’groupre:same.
                                                                        Emailsregardingmotiontoenlargepagelimitonmotiontodismiss;reviewdraftmotionto
 7/8/2022    MCNICHOLS,JOHNM.     $700.00       1.3    $910.00        enlarge;callwithS.Southallre:Neustarv.NSSandcommonbriefing;emailswithPerkins
                                                                        Coiecounsel(N.Hart)re:commonbriefing.
                                                                        ReviewentiredraftmotiontodismisspreparedbyPerkinscounsel;emailswithKateMoran
 7/9/2022    MCNICHOLS,JOHNM.     $700.00       0.9    $630.00
                                                                        (GibsonDunn)re:same.
                                                                                                                                                                                                                  304




7/11/2022     EISEN,ALLISONS.     $300.00       1.5    $450.00        EditmotiontodismisssectionanddiscusswithW&Cteam.
                                                                        Reviewmotiontodismissdraft;revisedefendantͲspecificmotiontodismisssection;
7/11/2022    GARZA,KATHRYNE.      $300.00       3.6    $1,080.00
                                                                        correspondrethesame;circulatethesametoK.Meeks.
                                                                        Reviewreviseddraftmotiontodismiss;emailswithKateMoran(GibsonDunn)re:sames;
                                                                        emailsandteleconferencewithK.GarzaandA.Eisenre:editstodraftmotion;callwithS.
7/11/2022    MCNICHOLS,JOHNM.     $700.00        1     $700.00
                                                                        Southallre:Neustarsectiononmotiontodismiss;emailsregardingprohacvice
                                                                        applications.
7/12/2022     EISEN,ALLISONS.     $300.00       0.30   $90.00         ReviewDNSstatementsinjointmotiontodismiss.
7/12/2022    GARZA,KATHRYNE.      $300.00       1.00   $300.00        Rewiewmotiontodismissdraft;circulatethoughtsandedits.
                                                                        EmailswithKateMoran(GibsonDunn)andK.Garzare:revisionstodraftmotiontodismiss
                                                                        and“shotgunpleading”argument;emailswithJ.Gillenwaterre:prohacviceapplications;
                                                                        emailwithparalegal(A.McDonough)re:newfilingsinTrumpmatter;emailswithK.
7/12/2022    MCNICHOLS,JOHNM.     $700.00       0.80   $560.00
                                                                        Hughesre:attorneys’feeissue;emailswithJoffeteamandA.Eisenre:DNSdatabeing
                                                                        publiclyavailableinresponsetoK.Moraninquiry;emailswithTrumpcounselP.Ticktinre:
                                                                        preͲtrialschedule.
7/13/2022     EISEN,ALLISONS.     $300.00       0.50   $150.00        Attendteamhuddle.
7/13/2022    GARZA,KATHRYNE.      $300.00       0.60   $180.00        Attendweeklyteamhuddle.
7/13/2022    GARZA,KATHRYNE.      $300.00       0.20   $60.00         Circulateinviteformeetandconferre:schedulingreport.
                                                                        EmailswithK.GarzaandJoffeteamre:publicavailabilityofDNSdata;emailswithClinton
                                                                        counselandTrumpcounselre:schedulingorder;weeklyteleconferencewithcommsteam
7/13/2022    MCNICHOLS,JOHNM.     $700.00       1.10   $770.00
                                                                        re:developmentsincase;callwithS.Southall(TUcounsel)re:litigationhold;emailswithK.
                                                                        Hughesre:same.
                                                                                                                                                                            Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 242 of




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                                                          Amount
  Date           Timekeeper        DiscountRate   Time                  Description
                                                          Claimed
7/14/2022     GARZA,KATHRYNE.      $300.00       2.30   $690.00        Reviewmotiontodismissforgrammaticalerrors.
7/14/2022    MCNICHOLS,JOHNM.      $700.00       0.10    $70.00        EmailswithClintoncounselre:meetandconferwithTrumpcounsel.
7/15/2022      EISEN,ALLISONS.     $300.00       0.50   $150.00        PrepareforandattendmeetandconferwithTrumpcounsel.
7/15/2022     GARZA,KATHRYNE.      $300.00       0.50   $150.00        Attendmeetandconferre:schedulingreport.
7/15/2022    MCNICHOLS,JOHNM.      $700.00       0.50   $350.00        DiscussionwithK.Garzare:meetandconferwithTrumpcounselre:movingtrialdate
7/20/2022     EISEN,ALLISONS.      $300.00       0.1     $30.00        Attendteamhuddle.
                                                                         EmailsregardingTrumpmotionforextensionoftimeandorderbyJudgeMiddlebrooks;
7/21/2022    MCNICHOLS,JOHNM.      $700.00       0.2    $140.00        emailsregardingTrumpfilingofmotiontocontinue;emailfromcourtresettingdeadlines
                                                                         onpendingmotions.
7/22/2022    MCNICHOLS,JOHNM.      $700.00       0.1     $70.00        EmailsregardingorderonmotiontosubstitutepartiesbyUnitedStatesofAmerica.
                                                                         CallwithJ.Gillenwaterre:representationofChristopherSteele;emailswithK.Hughesre:
7/25/2022    MCNICHOLS,JOHNM.      $700.00       0.1     $70.00
                                                                         same.
7/26/2022    GARZA,KATHRYNE.       $300.00       0.3     $90.00        Attendjointdefensegroupmeeting;circulatesummarytoteam.
7/26/2022    MCNICHOLS,JOHNM.      $700.00       0.3    $210.00        Attenddefensegroupteleconference;emailsregardingdefensegroupplanforreplybrief.
08/05/2022   GARZA,KATHRYNE.       $300.00       0.40   $120.00        Attendjointdefensegroupcall.
                                                                         ReviewTrumpoppositiontomotiontodismiss;emailswithK.HughesandM.Rodkinre:
                                                                         same;draftsummary;emailsandtelephonecallwithTransUnioncounselre:same;
08/05/2022   MCNICHOLS,JOHNM.      $700.00       3.70   $2,590.00      defensegroupteleconferencere:replybrief;emailswithClintoncounselre:same;review
                                                                         draftmotionforpagelimitextension;draftreplybrief;reviewmotionforextensionof
                                                                                                                                                                                                                304




                                                                         timebyUSA.
                                                                         Revieworderongovernmentrequestforextensionoftime;draftreplybriefonDNSdata;
08/06/2022   MCNICHOLS,JOHNM.      $700.00       4.30   $3,010.00
                                                                         reviewcaselawcitedinTrumpopposition.
08/08/2022   MCNICHOLS,JOHNM.      $700.00       0.10    $70.00        Emailsregardingdraftreplybrief.
                                                                         ReviewdraftofDNSdatasectionofreplybriefinsupportofmotiontodismiss;emails
                                                                         regardingdraftreplybrief;reviewcompletedraftreplybrief;emailswithClintoncounsel
08/09/2022   MCNICHOLS,JOHNM.      $700.00       1.80   $1,260.00      re:same;reviewordergrantingpagelimitextension;emailswithK.HughesandM.
                                                                         Rodmanre:draftreplybrief;reviewJudgeMiddlebrooks’orderonOrbisBusiness
                                                                         Intelligence’srequestforanextensionoftimetoanswer.
08/10/2022    EISEN,ALLISONS.      $300.00       0.50   $150.00        Reviewofreplybrief;attendjointdefensecall.
                                                                         Conferencecallwithdefensegroupre:draftreplybrief;reviewdraftreplybrief;emails
08/10/2022   MCNICHOLS,JOHNM.      $700.00       0.30   $210.00        withJ.Gillenwaterre:potentialauthoritiesforargumentontradesecretclaim;emailswith
                                                                         K.Hughesre:entitynameinbriefing.
08/11/2022    EISEN,ALLISONS.      $300.00       1.20   $360.00        Proofreadandfinalizedreplybrief.
                                                                         ReviewproposedfinaldraftofreplybriefinsupportofmotiontodismissTrumplawsuit;
08/11/2022   MCNICHOLS,JOHNM.      $700.00       1.10   $770.00
                                                                         reviewnewfilingsbycoͲdefendants.
                                                                         Reviewmotiontosubstituteparty;revieworderfromJudgeMiddlebrooksgrantingmotion
08/18/2022   MCNICHOLS,JOHNM.      $700.00       0.10    $70.00
                                                                         inpart.
08/22/2022   MCNICHOLS,JOHNM.      $700.00       0.10    $70.00        EmailswithK.Hughesre:statusofcaseandforthcomingrulings.
08/26/2022    EISEN,ALLISONS.      $300.00       0.70   $210.00        Draftupdateonlawsuitforinsurer.
08/26/2022   MCNICHOLS,JOHNM.      $700.00       0.70   $490.00        EmailswithKevinonTrumplawsuit;reviewsummaryoflawsuitbyA.Eisen.
08/27/2022    EISEN,ALLISONS.      $300.00       0.70   $210.00        Editupdateonlawsuitforinsurer.
                                                                                                                                                                          Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 243 of




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                                                             Amount
  Date            Timekeeper          DiscountRate   Time                  Description
                                                             Claimed
08/27/2022   MCNICHOLS,JOHNM.         $700.00       0.80   $560.00        RevisesummaryofTrumplawsuit;emailswithAlliere:same.
 9/9/2022     EISEN,ALLISONS.         $300.00       0.60   $180.00        ReaddecisioninTrumpv.Clinton.
                                                                            EmailswithClintoncounselre:potentialmotionforsanctionsagainstTrump;emailswith
9/12/2022    MCNICHOLS,JOHNM.         $700.00       0.40   $280.00
                                                                            K.Hughesre:same.
9/13/2022      EISEN,ALLISONS.        $300.00       0.80   $240.00        AttendedJDGcalltodiscusssanctions.
9/13/2022      EISEN,ALLISONS.        $300.00       0.10    $30.00        DiscussedsanctionsbriefingwithHRCcounsel.
                                                                            EmailswithSardVerbinnenre:mediacoverageofTrumplawsuit;teleconferencewithjoint
9/13/2022    MCNICHOLS,JOHNM.         $700.00       0.80   $560.00
                                                                            defensegroupre:sanctionsmotion
9/14/2022    MCNICHOLS,JOHNM.         $700.00       1.40   $980.00        CallwithK.HughesandM.Rodkinre:potentialsanctionsmotioninTrumplitigation.

             GILLENWATER,JAMESE.      $700.00       0.60   $420.00
 7/5/2022                                                                   Reviewedamendedcomplaintandcorrespondencewithteamre:motiontodismiss.
 7/8/2022    GILLENWATER,JAMESE.      $700.00       0.20   $140.00        Filednoticeofappearance.
7/11/2022    GILLENWATER,JAMESE.      $700.00       0.70   $490.00        PreparedprohacvicemotionsandcorrespondencewithW&Cre:same.
                                                                            Preparedandfiledprohacvicemotionsandproposedordersandcorrespondencewith
             GILLENWATER,JAMESE.      $700.00       1.10   $770.00
7/12/2022                                                                   courtre:same;revieweddraftmotiontodismiss.
7/13/2022    GILLENWATER,JAMESE.      $700.00       1.90   $1,330.00      RevieweddraftmotiontodismissandcorrespondencewithW&Cre:same.
7/26/2022    GILLENWATER,JAMESE.      $700.00       0.30    $210.00       Teamcalltodiscussreplyinsupportofmotiontodismiss.
             GILLENWATER,JAMESE.      $700.00       1.20   $840.00
 8/5/2022                                                                   ReviewedPlaintiffsoppositiontomotiontodismissandcallwithteamtodiscussreply.
 8/9/2022    GILLENWATER,JAMESE.      $700.00       0.60    $420.00       Reviewedoppositiontomotiontodismissandreviewedreplyissues.
                                                                                                                                                                                                               304




8/10/2022    GILLENWATER,JAMESE.      $700.00       1.50   $1,050.00      Revieweddraftreplyandprovidedcommentsre:same.
8/11/2022    GILLENWATER,JAMESE.      $700.00       0.40    $280.00       Reviewedfinaldraftreply.




                             TOTALTIME:                          113.00
                       TOTALAMOUNTCLAIMED:                  $53,220.00
                                                                                                                                                                         Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 244 of




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               Exhibit &
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    James E. Gillenwater
    SHAREHOLDER
    gillenwaterj@gtlaw.com

    MIAMI
    D +1 305.579.0767
    T +1 305.579.0500



    James Gillenwater has represented clients such as Fortune 500 companies, world leaders, and Olympians
    in high-stakes international disputes, including trials and arbitrations. His litigation experience spans
    commercial and securities class actions, business disputes, intellectual property matters, and products
    liability cases. James has also handled complex white collar investigations and regulatory matters such as
    OFAC delistings and INTERPOL red notice cancellations. James’s international representations focus on
    Latin America, and have involved Argentina, Bolivia, China, Colombia, the Dominican Republic,
    Guatemala, Haiti, Mexico, Panama, Spain, South Korea, Switzerland, Turkey, the United Kingdom, and
    Venezuela.

    James has wide-ranging motion practice experience and has authored briefs for the U.S. Supreme Court,
    federal appellate and district courts, state courts, and a variety of government agencies. He has tried cases
    in both federal and state court and argued before courts across the country, including the U.S. Court of
    Appeals for the D.C. Circuit.


    Capabilities
    Litigation | Class Action Litigation | Commercial Litigation | International Arbitration & Litigation
        | Intellectual Property Litigation | Equine Industry Group


    Experience
    Representative Matters
    •     Won dismissal of civil RICO and theft of trade secrets lawsuit filed by former U.S. President on behalf of
          an American tech company. See Law360, Trump's RICO Suit Against Clinton Dismissed As 'Manifesto';
          Law.com, Judge Trashes Trump's RICO Lawsuit Against Hillary Clinton, Perkins Coie.

    •     Won dismissal of a $75 million putative fraud class action on behalf of a U.K. digital payment
          company. See Law360, UK Payments Co. Escapes Claims It Aided $75M Forex Fraud.

    •     Argued and won summary judgment on behalf of a Chinese circuit board manufacturer in a
          multimillion-dollar international trademark infringement lawsuit. See Shenzhen Kinwong Elec. Co. v.
          Kukreja, 574 F. Supp. 3d 1191, 1195 (S.D. Fla. 2021).



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                                                        James E. Gillenwater


    •   Secured suspension of INTERPOL Red Notice and release of client wrongfully imprisoned in Turkey in
        connection with the assassination of Haitian president. See Greenberg Traurig Secures Samir Handal’s
        Release from Turkish Prison and His Return to United States.

    •   Represented a Chinese tech company in a two-week breach of contract trial, precluding the plaintiff
        from recovering more than 99% of the damages sought, for which James’s trial team was named 2019’s
        most effective international litigators by the Daily Business Review. See also Law360, 11th Circ. Won't
        Touch Damages In Electronics Sale Suit.

    •   Obtained dismissal of a federal securities fraud action against a national health care administration
        company. See Law360, “'Boilerplate' Mednax Stock Drop Suit Dismissed,” and “Mednax Wins Ax Of
        Investors' Securities Suit.”

    •   Secured dismissal of a consumer class action against an international resort operator on forum non
        conveniens. See Law360, “Suit Over Sandals' Fake Local Taxes Dismissed By Fla. Court.”

    •   Argued and won numerous dispositive motions on behalf of a major transportation network company.

    •   Represented the former president and defense minister of a Latin American country in a month-long
        federal trial.°

    •   Obtained a seven-figure settlement in a federal breach of contract lawsuit on behalf of a Spanish
        agrochemical company.

    •   Represented professional soccer and rugby teams and athletes in antitrust actions, anti-doping cases,
        and disciplinary hearings before federal courts, judicial officers, and arbitral bodies, including the Court
        of Arbitration for Sport.

    •   Won dismissal of civil RICO and tort claims against a Latin American bank and its directors.°

    •   Achieved resolution of a series of mass tort cases for an international energy company.°

    •   Obtained dismissal of a federal securities fraud action against a major telecommunications company.°

    •   Navigated a DOJ Swiss bank investigation, ensuring the non-prosecution of a former executive.°

    •   Secured multiple OFAC sanctions delistings.°

    °The above representations were handled by Mr. Gillenwater prior to his joining Greenberg Traurig, P.A.


    Recognition & Leadership
    Awards & Accolades
    •   Listed, The Best Lawyers in America, "Ones to Watch," Litigation - Securities, 2021-2022

    •   Listed, Benchmark Litigation, “40 & Under Hot List,” 2022

    •   Listed, U.S. District Court for the Southern District of Florida, "Pro Bono Honor Roll," 2021

    •   Law360, “Legal Lion,” 2020

    •   Daily Business Review, member of "Most Effective," International Litigation team, 2019



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                                                        James E. Gillenwater


    •   Law360, “Legal Lion,” 2018

    •   Capital Pro Bono High Honor Roll, 2015

    Professional & Community Involvement
    •   World Rugby Judicial Panelist, 2017-2018

    •   Athlete Representative, United States Olympic Committee Athletes’ Advisory Council, 2010-2016

    •   United States National Rugby 7s Team

          •   Player, 2006-2009; Captain, 2009

    •   Co-Founder, United States Rugby Players Association, 2016

    •   Albert Schweitzer Fellow, Durham, North Carolina, 2010-2011

    •   Fulbright Scholar, English Teaching Assistant, La Universidad Nacional de la Pampa, Santa Rosa,
        Argentina, 2007



    Credentials
    Education
    •   J.D., magna cum laude, Duke University School of Law, 2012

          •   Order of the Coif

          •   Note Editor, Duke Law Journal

          •   Justin Miller Award for Citizenship

    •   B.S., summa cum laude, Vanderbilt University, 2005

    Clerkships
    •   U.S. District Court for the District of Connecticut

    Admissions
    •   Florida

    •   New York

    •   District of Columbia

    •   U.S. District Court for the Southern District of Florida

    •   U.S. District Court for the Eastern District of New York

    •   U.S. Court of Appeals for the District of Columbia Circuit

    •   U.S. Court of Appeals for the Eleventh Circuit




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                                                        James E. Gillenwater


    Languages
    •   Spanish, Fluent

    •   French, Fluent


    News, Insights & Events
    August 05, 2022 PRESS RELEASE
    Greenberg Traurig Secures Samir Handal’s Release from Turkish Prison
    and His Return to United States




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                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF FLORIDA

     Donald J. Trump,

                                  Plaintiff,

               v.
                                                               Civil Action No. 2:22-14102-DMM
     Hillary R. Clinton, et al.,

                                  Defendants.


                       DECLARATION OF STEVEN A. TYRRELL IN SUPPORT OF
                         DEFENDANTS’ MOTION FOR SANCTIONS AND FEES

              I, Steven A. Tyrrell, declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that

    the following is true and correct:

              1.        I am a partner at Weil Gotshal & Manges LLP (“Weil”), counsel of record for

    Rodney Joffe in the above-captioned matter.

              2.        Prior to Plaintiff’s filing of the above-captioned action in this District, I represented

    Joffe in other matters related to the same factual scenario that form the basis of Plaintiff’s claims

    in this case. These include United States of America v. Michael A. Sussmann, Case No. 21-cr-582

    (CRC) (D.D.C.), and AO Alfa-Bank v. John Doe, et al., Civil Action No. 2021-10014165 (Fairfax

    Cnty. Cir. Ct.), which were pending in the District of Columbia and Virginia, respectively. Over

    the course of my representation of Joffe, which consisted of a substantial amount of work, I

    developed a detailed factual understanding of the underlying events, including highly-technical

    aspects of cyber security and DNS data. This knowledge was useful in developing responses to

    Plaintiff’s claims in this matter, and allowed me to do so in an efficient matter.

              3.        After Plaintiff filed his case in this District, I obtained the assistance of other Weil

    attorneys to assist in responding to the complaint and amended complaint. Attached as Exhibit A

                                                           1


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    are the law firm website biographies of the attorneys at Weil for whom Joffe seeks attorneys’ fees.

    The biographies reflect the professional qualifications of those attorneys. We were also assisted by

    a Senior Litigation Paralegal at Weil, Ann Merlin.

              4.        Weil entered into a retention agreement with Joffe in connection with the present

    litigation. Joffe agreed to pay all of Weil’s costs, fees, and expenses incurred in connection with

    the present suit, and agreed to pay the firm’s customary rates1 (less a 10% discount), which for this

    matter are $1,435.50, $1,080, and $756 per hour for attorneys, respectively, and $387 for senior

    paralegals.2

              5.        Attached as Exhibit B is a true and correct copy of the hours worked by counsel for

    Joffe. Joffe is seeking reimbursement for the attorneys’ customary hourly rates described in

    Paragraph 3. Exhibit B also provides an accurate statement of the work provided by Weil during

    the periods for which fees are sought.

              6.        Consistent with the discussion in the Memorandum in Support of Sanctions and the



    1
      Joffe requests reimbursement at his counsel’s ordinary non-local rates. Courts within this District and the Eleventh
    Circuit have recognized that out-of-market rates are appropriate where “use of an attorney from a higher-rate market
    who had extensive prior experience with a particular factual situation could be justified because of efficiencies
    resulting from that prior experience.” Achva Vahava, LLC v. Anglo Irish Bank Corp. PLC, No. 10-80649-CIV, 2012
    WL 13015034, at *3 (S.D. Fla. Aug. 2, 2012) (quoting Am. Civil Liberties v. Barnes, 168 F.3d 423, 438 (11th Cir.
    1999)). This is precisely that case. As explained in this declaration, Mr. Tyrrell has represented Joffe in multiple
    other matters regarding the same factual situation that forms the basis of Plaintiff’s claims. As such, non-local rates
    are warranted given counsel’s experience with the particular factual situation and that it “represented the same client[ ]
    in other related litigation.” Rogers v. Nacchio, 2007 WL 1064314, at *6 (S.D. Fla. Apr. 6, 2007). To do otherwise,
    particularly where Joffe had a meritorious personal jurisdiction defense, would “force [Joffe] to abandon [his] usual
    counsel, or require counsel to reduce their customary fees, simply because the lawsuit was filed in the Southern District
    of Florida.” Id. at *8; see also Tiara Condo. Ass'n, Inc. v. Marsh USA, Inc., 697 F. Supp. 2d 1349, 1363 (S.D. Fla.
    2010) (awarding “New York City rates” given firm’s prior representation of client and “amount of time and work the
    firm had already invested”). Further, the requested rates are reasonable because counsel exercised billing judgment
    and completed work in an efficient manner, leveraging Mr. Tyrrell’s prior experience. See Exhibit B. Weil’s rates
    are typical of those charged by large New York-based law firms. See, e.g., Angelo, Gordon & Co., L.P. v. MTE
    Holdings, LLC, No. 20 MISC. 23, 2021 WL 1353756, at *3 (S.D.N.Y. Apr. 12, 2021).

    2
      Note that annual class year changes for Weil associates are effective as of the first of September. Thus, as of
    September 1, 2022, the associate rate for Leah Saiontz rose to $882.

                                                                2


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    information provided in Exhibit B, I summarize below in Charts A, B, and C the fees associated

    with three different phases of the case: the fees incurred from the filing of the initial complaint up

    to the filing of Joffe’s initial motion to dismiss; the fees incurred between the filing of Joffe’s

    motion to dismiss up to the Court’s order dismissing the suit; and the fees incurred to date in

    connection with the motion for sanctions.

              7.        As reflected in Chart A, the fees incurred by Joffe from the filing of the initial

    complaint up to the filing of Joffe’s initial motion to dismiss total $81,734.85.

              8.        As reflected in Chart B, the fees incurred by Joffe from the filing of Joffe’s initial

    motion to dismiss up to this Court’s dismissal of the suit total $118,568.90.

              9.        As reflected in Chart C, the fees incurred by Joffe in connection with the motion

    for sanctions, to date, total $25,434.90.

                             Chart A: Fees incurred from Complaint to initial MTD

          Timekeeper                         Hours                    Fees
     Steven A. Tyrrell              15.9                      $22,824.45

     Edward Soto                    1                         $1,435.50

     Brian Liegel                   27.3                      $29,484.00

     Leah Saiontz                   33.8                      $25,552.80

     Ann Merlin            (Senior 6.3                        $2,438.10
     Paralegal)




                                                          3


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                                   Chart B: Fees incurred initial MTD to dismissal

          Timekeeper                          Hours                   Fees
     Steven A. Tyrrell                 53.4                   $76,655.70

     Ed Soto                           0.5                    $717.50

     Brian Liegel                      16.4                   $17,712.00

     Leah Saiontz                      30.5                   $23,058.00

     Ann Merlin                        1.1                    $425.70



                                  Chart C: Fees incurred to date on sanctions motion

          Timekeeper                          Hours                   Fees
     Steven A. Tyrrell                 8.2                    $11,771.10

     Brian Liegel                      6.2                    $6,696.00

     Leah Saiontz                      7.9                    $6,967.80



              10.       Further, in connection with responding to Plaintiff’s complaint, Joffe incurred costs

    of $200. An itemized copy of this expense, which represents the pro hac vice filing fee in this

    District, is attached hereto as Exhibit C.

              11.       I believe that the rates claimed are reasonable given the professional qualifications

    of the billers as evidenced in Exhibit A and that non-local rates are appropriate given my prior

    representation of Joffe in related matters which allowed for efficient representation in this matter.

              12.       In connection with this case, counsel incurred necessary costs for electronic legal

    research. I understand that courts in this Circuit have held that legal research costs are not

    ordinarily taxable as costs under 28 U.S.C. § 1920, but are properly considered a component of

    attorneys’ fees. Springer v. Convergy’s Corp., No. 3:03-CV-302-J-99MCR, 2006 WL 8439203,
                                                          4


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    at *2 (M.D. Fla. July 7, 2006). As such, in addition to the fees set out above, Joffe requests an

    award of $604.33 incurred for electronic legal research. Attached as Exhibit D is a true and correct

    copy of the amount incurred for electronic legal research.

              13.       Consistent with local Rule 7.3, counsel sent the draft sanctions motion and draft

    supporting declarations to Plaintiff’s counsel on October 5, 2022. Defendants met and conferred

    in good faith with Plaintiff’s counsel by Microsoft Teams twice, on October 13 and October 26,

    2022, but were unable to reach any agreement as to either the Defendants’ entitlement to or the

    amount of fees and expenses not taxable under 28 U.S.C. §1920 that are recoverable from Plaintiff

    and/or his counsel.


     /s/ Steven A. Tyrrell
    Steven A. Tyrrell, admitted pro hac vice
    WEIL GOTSHAL & MANGES LLP
    2001 M Street, N.W., Suite 600
    Washington, D.C. 20036
    Telephone: (202) 682-7000

    Counsel for Rodney Joffe

    DATE: October 26, 2022




                                                        5


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                                  EXHIBIT A




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   Printed: October 04, 2022




   Steven A. Tyrrell
    Partner Washington, D.C.                               +1 202 682 7213      steven.tyrrell@weil.com



                         Steve Tyrrell serves as Managing                    Practice Areas
                         Partner of the Firm’s DC office and Co-
                                                                               White Collar Defense,
                         Head of Weil’s global White Collar                    Regulatory and Investigations
        Loading…
                         Defense, Regulatory and Investigations                Securities Litigation
                         practice. His practice focuses on white
                         collar criminal defense, regulatory
                                                                             Sectors
                         enforcement matters, and internal
   investigations.                                                             Financial Services
   Steve previously served as Chief of the U.S. Department of                  Healthcare and Life Sciences

   Justice’s Fraud Section from 2006 through 2009. In that
   capacity, he led the investigation, prosecution, and                      Admissions
   coordination of a broad range of sophisticated economic
                                                                               US Court of Appeals 10th Cir.
   crime matters and enforcement initiatives, including matters                District of Columbia
   involving the Foreign Corrupt Practices Act, corporate,                     US Bank Court-Dist of Columbia
   securities, commodities and investment fraud, health care                   US Dist Court for DC
   fraud, procurement fraud, stimulus and rescue fraud,                        Eastern District New York
   mortgage fraud, consumer fraud, and identity theft. He also                 New York State
                                                                               Southern District New York
   played a key role advising Department leadership on white
   collar crime-related legislation, crime prevention, public
   education and the Department’s Financial Fraud Enforcement                Education
   Task Force.                                                                 SUNY Oneonta (B.A., 1980)
                                                                               New York Law School (J.D., cum
   Prior to Steve’s appointment as Chief of the Fraud Section in
                                                                               laude, 1983)
   2006, he served as Deputy Chief of the Counterterrorism
   Section of the Criminal Division, where he supervised a team
   of attorneys in connection with the investigation, prosecution,
   and coordination of a variety of international terrorism and
   terrorist financing matters. Steve also led a number of high-
   profile national security investigations and trained federal
   prosecutors and agents on relevant national security statutes,
   policies and practices.

   Steve also served as an Assistant US Attorney in the US
   Attorney’s Offices in the Southern District of Florida and the
   Northern District of New York. During his more than fifteen
   years as an Assistant US Attorney, Steve investigated and
   prosecuted a variety of criminal cases, with an emphasis on
   white collar matters, including but not limited to securities
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   fraud, health care fraud, government contract fraud, bank
   fraud, tax fraud, FDA fraud, and public corruption, as well as
   related money laundering and asset forfeiture work. He also
   was lead counsel for the United States in nearly forty criminal
   jury trials.

   In 2021, Steve was recognized among the Top 30 FCPA
   Practitioners in the United States by Global Investigations
   Review, which called him a “a sophisticated and nuanced
   lawyer who knows the ins and outs of the FCPA” and noted
   that he “has a declination record that few lawyers can match.”
   Steve is currently recognized in Chambers Global and
   Chambers USA as one of the leading lawyers nationally and
   in Washington, D.C. for white collar crime, government
   investigations, and FCPA expertise. Chambers notes that he
   “offers impressive experience handling big-ticket
   investigations” and has quoted sources calling him “incredibly
   smart and strategic,” “fantastic,” “calm and levelheaded,” with
   “a ton of experience and insight” and “impeccable integrity.” In
   2015, The National Law Journal recognized Steve as one of
   its inaugural “Trailblazers” nationwide for his distinguished
   career in the white collar crime area, and in 2020 the same
   publication honored him as one of its “Trailblazers” in
   Washington, D.C., noting that he has long been “at the
   forefront of … the investigation, prosecution, and defense of
   allegations of corporate crime.” Since 2013, Steve also has
   been recognized as a recommended lawyer for Corporate
   Investigations and White-Collar Criminal Defense by Legal
   500 US, in which clients have praised him as, among other
   things, “patient and collaborative.” He is a recognized expert
   and frequent speaker on a host of white collar topics,
   including FCPA enforcement, securities fraud, corporate
   charging decisions, use of deferred and non-prosecution
   agreements, and monitors.

   Early in his career, Steve served as Law Clerk to the
   Honorable Thomas J. McAvoy, United States District Court
   Judge for the Northern District of New York.

   Steve is a graduate of New York Law School where he was
   the Research Editor of the Law Review.

   Key Representations

     Representing Vantage Drilling in connection with a DOJ and SEC
     investigation into alleged violations of the FCPA arising from the
     company’s dealings with Petrobras.
     Representing and conducting an internal investigation for Sanofi in
     a joint DOJ and SEC investigation of alleged FCPA violations in
     various countries in emerging markets.
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     Representing a former employee of a major financial institution in
     connection with a DOJ criminal investigation into alleged
     manipulation of LIBOR.
     Represented HMT LLC in connection with a DOJ investigation into
     potential violations of the FCPA in Asia and South America, which
     resulted in a declination of prosecution under the DOJ’s recently
     announced FCPA Pilot Program.
     Represented Innodata Inc. in connection with its disclosure to the
     DOJ and SEC of potential improper payments by employees of one
     of its foreign subsidiaries in Asia.
     Represented an India-based manufacturer of mining equipment in a
     joint DOJ and SEC investigation of alleged FCPA violations.
     Representing a senior executive of a global operator of retail
     department stores in a joint DOJ and SEC investigation of alleged
     FCPA violations in Central America and Asia.
     Representing two former employees of a multi-national spirits
     company in a joint DOJ and SEC investigation of alleged FCPA
     violations in Russia.
     Representing two senior executives of a global oil services industry
     company in a DOJ investigation of alleged violations of US export
     controls and sanctions laws.
     Conducted an internal investigation for a financial services
     company regarding allegations of improper payments in connection
     with its Nigerian operations.
     Represented a UK-based, global specialty chemicals company in a
     DOJ investigation of alleged violations of US export controls and
     sanctions laws.
     Designed and assisted in the implementation of anti-bribery and
     corruption policies and procedures for a UK-based, global specialty
     chemicals company.
     Designed and assisted in the implementation of anti-bribery and
     corruption policies and procedures for a multi-national
     telecommunications company.
     Designed and assisted in the implementation of anti-bribery and
     corruption policies and procedures for a multi-national financial
     services company.
     Designed and assisted in the implementation of anti-bribery and
     corruption policies and procedures for a global tax-free shopping
     and related financial services company.
     Designed anti-bribery and corruption policies and procedures for a
     multi-national family dining and entertainment company.
     Lead outside counsel for FCPA due diligence on Intel’s acquisition
     of Altera Corp.
     Lead outside counsel for FCPA due diligence on Norwegian Cruise
     Line Holdings’ acquisition of Prestige Cruises International.
     Lead outside counsel for FCPA due diligence on General Electric
     Co’s. acquisition of Lufkin Industries.
     Lead outside counsel for FCPA due diligence on Oracle
     Corporation’s acquisition of Acme Packet.
     Designed anti-bribery and corruption policies and procedures for a
     multi-national telecommunications equipment manufacturer.
     Lead outside counsel for FCPA due diligence on publicly traded,
     multi-national health care company’s acquisition of the Eastern
     European operations of a competitor.
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     Provided FCPA training for the Board of Directors of a304
                                                           global
       clothing manufacturer and retailer.
       Advising a global commercial aircraft leasing company on various
       anti-bribery and corruption compliance matters.
       Obtained dismissal of federal civil RICO action and related state
       claims brought by Greenpeace against The Dow Chemical
       Company.




   Awards and Recognition
   ▻   Steven Tyrrell Named a Top FCPA Practitioner in the United States
       Award Brief — Global Investigations Review 2021

   ▻   Steven Tyrrell Named a Leading Lawyer for FCPA: Nationwide
       Award Brief — Chambers USA

   ▻   Steven Tyrrell Named a Leading Lawyer for White Collar Crime and Government Investigations: District of
       Columbia
       Award Brief — Chambers USA

   ▻   Steven Tyrrell Named a Leading Lawyer for FCPA in the United States
       Award Brief — Chambers Global

   ▻   Steven Tyrrell Named a “Recommended” Lawyer for Corporate Investigations and White-Collar Criminal
       Defense in the US
       Award Brief — Legal 500 US



   Speaking Engagements
   ▻   General Counsel Interview
       Speaker(s): Steven A. Tyrrell
       December 1, 2021 — National Harbor, MD — White Collar practice co-head Steven Tyrrell appeared
       at ACI’s 38th Annual International Conference on the FCPA to interview a panel of general counsel
       from leading multinationals on their outlook for the year ahead on enforcement, compliance,
       whistleblowing, and other risks to address.


   Latest Thinking
   ▻   Litigation Trends 2022
       Publication — By Weil’s Litigation Department — Spring 2022

   ▻   Litigation Trends 2021
       Publication — By Weil’s Litigation Department — March 2021

   ▻   How to build a data driven compliance programme
       Publication — Global Investigations Review — By Steven A. Tyrrell — December 10, 2020



   Firm News & Announcements
   ▻   Weil Secures Dismissal for Computer Tech Executive Named in Trump Lawsuit
       Litigation Win — September 15, 2022

   ▻   Weil's 2022 Litigation Trends Report
       Firm Announcement — April 06, 2022
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   ▻ Global Investigations Review Again Recognizes Weil 304
                                                        Among the Top International Investigations Firms in 2021
       Firm Announcement — November 12, 2021




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    Princeton, Shanghai, Silicon Valley and Washington, D.C.
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   Printed: October 04, 2022




   Edward Soto
    Partner Miami                                                  +1 305 577 3177       edward.soto@weil.com



                            Ed Soto is Managing Partner of Weil’s                    Practice Areas
                            Miami office, and recently concluded
                            serving for many years as Co-Head of                       Complex Commercial Litigation

        Loading…
                            the Firm’s national Complex                                International Arbitration
                            Commercial Litigation practice.                            Appeals and Strategic
                                                                                       Counseling
                           A senior trial partner, Ed concentrates
                           his practice on the trial and supervision
   of complex commercial civil litigation, and has substantial                       Areas of Focus
   experience in cases involving: antitrust, business torts, class
   actions, contracts, employment, fraud, insurance coverage,                          Pro Bono
   lender liability, products liability, professional liability, and
   securities litigation. He has also handled numerous internal                      Sectors
   investigations in these areas.
   During more than 35 years of trial practice, Ed has                                 Retail & Consumer Products
   established a consistent record of successful results in major                      Technology
   complex cases in both state and federal courts and before                           Transportation and Automotive

   arbitration panels. He has achieved successful outcomes for
   his clients at every phase of the litigation process – through                    Admissions
   case dispositive motions, trials, appeals, and settlements.
                                                                                       US Court of Appeals 11th Cir.
   During the past few years, he has achieved significant                              US Court of Appeals 3rd Cir.
   victories on behalf of American Airlines, Inc., Citicorp                            US Court of Appeals 5th Cir.
   Services, Inc., ESPN, Inc., ExxonMobil, Financial Guaranty                          State of Florida
   Insurance Corp., Fiserv, Inc., General Electric Company,                            Middle District Florida
   Lehman Brothers Holdings Inc., Procter & Gamble, Repsol,                            Northern District Florida
                                                                                       New York State
   and UnitedHealth Group.
                                                                                       Southern District Florida
   Ed’s notable representations include:                                               US Supreme Court
                                                                                       DC Court of Appeals
     Serving as lead counsel to Procter & Gamble in the high-profile
     multi-district litigation, In re Denture Cream Products Liability
     Litigation, in which more than 150 plaintiffs alleged that they were            Education
     injured through their use of the popular denture cream, Fixodent. In
                                                                                       Florida State University (B.A.,
     this action, Ed successfully won three separate motions to exclude
                                                                                       1974)
     plaintiffs’ general causation experts, including an affirmation on
                                                                                       Columbia Law School (J.D.,
     appeal to the U.S. Court of Appeals for the Eleventh Circuit in the
                                                                                       1978)
     lead case, which led to all of the plaintiffs stipulating to a dismissal
     with prejudice.
     Successfully defending Dometic Corp., a leading manufacturer of
     gas absorption refrigerators, in two putative class actions in the
     Southern District of Florida alleging that the cooling units in several
     models of the company’s refrigerators purportedly contained a
     latent defect. Won an order granting summary judgment dismissing
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     the first lawsuit in its entirety and secured the denial of304
                                                                 plaintiffs’
      motion for class certification and dismissal of the second lawsuit in
      its entirety as well.
      Successfully representing Nortek Global HVAC, LLC, a leading
      manufacturer of heating, ventilation and air conditioning equipment,
      in several putative class actions in Florida and Tennessee federal
      courts alleging that Nortek failed to disclose defects in its air
      conditioning equipment. Obtained denial of plaintiffs’ motion for
      class certification in the Florida case, as well as the dismissal of all
      claims, with prejudice, in the Tennessee case.
      Serving as co-lead trial counsel to Financial Guaranty Insurance
      Corp. in connection with a six-week, contested trial in the chapter 9
      bankruptcy case filed by the City of Detroit regarding the City’s
      proposed plan of adjustment.
      Serving as lead trial counsel for global energy company Repsol in
      environmental litigation involving claims of “alter ego” and
      fraudulent conveyance. The Weil team secured a victory on all
      claims involving over $1 billion in damages while also succeeding
      on Repsol’s $65 million counterclaim.
      Leading a team of trial lawyers to victory on behalf of Fiserv/Texas
      Data Control in a litigation brought by the Justice Department in a
      matter that was selected by the National Law Journal as the “Top
      Defense Victory of the Year.”
      Serving as lead counsel for UnitedHealth Group in the successful
      defense of multi-billion dollar RICO and related conspiracy claims
      brought by a nationwide class of 700,000 doctors.
      Representing ExxonMobil in the successful defense of a putative
      nationwide class action brought by dealers alleging violations of the
      UCC and breach of contract with respect to gasoline pricing.
      Securing summary judgment for ESPN, Inc. in a litigation brought
      by boxing promoter Don King in connection with a documentary
      television program for which Mr. King sought $2.5 billion in
      damages.

   Ed has received numerous accolades throughout his career.
   He is regularly recognized in Chambers USA as a Band 1
   lawyer for Commercial Litigation in Florida, where clients have
   praised him as an “amazing lawyer who has the rare
   combination of being able to keep focused on the big picture
   of a case while also mastering all of the underlying details,”
   “great at handling large teams and is extremely passionate on
   behalf of his clients,” “an outstanding strategic attorney [who]
   is very persuasive in court and is great at managing complex
   cases,” and for “always thinking several steps ahead of the
   opponent.” They also note his “impeccable instincts,”
   “unlimited capacity for absorbing details” and “creative
   approach to legal issues,” and described him as a “gifted
   advocate,” “a first-rate lawyer” and “a top, top litigator.” In
   addition, he has been recognized by Legal 500 as one of the
   Leading Lawyers nationwide for Commercial Litigation, with
   commentators calling him an “experienced partner” and “one
   of the most renowned trial lawyers in Florida.” He has also
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   been named a national “Litigation Star” and a “Local Litigation
   Star” in Florida by Benchmark Litigation, as well as a “Best
   Lawyer” for Bet-the-Company Litigation, Commercial
   Litigation, and International Arbitration - Commercial by Best
   Lawyers in America. In 2020, Ed was recognized by South
   Florida’s Daily Business Review as a “Florida Trailblazer” who
   has been an “agent of change” during his career as a trial
   lawyer. In 2017, Ed was recognized by Law360 as an MVP for
   Class Action. Since 2006, Ed has been recognized as a
   Florida Super Lawyer, most recently in the areas of Securities
   Litigation and Civil Defense Litigation.

   He also serves in leadership roles of various public service
   organizations. He is on the Executive Committee of the
   Lawyers’ Committee for Civil Rights Under Law, the Board of
   Directors of the Human Services Coalition, and the Chairman
   of the Board of Directors of Catalyst Miami. Ed has also
   served as a member of the Board of Trustees of the Ransom
   Everglades School, a member of the Board of Directors of
   Child Hope, Inc., and the Chairman of the Board of Directors
   of the Zoological Society of Florida. In 2022, in recognition of
   his significant pro bono work and contributions to these and
   other organizations over the years, Ed was honored by
   Chambers USA as its Pro Bono Lawyer of the Year in the
   publication’s annual Diversity & Inclusion Awards.

   Ed is currently a member of the Firm’s Diversity Committee,
   Recruiting Committee, National Litigation Steering Committee,
   Computer Litigation Committee, National Associates Training
   Committee and E-Discovery Task Force.

   Ed received a J.D. from Columbia Law School in 1978, and a
   B.A. from Florida State University in 1974.




   Awards and Recognition
   ▻   Edward Soto Named 2022 Pro Bono Lawyer of the Year
       Award Brief — Chambers USA

   ▻   Edward Soto Named Daily Business Review “Florida Trailblazer”
       Award Brief — Daily Business Review 2020

   ▻   Edward Soto Profiled as a 2017 Class Action MVP
       Award Brief — Law360 2017

   ▻   Edward Soto Ranked Band 1 for Litigation: General Commercial, Florida
       Award Brief — Chambers USA

   ▻   Edward Soto Named a “Recommended” Lawyer for Commercial Litigation in the U.S.
       Award Brief — Legal 500 US
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   ▻   Ruhlen and Recent Trends in Favor of Remand
       Alert — Class Action Monitor — By Edward Soto, Pravin R. Patel, Mark Pinkert and Katie Black — PDF — April 05, 2022

   ▻   Full Daubert: Fifth Circuit Mandates Complete Evaluation of Expert Opinions at Class Certification
       Alert — Class Action Monitor — By Edward Soto, Pravin R. Patel and Daniel P. Guernsey — PDF — Q3 2021

   ▻   Supreme Court Clarifies Injury-in-Fact Requirements for Intangible Harms
       Publication — Bloomberg Law Professional Perspectives — By Edward Soto, Pravin R. Patel and Corey Brady — PDF — August
       2021

   ▻   Eleventh Circuit Holds that a Statutory Violation is Insufficient for Standing and Settlement
       Alert — Class Action Monitor — By Edward Soto, Pravin R. Patel and Alli G. Katzen — PDF — June 04, 2021

   ▻   Litigation Trends 2021
       Publication — By Weil’s Litigation Department — March 2021



   Firm News & Announcements
   ▻   Weil Secures Dismissal for Computer Tech Executive Named in Trump Lawsuit
       Litigation Win — September 15, 2022

   ▻   Edward Soto Named Pro Bono: Lawyer of the Year at Chambers Diversity & Inclusion: North America Awards
       2022
       Firm Announcement — June 13, 2022




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   Printed: October 04, 2022




   Brian Liegel
    Associate Miami                                                 +1 305 577 3180        brian.liegel@weil.com



                            Brian Liegel is an associate in Weil’s                    Practice Areas
                            Complex Commercial Litigation and
                            Appeals and Strategic Counseling                            Complex Commercial Litigation

        Loading…            practices.                                                  Appeals and Strategic
                                                                                        Counseling




   Brian has substantial litigation experience across a broad
   range of disputes involving areas of law such as business
   torts, antitrust, fraud, product liability, regulatory
   investigations, environmental litigation, bankruptcy, and
                                                                                      Admissions
   appeals.
                                                                                        State of Florida
   Some of his recent notable experiences includes serving on
                                                                                        Middle District Florida
   Weil teams representing:                                                             Northern District Florida
     Pilgrim’s Pride in a series of federal class actions across the                    Southern District Florida
     country brought by direct and indirect purchasers alleging the major               US Court of Appeals 11th Cir.
     chicken producers reduced output to raise the price of broiler                     US Dist Court No. Illinois
     chickens.                                                                          US Ct App Federal Circuit
     National Public Finance Guarantee Corporation in connection with
     the Commonwealth of Puerto Rico’s bankruptcy proceedings.                        Education
     Dometic, a major manufacturer of gas absorption refrigerators, in
     securing summary judgment and defeating class certification, as                    University of Miami (B.A., 2012)
     well as transfer and consolidation victories prior to those case                   Georgetown University Law
     dispositive rulings, in numerous putative nationwide consumer class                Center (J.D., 2015)
     actions in Florida and California federal courts alleging that the
     cooling units in several models of Dometic’s refrigerators
     purportedly contained a latent defect.
     Nortek, a global manufacturer of HVAC systems, in multiple putative
     class actions in Florida and Tennessee federal courts alleging that
     Nortek failed to disclose defects in its air conditioning equipment.
     Brian and the Weil team obtained the denial of plaintiffs’ motion for
     class certification in the Florida case, as well as the dismissal of all
     claims, with prejudice, in the Tennessee case

   As a member of the Firm’s Appeals and Strategic Counseling
   practice, Brian has represented clients in the United States
   Supreme Court, United States Courts of Appeals for the
   Second, Eleventh, and D.C. Circuits, and the Colorado
   Supreme Court.
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   Brian has been honored in the 2020-2023 editions304
                                                    of Best
   Lawyers: Ones to Watch for commercial litigation, and
   selected as a member of the Florida Board of Bar Examiner’s
   Practice Analysis Panel, which will evaluate the knowledge,
   skills, and abilities that all newly licensed Florida lawyers
   should have to be admitted to the bar.

   Brian also is an active participant in the Firm’s pro bono
   initiatives. Most recently, Brian was appointed by the United
   States Court of Appeals for the Eleventh Circuit to represent
   an indigent individual on appeal and successfully overturned
   the denial of social security benefits. Brian has also worked
   with the Innocence Project, seeking to obtain post-conviction
   relief for a client based on new scientific evidence, and as part
   of a team of Weil attorneys which represented a victim of
   human trafficking, successfully allowing the client to have her
   criminal record expunged and vacated.

   From September 2017 through September 2018, Brian served
   as a judicial clerk for the Honorable Adalberto Jordan of the
   United States Court of Appeals for the Eleventh Circuit.




   Awards and Recognition
   ▻   Brian Liegel Recognized as Best Lawyers: One to Watch Honoree
       Award Brief — Best Lawyers 2020-2023



   Latest Thinking
   ▻   Third Circuit Cements Three-Way Split on Issue Classes
       Publication | Class Action Monitor — By Drew Tulumello, Pravin R. Patel and Brian Liegel — PDF — January 19, 2022

   ▻   Supreme Court Holds That “But-For” Causation Is Not Required For Specific Jurisdiction
       Publication — By Zack Tripp, Pravin R. Patel, Brian Liegel and Elaina Aquila — April 08, 2021

   ▻   Supreme Court Holds That “But-For” Causation Is Not Required For Specific Jurisdiction
       Alert — Class Action Monitor — By Zack Tripp, Pravin R. Patel, Brian Liegel and Elaina Aquila — PDF — March 26, 2021

   ▻   Avoiding Unreviewable Surprises in Arbitration Agreements
       Alert — Class Action Monitor — By Gregory Silbert, Brian Liegel and Nathalie A. Sosa — PDF — March 2020



   Firm News & Announcements
   ▻   Weil Secures Dismissal for Computer Tech Executive Named in Trump Lawsuit
       Litigation Win — September 15, 2022

   ▻   Weil Wins Appeal for Illumina Protecting Cutting-Edge DNA Sequencing Technology
       Litigation Win — February 02, 2021
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   Printed: October 04, 2022




   Leah Saiontz
       Associate Miami                                             +1 305 577 3134       leah.saiontz@weil.com



   Leah Saiontz is an associate in Weil’s Complex Commercial                         Practice Areas
   Litigation practice, based in the Firm’s Miami office. Prior to
                                                                                       Complex Commercial Litigation
   joining the Litigation Department, Leah was an associate in
   Weil’s Restructuring Department. She has substantial
                                                                                     Admissions
   experience across a broad range of disputes, involving areas
   of law such as antitrust, fraud, and bankruptcy (particularly                       New York State
   domestic and cross-border corporate restructuring,                                  State of Florida
   distressed financing, and distressed M&A).
   Leah’s notable recent experience includes representing,                           Education
   among others:
                                                                                       Harvard College (B.A., 2016)
        Brooks Brothers Group, Inc. and its affiliates, the oldest apparel             Harvard Law School (J.D., 2019)
        company in the United States, in their chapter 11 cases, Canadian
        proceeding under the Companies' Creditors Arrangement Act, and
        going-concern sale of their international businesses.
        Topgolf International, Inc. in connection with its out-of-court equity
        recapitalization and credit agreement amendment.
        EP Energy Corporation, and its affiliated debtors, a public oil and
        natural gas exploration and production company, in their chapter 11
        cases involving approximately $4.9 billion in funded debt
        obligations.
        The DIP Lender and Senior Secured Lender in the chapter 11 case
        of George Washington Bridge Bus Station Development
        Venture.
        Spanish energy company Repsol in connection with its complex
        environmental and bankruptcy litigation.

   Leah received her B.A., magna cum laude, from Harvard
   College and received her J.D. from Harvard Law School.




   Firm News & Announcements
   ▻    Weil Secures Dismissal for Computer Tech Executive Named in Trump Lawsuit
        Litigation Win — September 15, 2022




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Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 270 of
   Boston, Brussels, Dallas, Frankfurt, Hong Kong, Houston,
                                                    304     London, Miami, Munich, New York, Paris,
    Princeton, Shanghai, Silicon Valley and Washington, D.C.
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                                  EXHIBIT B




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                                                   Time Entry Detail

    Date          Timekeeper        Rate      Time                              Description
  4/13/2022      Brian Liegel     $1,080.00   2.3      Review and analyze RICO jurisdiction arguments in the
                                                       Complaint
  4/20/2022      Brian Liegel     $1,080.00   .8       Participate in joint defense call
  4/21/2022      Brian Liegel     $1,080.00   .7       Review and analyze the S.D. FLA filing requirements and
                                                       confer with S. Tyrrell re: extension to response to the
                                                       Complaint
  4/22/2022      Brian Liegel     $1,080.00   1.1      Draft motion for extension of time
  4/25/2022      Steven Tyrrell   $1,435.50   .9       Communications with client and counsel for other defendants
                                                       regarding case status; review and analyze related materials
  4/25/2022      Brian Liegel     $1,080.00   .3       Review and analyze Court order on Plaintiff’s request for
                                                       extension to amend
  4/26/2022      Steven Tyrrell   $1,435.50   .9       Review and revise draft motion for extension of time, motion
                                                       for admission pro hac vice and related filings; communications
                                                       regarding status of case and related matters
  4/26/2022      Ann     Merlin   $387.00     1.1      Review, revise, electronically file and download and distribute
                 (Paralegal)                           pro hac vice motion, motion for extension of time, notice of
                                                       appearance, email correspondence with judge forwarding
                                                       proposed orders
  4/26/2022      Brian Liegel     $1,080.00   1.4      Revise motion for extension of time, pro hac vice motion and
                                                       proposed order; file same
  4/27/2022      Steven Tyrrell   $1,435.50   .4       Review and analyze miscellaneous filings in the case
  4/28/2022      Steven Tyrrell   $1,435.50   .4       Review and analyze miscellaneous filings in the case
  4/29/2022      Steven Tyrrell   $1,435.50   .3       Review and analyze miscellaneous filings in the case
  5/02/2022      Steven Tyrrell   $1,435.50   .3       Review and analyze miscellaneous filings in the case
  5/03/2022      Steven Tyrrell   $1,435.50   .4       Communications regarding preparation of motion to dismiss;
                                                       Review and analyze miscellaneous filings in the case
  5/04/2022      Steven Tyrrell   $1,435.50   .3       Communications regarding preparation of motion to dismiss
                                                       and scheduling order; Review and analyze miscellaneous
                                                       filings in the case
  5/04/2022      Brian Liegel     $1,080.00   2.7      Review other defendants’ motions to dismiss to identify
                                                       arguments to adopt
  5/04/2022      Leah Saiontz     $756.00     3.7      Review other defendants’ motions to dismiss to identify
                                                       arguments to adopt; conference with B. Liegel re: same
  5/05/2022      Steven Tyrrell   $1,435.50   .3       Communications regarding preparation of motion to dismiss;
                                                       Review and analyze miscellaneous filings in the case
  5/05/2022      Brian Liegel     $1,080.00   2.1      Draft outline of arguments for motion to dismiss
  5/05/2022      Leah Saiontz     $756.00     4.2      Draft outline of arguments for motion to dismiss; conference
                                                       with B. Liegel re: same
  5/06/2022      Steven Tyrrell   $1,435.50   .5       Communications regarding preparation of motion to dismiss;
                                                       Review and analyze miscellaneous filings in the case
  5/06/2022      Brian Liegel     $1,080.00   .2       Confer with S. Tyrrell regarding coordination with co-
                                                       defendants
  5/06/2022      Leah Saiontz     $756.00     2.0      Draft outline of arguments for motion to dismiss
  5/07/2022      Steven Tyrrell   $1,435.50   .2       Communications regarding preparation of motion to dismiss;
                                                       Review and analyze miscellaneous filings in the case
  5/09/2022      Steven Tyrrell   $1,435.50   .6       Review and analyze draft outline of arguments for motion to
                                                       dismiss; review and analyze recent filings; miscellaneous
                                                       communications re: same
  5/09/2022      Brian Liegel     $1,080.00   .8       Draft outline of arguments for motion to dismiss



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  5/09/2022      Leah Saiontz     $756.00     4.1   Draft outline of arguments for motion to dismiss
  5/10/2022      Steven Tyrrell   $1,435.50   .4    Communications regarding preparation of motion to dismiss;
                                                    Review and analyze miscellaneous filings in the case
  5/10/2022      Leah Saiontz     $756.00     3.5   Draft motion to dismiss
  5/11/2022      Steven Tyrrell   $1,435.50   .2    Review and analyze miscellaneous filings in the case
  5/11/2022      Brian Liegel     $1,080.00   1.1   Review and analyze co-defendant motions to dismiss to
                                                    evaluate adoption of arguments
  5/11/2022      Leah Saiontz     $756.00     4.2   Draft motion to dismiss
  5/12/2022      Brian Liegel     $1,080.00   2     Revise draft of motion to dismiss
  5/13/2022      Steven Tyrrell   $1,435.50   .3    Review and analyze recent filings
  5/13/2022      Brian Liegel     $1,080.00   1.5   Revise motion to dismiss
  5/13/2022      Leah Saiontz     $756.00     7.2   Revise motion to dismiss
  5/15/2022      Brian Liegel     $1,080.00   3.1   Revise motion to dismiss
  5/16/2022      Steven Tyrrell   $1,435.50   .5    Communications regarding preparation of motion to dismiss;
                                                    Review and analyze miscellaneous filings in the case
  5/16/2022      Brian Liegel     $1,080.00   2     Complete first draft of motion to dismiss
  5/17/2022      Steven Tyrrell   $1,435.50   .4    Communications regarding preparation of motion to dismiss;
                                                    Review and analyze miscellaneous filings in the case
  5/17/2022      Brian Liegel     $1,080.00   .2    Correspond with S. Tyrrell re: status hearing
  5/18/2022      Ed Soto          $1,435.50   1     Review and comment on motion to dismiss; review of other
                                                    related motions to dismiss in connection with same;
                                                    correspondence re: same
  5/18/2022      Steven Tyrrell   $1,435.50   3.8   Review and revise draft motion to dismiss; related legal
                                                    research; miscellaneous communications including with
                                                    counsel to co-defendants re: same
  5/18/2022      Brian Liegel     $1,080.00   1.9   Participate in joint defense call re: upcoming status hearing;
                                                    revise brief and confer with S. Tyrrell re: same
  5/18/2022      Leah Saiontz     $756.00     1.5   Revise motion to dismiss
  5/19/2022      Steven Tyrrell   $1,435.50   1     Miscellaneous communications regarding coordination with
                                                    co-defendants on motion to dismiss arguments; review and
                                                    analyze materials re: same; review and analyze recent filings
  5/19/2022      Ann Merlin       $387.00     5.2   Conduct citation check of motion to dismiss
  5/19/2022      Brian Liegel     $1,080.00   1.9   Revise motion to dismiss
  5/19/2022      Leah Saiontz     $756.00     2.4   Revise motion to dismiss
  5/20/2022      Steven Tyrrell   $1,435.50   2.7   Review, revise, and finalize motion to dismiss; review and
                                                    analyze related materials and filings; miscellaneous
                                                    communications re: same
  5/20/2022      Brian Liegel     $1,080.00   1.2   Revise and prepare motion to dismiss for filing
  5/20/2022      Leah Saiontz     $756.00     1     Finalize motion to dismiss for filing
  5/23/2022      Steven Tyrrell   $1,435.50   .3    Review and analyze miscellaneous recent filings
  5/25/2022      Steven Tyrrell   $1,435.50   .2    Review and analyze miscellaneous recent filings
  5/26/2022      Steven Tyrrell   $1,435.50   .2    Review and analyze miscellaneous recent filings
  5/31/2022      Steven Tyrrell   $1,435.50   .4    Review and analyze miscellaneous recent filings
  6/01/2022      Steven Tyrrell   $1,435.50   .2    Miscellaneous communications regarding upcoming status
                                                    conference
  6/02/2022      Steven Tyrrell   $1,435.50   .8    Attend status conference by Zoom; miscellaneous
                                                    communications re: same
  6/03/2022      Steven Tyrrell   $1,435.50   .5    Miscellaneous communications regarding scheduling next
                                                    status conference, potential briefing schedule for renewed
                                                    motions to dismiss, status of matter, and recent filings; review
                                                    and analyze documents relating to same
  6/06/2022      Steven Tyrrell   $1,435.50   .2    Review and analyze recent filings
  6/13/2022      Steven Tyrrell   $1,435.50   .2    Miscellaneous communications with counsel for co-defendant




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  6/14/2022      Steven Tyrrell   $1,435.50   .4    Miscellaneous communications with joint defense group
                                                    regarding upcoming status conference and coordination of
                                                    motions to dismiss anticipated amended complaint
  6/15/2022      Steven Tyrrell   $1,435.50   .8    Miscellaneous communications, including conference call
                                                    with joint defense group, regarding upcoming status
                                                    conference and coordination of motions to dismiss anticipated
                                                    amended complaint
  6/21/2022      Steven Tyrrell   $1,435.50   .4    Review and analyze miscellaneous recent filings;
                                                    communications re: same
  6/22/2022      Steven Tyrrell   $1,435.50   3.9   Review and analyze amended complaint; review and analyze
                                                    related recent filings; miscellaneous communications with
                                                    counsel for other defendants and others re: same
  6/22/2022      Leah Saiontz     $756.00     3.2   Review and analyze amended complaint with focus on
                                                    new/amended arguments relevant to client
  6/23/2022      Steven Tyrrell   $1,435.50   1.7   Misc. Communications with client and other defense counsel
                                                    regarding preparation of motion to dismiss amended
                                                    complaint; review and analyze recent filings
  6/23/2022      Brian Liegel     $1,080.00   1.3   Participate in joint defense discussion re: briefing and
                                                    analysis of amended complaint
  6/23/2022      Leah Saiontz     $756.00     1.2   Discuss response to amended complaint with counsel to
                                                    co-defendants
  6/24/2022      Brian Liegel     $1,080.00   .3    Review and analyze co-defendants’ outline for motion to
                                                    dismiss brief
  6/27/2022      Steven Tyrrell   $1,435.50   1.1   Miscellaneous communications, including with other defense
                                                    counsel, regarding preparation of motion to dismiss
                                                    amended complaint; review and analyze recent filings
  6/27/2022      Leah Saiontz     $756.00     2.1   Draft motion to dismiss amended complaint
  6/28/2022      Steven Tyrrell   $1,435.50   .7    Miscellaneous communications including with client and other
                                                    defense counsel, regarding preparation of motion to dismiss
                                                    amended complaint; review and analyze recent filings
  6/28/2022      Leah Saiontz     $756.00     .4    Draft motion to dismiss amended complaint
  6/29/2022      Steven Tyrrell   $1,435.50   .6    Miscellaneous communications regarding preparation of
                                                    motion to dismiss amended complaint; review and analyze
                                                    recent filings
  6/30/2022      Steven Tyrrell   $1,435.50   1     Miscellaneous communications regarding request for
                                                    extension of time to file motion to dismiss amended complaint
                                                    and related matters; review draft stipulation re: same; review
                                                    and analyze recent filings
  6/30/2022      Brian Liegel     $1,080.00   .5    Revise brief insert for co-defendant
  6/30/2022      Leah Saiontz     $756.00     2.8   Draft motion to dismiss amended complaint
  7/01/2022      Steven Tyrrell   $1,435.50   1.7   Miscellaneous communications regarding request for
                                                    extension of time to file motion to dismiss amended
                                                    complaint, draft of sections of motion to dismiss, and related
                                                    matters; Review and analyze related materials and recent
                                                    filings
  7/01/2022      Brian Liegel     $1,080.00   1.8   Revise individual motion and joint motion and participate in
                                                    joint defense call re: same
  7/01/2022      Leah Saiontz     $756.00     5.5   Draft motion to dismiss amended complaint; participate in
                                                    joint defense call re: same
  7/05/2022      Steven Tyrrell   $1,435.50   3.4   Miscellaneous communications, including conference call
                                                    with defense counsel, regarding draft consolidated motion to
                                                    dismiss, motion to increase page limit, and related matters;
                                                    Review and analyze related materials; conduct legal research
  7/05/2022      Brian Liegel     $1,080.00   .3    Participate in joint defense call re: briefing




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  7/05/2022      Leah Saiontz     $756.00     .8    Participate in joint defense call re: briefing; Review
                                                    co-defendant draft of section of motion to dismiss
  7/06/2022      Steven Tyrrell   $1,435.50   3.1   Miscellaneous communications including with other defense
                                                    counsel, regarding draft consolidated motion to dismiss and
                                                    related matters; review and revise draft section of motion to
                                                    dismiss; conduct legal research
  7/06/2022      Brian Liegel     $1,080.00   .8    Revise draft motion to dismiss
  7/06/2022      Leah Saiontz     $756.00     .5    Review co-defendant draft section of motion to dismiss
  7/07/2022      Steven Tyrrell   $1,435.50   2.6   Miscellaneous communications, including with other defense
                                                    counsel, regarding draft consolidated motion to dismiss
                                                    and related matters; review and revise draft section of motion
                                                    to dismiss; miscellaneous legal research re: same; review
                                                    motion for enlargement of page limit for motion to dismiss
  7/07/2022      Brian Liegel     $1,080.00   1.2   Revise motion to dismiss on personal jurisdiction and
                                                    co-defendant’s section of the joint motion
  7/08/2022      Steven Tyrrell   $1,435.50   3.8   Miscellaneous communications, including with other defense
                                                    counsel, regarding draft consolidated motion to dismiss,
                                                    motion for enlargement of page limit, and related matters;
                                                    review and analyze related materials, including draft sections
                                                    of motion to dismiss; conduct miscellaneous legal research
                                                    re: same
  7/08/2022      Ann Merlin       $387.00     1.1   Cite check motion to dismiss for lack of personal jurisdiction
  7/09/2022      Brian Liegel     $1,080.00   1.4   Draft individual insert for motion to dismiss
  7/11/2022      Brian Liegel     $1,080.00   1.3   Revise individual section of motion to dismiss and coordinate
                                                    with group on edits
  7/12/2022      Steven Tyrrell   $1,435.50   1.2   Review and provide additional edits to the joint motion to
                                                    dismiss the amended complaint; Miscellaneous
                                                    communications re: same
  7/12/2022      Brian Liegel     $1,080.00   1.3   Review and analyze revised motion to dismiss and respond
                                                    to questions from counsel to co-defendant
  7/13/2022      Ed Soto          $1,435.50   .5    Review and comment on issues related to the proposed draft
                                                    motion to dismiss; review and comment on correspondence
                                                    related to same
  7/13/2022      Steven Tyrrell   $1,435.50   .6    Review and provide additional edits to the supplemental
                                                    motion to dismiss the amended complaint; communications
                                                    re: same
  7/13/2022      Leah Saiontz     $756.00     .2    Finalize motion to dismiss on personal jurisdiction
  7/14/2022      Brian Liegel     $1,080.00   .7    Revise brief and file motion to dismiss on personal jurisdiction
  7/18/2022      Steven Tyrrell   $1,435.50   1.4   Miscellaneous communications, including with client,
                                                    regarding motion to dismiss and related matters; review and
                                                    analyze recent filings
  7/19/2022      Steven Tyrrell   $1,435.50   1.4   Miscellaneous communications, including with client and
                                                    other counsel, regarding status of matter, ongoing
                                                    coordination, and related matters; review and analyze
                                                    materials re: same
  7/21/2022      Steven Tyrrell   $1,435.50   .7    Miscellaneous communications, including with other defense
                                                    counsel, regarding status of matter, ongoing coordination on
                                                    preparation of reply in support of motion to dismiss, and
                                                    related matters; and analyze recent filings
  7/22/2022      Steven Tyrrell   $1,435.50   .7    Miscellaneous communications, including with client,
                                                    regarding status of case and related matters; review and
                                                    analyze recent filings
  7/25/2022      Steven Tyrrell   $1,435.50   .2    Review recent filings




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  7/26/2022      Steven Tyrrell   $1,435.50   .5    Miscellaneous communications, including call with other
                                                    defense counsel, regarding coordination on preparation of
                                                    reply in support of motion to dismiss and related matters
  7/28/2022      Steven Tyrrell   $1,435.50   .2    Miscellaneous communications regarding preparation of reply
                                                    in support of motion to dismiss amended complaint
  7/29/2022      Steven Tyrrell   $1,435.50   .4    Miscellaneous communications regarding preparation of reply
                                                    in support of motion to dismiss amended complaint and
                                                    related matters
  7/29/2022      Leah Saiontz     $756.00     1     Draft reply in support of motion to dismiss based on lack of
                                                    personal jurisdiction
  8/05/2022      Steven Tyrrell   $1,435.50   4.7   Miscellaneous communications, including Zoom conferences
                                                    with joint defense group and specific co-defendants,
                                                    regarding filings in opposition to motions to dismiss,
                                                    preparation of reply in support of joint motion, and related
                                                    issues; review and analyze filings and related materials
  8/05/2022      Leah Saiontz     $756.00     4.1   Draft response to reply re: personal jurisdiction
  8/08/2022      Steven Tyrrell   $1,435.50   3.3   Review, analyze and revise sections of reply in support of
                                                    joint motion to dismiss; review and analyze draft reply in
                                                    support of individual motion to dismiss for lack of personal
                                                    jurisdiction; review and analyze related materials; review
                                                    recent filings
  8/08/2022      Brian Liegel     $1,080.00   4.3   Draft reply in support of motion to dismiss
  8/08/2022      Leah Saiontz     $756.00     3.1   Draft reply in support of motion to dismiss; correspondence
                                                    re: same
  8/09/2022      Steven Tyrrell   $1,435.50   2.7   Review and revise draft reply in support of individual motion
                                                    to dismiss for lack of personal jurisdiction; review and analyze
                                                    related materials; review recent filings; miscellaneous
                                                    communications re: same
  8/09/2022      Leah Saiontz     $756.00     2.8   Draft response to reply re: personal jurisdiction;
                                                    correspondence re: same
  8/10/2022      Steven Tyrrell   $1,435.50   3.4   Review and revise joint reply in support of motion to dismiss;
                                                    review and revise reply in support of motion to dismiss on
                                                    personal jurisdiction grounds; review and analyze related
                                                    materials; miscellaneous communications, including Zoom
                                                    conference with all defense counsel, re: same and related
                                                    matters; review recent filings
  8/10/2022      Leah Saiontz     $756.00     1.7   Draft response to reply re: personal jurisdiction;
                                                    correspondence re: same
  8/11/2022      Steven Tyrrell   $1,435.50   2.6   Review and provide final comments and edits for joint reply in
                                                    support of motion to dismiss; review revise reply in support of
                                                    motion to dismiss on personal jurisdiction grounds; review
                                                    and analyze related materials; miscellaneous
                                                    communications re: same and related matters; review recent
                                                    filings
  8/11/2022      Brian Liegel     $1,080.00   1.2   Revise briefs on reply on motion to dismiss
  8/11/2022      Leah Saiontz     $756.00     1.1   Finalize and file motion to dismiss
  8/12/2022      Steven Tyrrell   $1,435.50   .6    Review recent filings
  8/15/2022      Steven Tyrrell   $1,435.50   .5    Review recent filings; misc. Communications re: same
  8/16/2022      Steven Tyrrell   $1,435.50   .4    Review recent filings
  8/17/2022      Steven Tyrrell   $1,435.50   .3    Review recent filings
  8/18/2022      Steven Tyrrell   $1,435.50   .5    Review recent filings
  9/01/2022      Steven Tyrrell   $1,435.50   .2    Review recent filings
  9/06/2022      Steven Tyrrell   $1,435.50   .2    Review recent filings
  9/07/2022      Steven Tyrrell   $1,435.50   .2    Review recent filings




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  9/08/2022      Steven Tyrrell   $1,435.50   .6    Review recent filings; Miscellaneous communications,
                                                    including with client, regarding order granting motion to
                                                    dismiss
  9/09/2022      Steven Tyrrell   $1,435.50   1.8   Review order granting motions to dismiss; review and revise
                                                    draft summary of order and next steps for client;
                                                    Communications re: same; Communications with joint
                                                    defense group regarding potential motion for sanctions
  9/09/2022      Brian Liegel     $1,080.00   1.9   Analyze court ruling and draft summary of same and appeal
                                                    prospects
  9/09/2022      Leah Saiontz     $882.00     .9    Analyze court ruling and draft summary of same
  9/12/2022      Steven Tyrrell   $1,435.50   .6    Miscellaneous communications, including with joint defense
                                                    group, regarding potential motion for sanctions; review and
                                                    analyze related materials
  9/13/2022      Steven Tyrrell   $1,435.50   1.0   Miscellaneous communications, including with joint defense
                                                    group, regarding potential motion for sanctions; review and
                                                    analyze related materials
  9/13/2022      Brian Liegel     $1,080.00   .6    Participate in group discussion re sanctions motion
  9/14/2022      Leah Saiontz     $882.00     1.4   draft insert for sanctions motion
  9/16/2022      Steven Tyrrell   $1,435.50   .4    Communications regarding potential motion for sanctions
  9/20/2022      Leah Saiontz     $882.00     .8    Draft insert for sanctions motion
  9/21/2022      Steven Tyrrell   $1,435.50   1.7   Review draft motion for sanctions; communications re: same;
                                                    review and analyze related materials
  9/21/2022      Brian Liegel     $1,080.00   .9    Revise sanctions motion
  9/23/2022      Steven Tyrrell   $1,435.50   .8    Review and analyze revised draft motion for sanctions;
                                                    communications, including with client, re: same.
  9/28/2022      Steven Tyrrell   $1,435.50   .7    Communications with counsel for other defendants regarding
                                                    sanctions motions; review and analyze revised draft motion
                                                    and related materials
  9/28/2022      Brian Liegel     $1,080.00   .4    Participate in conversation with joint defense group re
                                                    sanctions
  9/29/2022      Leah Saiontz     $882.00     4.8   Draft declaration in support of fee request
  9/30/2022      Brian Liegel     $1,080.00   2.4   Draft declaration in support of fee request and confer with S.
                                                    Tyrrell re: same; revise motion for sanctions




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                                  EXHIBIT C




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     -----Original Message-----
     From: do_not_reply@psc.uscourts.gov <do_not_reply@psc.uscourts.gov>
     Sent: Tuesday, April 26, 2022 12:44 PM
     To: Merlin, Ann <Ann.Merlin@weil.com>
     Subject: Pay.gov Payment Confirmation: FLORIDA SOUTHERN DISTRICT COURT

     Your payment has been successfully processed and the details are below. If you have any questions or you wish to
     cancel this payment, please contact: Financial Section at 305-523-5050.

      Account Number: 4283419
      Court: FLORIDA SOUTHERN DISTRICT COURT
      Amount: $200.00
      Tracking Id: AFLSDC-15589786
      Approval Code: 145485
      Card Number: ************
      Date/Time: 04/26/2022 12:43:29 ET


     NOTE: This is an automated message. Please do not reply
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                                  EXHIBIT D




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                   EXHIBIT 12
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

     Donald J. Trump,

                             Plaintiff,

             v.
                                                           Civil Action No. 2:22-14102-DMM
     Hillary R. Clinton et al.,

                             Defendants.


                    DECLARATION OF ENJOLIQUÉ A. LETT IN SUPPORT OF
                     DEFENDANTS’ MOTION FOR SANCTIONS AND FEES

            I, Enjoliqué A. Lett, declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that

    the following is true and correct:

            1.      I am a shareholder at Greenberg Traurig, P.A., counsel of record for Orbis Business

    Intelligence Ltd. in the above captioned matter.

            2.      Attached as Exhibit A are the law firm website biographies of the attorneys at

    Greenberg Traurig, P.A. for whom Orbis Business Intelligence Ltd. seeks attorneys’ fees. The

    biographies reflect the professional qualifications of those attorneys.

            3.      Greenberg Traurig, P.A. entered into a retention agreement with Orbis Business

    Intelligence, Ltd. in connection with the present litigation. Orbis Business Intelligence Ltd. agreed

    to pay all of Greenberg Traurig, P.A.’s costs, fees, and expenses incurred in connection with the

    present suit.

            4.      Attached as Exhibit B is a true and correct copy of the hours worked by counsel for

    Orbis Business Intelligence Ltd. Orbis Business Intelligence Ltd. is not seeking reimbursement

    for the attorneys’ customary hourly rates. Instead, Orbis Business Intelligence Ltd. seeks fees at

    discounted hourly rates for the attorneys as described in Exhibit B and below. These discounted

    hourly rates are consistent with the rates this Court concluded were reasonable in Celsius Holdings,


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    Inc v. A SHOC Beverage, LLC, No. 21-cv-80740, 2022 WL 3568042 (July 19, 2022). Exhibit B

    also provides an accurate statement of the work provided by Greenberg Traurig, P.A. during the

    periods for which discounted fees are sought.

              5.     Consistent with the discussion in the Memorandum in Support of Sanctions and the

    information provided in Exhibit B, I summarize below in Charts B and C the fees associated with

    two different phases of the case as applicable to Orbis Business Intelligence Ltd.: the fees incurred

    between the filing of Orbis Business Intelligence Ltd.’s motion to dismiss to the Court’s order

    dismissing the suit, and the fees incurred to date in connection with the motion for sanctions.

              6.     As reflected in Chart B, the discounted fees incurred by Orbis Business Intelligence

    Ltd. from the filing of Orbis Business Intelligence Ltd.’s motion to dismiss to this Court’s

    dismissal of the suit total $40,675.

              7.     As reflected in Chart C, the discounted fees incurred by Orbis Business Intelligence

    Ltd. in connection with the motion for sanctions, to date, total $9375.

                        Chart A: Fees incurred from Complaint to initial MTD1

             Timekeeper           Discounted Fee               Hours                      Fees
        Enjoliqué A. Lett        $700                            0                         $0

        Akiesha G. Sainvil       $450                             0                        $0




    1
      Defendant Orbis Business Intelligence Ltd. was not purportedly served with process until after
    Plaintiff’s filing of his Amended Complaint, therefore Defendant Orbis Business Intelligence Ltd.
    filed its Motion to Dismiss as to Plaintiff’s Amended Complaint. Accordingly, Defendant Orbis
    Business Intelligence Ltd. did not incur any fees from the original Complaint to co-defendants’
    initial Motions to Dismiss.



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                           Chart B: Fees incurred initial MTD to dismissal

          Timekeeper            Discounted Fee                 Hours                          Fees
     Enjoliqué A. Lett         $700                  23.2                           $16,240

     Akiesha G. Sainvil        $450                  54.3                           $24,435

                          Chart C: Fees incurred to date on sanctions motion

          Timekeeper            Discounted Fee                 Hours                          Fees
     Enjoliqué A. Lett         $700                  12.3                           $8,610

     Akiesha G. Sainvil        $450                  1.7                            $765



           8.      I believe that the discounted rates claimed are reasonable given the professional

    qualifications of the billers as evidenced in Exhibit A for the Southern District of Florida market

    and given the rates approved by this Court in Celsius.

           9.      Consistent with local Rule 7.3, counsel sent the draft sanctions motion and draft

    supporting declarations to Plaintiff’s counsel on October 5, 2022. Defendants met and conferred

    in good faith with Plaintiff’s counsel by Microsoft Teams twice, on October 13 and October 26,

    2022, but were unable to reach any agreement as to either the Defendants’ entitlement to or the

    amount of fees and expenses not taxable under 28 U.S.C. §1920 that are recoverable from Plaintiff

    and/or his counsel.


                                                            /s/ Enjoliqué A. Lett
                                                           Enjoliqué A. Lett

    Dated: October 27, 2022




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                  EXHIBIT
                    “A”
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                                          

                                               Enjoliqué Aytch Lett
                                                SHAREHOLDER

                                                Enjolique.Lett@gtlaw.com

                                                MIAMI
                                                333 SE 2nd Avenue
                                                Suite 4400
                                                Miami, FL 33131
                                                +1 305.579.0640
                                                
                                                      https://www.linkedin.com/in/enjoliqu%C3%A9-   
                                                     lett-0364641/
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             Litigation | Products Liability & Mass Torts | Pharmaceutical, Medical Device &
             Health Care Litigation | Commercial Litigation | Pharmaceutical, Medical Device
             & Health Care
         
         Enjoliqué Aytch Lett leads bet-the-company litigation on behalf of drug and medical device manufacturers. She
         has worked as lead counsel in all aspects of mass tort and multi-district litigation, and has substantial
         experience and background defending high-profile clients in complex commercial litigation.

         Enjoliqué is passionate about service and devotes her time and efforts to professional organizations and to the
         community as a whole. She serves as Pro Bono Chair for the South Florida Chapter of the Federal Bar
         Association and the DRI Products Liability Committee, and mentors students at the University of Miami and
         Florida International University. She also mentors a former prisoner returning to society through a partnership
         with the Southern District of Florida’s Court Assisted Reentry (C.A.R.E.) Program.

         Concentrations
         x Litigation
         x Products liability
         x Pharmaceutical, medical device, and health care litigation
         x Medical malpractice
         x Commercial litigation



         Experience
         Representative Matters

         x Won dismissal of lawsuit alleging civil RICO conspiracy and respondeat superior/vicarious liability claims
           filed by former U.S. President on behalf of British intelligence agency. See Law360, Trump's RICO Suit
           Against Clinton Dismissed As 'Manifesto'; Law.com, Judge Trashes Trump's RICO Lawsuit Against Hillary
           Clinton, Perkins Coie.
         x Represents manufacturer of Chinese drywall in mass tort actions in the state and federal courts of Florida.




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
         x Lead defense counsel for a hernia mesh medical device manufacturer in a high-profile MDL centralized in
           the District of New Hampshire against claims of strict product liability, negligence, breach of warranty, and
           other causes of action.°
         x Lead a 20+ lawyer team representing a hernia mesh manufacturer in related state mass tort actions alleging
           strict product liability, negligence, breach of warranty, and other causes of action.°
         x Represented sportswear giant, Under Armour, against a declaration judgment action where opponent
           attempted to show that its trademarks did not infringe on Under Armour’s trademarks, and seeking the
           cancellation of Under Armour registered trademarks; prosecuted Under Armour’s claims for trademark
           infringement, trademark dilution, unfair compensation, and cybersquatting under the Lanham Act, 15
           U.S.C. § 1051, et seq.°

            °The above representations were handled by Ms. Lett prior to her joining Greenberg Traurig, P.A.



         Recognition & Leadership
         Awards & Accolades

         x Listed, Florida Trend magazine, "Legal Elite – Commercial Litigation," 2022
             x    "Up and Comer," 2022
         x Team Member, a Law360 “Product Liability Practice Group of the Year,” 2021
         x Listed, Legal 500 United States, 2021-2022
             x    Dispute Resolution - Product Liability, Mass Tort and Class Action - Defense: Pharmaceuticals and
                  Medical Devices, 2021-2022
             x    Dispute Resolution - Product Liability, Mass Tort and Class Action - Defense: Consumer Products
                  (Including Tobacco), 2021
         x Listed, The National Black Lawyers, “Top 40 Under 40,” 2015-2020
         x Listed, Cystic Fibrosis Foundation, “40 Under 40 Outstanding Lawyers of South Florida,” 2018
         x Listed, Super Lawyers magazine, Florida Super Lawyers, “Rising Stars,” 2019-2021
         x Recognized, Daily Business Review, Professional Excellence Awards, “Young Lawyer on the Rise,” 2017
         x Listed, Legacy Miami magazine, “Miami-Dade County’s 40 Under 40 Black Leaders of Today and
           Tomorrow,” 2014
         x Listed, Super Lawyers magazine, Georgia Super Lawyers, “Rising Stars,” 2011

         Professional & Community Involvement

         x Member, Editorial Board, The Atlanta Lawyer, 2010-2016
         x Member, The Atlanta Bar Association, 2007-2016
         x Chair, DRI Product Liability Diversity Committee, 2016-2019
             x    Chair, DRI Product Liability Philanthropic Activities, 2019-Present
         x Board Member, Federal Bar Association, South Florida Chapter, 2016-Present
             x    Chair, Pro Bono Committee, Federal Bar Association, South Florida Chapter, 2016-Present
         x Member, Gate City Bar Association, 2007-2016
         x Member, Georgia Association for Women Lawyers (GAWL), 2007-2014




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         x Member, Georgia Association of Black Women Attorneys (GABWA), 2004-Present
         x Member, The Lawyers’ Committee for Civil Rights Under Law’s Election Protection, 2008-2012
         x Miami City Lead, Leadership Council on Legal Diversity, 2018-Present
               x       Fellow, Leadership Council on Legal Diversity, 2017
         x Member, Wilkie D. Ferguson, Jr. Bar Association, 2012-Present
         x Young Lawyers Division Leadership Academy, State Bar of Georgia, 2010



         Credentials

             Education                                                Admissions

             x J.D., cum laude, University of Georgia School of       x Florida
               Law, 2007
                                                                      x Georgia
                   x    Editor-in-Chief, Georgia Journal         of
                                                                      x U.S. District Court for the Northern District of Florida
                        International & Comparative Law
                                                                      x U.S. District Court for the Middle District of Florida
                   x    Regional Best Brief, Frederick Douglass
                        Moot Court Competition                        x U.S. District Court for the Southern District of Florida
             x B.A., American University, 2003                        x U.S. District Court for the Northern District of Georgia
                                                                      x U.S. District Court for the Middle District of Georgia
                                                                      
             Clerkship

             x Hon. Marcia G. Cooke, U.S. District Court for
               the Southern District of Florida, 2012-2014



         News, Insights & Presentations
         News

                             Read the Doc: Judge Trashes Trump's RICO Lawsuit Against Hillary Clinton, Perkins Coie,
             09.09.22
                             National Law Journal

                             Trump Vows to Appeal Dismissal of RICO Lawsuit Against Hillary Clinton, Perkins Coie,
             09.09.22
                             National Law Journal

             09.09.22        Trump's RICO Suit Against Clinton Dismissed As 'Manifesto', Law360 Pulse

                             Greenberg Traurig Hires Holland & Knight Litigator Amid Miami Expansion, Daily Business
             04.21.21
                             Review

             01.11.21        Greenberg Traurig Sees Fast Growth in Products Liability Practice, Daily Business Review

             11.20.20        Akerman Mass Tort Litigator Jumps to Greenberg Traurig, Daily Business Review

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         Insights

                        Diversity, Equity, and Inclusion in Law Firms and Corporate Legal Departments, Diversity
             05.27.21
                        Insider | Published Article

                        Businesses Must Prepare to Defend Against Covid-19 Lawsuits Despite Shields, Bloomberg Law
             05.21.21
                        Daily Labor Report | Published Article

         
         Presentations

             10.30.22    Product Liability in the 21st Century, International Bar Association (IBA) Annual Conference

                         Speaker, Opening Remarks- AS/COA Women’s Hemispheric Network Forum – Miami 2022,
             06.17.22
                         AS/COA Women’s Hemispheric Network Forum – Miami

             03.11.22    Panelist, 6th Annual Miami Law Class Action & Complex Litigation Forum

                         MDL – To Centralize or Not to Centralize, That is the Question, Trial Network, Minneapolis
             09.21.18
                         Products Liability SuperCourse

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                                                Akiesha Gilcrist Sainvil
                                                 ASSOCIATE

                                                 Akiesha.Sainvil@gtlaw.com

                                                 MIAMI
                                                 333 SE 2nd Avenue
                                                 Suite 4400
                                                 Miami, FL 33131
                                                 +1 305.579.0642
                                                 

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             Litigation | Pharmaceutical, Medical Device & Health Care Litigation | Products
             Liability & Mass Torts | Pharmaceutical, Medical Device & Health Care
         
         Akiesha Gilcrist Sainvil focuses her practice on defending medical device, pharmaceutical, and consumer
         products manufacturers in high-stakes complex products liability and mass torts litigation. She handles and
         manages all aspects of litigation, ranging from pre-suit matters through trial, and onwards through appeal.
         Akiesha understands that there are often nationwide or global business implications for clients in all litigation
         and works to strategically align her representation of clients with those needs.

         Akiesha brings a broad range of industry experience to her practice, having also defended major retailers,
         automotive and transportation companies, financial and health care institutions, and insurance providers in
         complex commercial litigation matters throughout the country in federal and state courts (including appellate
         courts) and in arbitration. Akiesha also clerked for Judge D. Michael Fisher of the United States Court of
         Appeals for the Third Circuit. In drawing upon this experience, she is able to quickly adapt to ever-changing
         business needs and develop creative litigation strategies.

         Akiesha is also active in her community. She devotes herself to the advancement and promotion of diversity in
         the legal profession through her service as a mentor and advocate for young and aspiring lawyers. She currently
         serves as Miami City Lead for the Leadership Council on Legal Diversity’s Success in Law School Mentoring
         Program. She also devotes time to pro bono efforts and actively supports the Miami Children’s Museum.

         Concentrations
         x Pharmaceutical, medical device, and health care litigation
         x Products Liability
         x Multidistrict litigation
         x Class and mass action litigation



         Experience
         Representative Matters

         x Won dismissal of lawsuit alleging civil RICO conspiracy and respondeat superior/vicarious liability claims
           filed by former U.S. President on behalf of British intelligence agency. See Law360, Trump's RICO Suit




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            Against Clinton Dismissed As 'Manifesto'; Law.com, Judge Trashes Trump's RICO Lawsuit Against Hillary
            Clinton, Perkins Coie.
         x Argued and won dismissal of a breach of warranty claim on behalf of medical device manufacturer of flush
           devices in state court product liability lawsuit.
         x Key member of trial team that obtained a complete defense verdict following a two-week trial in July 2021
           in a multimillion-dollar action involving cardiovascular intravascular device against our client, a medical
           device manufacturer of numerous life-saving devices and products.
         x Represent manufacturer of flush medical devices against wrongful death suit involving product liability
           claims in state court.
         x Defend medical device manufacturer of vascular devices against product liability claims in federal courts
           across the country.
         x Served as National Coordinating Counsel for Fortune 50 Transportation Company.°
         x Represented and defended manufacturers of various products, including HVAC systems, fire
           extinguishers, engines, and pharmaceutical drugs, against product liability actions in state and federal
           courts around the country.°
         x Obtained summary judgment on behalf of a multinational retailing corporation in contract dispute in
           federal court.°
         x Obtained dismissal on behalf of international banking and financial services institution in vehicle
           repossession class action in federal court.°

            °The above representations were handled by Akiesha Gilcrist Sainvil prior to her joining Greenberg Traurig, P.A.

         Internships

         x Judicial Intern, Honorable David S. Cercone, U.S. District Court for the Western District of Pennsylvania
         x Certified Legal Intern, Immigration Clinic, University of Pittsburgh School of Law



         Recognition & Leadership
         Awards & Accolades

         x Listed, “The Best Lawyers in America: Ones to Watch,” 2021-2023
             x    Product Liability Litigation - Defendants, 2023
             x    Mass Tort Litigation / Class Actions - Defendants, 2023
             x    Commercial Litigation, 2021-2023
             x    Alternative Dispute Resolution, 2021-2023
         x Recognized, The National Black Lawyers, “Top 40 Under 40” Attorney in Florida, 2020-2022
         x Recognized, Daily Business Review, Florida Legal Awards, "Diversity & Inclusion Honoree," 2022
         x Listed, Super Lawyers magazine, Florida Super Lawyers, "Rising Stars," 2021-2022
         x Team Member, a Law360 “Product Liability Practice Group of the Year,” 2021
         x Recognized, Palm Beach Media Group’s Aventura Magazine, “Top Lawyer,” 2021-2022
         x Recognized, Legacy Magazine, “40 Under 40: Black Leaders of Today and Tomorrow,” 2020
         x Selected, Leadership Council on Legal Diversity Program, “Pathfinder,” 2017




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         Professional & Community Involvement

         x Leadership Council on Legal Diversity (LCLD)
             x       City Lead - Miami, Success in Law School Mentoring Program, 2020–Present
             x       City Lead – Miami, Alumni Group, 2020
             x       LCLD Pathfinder Program Participant, 2017
         x The Florida Bar
             x       Member, Diversity & Inclusion Committee, 2022-2023
             x       Fellow, Wm. Reece Smith, Jr. (WRS) Leadership Academy, Class IX, 2021-2022
         x Dade County Bar Association
             x       Member, Diversity & Inclusion Committee
             x       Member, Federal Court Committee
         x Playmakers Young Professionals Support Group, Miami Children’s Museum, 2019–Present
         x Federal Bar Association
             x       Member, South Florida Chapter
             x       Member, Young Lawyers Division
         x Museum Ambassadors, Children’s Museum of Pittsburgh
         x Alumna, International Association of Defense Counsel Trial Academy, 2016
         x Allegheny County Bar Association
             x       Council Member, Homer S. Brown Division, 2014–2017
             x       Diversity Committee Co-Chair, Young Lawyer’s Division, 2014–2015



         Credentials

          Education                                              Admissions

          x J.D., University of Pittsburgh School of Law,        x Florida
            2013
                                                                 x Pennsylvania
                 x    Senior Topics Editor, Law Review
                                                                 x U.S. District Court for the Northern District of
          x B.A., cum laude, University of Pittsburgh, 2010        Florida
                                                                 x U.S. District Court for the Southern District of
                                                                   Florida
                                                                 x U.S. District Court for the Middle District of
                                                                   Florida
                                                                 x U.S. District Court for the Eastern District of
                                                                   Pennsylvania
                                                                 x U.S. District Court for the Western District of
                                                                   Pennsylvania
                                                                 x U.S. Court of Appeals for the Third Circuit




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                                                                   
             Clerkship

             x Hon. D. Michael Fisher, U.S. Court of Appeals for
               the Third Circuit, 2013-2014



         News, Insights & Presentations
         News

                          Read the Doc: Judge Trashes Trump's RICO Lawsuit Against Hillary Clinton, Perkins Coie,
             09.09.22
                          National Law Journal

                          Trump Vows to Appeal Dismissal of RICO Lawsuit Against Hillary Clinton, Perkins Coie,
             09.09.22
                          National Law Journal

             09.09.22     Trump's RICO Suit Against Clinton Dismissed As 'Manifesto', Law360 Pulse

                          The Florida Bar Wm. Reece Smith, Jr., Leadership Academy, Class IX, Year in Review, Florida
             06.22.22
                          Bar News

                          Diversity: DEI Needs Attention At All Times, 'Not Just When People Are Watching,' Says
             05.16.22
                          Greenberg's Akiesha Sainvil, Daily Business Review

             11.20.20     Akerman Mass Tort Litigator Jumps to Greenberg Traurig, Daily Business Review

         
         Insights

                         5 Trends to Watch in 2022 Pharmaceutical, Medical Device & Health Care Litigation | Published
             01.18.22
                         Article

                         Diversity, Equity, and Inclusion in Law Firms and Corporate Legal Departments, Diversity
             05.27.21
                         Insider | Published Article

                         Businesses Must Prepare to Defend Against Covid-19 Lawsuits Despite Shields, Bloomberg Law
             05.21.21
                         Daily Labor Report | Published Article

                         Undocumented Immigrants: Lack of Equal Protection and Its Impact on Public Health, Journal
             01.01.13
                         of Legal Medicine | Published Article

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         Presentations

                         Honoree, Diversity and Inclusion: Individual, Daily Business Review (DBR) - Florida Legal
             05.19.22
                         Awards 2022

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                  EXHIBIT
                    “B”
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                                      304




                                                                               Invoice No. : 1000083200
                                                                               File No.    : 210459.010100
                                                                               Bill Date : September 14, 2022



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                                                  INVOICE



  Re: Orbis/Trump v. Clinton

  Legal Services through August 31, 2022:


                                                               Total Fees:                $

                                                      Current Invoice:                    $




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                                333 S.E. 2nd Avenue | Suite 4400 | Miami, Florida 33131
                                 Tel 305.579.0500 | Fax 305.579.0717 | www.gtlaw.com
Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 297 of
                                      304
    Invoice No.:        1000083200                                                                         Page 1
    Re:                 Orbis/Trump v. Clinton
    Matter No.:         210459.010100




    Description of Professional Services Rendered:
    DATE           TIMEKEEPER                DESCRIPTION                                         HOURS    AMOUNT

    08/01/22       Enjolique A. Lett         Prepare for and confer with client concerning         1.00
                                             defense strategy.
    08/01/22       Akiesha G. Sainvil        Strategy and introduction call with FOLHQW           0.40
                                             concerning status of pending litigation,
                                             pertinent facts for motion to dismiss, and action
                                             plan for preparation of motion to dismiss
                                             Review and analyze service documents to
    08/03/22       Enjolique A. Lett         Orbis.                                                0.20
                                             Correspond with client concerning questions
    08/04/22       Enjolique A. Lett         regarding service.                                    0.10
                                             Analyze status of matter in furtherance of
    08/04/22       Akiesha G. Sainvil        development of strategy for and preparation of        1.80
                                             motion to dismiss, including review and
                                             attention to procedural posture of case based
                                             upon previous filings by other parties and
                                             reviewing and analyzing amended complaint
                                             Contact Plaintiff's counsel to discuss an agreed
    08/05/22       Enjolique A. Lett         upon response deadline for Orbis.                     0.10
                                             Further analyze service and waiver issues and
    08/05/22       Enjolique A. Lett         correspond with client concerning same.               0.80
                                             Attempted contact and correspond with
                                             Plaintiff's counsel concerning agreed upon
    08/08/22       Enjolique A. Lett         deadline for the response to Plaintiff's              0.30
                                             Amended Complaint.
                                             Revise Defendant Orbis' Unopposed Motion to
                                             Set Response Deadline and Proposed Order.
    08/09/22       Enjolique A. Lett         Review Order Granting In Part Defendant               0.40
                                             Orbis Business Intelligence Ltd.'s Motion to Set
    08/09/22       Enjolique A. Lett         Response Deadline to Plaintiff's Amended              0.10
                                             Complaint.
                                             Correspond with Plaintiff's counsel securing
                                             agreed upon response date.
    08/09/22       Enjolique A. Lett         Review correspondence concerning agreed               0.10
                                             deadline for response to Amended Complaint
    08/09/22       Akiesha G. Sainvil        and drafting, reviewing, and revising                 2.60
                                             unopposed motion and proposed order
                                             regarding same; Review and attention to prior
                                             pleadings of parties and continued review and
                                             analysis of amended complaint and party
                                             motions
                                             Reviewing and assessing pleadings and
                                             attention to motion to dismiss strategy;
    08/10/22       Akiesha G. Sainvil        correspondence with client concerning court           2.40
                                             order regarding motion to dismiss deadline and
                                             coordination for preparation of motion and
                                             declaration in support
                                             Reviewing and assessing pleadings and
                                             attention to motion to dismiss strategy;
    08/11/22       Akiesha G. Sainvil                                                              1.60
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                                      304
    Invoice No.:        1000083200                                                                     Page 2
    Re:                 Orbis/Trump v. Clinton
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                                             coordination with client regarding declaration
                                             in support
    08/12/22       Akiesha G. Sainvil        Drafting, reviewing, and revising motion to        5.60
                                             dismiss; Reviewing and analyzing case law in
                                             support of arguments for motion to dismiss;
                                             Reviewing and assessing pleadings in
                                             furtherance of preparation of facts for motion
                                             to dismiss and declaration in support
    08/13/22       Akiesha G. Sainvil        Drafting, reviewing, and revising motion to        2.90
                                             dismiss; reviewing and analyzing case law in
                                             support of arguments for motion to dismiss;
                                             continue reviewing and assessing pleadings in
                                             furtherance of preparation of motion to dismiss
                                             and declaration in support
    08/14/22       Akiesha G. Sainvil        Drafting, reviewing, and revising declaration in   4.30
                                             support of motion to dismiss; Drafting,
                                             reviewing, and revising motion to dismiss;
                                             Reviewing and analyzing case law in support
                                             of arguments for motion to dismiss; Reviewing
                                             and assessing case pleadings in furtherance of
                                             preparation of motion to dismiss and
                                             declaration in support; Attention to local rules
                                             and procedure to ensure conformity in
                                             preparation for finalization and filing
    08/15/22       Enjolique A. Lett         Revise Motion to Dismiss.                          1.10
    08/15/22       Enjolique A. Lett         Revise Declaration in support of the Motion to     0.30
                                             Dismiss.
    08/15/22       Akiesha G. Sainvil        Prepare for and attend meeting with client         4.70
                                             concerning status of motion to dismiss and
                                             declaration in support; Drafting, reviewing, and
                                             revising motion to dismiss and declaration in
                                             support
    08/16/22       Enjolique A. Lett         Multiple revisions of the Declaration of Chris     1.30
                                             Burrows in Support of Motion to Dismiss for
                                             Insufficiency of Service of Process and Lack of
                                             Personal Jurisdiction.
    08/16/22       Enjolique A. Lett         Review correspondence from client concerning       0.10
                                             details of attempted service on Orbis.
    08/16/22       Enjolique A. Lett         Draft Orbis Business Intelligence LTD's            0.40
                                             Corporate Disclosure Statement.
    08/16/22       Akiesha G. Sainvil        Attention to, including drafting, reviewing, and   5.40
                                             revising, motion to dismiss, disclosure
                                             statement, and exhibits to motion to dismiss;
                                             Correspondence with client regarding service
                                             of process issue
    08/17/22       Enjolique A. Lett         Multiple revisions of Orbis Motion to Dismiss      4.00
                                             Plaintiff's Amended Complaint.
    08/17/22       Enjolique A. Lett         Research correct process and service of process    0.60
                                             under The Hague Convention.
    08/17/22       Akiesha G. Sainvil        Correspondence with client concerning              3.70
                                             declaration in support of the motion to dismiss;
                                             Review and attention to motion to dismiss,
                                             including cite checks, proofreading, and
                                             finalizing document in preparation for
                                             transmittal to client
    08/18/22       Enjolique A. Lett         Revise and finalize the Orbis Business             0.90
                                             Intelligence Ltd.'s Motion to Dismiss.
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                                      304
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    Re:                 Orbis/Trump v. Clinton
    Matter No.:         210459.010100

    08/18/22       Enjolique A. Lett         Revise and finalize the Corporate Disclosure       0.20
                                             Statement for Orbis Business Intelligence Ltd.
    08/18/22       Akiesha G. Sainvil        Finalizing motion to dismiss, corporate            3.80
                                             disclosure statement, and exhibits to motion to
                                             dismiss in preparation for filing;
                                             Correspondence with client concerning filings
    08/19/22       Enjolique A. Lett         Review and respond to correspondence from          0.30
                                             the client.


                                                                                 Total Time:   51.50
                                                                                 Total Fees:           $
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                                      304




                                                                               Invoice No. : 1000095573
                                                                               File No.    : 210459.010100
                                                                               Bill Date : October 3, 2022



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                                                  INVOICE



  Re: Orbis/Trump v. Clinton

  Legal Services through October 3, 2022:

                                                               Total Fees:                $

                                                      Current Invoice:                    $




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                                333 S.E. 2nd Avenue | Suite 4400 | Miami, Florida 33131
                                 Tel 305.579.0500 | Fax 305.579.0717 | www.gtlaw.com
Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 301 of
                                        304
    Invoice No.: 1000095573                                             Page 1
    Re:          Orbis/Trump v. Clinton
    Matter No.: 210459.010100



    Description of Professional Services Rendered:
    DATE       TIMEKEEPER            DESCRIPTION                                        HOURS    AMOUNT

    09/02/22   Enjolique A. Lett     Review and analyze Plaintiff's Response in           0.90
                                     Opposition to Defendant Orbis' Motion to
                                     Dismiss and related exhibits, and correspond
                                     with Attorney Sainvil concerning strategy for
                                     reply.
    09/02/22   Akiesha G. Sainvil    Reviewing and assessing pleadings, blocking          1.40
                                     out strategy for Reply in Support of Motion to
                                     Dismiss, and preparing email to client
                                     summarizing pleadings and setting forth
                                     strategy for Reply Brief
    09/06/22   Enjolique A. Lett     Confer with Attorney Sainvil concerning              0.40
                                     arguments to address in the Reply Brief in
                                     Support of Orbis Business Intelligence's
                                     Motion to Dismiss.
    09/06/22   Enjolique A. Lett     Review case law regarding RICO’s Nationwide          0.60
                                     Service-of-Process Rule conferring personal
                                     jurisdiction when the defendant is not served in
                                     the United States in preparation for Orbis
                                     Business Intelligence's Reply in Support of Its
                                     Motion to Dismiss.
    09/06/22   Akiesha G. Sainvil    Drafting, reviewing, and revising Reply in          10.90
                                     Support of Motion to Dismiss, including
                                     attention to Plaintiff's response brief and
                                     assessing case law essential to reply brief
                                     arguments
    09/07/22   Enjolique A. Lett     Draft and revise Orbis Business Intelligence's       5.30
                                     Reply in Support of the Motion to Dismiss.
    09/07/22   Akiesha G. Sainvil    Drafting, reviewing, and revising Reply in           2.80
                                     Support of Motion to Dismiss, including
                                     attention to Plaintiff's response brief and
                                     assessing case law essential to reply brief
                                     arguments
    09/08/22   Enjolique A. Lett     Review and analyze Order Granting                    3.40
                                     Defendants' Motions to Dismiss and draft
                                     correspondence to client concerning same.
    09/08/22   Enjolique A. Lett     Revise and finalize Orbis Business                   0.30
                                     Intelligence's Reply in Support of the Motion
                                     to Dismiss.
    09/12/22   Enjolique A. Lett     Confer with co-defendants’ counsel concerning        0.30
                                     potential sanctions against Plaintiff.
    09/12/22   Enjolique A. Lett     Review decision of this Court imposing §1927         0.60
                                     sanctions and a transcript of an interview of
                                     Plaintiff’s counsel, Alina Habba in preparation
                                     for joint defense call on possible sanctions
                                     motions.
    09/13/22   Enjolique A. Lett     Attend joint defense meeting concerning              0.70
                                     potential sanctions motions in the Trump v.
                                     Clinton case.
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                                        304
    Invoice No.: 1000095573                                             Page 2
    Re:          Orbis/Trump v. Clinton
    Matter No.: 210459.010100

    09/13/22   Enjolique A. Lett    Draft correspondence to client summarizing        1.20
                                    joint defense meeting and plan of action
                                    concerning potential sanctions motions.
    09/13/22   Akiesha G. Sainvil   Prepare for and attend joint defense call         0.60
                                    concerning motion for sanctions.
    09/21/22   Enjolique A. Lett    Review initial draft of Defendants' Joint         1.90
                                    Motion for Sanctions.
    09/22/22   Enjolique A. Lett    Correspond with counsel for co-defendants         0.30
                                    concerning the Defendants' Joint Motion for
                                    Sanctions.
    09/27/22   Akiesha G. Sainvil   Reviewing and assessing motion for sanctions      0.40
                                    and coordinated strategy regarding same
                                    among defendants
    09/28/22   Akiesha G. Sainvil   Attend joint defense call regarding sanctions     0.20
                                    motion and preparation of notes regarding
                                    same
    09/30/22   Enjolique A. Lett    Review and revise final draft of Defendants'      1.00
                                    Joint Motion for Sanctions.
    09/30/22   Enjolique A. Lett    Begin preparation of Declaration in Support of    1.70
                                    Defendants' Motion for Sanctions and Fees.
                                                                       Total Time:   34.90
                                                                       Total Fees:           $
Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 303 of
                                      304




                                                                               Invoice No. : 1000124165
                                                                               File No.    : 210459.010100
                                                                               Bill Date : October 27, 2022



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                                                  INVOICE



  Re: Orbis/Trump v. Clinton

  Legal Services through October 27, 2022:

                                                               Total Fees:                $

                                                      Current Invoice:                    $




  EAL:EC


                                               Greenberg Traurig, P.A.
                                333 S.E. 2nd Avenue | Suite 4400 | Miami, Florida 33131
                                 Tel 305.579.0500 | Fax 305.579.0717 | www.gtlaw.com
Case 2:22-cv-14102-DMM Document 280-2 Entered on FLSD Docket 10/31/2022 Page 304 of
                                        304
    Invoice No.: 1000124165                                             Page 1
    Re:          Orbis/Trump v. Clinton
    Matter No.: 210459.010100



    Description of Professional Services Rendered:
    DATE       TIMEKEEPER            DESCRIPTION                                         HOURS    AMOUNT

    10/03/22   Enjolique A. Lett     Further finalization of Declaration and exhibits.     1.70
    10/05/22   Enjolique A. Lett     Correspond with co-Defendants' counsel                0.20
                                     concerning revised Declaration in Support of
                                     Motion for Sanctions.
    10/05/22   Enjolique A. Lett     Revise and finalize Declaration in Support of         0.20
                                     Motion for Attorney's Fees.
    10/06/22   Enjolique A. Lett     Correspond with clients concerning                    0.30
                                     Defendants' Joint Sanctions Motion.
    10/12/22   Enjolique A. Lett     Attend Joint Defense Call in preparation for          0.30
                                     meet and confer with Plaintiff's counsel
                                     concerning the Joint Motions for Sanctions.
    10/13/22   Enjolique A. Lett     Meet and confer with Plaintiff's counsel              0.30
                                     concerning Motion for Sanctions.
    10/13/22   Akiesha G. Sainvil    Attend meet and confer call with counsel for          0.50
                                     Trump and other defense counsel concerning
                                     defendants' motion for sanctions, and prepare
                                     correspondence to client concerning same.
    10/17/22   Enjolique A. Lett     Finalize Declaration of Enjolique Lett in             0.30
                                     support of Motion for Sanctions in light of
                                     Rule 7.3 meet and confer.
    10/25/22   Enjolique A. Lett     Joint Defense Call regarding Plaintiff's              0.40
                                     objections to Sanctions Motion.
    10/25/22   Enjolique A. Lett     Review and analyze Plaintiff's Opposition to          0.30
                                     Defendants' Motion for Sanctions and exhibits.
    10/26/22   Enjolique A. Lett     Draft correspondence to the client regarding          0.60
                                     Plaintiff's Objections to Defendants' Motion for
                                     Sanctions, the parties subsequent meet and
                                     confer, and Plaintiff's counteroffer to seek the
                                     client's desired course of action concerning the
                                     Motion for Sanctions.
                                                                         Total Time:       5.10
                                                                         Total Fees:
